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                       INTERNATIONAL                                     ISO/IEC
                       STANDARD                                         23009-1

                                                                                 Fifth edition
                                                                                     2022-08




                       Information technology — Dynamic
                       adaptive streaming over HTTP
                       (DASH) —
                       Part 1:
                       Media presentation description and
                       segment formats
                       Technologies de l'information — Diffusion en flux adaptatif
                       dynamique sur HTTP (DASH) —
                       Partie 1: Description de la présentation et formats de remise des
                       médias




                                                                            Reference number
                                                                     ISO/IEC 23009-1:2022(E)


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Foreword

ISO (the International Organization for Standardization) and IEC (the International Electrotechnical
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ISO and IEC technical committees collaborate in fields of mutual interest. Other international
organizations, governmental and non-governmental, in liaison with ISO and IEC, also take part in the
work.
The procedures used to develop this document and those intended for its further maintenance are
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different types of document should be noted. This document was drafted in accordance with the editorial
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For an explanation of the voluntary nature of standards, the meaning of ISO specific terms and
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Trade Organization (WTO) principles in the Technical Barriers to Trade (TBT) see
www.iso.org/iso/foreword.html. In the IEC, see www.iec.ch/understanding-standards.
This document was prepared by Joint Technical Committee ISO/IEC JTC 1, Information technology,
Subcommittee SC 29, Coding of audio, picture, multimedia and hypermedia information.
This fifth edition cancels and replaces the fourth edition (ISO/IEC 23009-1:2020), which has been
technically revised.
The main changes are as follows:
    — DASH profile for using Common Media Application Format (CMAF) are added;

    — The concept Resynchronization is added in order to identify stream access points in Segments;

    — MPD patching is updated to support explicit MPD updates of smaller size, not only as inband
      messages;

    — A client processing model for Event Streams and Timed Metadata tracks is introduced;

    — Extensions are added to content protection for efficient signalling and to support robustness
      levels.

    — A descriptor is added in order to describe the minimum required device output protection security;

    — More flexible bandwidth signalling is provided to signal variable bitrate encoding.

A list of all parts in the ISO/IEC 23009 series can be found on the ISO and IEC websites.
Any feedback or questions on this document should be directed to the user’s national standards body. A
complete listing of these bodies can be found at www.iso.org/members.html and
https://www.iec.ch/national-committees.


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Introduction

Dynamic adaptive streaming over HTTP (DASH) is intended to support a media-streaming model for
delivery of media content in which control lies primarily with the client. Clients may request data using
the HTTP protocol from standard web servers that have no DASH-specific capabilities. Consequently, this
document focuses not on client or server procedures but on the data formats used to provide a DASH
Media Presentation.
The International Organization for Standardization (ISO) and the International Electrotechnical
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INTERNATIONAL STANDARD                                                      ISO/IEC 23009-1:2022(E)




Information technology — Dynamic adaptive streaming over
HTTP (DASH) —
Part 1:
Media presentation description and segment formats


1 Scope
This document primarily specifies formats for the Media Presentation Description and Segments for
dynamic adaptive streaming delivery of MPEG media over HTTP. It is applicable to streaming services
over the Internet.


2 Normative references
The following documents are referred to in the text in such a way that some or all of their content
constitutes requirements of this document. For dated references, only the edition cited applies. For
undated references, the latest edition of the referenced document (including any amendments) applies.
ISO/IEC 13818-1, Information technology — Generic coding of moving pictures and associated audio
information — Part 1: Systems

ISO/IEC 14496-12, Information technology — Coding of audio-visual objects — Part 12: ISO base media file
format

ISO/IEC 23000-19, Information technology — Multimedia application format (MPEG-A) — Part 19:
Common media application format (CMAF) for segmented media

ISO/IEC 23091-2, Information technology — Coding-independent code points — Part 2: Video

ISO/IEC 23091-3, Information technology — Coding-independent code points — Part 3: Audio

IETF RFC 2397, The “data” URL scheme

IETF RFC 3629, UTF-8, a transformation format of ISO 10646

IETF RFC 3986, Uniform Resource Identifier (URI): Generic Syntax

IETF RFC 4122, A Universally Unique IDentifier (UUID) URN Namespace

IETF RFC 4337, MIME Type Registration for MPEG-4

IETF RFC 4648, The Base16, Base32, and Base64 Data Encodings

IETF RFC 5234, Augmented BNF for Syntax Specifications: ABNF

IETF RFC 5261, An Extensible Markup Language (XML) Patch Operations Framework Utilizing XML Path
Language (XPath) Selectors

IETF RFC 5646, Tags for Identifying Languages

IETF RFC 6381, The 'Codecs' and 'Profiles' Parameters for “Bucket” Media Types
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IETF RFC 6838, Media Type Specifications and Registration Procedures

IETF RFC 7231, Hypertext Transfer Protocol (HTTP/1.1): Semantics and Content

IETF RFC 7233, Hypertext Transfer Protocol (HTTP/1.1): Range Requests

IETF RFC 8141, URN Syntax

IETF RFC 8673, HTTP Random Access and Live Content

HTML 4.01 Specification, W3C Recommendation, 24 December 1999

W3C Canonical XML Version 1.1, W3C Recommendation, 2 May 2008

W3C Extensible Markup Language (XML) 1.0 (Fifth Edition), W3C Recommendation, 26 November 2008

W3C XLINK, XML Linking Language (XLink) Version 1.1, W3C Recommendation 06, May 2010

W3C Media Fragments URI 1.0 (basic), W3C Recommendation, 25 September 2012


3 Terms, definitions, symbols and abbreviated terms
3.1 Terms and definitions
For the purposes of this document, the terms and definitions given in ISO/IEC 23000-19 and the following
apply.
ISO and IEC maintain terminology databases for use in standardization at the following addresses:
— ISO Online browsing platform: available at https://www.iso.org/obp

— IEC Electropedia: available at https://www.electropedia.org/

3.1.1
access unit
unit of a media stream (3.1.29) with an assigned Media Presentation time
3.1.2
accessibility
degree to which a media content or certain media content components (3.1.22) are available to as many
people as possible
3.1.3
Adaptation Set
set of interchangeable encoded versions of one or several media content components (3.1.22)
3.1.4
asset
content including media and metadata together with the rights to use the content by the content
provider




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3.1.5
associated Representation
Representation (3.1.38) which provides supplemental or descriptive information for at least one other
Representation
3.1.6
available Segment
Segment (3.1.40) that is accessible at its assigned HTTP-URL (3.1.17) and a possibly assigned byte range
that is the request with an HTTP GET results in a reply of the Segment and 2xx status code
3.1.7
Bitstream Switching Segment
Segment (3.1.40) that if present contains essential data to switch to the Representation (3.1.38) it is
assigned to
3.1.8
complementary Representation
Representation (3.1.38) which complements at least one dependent Representation (3.1.12)
3.1.9
continuous media
media with an inherent notion of time
EXAMPLES          Speech, audio, video, timed text or timed metadata.

3.1.10
DASH metric
metric computed by the DASH Client and uniquely identified by a key
3.1.11
data URL
URL with a fixed scheme “data”
3.1.12
dependent Representation
Representation (3.1.38) for which Segments (3.1.40) from its complementary Representations (3.1.8) are
necessary for presentation and/or decoding of the contained media content components (3.1.22)
3.1.13
earliest presentation time
smallest presentation time (3.1.36) of any access unit (3.1.1) of a Media Segment (3.1.28) Or Subsegment
(3.1.50) for a media stream (3.1.29)
3.1.14
event
aperiodic sparse media-time related auxiliary information to the DASH Client or to an application
3.1.15
event stream
sequence of related events (3.1.14)
3.1.16
group
collection of Adaptation Sets (3.1.3) that are not expected to be presented simultaneously




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3.1.17
HTTP-URL
URL with a fixed scheme of “http” or “https”
3.1.18
Index Segment
Segment (3.1.40) that primarily contains indexing information for Media Segments (3.1.28)
3.1.19
Initialization Segment
Segment (3.1.40) containing metadata that is necessary to present the media streams (3.1.29)
encapsulated in Media Segments (3.1.28)
3.1.20
Main Adaptation Set
Adaptation Set (3.1.3) In A Preselection (3.1.35) that contains the Initialization Segment (3.1.19) for the
complete experience
3.1.21
media content
single media content period (3.1.24) or contiguous sequence of media content periods
3.1.22
media content component
single continuous component of the media content (3.1.21) with an assigned media content component
type (3.1.23)
3.1.23
media content component type
single type of media content (3.1.21)
EXAMPLES        Audio, video, or text.

3.1.24
media content period
set of media content components (3.1.22) that have a common timeline as well as relationships on how
they can be presented
3.1.25
Media Presentation
collection of data that establishes a bounded or unbounded presentation of media content (3.1.21)
3.1.26
Media Presentation Description
MPD
formalized description for a Media Presentation (3.1.25) for the purpose of providing a streaming
service
3.1.27
Media Presentation timeline
concatenation of the timeline of all Periods (3.1.34) which itself is common to all Representations
(3.1.38) in the Period




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3.1.28
Media Segment
Segment (3.1.40) that complies with media format in use and enables playback when combined with
zero or more preceding Segments and an Initialization Segment (3.1.19) (if any)
3.1.29
media stream
encoded version of a media content component (3.1.22)
3.1.30
Media Subsegment
Subsegment (3.1.50) that only contains media data but no Segment Index (3.1.44)
3.1.31
message
part of an event (3.1.14) containing information that is exclusively handled by the event handler
3.1.32
MPD start time
approximate presentation start time of a Media Segment (3.1.28) signalled in MPD (3.1.26)
3.1.33
MPD duration
approximate presentation duration of a Media Segment (3.1.28) signalled in MPD (3.1.26)
3.1.34
Period
interval of the Media Presentation (3.1.24), where a contiguous sequence of all Periods constitutes the
Media Presentation
3.1.35
Preselection
set of media content components (3.1.22) that are intended to be consumed jointly
3.1.36
presentation time
time associated to an access unit (3.1.1) that maps it to the Media Presentation timeline (3.1.27)
3.1.37
remote element entity
entity that contains one or more elements and is referenced in the MPD (3.1.26) with an HTTP-URL
(3.1.17) contained in an @xlink:href attribute, referred to as "remote resource" by XLink
3.1.38
Representation
collection and encapsulation of one or more media streams (3.1.29) in a delivery format and associated
with descriptive metadata
3.1.39
Resynchronization Point
point within a Segment from which it is possible to start processing the Representation




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3.1.40
Segment
unit of data associated with an HTTP-URL (3.1.17) and optionally a byte range that are specified by an
MPD (3.1.26), or with a data URL (3.1.11)
3.1.41
Segment availability start time
latest time instant in wall-clock time (3.1.53) at which a Segment (3.1.40) becomes an available Segment
(3.1.6)
3.1.42
adjusted Segment availability start time
time instant in wall-clock time (3.1.53) at which a Segment (3.1.40) becomes an available Segment
(3.1.6)
3.1.43
Segment availability end time
time instant in wall-clock time (3.1.53) at which a Segment (3.1.40) ceases to be an available Segment
(3.1.6)
3.1.44
Segment Index
compact index of the time range to byte range mapping within a Media Segment (3.1.28) separately
from the MPD (3.1.26)
3.1.45
Segment Sequence
sequence of Segments (3.1.40) that are sharing a common address prefix
3.1.46
Segment Track
concatenation of Segments (3.1.40) forming a track with potential conformance properties
3.1.47
spatial object
media content component (3.1.22) corresponding to a region in a coordinate system associated to this
media content component
3.1.48
stream access point
SAP
position in a Representation (3.1.38) enabling playback of a media stream (3.1.29) to be started using
only the information contained in Representation data starting from that position onwards preceded by
initializing data in the Initialization Segment (3.1.19), if any
3.1.49
sub-asset
media content component (3.1.22) (or part thereof) identified as corresponding to a part of an asset
(3.1.4)




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3.1.50
Sub-Representation
part of a Representation (3.1.38) described in the MPD (3.1.26) that is present in the entire Period
(3.1.34)
3.1.51
Subsegment
unit within Media Segments (3.1.28) that is indexed by a Segment Index (3.1.44)
3.1.52
valid Segment URL
HTTP-URL (3.1.17) that is promised to reference a Segment (3.1.40) during its Segment availability
period
3.1.53
wall-clock time
time as stated by UTC

3.2 Symbols and abbreviated terms
       4CC            four character code
       ABNF           augmented Backus-Naur form
       ACK            acknowledgement message in TCP
       AEMS           application event or metadata streams
       API            application programming interface
       AVC            advanced video coding
       CAT            conditional access table
       CDN            content delivery network
       CMAF           common media application format
       DASH           dynamic adaptive streaming over HTTP
       DM             DASH metrics
       DOM            document object model
       DRM            digital rights management
       ECM            entitlement control message
       EIDR           entertainment identifier registry
       EME            encrypted media extensions
       EMIO           event/metadata internal object
       EMM            entitlement management message
       EPT            earliest presentation time
       GAA            generic authentication architecture
       GBA            generic bootstrapping architecture
       GDR            gradual decoding refresh
       GMT            Greenwich Mean Time



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    GOP         group of pictures
    GPS         global positioning system
    HDCP        high-bandwidth digital content protection
    HDMI        high definition multimedia interface
    HEVC        high efficiency video coding
    HTML        hypertext markup language
    HTTP        hypertext transfer protocol
    HTTPS       secure hypertext transfer protocol
    IAB         interactive advertising bureau
    IDR         instantaneous decoding refresh
    IP          internet protocol
    ISO BMFF    ISO base media file format
    LAT         Latest Arrival Time
    MBT         minimum buffer time
    MIME        multipurpose internet mail extensions
    MPD         media presentation description
    MPP         MPD patch
    MVC         multi-view video coding
    NGA         next generation audio
    NTP         network time protocol
    OATC        open authentication technical committee
    OAuth       open standard for authorization
    OMAP        online multimedia authorization protocol
    PAT         program association table
    PCR         program clock reference
    PES         packetized elementary stream
    PID         packet identifier
    PMT         program map table
    PSI         program specific information
    PTS         presentation time stamp
    RAP         random access point
    SAML        security assertion markup language
    SAP         stream access point
    SEI         supplementary enhancement information
    SNTP        simple NTP
    SPS         sequence parameter set


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       SRD            spatial relationship description
       SVC            scalable video coding
       TCP            transmission control protocol
       TLS            transport layer security
       TS             transport stream
       URI            uniform resource identifier
       URL            uniform resource locator
       URN            uniform resource name
       UTC            coordinated universal time
       UUID           universally unique identifier
       VAST           video ad serving template
       VOD            video-on-demand
       XML            extensible mark-up language
3.3 Conventions
The following naming conventions apply in this document.
— Elements in an XML document are identified by an upper-case first letter and in bold face as
  Element. To express that an element Element1 is contained in another element Element2, the
  following format is used: Element2.Element1. If an element's name consists of two or more
  combined words, camel-casing is typically used, e.g. ImportantElement. Elements may be present
  either exactly once, or the minimum and maximum occurrence is defined by <minOccurs> ...
  <maxOccurs>.

— Attributes in an XML document are identified by a lower-case first letter as well as they are preceded
  by an '@'-sign, e.g. @attribute. To point to a specific attribute @attribute contained in an
  element Element, one may write Element@attribute. If an attribute's name consists of two or
  more combined words, camel-casing is typically used after the first word, e.g.
  @veryImportantAttribute. Attributes may have assigned a status in the XML as mandatory
  (M), optional (O), optional with default value (OD) and conditionally mandatory (CM).

— Namespace qualification of elements and attributes is used as per XML standards, in the form of
  namespace:Element or @namespace:attribute. The fully qualified namespace is provided in
  the schema fragment associated with the declaration. External specifications extending the
  namespace of DASH are expected to document the element name in the semantic table with an
  extension namespace prefix.

— Variables defined in the context of this document are specifically highlighted with italics, e.g.
  InternalVariable.

— Structures that are defined as part of the hierarchical data model are identified by an upper-case first
  letter, e.g. Period, Adaptation Set, Representation, Segment, etc.

— The term "this clause" refers to the entire clause included within the same first heading number. The
  term "this subclause" refers to all text contained in the subclause with the lowest hierarchy heading.




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— For improved interoperability, this document uses ABNF notation according to IETF RFC 5234 to
  specify certain underdefined values of XML attributes and elements.


4 Overview
4.1 System description
Dynamic adaptive streaming over HTTP (DASH) specifies XML and binary formats that enable delivery
of continuous media content from standard HTTP servers to HTTP clients and enable caching of content
by standard HTTP caches.
This document primarily defines two formats:
— The Media Presentation Description (MPD) describes a Media Presentation, i.e. a bounded or
  unbounded presentation of continuous media content. In particular, it defines formats to announce
  resource identifiers for Segments and to provide the context for these identified resources within a
  Media Presentation. These resource identifiers are HTTP-URLs possibly combined with a byte range,
  or with a data URL.

— The Segment formats specify the formats of the entity body of the HTTP response to an HTTP GET
  request or a partial HTTP GET with the indicated byte range using HTTP/1.1 as defined in
  IETF RFC 7233 to a resource identified in the MPD. Segments typically contain efficiently coded
  media data and metadata conforming to or at least closely aligned with common media formats.

The MPD provides sufficient information for a client to provide a streaming service to the user by
accessing the Segments through the protocol specified in the scheme of the defined resources. In the
context of this document, the assumed protocol is HTTP/1.1. Such a client is referred to as a DASH Client
in the remainder of this document. However, this document does not provide a normative specification
for such a client.
Figure 1 shows a possible deployment architecture in which the formats defined in this document may
be used. Boxes with solid lines indicate devices that are mentioned in this document as they host or
process the formats defined in this document whereas dashed boxes are conceptual or transparent. This
document deals with the definition of formats that are accessible on the interface to the DASH Client,
indicated by the solid lines. Any other formats or interfaces are outside the scope of this document. In the
considered deployment scenario, it is assumed that the DASH Client has access to an MPD. The MPD
provides sufficient information for the DASH Client to provide a streaming service to the user by
requesting Segments from an HTTP server and demultiplexing, decoding and rendering the included
media streams.




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                                   Figure 1 — Example system for DASH formats

Although the formats are initially designed to be used in the above deployment scenario, their application
is obviously not restricted to this scenario. The particular aspect on "HTTP" in DASH is the usage of HTTP-
URLs in the MPD for the purpose to refer to Segments. The usage of HTTP-URLs enables unique location
information and it provides well-defined methods to access the resources, in particular HTTP GET and
HTTP partial GET.

4.2 DASH Client model
The design of the formats defined in this document is based on the informative client model as shown in
Figure 2. The figure illustrates the logical components of a conceptual DASH Client model and the relation
to other components in a media streaming application. In this figure, the DASH access engine receives the
Media Presentation Description (MPD), constructs and issues requests and receives Segments or parts of
Segments. The DASH Client may use metadata provided in the MPD for the selection of media components
by communication with the media streaming application. Such metadata may for example include codec
capability information, language codes, accessibility information and other information for the selection
of media components. In the context of this document, the output of the DASH access engine consists of
media in MPEG container formats (ISO/IEC 14496-12 ISO base media file format or ISO/IEC 13818-1
MPEG-2 Transport Stream), or parts thereof, together with timing information that maps the internal
timing of the continuous media to the timeline of the Media Presentation. In Annex F, guidance on
enabling the use of this document with other container formats is provided. In addition, the DASH access
engine may also receive and extract Events that are related to the media time. The events may be
processed in the DASH Client or may be forwarded to an event processing application in the execution
environment of the DASH Client.




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                                   Figure 2 — DASH Client model

Furthermore, Annex K defines the Service Description to support and guide DASH Client operations.

4.3 DASH data model overview
DASH is intended to support a media-streaming model for delivery of continuous media content in which
control lies primarily with the client. Clients may request data using the HTTP protocol from standard
web servers that have no DASH-specific capabilities. Consequently, this document focuses not on client
or server procedures but on the data formats used to provide a DASH Media Presentation.
The collection of encoded and deliverable versions of continuous media content and the appropriate
description of these form a Media Presentation. Media content is composed of a single or multiple
contiguous media content periods in time. Content in different media content periods may be completely
independent or certain periods of a Media Presentation may belong to the same Asset, for example a
Media Presentation is a collection of main program composed of multiple periods, each assigned to the
same Asset, and interleaved with inserted advertisement periods. Each media content period is
composed of one or multiple media content components, for example audio components in various
languages, different video components providing different views of the same program, subtitles in
different languages, etc. Each media content component has an assigned media content component
type, for example audio or video. The same asset over multiple periods may be identified by a DASH
descriptor enabling DASH Clients to maintain the continuity across periods' boundaries. Furthermore,
sub-assets composing the same asset may also be identified using a similar method. For instance, if an
asset is composed of multiple video components, sub-assets enable selecting the previously selected
video component after an ad insertion.
Each media content component may have several encoded versions, referred to as media streams. Each
media stream inherits the properties of the media content, the media content period, the media content
component from which it was encoded and, in addition, it gets assigned the properties of the encoding
process such as sub-sampling, codec parameters, encoding bitrate, etc. This descriptive metadata is
relevant for static and dynamic selection of media content components and media streams.




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                                   Figure 3 — DASH High-Level Data Model

DASH is based on a hierarchical data model aligned with the presentation in Figure 3. In the horizontal
domain, this shows the sequence in time of the Media Presentation, and in the vertical domain it shows
the choices offered in a Media Presentation, to be selected by the DASH Client in a static and dynamic
manner. A DASH Media Presentation is described by a Media Presentation Description document. This
describes the sequence of Periods (see subclause5.3.2) in time that make up the Media Presentation. A
Period typically represents a media content period during which a consistent set of encoded versions of
the media content is available i.e. the set of available bitrates, languages, captions, subtitles etc. does not
change during a Period.
Within a Period, material is arranged into Adaptation Sets (see subclause 5.3.3). An Adaptation Set
represents a set of interchangeable encoded versions of one or several media content components (see
subclause 5.3.4). For example, there may be one Adaptation Set for the main video component and a
separate one for the main audio component. If there is other material available, for example captions or
audio descriptions, then these may each have a separate Adaptation Set. Material may also be provided
in multiplexed form, in which case interchangeable versions of the multiplex may be described as a single
Adaptation Set, for example an Adaptation Set containing both the main audio and main video for a
Period. Each of the multiplexed components may be described individually by a media content
component description. In the third edition, the concept of Preselections (see subclause 5.3.11) was
added in order to enable the combination of different Adaptation Sets into a single decoding instance and
user experience.




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An Adaptation Set contains a set of Representations (see subclause 5.3.5). A Representation describes a
deliverable encoded version of one or several media content components. A Representation includes one
or more media streams (one for each media content component in the multiplex). Any single
Representation within an Adaptation Set is sufficient to render the contained media content components.
By collecting different Representations in one Adaptation Set, the Media Presentation author expresses
that the Representations represent perceptually equivalent content. Typically, this means that clients
may switch dynamically from Representation to Representation within an Adaptation Set in order to
adapt to network conditions or other factors. Switching refers to the presentation of decoded data up to
a certain time t, and presentation of decoded data of another Representation from time t onwards. If
Representations are included in one Adaptation Set, and the client switches properly, the Media
Presentation is expected to be perceived seamless across the switch. DASH Clients may ignore
Representations containing unsupported codecs or rendering technologies, or that are otherwise
unsuitable.
Within a Representation, the content may be divided in time into Segments (see subclause 5.3.9 and
Clause 5.15) for proper accessibility and delivery. In order to access a Segment, a URL is provided for
each Segment. Consequently, a Segment is the largest unit of data that can be retrieved with a single HTTP
request. For segmented Representations, two types of Segments are differentiated: Initialization
Segments contain static metadata for the Representation, Media Segments contain media samples and
advance the timeline. Representations may also be organized by a single self-initialitizing Segment which
contains both initialization information as well as media data.
     NOTE       The MPD can also include a byte range with the URL, meaning that the Segment is contained in the
     provided byte range of some larger resource. An intelligent client can in principle construct a single request for
     multiple Segments, but this is not the typical case.

DASH defines different timelines. One of the key features in DASH is that encoded versions of different
media content components share a common timeline. The presentation time of each access unit within
the media content is mapped to the global common presentation timeline for synchronization of different
media components and to enable seamless switching of different coded versions of the same media
components. This timeline is referred to as Media Presentation timeline. The Media Segments themselves
contain accurate Media Presentation timing information enabling synchronization of components and
seamless switching.
A second timeline is used to signal to clients the availability time of Segments at the specified HTTP-URLs.
These times are referred to as Segment availability times and are provided in wall-clock time. Clients
typically compare the wall-clock time to Segment availability times before accessing the Segments at the
specified HTTP-URLs in order to avoid erroneous HTTP request responses. For static Media
Presentations, the availability times of all Segments are identical. For dynamic Media Presentations, the
availability times of segments depend on the position of the Segment in the Media Presentation timeline,
i.e. the Segments get available over time. Whereas static Media Presentations are suitable to offer On-
Demand content, dynamic Media Presentations are mostly suitable to offer live services.
Segments are assigned a duration, which is the duration of the media contained in the Segment when
presented at normal speed. Typically, all Segments in a Representation have the same or a roughly similar
duration. However, Segment duration may differ from Representation to Representation. A DASH
presentation can be constructed with relative short segments (for example a few seconds), or longer
Segments including a single Segment for the whole Representation.
Short Segments are usually required in the case of live content, where there are restrictions on end-to-
end latency. The duration of a Segment is typically a lower bound on the end-to-end latency. DASH does
not support the possibility for Segments to be extended over time: a Segment is treated as an object as a
complete and discrete unit that is made available in its entirety. However, this does not prevent from
applying advanced HTTP transfer modes such as chunked transfer to optimize deployments and reduce
end-to-end latency.



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In particular, self-initializing Segments may be further subdivided into Subsegments each of which
contains a number of complete access units. There may also be media-format-specific restrictions on
Subsegment boundaries; for example, in the ISO base media file format, a Subsegment contains a number
of complete movie fragments. If a Segment is divided into Subsegments, they are described by a compact
Segment index, which provides the presentation time range in the Representation and corresponding
byte range in the Segment occupied by each Subsegment. Clients may download this index in advance
and then issue requests for individual Subsegments.
Clients may switch from Representation to Representation within an Adaptation Set at any point in the
media. However, switching at arbitrary positions can be complex because of coding dependencies within
Representations and other factors, potentially requiring parallel download and decoding in the DASH
Client. It is also desirable to avoid downloading 'overlapping' data i.e. media for the same time period
from multiple Representations. Usually, switching is simplest at a stream access point (SAP) in the new
stream. In order to formalize requirements related to switching, DASH defines a codec-independent
concept of stream access points and identifies various types of stream access points.
Segmentation and Subsegmentation may be performed in ways that make switching simpler. For
example, in the very simplest cases, each Segment or Subsegment begins with a SAP and the boundaries
of Segments or Subsegments are aligned across the Representations of one Adaptation Set. In this case,
switching Representation involves playing to the end of a (Sub)Segment of one Representation and then
playing from the beginning of the next (Sub)Segment of the new Representation. The Media Presentation
Description and Segment Index provide various indications, which describe properties of the
Representations that may make switching simpler. Profiles of this document can then require these
indicators to be set in certain ways, making implementation of clients for those profiles simpler at the
cost of requiring the media data to obey the indicated constraints.
For On-Demand services, the Media Presentation Description is typically a static document describing
the various aspects of the Media Presentation. All Segments of the Media Presentation are available on
the server once any Segment is available. For live services, however, Segments become available with
time as the content is produced and therefore, dynamic Media Presentations are suitable. The Media
Presentation Description may be updated regularly to reflect changes in the presentation over time, for
example Segment URLs for new segments may be added to the MPD and those for old, no longer available
Segments may be removed. However, if Segment URLs are described using a template, this updating may
not be necessary except for some redundancy/failover cases.
Events may be provided in the MPD or within a Representation in order to signal aperiodic information
to the DASH Client or to an application. Events are timed, i.e. each event starts at a specific media
presentation time and typically has a duration. Events include DASH-specific signalling or application-
specific events. Examples for events are indication of MPD updates on the server, possibly providing the
detailed update as part of the messages. The event mechanisms may also be used to deliver media time
related application events, for example information about ad insertion opportunities, etc.

4.4 Protocols
This document may be deployed in a system according Figure 1 for which
— the DASH Client includes a client as specified in IETF RFC 7230[22], IETF RFC 7231, IETF RFC 7232[23],
  IETF RFC 7233, IETF RFC 7234[24] and IETF RFC 7235[25], and

— the HTTP Server hosting the DASH Segments complies with a server as specified in IETF RFC 7230,
  IETF RFC 7231, IETF RFC 7232, IETF RFC 7233, IETF RFC 7234 and IETF RFC 7235.

DASH Clients typically use the HTTP GET method or the HTTP partial GET method, as specified in
IETF RFC 7231:2014, subclause 4.3, to access Segments or parts thereof.
The use of HTTP as a transport protocol inherently provides many advanced features such as caching
(IETF RFC 7233), redirection (IETF RFC 7231) or authentication (IETF RFC 7235). As another example,


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transport security in HTTP-based delivery may be achieved by using HTTP over TLS as specified in
IETF RFC 2818. Yet another example is the use of HTTP state management mechanisms (also known as
Cookies) as defined in IETF RFC 6265[21].
However, the formats defined in this document may also be used with other protocols. In particular, the
objects may be delivered with any object delivery protocol that provides a binding between an HTTP-
URL and the delivered object.

4.5 Media stream and Representation properties
4.5.1 Switching and Random Access Support
The formats defined in this document are designed to provide a good user experience even in cases where
the access bandwidth between the DASH segment delivery function or the cache varies. A key
functionality is the ability of the DASH Client to seamlessly switch across different Representations of the
same media component without severely impacting the user experience.
Assume two Representations A and B. A switch from Representation A to Representation B at media time
t is considered seamless, if the result of the presentation after this switch is applied is the same as if
Representation A was decoded from the beginning and presented up to time t and Representation B is
decoded from the beginning and presented from time t onwards.
Media Presentations may provide different Representations in one Adaptation Set representing the same
media component. If such Representations are properly time-aligned (as expected by the Media
Presentation), then DASH Clients may apply seamless switching across different Representations
provided in one Adaptation Set at any time t to obtain a perceptually continuous experience.
However, in practical implementations, the operation of seamless switching can be complex, as switching
at time t can require parallel download and decoding of two Representations. Therefore, providing
suitable switching opportunities in regular time intervals simplifies client implementations. This
document provides means for providing suitable switching opportunities and in addition provides
abilities to signal the position and media time of the switching opportunities.
For this purpose, this subclause defines three relevant concepts to support seamless switching:
— Media stream access points in subclause 4.5.2 to signal positions where to easily switch to a
  Representation, and in addition where to suitable access a Representation at start-up or seek.

— Non-overlapping Segments and Subsegments in subclause 4.5.3 to signal that, at the signalled stream
  access points, no overlap decoding of Representations is necessary in order to provide a continuous
  switch.

— Segment concatenation in subclause 4.5.4 to signal that the concatenation of two Representations at
  a switch point results in a conforming bitstream.

These three properties are neither sufficient nor necessary for seamless switching, but certain
implementation or profiles may use these properties in order to simplify practical implementations.
4.5.2 Media stream access points
To be able to access a Representation, each of the media streams that are contained in the Representation
requires media stream access points (SAPs). SAPs in the context of this document refer to the SAP
definition in ISO/IEC 14496-12. ISO/IEC 14496-12 SAP types defines different types of SAPs that provide
a relationship between the position where a stream can be accessed, relative to the start of a Segment or
Subsegment, its presentation time and the presentation times and position of other access unit in the
stream. The same SAP type definitions shall apply for this document.




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A SAP is a position in a Representation that enables playback of a media stream to be started using only
the information contained in Representation data starting from that position onwards (preceded by
initializing data in the Initialization Segment, if any).
For each SAP, the properties, I SAP , T SAP , I SAU , T DEC , T EPT , and T PTF , are identified and defined in
ISO/IEC 14496-12 SAP properties.
In particular, T SAP is defined to be the earliest presentation time of any access unit of the media stream
such that all access units of the media stream with presentation time greater than or equal to T SAP can be
correctly decoded using data in the Representation starting at byte position I SAP and no data before I SAP .
NOTE The type of SAP is dependent only on which access units are correctly decodable and their arrangement in
presentation order. The types informally correspond with some common terms:
— Type 1 corresponds to what is known in some coding schemes as a “Closed GoP random access point” (in
    which all access units, in decoding order, starting from I SAP can be correctly decoded, resulting in a
    continuous time sequence of correctly decoded access units with no gaps) and in addition the access unit in
    decoding order is also the first access unit in presentation order.

—    Type 2 corresponds to what is known in some coding schemes as a “Closed GoP random access point”, for
     which the first access unit in decoding order in the media stream starting from I SAU is not the first access unit
     in presentation order.

—    Type 3 corresponds to what is known in some coding schemes as an “Open GoP random access point”, in
     which there are some access units in decoding order following I SAU that cannot be correctly decoded and have
     presentation times less than T SAP .

—    Type 4 corresponds to what is known in some coding schemes as a "gradual decoder refresh (GDR) random
     access point”, in which there are some access units in decoding order starting from and following I SAU that
     cannot be correctly decoded and have presentation times less than T SAP .

—    Type 5 corresponds to the case for which there is at least one access unit in decoding order starting from I SAP
     that cannot be correctly decoded and has presentation time greater than T DEC and where T DEC is the earliest
     presentation time of any access unit starting from I SAU .

—    Type 6 corresponds to the case for which there is at least one access unit in decoding order starting from I SAP
     that cannot be correctly decoded and has presentation time greater than T DEC and where T DEC is not the
     earliest presentation time of any access unit starting from I SAU .

SAPs are mostly relevant for two purposes in this document:
1) For randomly accessing a Media Presentation, for example at the startup of the Media Presentation,
   after a seeking operation or after an error event especially in live cases.

2) To permit switching between two Representations whereby for seamless switching each media
   stream i in the switch-from Representation is presented up to T SAP (i) and each media stream i in the
   switch-to Representation is presented from the media stream access point starting from T SAP (i).

There are obvious benefits for the client to be able to identify SAPs and one or several of their properties,
in particular I SAP and T SAP for each media stream without requiring to access data at positions following
I SAP . DASH provides functionalities to explicitly signal such information by using signals in the MPD or the
Segment Index or combinations of the two.
4.5.3 Non-overlapping Segments and Subsegments
Segments and Subsegments represent units for which the client has an exact map on how to access and
download the unit using HTTP GET or HTTP partial GET methods.
Segments (respectively Subsegments) are typically generated by segmenting encoded media streams into
appropriate units. If the generation of Segments (respectively Subsegments) adheres to certain rules,

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then the sequential decoding and presentation of Media Segments (respectively Subsegments) results in
a correct presentation of all contained media streams. To define such rules the notion of “non-
overlapping” segments (respectively Subsegments) is defined as follows.
Let
— T E (S,i) be the earliest presentation time of any access unit in stream i of a Segment or Subsegment S,
  and

— T L (S,i) be the latest presentation time of any access unit in stream i of a Segment or Subsegment S.

Then two segments (respectively Subsegments), A and B, which may or may not be of different
Representations, are non-overlapping if T L (A,i) < T E (B,i) for all media streams i in A and B or if
T L (B,i) < T E (A,i) for all streams i in A and B where i refers to the same media component.
The property of “non-overlapping” segments (respectively Subsegments) is used to define the terms
Segment alignment and Subsegment alignment.
4.5.4 Conforming Segment track
A sequence of Segments (respectively Subsegments) is a “conforming Segment (respectively
Subsegment) track” if the concatenation of all Segments (respectively Subsegments) in the sequence of
Segments (respectively Subsegments) results in a bitstream that conforms to the media formats in use
(including container and codecs).
NOTE   This implies that a player conforming to the media format can play the resulting bitstream.
4.6 Brands
The ISO base media file format, ISO/IEC 14496-12, defines the concept of brands; brand values identify
specifications or conformance points. This document specifies several brands, as listed in Table 1.
                                Table 1 — Brands defined in this document

 Brand identifier          Clause in this                          Informative description
                             document
       emsg                    5.10.3.3                                Event message box.
       miss                     6.2.6                               Missing content segment
       msdh                    6.3.4.2              Media Segment conforming to the general format type for
                                                                 ISO base media file format.
       msix                    6.3.4.3              Media Segment conforming to the Indexed Media Segment
                                                           format type for ISO base media file format.
       dsms                    6.3.5.1               Media Segment conforming to the DASH Self-Initializing
                                                    Media Segment format type for ISO base media file format.
       dash                    6.3.5.2            ISO base media file format file specifically designed for DASH
                                                         including movie fragments and Segment Index.
       sims                    6.4.4.4                Media Segment conforming to the Sub-Indexed Media
                                                       Segment format type for ISO base media file format.
       sisx                    6.4.6.2             Single Index Segment used to index MPEG-2 TS based Media
                                                                           Segments.
       risx                    6.4.6.3               Representation Index Segment used to index MPEG-2 TS
                                                                     based Media Segments.




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        ssss                       6.4.6.4        Subsegment Index Segment used to index MPEG-2 TS based
                                                                     Media Segments.
        lmsg                       7.3.1          Last Media Segment indicator for ISO base media file format.
        dums                       8.11.3          Segment sequence indicator in ISO base media file format
                                                                   broadcast TV profile.

4.7 Schemes
This document specifies several schemes as listed in Table 2.
                                   Table 2 — Schemes defined in this document

 Scheme identifier                                      Clause in Informative description
                                                        this
                                                        document
 urn:mpeg:dash:schema:mpd:2011                          Annex B       The namespace of the XML schema for
                                                                      the MPD.
 urn:mpeg:dash:period-                                  5.3.2.4       Period continuity signalling.
 continuity:2015
 urn:mpeg:dash:period-                                  5.3.2.4       Period connectivity signalling.
 connectivity:2015
 urn:mpeg:dash:adaptation-set-                          5.3.3.5       Scheme Identifier for switching across
 switching:2016                                                       Adaptation Sets.
 urn:mpeg:dash:preselection:2016                        5.3.11.2      Preselection descriptor.
 urn:mpeg:dash:reset:2016                               5.4.2         MPD reset indicator.
 urn:mpeg:dash:resolve-to-zero:2013                     5.5.3         xlink resolution to zero element.
 urn:mpeg:dash:mp4protection:2011                       5.8.5.2       Protection schemes identified by the
                                                                      Scheme Type within the Scheme Type
                                                                      Box of the Protection Scheme
                                                                      Information Box of ISO/IEC 14496-12.
 urn:mpeg:dash:13818:1:CA_descriptor                    5.8.5.2       Conditional Access System used for
 :2011                                                                ISO/IEC 13818-1 (MPEG-2 Transport
                                                                      Stream).
 urn:mpeg:dash:14496:10:frame_packin                    5.8.5.3       Frame-packing arrangement.
 g_arrangement_type:2011
 urn:mpeg:dash:13818:1:stereo_video_                    5.8.5.3       Frame-packing arrangement.
 format_type:2011
 urn:mpeg:dash:23003:3:audio_channel                    5.8.5.4       Channel configuration.
 _configuration:2011
                                                                      Legacy format for backward-
                                                                      compatibility, it is recommended to use
                                                                      the signalling as defined in
                                                                      ISO/IEC 23091-3 instead.
 urn:mpeg:dash:outputChannelPosition                    5.8.5.4       A list of output channel position to
 List:2012                                                            signal individual speaker positions as
                                                                      defined in ISO/IEC 23001-8.
                                                                      Legacy format for backward-
                                                                      compatibility, it is recommended to use


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 Scheme identifier                       Clause in Informative description
                                         this
                                         document
                                                      the signalling as defined in
                                                      ISO/IEC 23091-3 instead.
 urn:mpeg:dash:role:2011                 5.8.5.5      DASH role scheme.
 urn:mpeg:dash:stereoid:2011             5.8.5.6      Scheme for multiple views media
                                                      content description.
 urn:mpeg:dash:utc:ntp:2014              5.8.5.7      UTC Timing scheme for NTP servers.
 urn:mpeg:dash:utc:sntp:2014             5.8.5.7      UTC Timing scheme for SNTP servers.
 urn:mpeg:dash:utc:http-head:2014        5.8.5.7      UTC Timing scheme for HTTP date
                                                      headers.
 urn:mpeg:dash:utc:http-xsdate:2014      5.8.5.7      UTC Timing scheme for HTTP server
                                                      with xsdate format.
 urn:mpeg:dash:utc:http-iso:2014         5.8.5.7      UTC Timing scheme for HTTP server
                                                      with ISO timing format.
 urn:mpeg:dash:utc:http-ntp:2014         5.8.5.7      UTC Timing scheme for HTTP server
                                                      with NTP format.
 urn:mpeg:dash:utc:direct:2014           5.8.5.7      UTC Timing scheme for direct inclusion
                                                      of time.
 urn:mpeg:dash:audio-receiver-           5.8.5.8      Scheme identifier for receiver mix.
 mix:2014
 urn:mpeg:dash:mpd-as-linking:2015       5.8.5.9      MPD Adaptation Set Linking scheme.
 urn:mpeg:dash:sai:2015                  5.8.5.10     Sub-Asset Scheme Identifier.
 urn:mpeg:dash:client-                   5.8.5.11     Client Authentication scheme.
 authentication:2015
 urn:mpeg:dash:content-                  5.8.5.11     Content Access Authorization scheme.
 authorization:2015
 urn:mpeg:dash:audio-                    5.8.5.12     Scheme to indicate content
 interactivity:2016                                   interactivity.
 urn:mpeg:dash:qr-equivalence:2019       5.8.5.13     Quality Equivalence Descriptor
 urn:mpeg:dash:output-                   5.8.5.14.2   Scheme to indicate the HDCP output
 protection:hdcp:2020                                 protection
 urn:mpeg:dash:event:2012                5.10.4       DASH event signalling scheme.
 urn:mpeg:dash:event:callback:2015       5.10.4.5     DASH call back event.
 urn:mpeg:dash:event:ttfn:2016           5.10.4.6     Presentation Termination Event.
 urn:mpeg:dash:mpd-chaining:2016         5.11.1       MPD chaining descriptor.
 urn:mpeg:dash:fallback:2016             5.11.2       MPD fallback descriptor.
 urn:mpeg:dash:profile:full:2011         8.2          Identifier for Full profile.
 urn:mpeg:dash:profile:isoff-on-         8.3          Identifier for ISO Base media file format
 demand:2011                                          On Demand profile.


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 Scheme identifier                        Clause in Informative description
                                          this
                                          document
 urn:mpeg:dash:profile:isoff-              8.4       Identifier for ISO Base media file format
 live:2011                                           live profile.
 urn:mpeg:dash:profile:isoff-              8.5       Identifier for ISO Base media file format
 main:2011                                           main profile.
 urn:mpeg:dash:profile:mp2t-               8.6       Identifier for MPEG-2 TS main profile.
 main:2011
 urn:mpeg:dash:profile:mp2t-               8.7       Identifier for MPEG-2 TS simple profile.
 simple:2011
 urn:mpeg:dash:profile:isoff-ext-          8.8       Identifier for ISO Base media file format
 live:2014                                           extended live profile.
 urn:mpeg:dash:profile:isoff-ext-on-       8.9       Identifier for ISO Base media file format
 demand:2014                                         extended On Demand profile.
 urn:mpeg:dash:profile:isoff-              8.10      Identifier for ISO Base media file format
 common:2014                                         common profile.
 urn:mpeg:dash:profile:isoff-              8.11      Identifier for ISO Base media file format
 broadcast:2015                                      broadcast TV profile
 urn:mpeg:dash:profile:cmaf:2019           8.12      Identifier for DASH core profile for
                                                     CMAF content
 urn:mpeg:dash:profile:cmaf-               8.12      Identifier for DASH extended profile for
 extended:2019                                       CMAF content
 urn:mpeg:dash:event:catchall:2020         A.13      URI for subscribing to all application
                                                     event and timed metadata received by
                                                     DASH Client
 urn:mpeg:dash:srd:2014                    H.1       Scheme identifier for Spatial
                                                     Relationship Description. If signalled in
                                                     an Adaptation Set, the Adaptation Set
                                                     shall follow the description in Annex H.
 urn:mpeg:dash:srd:dynamic:2016            H.1       Scheme to signal dynamic SRD. If
                                                     signalled in an Adaptation Set, the
                                                     Adaptation Set shall follow the
                                                     description in Annex H.
 urn:mpeg:dash:urlparam:2014               I.2       Scheme identifier for indicating usage
                                                     of the flexible insertion of URL query
                                                     parameters. If signalled in an
                                                     Adaptation Set, the Adaptation Set shall
                                                     follow the description in Annex I.
 urn:mpeg:dash:urlparam:2016               I.3       Scheme identifier for indicating usage
                                                     of the extended parameterization
                                                     scheme. If signalled in an Adaptation
                                                     Set, the Adaptation Set shall follow the
                                                     description in Annex I.
 urn:mpeg:dash:resolutionSwitching:2       Annex J   Descriptor for Open GOP resolution
 016                                                 change


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5 Media Presentation
5.1 General
A Media Presentation is a collection of data that is accessible to a DASH Client to provide a streaming
service to the user.
A Media Presentation is described by an MPD including possible updates of the MPD. The MPD is defined
in subclause 5.2 and the MPD update mechanism is defined in subclause 5.4. Assembly of a fragmented
MPD is defined in subclause 5.5. The data model that constitutes a Media Presentation is defined in
subclause 5.2.3.5. In subclause 5.6, the formats and processing of URLs in the MPD is introduced. Program
information is defined in subclause 5.7. Descriptors associated to Representations or collections thereof
are provided in subclause 5.8. DASH metric collection description is specified in subclause 5.9. Subclause
5.10 defines Events and Event Streams. Subclause 5.11 defines MPD chaining. Subclause 5.12 defines the
Producer Reference Time. Subclause 5.13 defines how to deal with leap seconds. Subclause 5.14 defines
content popularity rates.

5.2 Media Presentation Description
5.2.1 General
The Media Presentation Description (MPD) is a document that contains metadata required by a DASH
Client to construct appropriate HTTP-URLs to access Segments and to provide the streaming service to
the user.
     NOTE 1    Actual playback of the media streams included in the Representations is not controlled by the MPD
     information. Playback is controlled by the media engine operating on the media streams contained in the
     Representations in the usual way.

The format of URLs in the MPD and the process to generate HTTP GET and partial GET requests from
URLs provided in the MPD is defined in subclause 5.6.
The MPD is an XML document that shall be formatted according to the XML schema provided in Annex B.
Some context on the schema is provided in subclause 5.2.2.
The extension of the DASH XML schema (as provided in Annex B), in particular the addition of XML
attributes or elements in the DASH namespace, is reserved to ISO/IEC. Elements and attributes that have
been added to the namespace compared to earlier revisions of this document are documented in
subclause 5.2.3.
The MPD shall be authored such that, after XML attributes or elements in the DASH namespace but not in
the XML schema documented in Annex B are removed, the result is a valid XML document formatted
according to that schema and that conforms to this document.
In addition, the MPD shall be authored such that, after XML attributes or elements in the other
namespaces than the DASH namespace are removed, the result is a valid XML document formatted
according to that schema and that conforms to this document.
     NOTE 2     Based on the last two paragraphs, if DASH Clients remove all XML attributes and elements from the
     MPD in the DASH namespace and in other namespaces that are not in the XML schema documented in Annex B,
     the MPD results in a valid XML document which complies with this document. The DASH Client can use such a
     resulting MPD for presentation of a conforming Media Presentation.

In addition, rules for authoring of MPDs conforming to a specific profile are provided in 8. Certain profiles
as defined in 8 may permit ignoring certain elements and attributes. However, this has no effect on the
general MPD conformance rules defined in this subclause.
Following XML rules, the MPD document shall contain exactly one MPD element as specified in subclause
5.2.3.5.


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The MIME type of the MPD document is defined in Annex C.
The encoding of the MPD shall be UTF-8 as defined in IETF RFC 3629. All data provided in extension
namespaces shall be UTF-8 as defined in IETF RFC 3629. If binary data needs to be added, it shall be
included in Base64 as described in IETF RFC 4648 within a UTF-8 encoded element with a proper name
space or identifier, such that an XML parser knows how to process or ignore it.
The delivery of the MPD is outside the scope of this document. However, if the MPD is delivered over
HTTP, then the MPD document may be transfer encoded for transport, as described in IETF RFC 7230.
     NOTE 3      As an example, the GZip algorithm as defined in IETF RFC 1952[3] can be used for Transfer-encoding.

     NOTE 4     MPD encryption is not a normative part of this document. However, if operating in an insecure
     environment and required by the content/service provider, elements and attributes of MPD can be encrypted
     to protect their confidentiality by using the syntax and processing rules specified in the “XML Encryption
     Syntax and Processing” by W3C[8].

     NOTE 5     MPD integrity protection is not a normative part of this document. However, if operating in an
     insecure environment and required by the content/service provider, the digital signing and verification
     procedures specified in the “XML Signature Syntax and Processing” by W3C[9] can be used to protect data origin
     authenticity and integrity of the MPD.

Selected MPD examples are provided in Annex G.
5.2.2 Schema
The initial part of the XML schema of the MPD is provided below, including namespace and other
definitions. Specific types, elements and attributes are introduced in the remainder of this subclause. The
complete normative MPD schema is provided in Annex B. In case of inconsistencies, the schema in
Annex B takes precedence both over the XML syntax snippets provided in this clause and all prose text in
this document.
Implementors are supported by files available at: https://standards.iso.org/iso-iec/23009/-1/ed-5/en.
These files include the schema as well as all examples provided in Annex G.
 <xs:schema xmlns:xs="http://www.w3.org/2001/XMLSchema" xmlns:xlink="http://www.w3.org/1999/xlink"
 xmlns="urn:mpeg:dash:schema:mpd:2011"                targetNamespace="urn:mpeg:dash:schema:mpd:2011"
 elementFormDefault="qualified" attributeFormDefault="unqualified">
     <xs:import                                              namespace="http://www.w3.org/1999/xlink"
 schemaLocation="http://www.w3.org/XML/2008/06/xlink.xsd">
         <xs:annotation>
                 <xs:documentation xml:lang="en">
                 xlink import. URL is per https://www.w3.org/TR/xlink/ Users are encouraged to store
 a local copy
         </xs:documentation>
         </xs:annotation>
     </xs:import>
     <xs:annotation>
         <xs:appinfo>Media Presentation Description</xs:appinfo>
         <xs:documentation xml:lang="en">
                 This Schema defines the Media Presentation Description for MPEG-DASH.
         </xs:documentation>
     </xs:annotation>
     <xs:element name="MPD" type="MPDtype">
         <xs:annotation>
                 <xs:documentation xml:lang="en">
                 MPD: main element
         </xs:documentation>
         </xs:annotation>
     </xs:element>
     <xs:complexType name="MPDtype">
         <xs:annotation>
                 <xs:documentation xml:lang="en">
                 MPD Type
         </xs:documentation>
         ...
         </xs:annotation>



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     </xs:complexType>
 </xs:schema>

5.2.3 Elements and Attributes added in revisions and amendments
5.2.3.1 Overview
In amendments and revisions of this document, the schema defined in Annex B may have been extended.
In order to track this, subclause 5.2.3 tracks the addition of elements and attributes.
By following the rules in subclause 5.2.1, a single MPD can be authored for clients that implement
different versions of this document.
5.2.3.2 Elements and Attributes added in the second edition of this document (ISO/IEC 23009-
1:2014)
ISO/IEC 23009-1:2014 added the following elements and attributes to the schema defined in Annex B
compared to the 2012 edition (ISO/IEC 23009-1:2012/Cor 1:2013):
— MPD@publishTime

— MPD.EssentialProperty

— MPD.SupplementalProperty

— Period.AssetIdentifier

— Period.EventStream

— Period.SupplementalProperty

— RepresentationBase.InbandEventStream

— SegmentBase@availabilityTimeOffset

— SegmentBase@availabilityTimeComplete

— BaseURL@availabilityTimeOffset

— BaseURL@availabilityTimeComplete

— Subset@id

— SegmentTimeline.S@n

5.2.3.3 Elements and Attributes added in the third edition of this document (ISO/IEC 23009-
1:2019)
ISO/IEC 23009-1:2019 added the following elements and attributes to the schema defined in Annex B
compared to the 2014 revision (ISO/IEC 23009-1:2014) of this document:
— MPD.UTCTiming

— Period.GroupLabel

— Period.Preselection

— Period.EmptyAdaptationSet

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— RepresentationBase.Switching

— RepresentationBase.RandomAccess

— RepresentationBase.GroupLabel

— RepresentationBase.Label

— RepresentationBase@selectionPriority

— Representation@tag

— Representation@associationId

— Representation@associationType

— SegmentBase@presentationDuration

— SegmentBase@timeShiftBufferDepth

— SegmentTimeline.S@n

— SegmentTimeline.S@k

5.2.3.4 Elements and Attributes added in the fourth edition (ISO/IEC 23009-1)
This revision adds the following elements and attributes to the schema defined in Annex B compared to
the 2019 revision (ISO/IEC 23009-1:2019) of this document:
— MPD.ServiceDescription

— MPD.InitializationSet

— MPD.InitializationGroup

— MPD.InitializationPresentation

— MPD.LeapSecondInformation

— Period.ServiceDescription

— EventStream@presentationTimeOffset

— Event@contentEncoding

— AdaptationSet@initializationSetRef

— RepresentationBase.ProducerReferenceTime

— RepresentationBase.ContentPopularityRate

— Preselection@order




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— SegmentBase.FailoverContent

— SegmentBase@eptDelta

— MultiSegmentBase@endNumber

— BaseURL@timeShiftBufferDepth

5.2.3.5 Elements and Attributes added in the fifth edition (ISO/IEC 23009-1:2021)
This revision adds the following elements and attributes to the schema defined in Annex B compared to
the 2020 revision (ISO/IEC 23009-1:2020) of this document:
— MPD.ContentProtection

— MPD.PatchLocation

— Period.ContentProtection

— AdaptationSet@initializationPrincipal

— RepresentationBase.Resync

— RepresentationBase@containerProfiles

— Representation.ExtendedBandwidth

— ContentProtection@ref

— ContentProtection@refId

— ContentProtection@robustness

— RepresentationBase.OutputProtection

5.3 Hierarchical data model
5.3.1 General
5.3.1.1   Overview
A Media Presentation as described in the MPD consists of a sequence of one or more Periods as described
in subclause 5.3.2.
— Each Period contains one or more Adaptation Sets as described in subclause 5.3.3. In case an
  Adaptation Set contains multiple media content components, then each media content component is
  described individually as defined in subclause 5.3.4.

— Each Adaptation Set contains one or more Representations as described in subclause 5.3.5.

— Adaptation Sets, Representations and Sub-Representations share common attributes and elements
  that are described in subclause 5.3.7.

— Preselections may be used to select experiences as defined in subclause 5.3.11. Each Preselection
  references to one or more media content components within one or multiple Adaptation Sets.


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— Each Period may contain one or more Subsets that restrict combination of Adaptation Sets for
  presentation. Subsets are described in subclause 5.3.8.

— Each Representation consists of one or more Segments described in sublause 5.15. Segment
  Information is introduced in subclause 5.3.9. Segments contain media data and/or metadata to
  access, decode and present the included media content. Representations may also include Sub-
  Representations as defined in subclause 5.3.5.6 to describe and extract partial information from a
  Representation.

— Each Segment consists of one or more Subsegments. Subsegments are described in subclause 6.2.3.2.

— Labels for annotation of different hierarchies are defined in subclause 5.3.10.

The summary of the semantics of the attributes and elements within an MPD element are provided in
Table 3, subclause 5.3.1.2. The XML syntax of the MPD element is provided in subclause 5.3.1.3.

5.3.1.2      Semantics
                                   Table 3 — Semantics of MPD element

   Element or Attribute Name                   Use       Description
   MPD                                                   The root element that carries the Media
                                                         Presentation Description for a Media
                                                         Presentation.
       @id                                      O        specifies an identifier for the Media
                                                         Presentation. It is recommended to use an
                                                         identifier that is unique within the scope in
                                                         which the Media Presentation is published.
                                                         If not specified, no MPD-internal identifier is
                                                         provided. However, for example the URL to the
                                                         MPD may be used as an identifier for the Media
                                                         Presentation.
       @profiles                                M        specifies a list of Media Presentation profiles as
                                                         described in 8.
                                                         The contents of this attribute shall conform to
                                                         either the pro-simple or pro-fancy
                                                         productions of IETF RFC 6381:2011, Section
                                                         4.5, without the enclosing DQUOTE characters,
                                                         i.e. including only the unencodedv or
                                                         encodedv elements respectively.
                                                         As profile identifier a restricted URI format as
                                                         defined in 8.1 shall be used.




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     Element or Attribute Name         Use        Description
       @type                            OD        specifies the type of the Media Presentation.
                                                  For static Media Presentations
                                     default:
                                                  (@type="static"), all Segments are
                                     static
                                                  available between the
                                                  @availabilityStartTime and the
                                                  @availabilityEndTime. For dynamic
                                                  Media Presentations (@type="dynamic"),
                                                  Segments typically have different availability
                                                  times. For details, refer to subclause 5.3.9.5.3.
                                                  In addition, the Media Presentation
                                                  Description may be updated in dynamic Media
                                                  Presentations, i.e. the
                                                  @minimumUpdatePeriod may be
                                                  present.
                                                       NOTE Static Media Presentations are
                                                       typically used for On-Demand services,
                                                       whereas dynamic Media Presentations are
                                                       used for live services.

       @availabilityStartTime           CM        For @type='dynamic', this attribute shall
                                                  be present. In this case, it specifies the anchor
                                     shall be
                                                  for the computation of the earliest availability
                                    present for
                                    @type='d      time (in UTC) for any Segment in the Media
                                                  Presentation.
                                    ynamic'
                                                  For @type=static” if present, it specifies
                                                  the Segment availability start time for all
                                                  Segments referred to in this MPD. If not
                                                  present, all Segments described in the MPD
                                                  shall become available at the time the MPD
                                                  becomes available.
       @publishTime                     OD        specifies the wall-clock time when the MPD
                                                  was generated and published at the origin
                                     shall be
                                                  server. MPDs with a later value of
                                    present for
                                                  @publishTime shall be an update as
                                    @type=′d
                                                  defined in subclause 5.4 to MPDs with earlier
                                    ynamic′
                                                  @publishTime.
       @availabilityEndTime             O         specifies the latest Segment availability end
                                                  time for any Segment in the Media
                                                  Presentation. When not present, the value is
                                                  unknown.
       @mediaPresentationDuratio        O         specifies the duration of the entire Media
       n                                          Presentation. If the attribute is not present, the
                                                  duration of the Media Presentation is
                                                  unknown.
                                                  This attribute shall be present when neither
                                                  the attribute
                                                  MPD@minimumUpdatePeriod nor the
                                                  Period@duration of the last Period are
                                                  present.




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   Element or Attribute Name          Use     Description
       @minimumUpdatePeriod            O      If this attribute is present, it specifies the
                                              smallest period between potential changes to
                                              the MPD. This can be useful to control the
                                              frequency at which a client checks for updates.
                                              From a client perspective, after a client fetches
                                              an MPD, it specifies the minimum period
                                              during which the MPD remains valid. Validity
                                              is defined in subclause 5.4.
                                              If this attribute is not present, it indicates that
                                              the MPD does not change.
                                              If MPD@type is not 'dynamic',
                                              @minimumUpdatePeriod shall not be
                                              present.
                                              Details on the use of the value of this attribute
                                              are specified in subclause 5.4.
       @minBufferTime                  M      specifies a common duration used in the
                                              definition of the Representation data rate (see
                                              @bandwidth attribute in subclauses 5.3.5.2
                                              and 5.3.5.4).
       @timeShiftBufferDepth           O      specifies the duration of the smallest time
                                              shifting buffer for any Representation in the
                                              MPD that is guaranteed to be available for a
                                              Media Presentation with type 'dynamic'.
                                              When not present, the value is infinite. This
                                              value of the attribute is undefined if the type
                                              attribute is equal to 'static'.
       @suggestedPresentationDel       O      When @type is 'dynamic', it specifies a
       ay                                     fixed delay offset in time from the presentation
                                              time of each access unit that is suggested to be
                                              used for presentation of each access unit. For
                                              more details, refer to subclause 7.2.1. When
                                              not specified, then no value is provided and the
                                              client is expected to choose a suitable value.
                                              When @type is 'static'the value of the
                                              attribute is undefined and may be ignored.
       @maxSegmentDuration             O      specifies the maximum duration of any
                                              Segment in any Representation in the Media
                                              Presentation, i.e. documented in this MPD and
                                              any future update of the MPD. If not present,
                                              then the maximum Segment duration shall be
                                              the maximum duration of any Segment
                                              documented in this MPD.
       @maxSubsegmentDuration          O      specifies the maximum duration of any Media
                                              Subsegment in any Representation in the
                                              Media Presentation. If not present, the same
                                              value as for the maximum Segment duration is
                                              implied.




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     Element or Attribute Name         Use      Description
       ProgramInformation             0…N       specifies descriptive information about the
                                                program. For more details, refer to the
                                                description in subclause 5.7.
       BaseURL                        0…N       specifies a Base URL that can be used for
                                                reference resolution and alternative URL
                                                selection. For more details, refer to the
                                                description in subclause 5.6.
       Location                       0…N       specifies a location at which the MPD is
                                                available.
                                                A reference processing model is provided in
                                                Annex A.11.
       PatchLocation                  0 ... N   specifies a location at which the MPD patch
                                                document is available. Details on the MPD
                                                patch document, this element, and expected
                                                processing models are available in subclause
                                                5.15.
                                                If this element is present, the MPD@id attribute
                                                and the MPD@publishTime shall be present.
                                                When @type is 'static'or the
                                                @minimumUpdatePeriod attribute
                                                is not present, then value of the
                                                element is undefined and may be ignored.
                                                If this element is not present, no MPD patch
                                                document is available.
                                                If multiple elements are present, any
                                                PatchLocation element may be used.
       ServiceDescription             0 ... N   specifies the service description detailing how
                                                the service provider expects the service is to be
                                                consumed.
                                                It shall provide a valid service description as
                                                described by Annex K.3 and Annex K.4.
                                                For details refer to Annex K.
       InitializationSet              0 ... N   specifies a suitable initialization for a specific
                                                media type for the presentation. If present, at
                                                least one Period of the Media Presentation
                                                shall include at least one Adaptation Set that
                                                can be played when initialized by this
                                                Initialization Set.
                                                For details see subclause 5.3.12.
       InitializationGroup            0 ... N   Specifies a white space separated list of ids of
                                                Initialization Sets of the same content type.
                                                This indicates that any Period in the Media
                                                Presentation has at least one Adaptation Set
                                                that conforms to one of the Initialization Sets
                                                referenced in this element.
                                                For details see subclause 5.3.12.



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   Element or Attribute Name          Use       Description
          @id                           M       specifies an unsigned integer identifier for this
                                                Initialization Group. The attribute shall be
                                                unique unique among all Initialization Set and
                                                Initialization Group ids in the MPD.
          @profiles                     O       specifies the profiles which the listed
                                                Initialization Groups conform to. The value
                                                shall be a subset of the value in the
                                                MPD@profiles attribute.
                                                If not present the value is inferred to be the
                                                same as the MPD@profiles attribute.
                                                The same syntax is used as defined for the
                                                MPD@profiles attribute.
          @contentType                  O       specifies the content type of Initialization Sets
                                                listed in the element.
       InitializationPresentation     0 ... N   specifies a white space separated list of ids of
                                                Initialization Sets and Initialization Groups to
                                                indicate a combination which creates a
                                                complete presentation. A client supporting all
                                                listed Initialization Sets and Initialization
                                                Groups of an Initialization Presentation is
                                                expected to be able to play the entire Media
                                                Presentation as intended by the service
                                                provider.
                                                For details see subclause 5.3.12.
          @id                           M       specifies a unique unsigned integer identifier
                                                for this Initialization Presentation. The
                                                attribute shall be unique among all
                                                Initialization Presentation ids in the MPD.
          @profiles                     O       specifies the profiles which the listed
                                                Initialization Groups conform to. The value
                                                shall be a subset of the value in the
                                                MPD@profiles attribute.
                                                If not present the value is inferred to be the
                                                same as the MPD@profiles attribute.
                                                The same syntax is used as defined for the
                                                MPD@profiles attribute.
          @contentType                  O       specifies the content type of initialization
                                                Groups listed in the element.
       ContentProtection              0…N       specifies information about content protection
                                                and encryption schemes used in this Media
                                                Presentation. If present on this level, it shall
                                                include the @refId attribute.
                                                For details, see subclauses 5.8.1 and 5.8.4.1.
       Period                         1…N       specifies the information of a Period. For more
                                                details, refer to the description in subclause
                                                5.3.2.



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     Element or Attribute Name                     Use        Description
        Metrics                                    0 ... N    specifies the DASH Metrics.
                                                              For more details, see subclause 5.9.
       EssentialProperty                          0…N         specifies information about the containing
                                                              element that is considered essential by the
                                                              Media Presentation author for processing the
                                                              containing element.
                                                              For details, see subclause 5.8.4.8.
       SupplementalProperty                       0…N         specifies supplemental information about the
                                                              containing element that may be used by the
                                                              DASH Client optimizing the processing.
                                                              For details, see subclause 5.8.4.9.
       UTCTiming                                   0 ... N    specifies information on ways to obtain a
                                                              synchronization to wall-clock time as used in
                                                              this Media Presentation. The order of the
                                                              elements expresses a preference of choice by
                                                              the Media Presentation author. For more
                                                              details, refer to subclause 5.8.4.11.
       LeapSecondInformation                       0 ... 1    specifies leap second information affecting
                                                              MPD timing calculations.
                                                              For details refer to clause 5.13.
     Key
     For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
     For elements: <minOccurs>…<maxOccurs> (N=unbounded)
     Elements are bold; attributes are non-bold and preceded with an @.

5.3.1.3     XML syntax
    <xs:complexType name="MPDtype">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                MPD Type
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:element name="ProgramInformation" type="ProgramInformationType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="BaseURL" type="BaseURLType" minOccurs="0" maxOccurs="unbounded"/>
                <xs:element name="Location" type="xs:anyURI" minOccurs="0" maxOccurs="unbounded"/>
                <xs:element name="PatchLocation" type="PatchLocationType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="ServiceDescription" type="ServiceDescriptionType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="InitializationSet" type="InitializationSetType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="InitializationGroup" type="UIntVWithIDType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="InitializationPresentation" type="UIntVWithIDType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="ContentProtection" type="ContentProtectionType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="Period" type="PeriodType" maxOccurs="unbounded"/>
                <xs:element name="Metrics" type="MetricsType" minOccurs="0" maxOccurs="unbounded"/>
                <xs:element name="EssentialProperty" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="SupplementalProperty" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="UTCTiming" type="DescriptorType" minOccurs="0"


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maxOccurs="unbounded"/>
                <xs:element name="LeapSecondInformation" type="LeapSecondInformationType"
minOccurs="0"/>
                <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="id" type="xs:string"/>
        <xs:attribute name="profiles" type="ListOfProfilesType" use="required"/>
        <xs:attribute name="type" type="PresentationType" default="static"/>
        <xs:attribute name="availabilityStartTime" type="xs:dateTime"/>
        <xs:attribute name="availabilityEndTime" type="xs:dateTime"/>
        <xs:attribute name="publishTime" type="xs:dateTime"/>
        <xs:attribute name="mediaPresentationDuration" type="xs:duration"/>
        <xs:attribute name="minimumUpdatePeriod" type="xs:duration"/>
        <xs:attribute name="minBufferTime" type="xs:duration" use="required"/>
        <xs:attribute name="timeShiftBufferDepth" type="xs:duration"/>
        <xs:attribute name="suggestedPresentationDelay" type="xs:duration"/>
        <xs:attribute name="maxSegmentDuration" type="xs:duration"/>
        <xs:attribute name="maxSubsegmentDuration" type="xs:duration"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>
    <xs:simpleType name="PresentationType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Presentation Type enumeration
        </xs:documentation>
        </xs:annotation>
        <xs:restriction base="xs:string">
                <xs:enumeration value="static"/>
                <xs:enumeration value="dynamic"/>
        </xs:restriction>
    </xs:simpleType>
    <xs:complexType name="UIntVWithIDType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                UInt Vector With ID
        </xs:documentation>
        </xs:annotation>
        <xs:simpleContent>
                <xs:extension base="UIntVectorType">
                        <xs:attribute name="id" type="xs:unsignedInt" use="required"/>
                        <xs:attribute name="profiles" type="ListOfProfilesType"/>
                        <xs:attribute name="contentType" type="RFC6838ContentTypeType"/>
                        <xs:anyAttribute namespace="##other" processContents="lax"/>
                </xs:extension>
        </xs:simpleContent>
    </xs:complexType>
    <xs:simpleType name="UIntVectorType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Whitespace-separated list of unsigned integers
        </xs:documentation>
        </xs:annotation>
        <xs:list itemType="xs:unsignedInt"/>
    </xs:simpleType>
    <xs:simpleType name="ListOfProfilesType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                List of Profiles
        </xs:documentation>
        </xs:annotation>
        <xs:restriction base="xs:string">
                <xs:pattern value="(&URN;|&URL;)(&comma_sep;(&URN;|&URL;))*"/>
        </xs:restriction>
    </xs:simpleType>



5.3.2 Period
5.3.2.1      Overview
A Media Presentation consists of one or more Periods. A Period is defined by a Period element in the
MPD element.


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Three types of Periods are defined:
— Regular Period,

— Early Available Period,

— Early Terminated Period.

The type of the Period, as well as the PeriodStart time of a regular Period or early terminated Period is
determined as follows:
— If the attribute @start is present in the Period, then the Period is a regular Period or an early
  terminated Period and the PeriodStart is equal to the value of this attribute.

— If the @start attribute is absent, but the previous Period element contains a @duration attribute
  then this new Period is also a regular Period or an early terminated Period. The start time of the new
  Period PeriodStart is the sum of the start time of the previous Period PeriodStart and the value of the
  attribute @duration of the previous Period.

— If (i) @start attribute is absent, and (ii) the Period element is the first in the MPD, and (iii) the
  MPD@type is 'static′, then the PeriodStart time shall be set to zero.

— If (i) @start attribute is absent, and (ii) the previous Period element does not contain a
  @duration attribute or the Period element is the first in the MPD, and (iii) the MPD@type is
  ′dynamic′, then this Period is an Early Available Period (see below for details).

— If (i) @duration attribute is present, and (ii) the next Period element contains a @start attribute
  or the @minimumUpdatePeriod is present, then this Period is an Early Terminated Period
  (see below for details).

For any regular Period and early terminated Period, the following holds: PeriodStart reflects the actual
time that should elapse after playing the media of all prior Periods in this Media Presentation relative to
the PeriodStart time of the first Period in the Media Presentation. The Period extends until the PeriodStart
of the next Period, or until the end of the Media Presentation in the case of the last Period. For regular
Periods, the difference between the PeriodStart time of a Period and either the PeriodStart time of the
following Period, if this is not the last Period, or the value of the MPD@mediaPresentationDuration
if this is the last one, is the presentation duration in Media Presentation time of the media content
represented by the Representations in this Period. For Early Terminated Periods, the value of the
Period@duration is the presentation duration in Media Presentation time of the media content
represented by the Representations in this Period.
Early Available Periods may be used to advertise initialization of other non-media data before the media
data itself is available. Period elements documenting early available Periods shall not occur before any
Period element documenting a regular Period. For Early Available Periods, any resources that are
announced in such a Period element shall be available. The data contained in such a Period element
does not represent a Period in the Media Presentation. Only when the PeriodStart time becomes known
through an update of the MPD, such a Period element represents a regular Period. However, an update
of the MPD may even remove a Period element representing an Early Available Period in later updates
of the MPD as long as no PeriodStart time is associated with the Period.To avoid dereferencing of a remote
element entity containing a Period element solely to determine the Period timeline, e.g. in case of
seeking, Period@start or previous Period′s Period@duration should be present in the MPD.
The semantics of the attributes and elements within a Period element are provided in Table 4 of
subclause 5.3.2.2. The XML syntax of the Period element is provided in subclause 5.3.2.3.


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5.3.2.2      Semantics
                                   Table 4 — Semantics of Period element

 Element or Attribute Name              Use      Description
    Period                                       specifies the information of a Period.
       @xlink:href                       O       specifies a reference to a remote element entity that is
                                                 either empty or contains one or multiple top-level elements
                                                 of type Period.
       @xlink:actuate                   OD       specifies the processing instructions, which can be either
                                                 "onLoad" or "onRequest".
                                      default:
                                     onReque     This attribute shall not be present if the @xlink:href
                                        st       attribute is not present.
       @id                               O       specifies an identifier for this Period. The identifier shall be
                                                 unique within the scope of the Media Presentation.
                                                 If the MPD@type is "dynamic", then this attribute shall
                                                 be present and shall not change in case the MPD is updated.
                                                 If not present, no identifier for the Period is provided.
                                                 In case of a remote period element, every Period@id
                                                 within the remote entity has to be unique within the media
                                                 presentation. If the generator of the remote entity is
                                                 unaware of the Period@id values used within the media
                                                 presentation, it can use unique identifiers (such as UUIDs)
                                                 as values for Period@id. If the xlink resolver maintains
                                                 the same generated id for every client and for each time that
                                                 the remote period is requested, the remote element is
                                                 cacheable.
       @start                            O       if present, specifies the PeriodStart time of the Period. The
                                                 PeriodStart time is used as an anchor to determine the MPD
                                                 start time of each Media Segment as well as to determine
                                                 the presentation time of each access unit in the Media
                                                 Presentation timeline.
                                                 If not present, refer to the details in subclause 5.3.2.1.
                                                 The value of PeriodStart, together with the value of the
                                                 MPD@availabilityStartTime enables to derive the
                                                 Segment availability times for dynamic media
                                                 presentations. For details, refer to subclause 5.3.9.
       @duration                         O       if present, specifies the duration of the Period to determine
                                                 the PeriodStart time of the next Period.
                                                 If not present, refer to the details in subclause 5.3.2.1.
       @bitstreamSwitchin               OD       When set to 'true', this is equivalent as if the
       g                                         AdaptationSet@bitstreamSwitching for each
                                      Default:
                                      false      Adaptation Set contained in this Period is set to ′true′. In
                                                 this case, the
                                                 AdaptationSet@bitstreamSwitching attribute
                                                 shall not be set to 'false' for any Adaptation Set in this
                                                 Period.




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 Element or Attribute Name   Use       Description
     BaseURL                 0…N       specifies a base URL that can be used for reference
                                       resolution and alternative URL selection. For more details,
                                       refer to the description in subclause 5.6.
     SegmentBase             0...1     specifies default Segment Base information.
                                       Information in this element is overridden by information in
                                       AdaptationSet.SegmentBase and
                                       Representation.SegmentBase, if present.
                                       For more details, see subclause 5.3.9.
     SegmentList             0...1     specifies default Segment List information.
                                       Information in this element is overridden by information in
                                       AdaptationSet.SegmentList and
                                       Representation.SegmentList, if present.
                                       For more details, see subclause 5.3.9.
     SegmentTemplate         0...1     specifies default Segment Template information.
                                       Information in this element is overridden by information in
                                       AdaptationSet.SegmentTemplate and
                                       Representation.SegmentTemplate, if present.
                                       For more details, see subclause 5.3.9.
     AssetIdentifier         0...1     specifies that this Period belongs to a certain asset.
                                       For more details, see subclause 5.8.5.7.
     EventStream             0...N     specifies an event stream.
                                       For more details, see subclause 5.10.2.
     ServiceDescription      0 ... N   specifies the service description that is intended by the
                                       service provider on how the service is expected to be
                                       consumed in this Period.
                                       For details refer to Table 3 in subclause 5.3.1.3.
                                       If any element is present in the Period, then this
                                       information overrides all Service Description information
                                       provided on MPD level with the same scope.
     ContentProtection       0…N       specifies information about content protection and
                                       encryption schemes used in this Media Presentation. If
                                       present on this level, it shall include the @refId
                                       attribute.
                                       For details, see subclauses 5.8.1 and 5.8.4.1.
     AdaptationSet           0...N     specifies an Adaptation Set.
                                       At least one Adaptation Set shall be present in each Period
                                       unless the value of the @duration attribute of the Period
                                       is set to zero.
                                       For more details, see 5.3.3.
     Subset                  0...N     specifies a Subset. For more details, see subclause 5.3.8.




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 Element or Attribute Name               Use        Description
       SupplementalProper                0...N      specifies supplemental information about the containing
       ty                                           element that may be used by the DASH Client optimizing the
                                                    processing.
                                                    For details, see subclause 5.8.4.9.
       EmptyAdaptationSet                0...N      specifies an Adaptation Set that does not contain any
                                                    Representation element. The empty Adaptation Set is of the
                                                    same type as a regular Adaptation Set but shall neither
                                                    contain an xlink nor contain any Representation element.
                                                    This element shall only be present, if an Essential
                                                    Descriptor is present with @schemeIDURI set to
                                                    "urn:mpeg:dash:mpd-as-linking:2015".
                                                    For more details, see subclause 5.8.5.8.
       GroupLabel                       0…N         A summary label for a group of Labels.
                                                    For more details, refer to subclause 5.3.10.
       Preselection                     0…N         specifies a preselection, i.e. a combination of Adaptation
                                                    Sets that form a specific experience and can be selected for
                                                    joint decoding and rendering.
                                                    For more details, refer to subclause 5.3.11.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
 <minOccurs=0>.
 Elements are bold; attributes are non-bold and preceded with an @.

5.3.2.3      XML syntax
    <xs:complexType name="PeriodType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Period
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:element name="BaseURL" type="BaseURLType" minOccurs="0" maxOccurs="unbounded"/>
                <xs:element name="SegmentBase" type="SegmentBaseType" minOccurs="0"/>
                <xs:element name="SegmentList" type="SegmentListType" minOccurs="0"/>
                <xs:element name="SegmentTemplate" type="SegmentTemplateType" minOccurs="0"/>
                <xs:element name="AssetIdentifier" type="DescriptorType" minOccurs="0"/>
                <xs:element name="EventStream" type="EventStreamType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="ServiceDescription" type="ServiceDescriptionType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="ContentProtection" type="ContentProtectionType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="AdaptationSet" type="AdaptationSetType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="Subset" type="SubsetType" minOccurs="0" maxOccurs="unbounded"/>
                <xs:element name="SupplementalProperty" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="EmptyAdaptationSet" type="AdaptationSetType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="GroupLabel" type="LabelType" minOccurs="0" maxOccurs="unbounded"/>
                <xs:element name="Preselection" type="PreselectionType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:any namespace="##other" processContents="lax" minOccurs="0"



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maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute ref="xlink:href"/>
        <xs:attribute ref="xlink:actuate" default="onRequest"/>
        <xs:attribute ref="xlink:type" fixed="simple"/>
        <xs:attribute ref="xlink:show" fixed="embed"/>
        <xs:attribute name="id" type="xs:string"/>
        <xs:attribute name="start" type="xs:duration"/>
        <xs:attribute name="duration" type="xs:duration"/>
        <xs:attribute name="bitstreamSwitching" type="xs:boolean" default="false"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>



5.3.2.4    Content offering with multiple Periods
Content with multiple Periods may be created for different reasons, for example:
— to enable splicing of content, for example for ad insertion,

— to provide synchronization in segment numbering, e.g. compensate non-constant segment durations,

— to remove or add certain Representations in an Adaptation Set,

— to remove or add certain Adaptation Sets,

— to remove or add content offering on certain CDNs,

— to enable signalling of shorter segments, if produced by the encoder.

Periods provide opportunities for resync, for ad insertion, for adding and removing Representations.
However, in certain circumstances, the content across Period boundaries is continuous and, in this case,
continuous playout of the client is expected.
In certain circumstances, the Media Presentation is offered such that the next Period is a continuation of
the content in the previous Period, possibly the immediately following Period or in a later Period
(e.g. after an advertisement Period had been inserted).
The content provider may express that the media components contained in two Adaptation Sets in two
different Periods are associated by assigning equivalent Asset Identifiers to both Periods and by
identifying both Adaptation Sets with identical value for the attribute @id. Association expresses a logical
continuation of the media component in the next Period and may for example be used by the client to
continue playing an associated Adaptation Set in the new Period.
In addition, two Adaptation Sets in one MPD are period-continuous if all the following holds:
— The Adaptation Sets are associated.

— The sum of the value of the @presentationTimeOffset and the presentation duration of all
  Representations in one Adaptation Set are identical to the value of the
  @presentationTimeOffset of the associated Adaptation Set in the next Period.

— If Representations in both Adaptation Sets have the same value for @id, then they shall have
  functionally equivalent Initialization Segments, i.e. the Initialization Segment may be used to
  continue the play-out of the Representation. The concatenation of the Initialization Segment of the
  first Period, if present, and all consecutive Media Segments in the Representation in the first Period
  and subsequently the concatenation with all consecutive Media Segments in the Representation of
  the second Period shall represent a conforming Segment track as defined in subclause 4.5.4
  conforming to the media type as specified in the @mimeType attribute for the Representation in the



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     first Period. Additionally, the @mimeType attribute for the Representation in the next Period shall
     be the same as one of the first Period.

Media Presentations should signal period-continuous Adaptation Sets by using a supplemental descriptor
on Adaptation Set level with @schemeIdUri set to "urn:mpeg:dash:period-
continuity:2015" with
— the @value of the descriptor matching the value of an @id of a Period that is contained in the MPD,
  and

— the value of the AdaptationSet@id being the same in both Periods.

MPD should signal period-continuous Adaptation Sets if the MPD contains Periods with identical Asset
Identifiers.
There exist special cases for which the media in one Adaptation Set is a continuation of the previous one,
but the timestamps are not continuous. Examples are timestamp wrap around, encoder reset, splicing, or
other aspects. Two Adaptation Sets in one MPD are period-connected if all conditions from period-
continuity from above hold, except that the timestamps across Period boundaries may be non-continuous
but adjusted by the value of the @presentationTimeOffset at the Period boundary. However, for
example the Initialization Segment is equivalent within the two Adaptation Sets. Media Presentations
should signal period-connected Adaptation Sets by using a supplemental descriptor on Adaptation Set
level with @schemeIdUri set to "urn:mpeg:dash:period-connectivity:2015".
Period continuity implies period connectivity.
For appropriate client behaviour, please refer to A.9.
5.3.2.5      Special Periods in Live Services
In order to address live services for which Periods are extended into the future and Periods are gradually
removed due to the timeshift buffer depth, special types of Periods are defined as follows:
    — Partially Unavailable Period: any Period in a dynamic Media Presentation for which the sum of
      the MPD@availabilityStartTime and the value of Period@start is smaller than the value
      of @publishTime minus the value of MPD@timeShiftBufferDepth. For this Period, some
      Segments may no longer be available as they have been fallen out of the time shift buffer window.

    — Live-Edge Period: newest regular Period in a dynamic Media Presentation, for which the Period
      duration is unknown, and Segment availability start time of at least one Segment is greater than
      the value of MPD@publishTime. For such Periods, the exact duration of Segments that are not
      yet available, may be unknown.

Note that an MPD may contain both types of Periods, and further, a single Period may be both at the same
time, a Partially Unavailable Period and a Live-Edge Period.
5.3.3 Adaptation Sets
5.3.3.1      Overview
Each Period consists of one or more Adaptation Sets. An Adaptation Set is described by an
AdaptationSet element. AdaptationSet elements are contained in a Period element.
An Adaptation Set contains alternate Representations, i.e. only one Representation within an Adaptation
Set is expected to be presented at a time. All Representations contained in one Adaptation Set represent
the same media content components and therefore contain media streams that are considered to be
perceptually equivalent. The Adaptation Set and the contained Representations shall be prepared and


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contain sufficient information such that seamless switching (as defined in subclause 4.5.1) across
different Representations in one Adaptation Set is enabled. If an Adaptation Set is expected to be
consumed by DASH Clients with restrictions in terms of switching, then the Media Presentation author
should provide sufficient means to enable seamless switching under these restrictions.
Representations are arranged into Adaptation Sets according to the media content component properties
of the media content components present in the Representations, namely:
— the language as described by the @lang attribute,

— the media content component type described by the @contentType attribute,

— the picture aspect ratio as described by the @par attribute,

— the role property as described by the Role elements,

— the accessibility property as described by the Accessibility elements,

— the viewpoint property as described by the Viewpoint elements,

— the rating property as described by the Rating elements.

Representations shall appear in the same Adaptation Set if and only if they have identical values for all of
these media content component properties for each media content component.
The values for the elements Role, Accessibility, Viewpoint and Rating are generally not
provided within the scope of this document. However, a number of simple schemes are defined in
subclause 5.8.5.
If there exist multiple media content components, then the properties of each media content component
shall be described by a separate ContentComponent element as defined in subclause 5.3.4. The
ContentComponent element shares common elements and attributes with the AdaptationSet
element. Default values, or values applicable to all media content components, may be provided directly
in the AdaptationSet element. Attributes present in the AdaptationSet shall not be repeated in
the ContentComponent element.
The AdaptationSet element may contain default values for elements and attributes associated to the
contained Representations. The list of possible present elements and attributes that are common to
AdaptationSet and Representation (and also SubRepresentation) are collected in subclause
5.3.7. Any of the common attributes shall only be present either in the AdaptationSet element or in
the Representation element, but not in both.
The AdaptationSet element also supports the description of ranges for the @bandwidth, @width,
@height and @frameRate attributes associated to the contained Representations, which provide a
summary of all values for all the Representations within this Adaptation Set. The Representations
contained within an Adaptation Set shall not contain values outside the ranges documented for that
Adaptation Set.
Adaptation Sets may be further arranged into groups using the @group attribute. The semantics of this
grouping is that the media content within one Period is represented by:
1) either one Representation from group 0, if present,

2) or the combination of at most one Representation from each non-zero group.




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If the AdaptationSet@group attribute is not present, then all Representations in this Adaptation Set
are assigned to a non-zero group specific to this Adaptation Set.
The semantics of the attributes and elements within an AdaptationSet element are provided in Table
5 in subclause 5.3.3.2. The XML syntax of the AdaptationSet element is provided in subclause 5.3.3.3.

5.3.3.2      Semantics
                                   Table 5 — Semantics of AdaptationSet element

Element or Attribute Name                       Use       Description
       AdaptationSet                                      Adaptation Set description.
           @xlink:href                            O       specifies a reference to a remote element entity that
                                                          shall contain exactly one element of type
                                                          AdaptationSet.
           @xlink:actuate                        OD       specifies the processing instructions, which can be
                                                          either "onLoad" or "onRequest".
                                               default:
                                              'onRequ
                                                est'
           @id                                    O       specifies a unique identifier for this Adaptation Set in
                                                          the scope of the Period. The attribute shall be a unique
                                                          unsigned integer value in the scope of the containing
                                                          Period.
                                                          The attribute shall not be present in a remote element
                                                          entity.
                                                          If not present, no identifier for the Adaptation Set is
                                                          specified.
           @group                                 O       specifies an identifier for the group that is unique in the
                                                          scope of the containing Period. The value is an unsigned
                                                          integer.
                                                          For details, refer to subclause 5.3.3.1.
           CommonAttributesElem                  —        specifies the common attributes and elements
           ents                                           (attributes and elements from base type
                                                          RepresentationBaseType). For details, see subclause
                                                          5.3.7.
           @lang                                  O       Declares the language code for this Adaptation Set. The
                                                          syntax and semantics according to IETF RFC 5646 shall
                                                          be used.
                                                          If not present, the language code may be defined for
                                                          each media component or it may be unknown.
                                                          If the language is unknown, the 'und' code for
                                                          undetermined primary language or the 'zxx' (Non-
                                                          Linguistic, Not Applicable) code can be used.




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Element or Attribute Name       Use    Description
       @contentType              O     specifies the media content component type for this
                                       Adaptation Set. A value of the top-level Content-type
                                       'type' value as defined in 4 of IETF RFC 6838:2013 shall
                                       be taken.
                                       If not present, the media content component type may
                                       be defined for each media content component or it may
                                       be unknown.
       @par                      O     specifies the picture aspect ratio of the video media
                                       component type, in the form of a string consisting of
                                       two integers separated by ':', e.g. "16:9". When this
                                       attribute is present, and the attributes @width and
                                       @height for the set of Representations are also
                                       present, the picture aspect ratio as specified by this
                                       attribute shall be the same as indicated by the values of
                                       @width, @height, and @sar, i.e. it shall express
                                       the same ratio as (@width * sarx):
                                       (@height * sary), with sarx the first number in
                                       @sar and sary the second number.
                                       If not present, the picture aspect ratio may be defined
                                       for each media component or it may be unknown.
       @minBandwidth             O     specifies the minimum @bandwidth value in all
                                       Representations in this Adaptation Set. This value has
                                       the same units as the @bandwidth attribute.
                                       If not present, the value is unknown.
       @maxBandwidth             O     specifies the maximum @bandwidth value in all
                                       Representations in this Adaptation Set. This value has
                                       the same units as the @bandwidth attribute.
                                       If not present, the value is unknown.
       @minWidth                 O     specifies the minimum @width value in all
                                       Representations in this Adaptation Set. This value has
                                       the same units as the @width attribute.
                                       If not present, the value is unknown.
       @maxWidth                 O     specifies the maximum @width value in all
                                       Representations in this Adaptation Set. This value has
                                       the same units as the @width attribute.
                                       If not present, the value is unknown.
       @minHeight                O     specifies the minimum @height value in all
                                       Representations in this Adaptation Set. This value has
                                       the same units as the @height attribute.
                                       If not present, the value is unknown.
       @maxHeight                O     specifies the maximum @height value in all
                                       Representations in this Adaptation Set. This value has
                                       the same units as the @height attribute.
                                       If not present, the value is unknown.




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Element or Attribute Name           Use       Description
           @minFrameRate              O       specifies the minimum @framerate value in all
                                              Representations in this Adaptation Set. This value is
                                              encoded in the same format as the @frameRate
                                              attribute.
                                              If not present, the value is unknown.
           @maxFrameRate              O       specifies the maximum @framerate value in all
                                              Representations in this Adaptation Set. This value is
                                              encoded in the same format as the @frameRate
                                              attribute.
                                              If not present, the value is unknown.
           @segmentAlignment         OD       When set to 'true', this specifies that for any two
                                              Representations, X and Y, within the same Adaptation
                                   default:
                                   false      Set, the m-th Segment of X and the n-th Segment of Y
                                              are non-overlapping (as defined in subclause 4.5.3)
                                              whenever m is not equal to n.
                                              For Adaptation Sets containing Representations with
                                              multiple media content components, this attribute
                                              value shall be either 'true' or 'false'.
                                                  NOTE Previous editions permitted non-boolean
                                                  values for this attribute. As this was not used in
                                                  practice and caused confusion, it is deprecated in
                                                  this edition.
           @bitstreamSwitching        O       When this flag is set to 'true', the following applies:
                                              —   All Representations in the Adaptation Set shall
                                                  have the same number M of Media Segments;

                                              —   Let R 1 , R 2 , ..., R N be all the Representations within
                                                  the Adaptation Set.

                                              —   Let

                                                  —     S i,j , for j > 0, be the jth Media Segment in the ith
                                                                 Representation (i.e. R i )

                                                  —     if present, let S i,0 be the Initialization Segment
                                                             in the ith Representation, and

                                                  —     if present, let B i be the Bitstream Switching
                                                             Segment in the ith Representation.

                                              —   The sequence of

                                                  —     any Initialization Segment, if present, in the
                                                             Adaptation Set, with,




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Element or Attribute Name       Use       Description
                                              —    if Bitstream Switching Segments are present,

                                                          B i(1) , S i(1),1 , B i(2) , S i(2),2 , ..., B i(k) ,
                                                          S i(k),k , ..., B i(M) , S i(M),M

                                              —    else

                                                          S i(1),1 , S i(2),2 , ..., S i(k),k , ..., S i(M),M,

                                                   wherein any i(k) for all k values in the range
                                                      of 1 to M, respectively, is an integer value
                                                      in the range of 1 to N,

                                              results in a "conforming Segment track" as defined
                                              in subclause 4.5.4 with the media format as
                                              specified in the @mimeType attribute.

                                          More detailed rules may be defined for specific media
                                          formats.
                                          For more details, refer to subclause 0.
                                              NOTE When this attribute is set to TRUE, then
                                              seamless switching across Representations can be
                                              achieved without re-initialization of the decoder.
                                              Content authors are encouraged to set this
                                              attribute to true only if the media content
                                              components across Representations do not need
                                              the media decoder to be re-initialized.
       @subsegmentAlignment      OD       If the @subsegmentAlignment for an Adaptation
                                          Set is set to 'true', all following conditions shall be
                               default:
                               false      satisfied:
                                          —   Each Media Segment shall be indexed (i.e. either it
                                              contains a Segment index or there is an Index
                                              Segment providing an index for the Media
                                              Segment).

                                          —   For any two Representations, X and Y, within the
                                              same Adaptation Set, the m-th Subsegment of X
                                              and the n-th Subsegment of Y are non-overlapping
                                              (as defined in subclause 4.5.3) whenever m is not
                                              equal to n.

                                              NOTE Previous editions permitted non-boolean
                                              values for this attribute. As this was not used in
                                              practice and caused confusion, it is deprecated in
                                              this edition.




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Element or Attribute Name             Use       Description
           @subsegmentStartsWit        OD       when greater than 0, specifies that each Subsegment
           hSAP                                 with SAP_type greater than 0 starts with a SAP of
                                     default:
                                        0       type less than or equal to the value of
                                                @subsegmentStartsWithSAP. A Subsegment
                                                starts with SAP when the Subsegment contains a SAP,
                                                and for the first SAP, I SAU is the index of the first access
                                                unit that follows I SAP , and I SAP is contained in the
                                                Subsegment.
                                                The semantics of @subsegmentStartsWithSAP
                                                equal to 0 are unspecified.
           @initializationSetRef        O       specifies a white space separated list of Initialization
                                                Set identifiers. The Adaptation Set shall conform to all
                                                Initialization Sets that are referenced in this attribute.
           @initializationPrincipa      O       specifies the URL of an Initialization Segment that is
           l                                    sufficient to initialize the Adaptation Set. If not present,
                                                an Initialization Segment from one of the
                                                Representations is sufficient.
           Accessibility              0…N       specifies information about accessibility scheme
                                                For more details, refer to subclauses 5.8.1 and 5.8.4.3.
           Role                       0…N       specifies information on role annotation scheme
                                                For more details, refer to subclauses 5.8.1 and 5.8.4.2.
           Rating                     0…N       specifies information on rating scheme.
                                                For more details, refer to subclauses 5.8.1 and 5.8.4.4.
           Viewpoint                  0…N       specifies information on viewpoint annotation scheme.
                                                For more details, refer to subclauses 5.8.1 and 5.8.4.5.
           ContentComponent           0…N       specifies the properties of one media content
                                                component contained in this Adaptation Set.
                                                For more details, refer to subclause 5.3.4.
           BaseURL                    0…N       specifies a base URL that can be used for reference
                                                resolution and alternative URL selection. For more
                                                details, refer to the description in subclause 5.6.
           SegmentBase                0...1     specifies default Segment Base information.
                                                Information in this element is overridden by
                                                information in the
                                                Representation.SegmentBase, if present.
                                                For more details, see subclause 5.3.9.
           SegmentList                0...1     specifies default Segment List information.
                                                Information in this element is overridden by
                                                information in the
                                                Representation.SegmentList, if present.
                                                For more details, see subclause 5.3.9.




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Element or Attribute Name                      Use       Description
         SegmentTemplate                        0...1    specifies default Segment Template information.
                                                         Information in this element is overridden by
                                                         information in the
                                                         Representation.SegmentTemplate, if
                                                         present.
                                                         For more details, see subclause 5.3.9.
         Representation                        0…N       specifies a Representation.
                                                         At least one Representation element shall be present in
                                                         each Adaptation Set. The actual element may however
                                                         be part of a remote element entity if xlink is used on the
                                                         containing AdaptationSet element.
                                                         For more details, refer to subclause 5.3.5.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory, F=fixed
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics
bold referring to those taken from the Base type that has been extended by this type.


5.3.3.3 XML syntax
    <xs:complexType name="AdaptationSetType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Adaptation Set
        </xs:documentation>
        </xs:annotation>
        <xs:complexContent>
                <xs:extension base="RepresentationBaseType">
                        <xs:sequence>
                                <xs:element name="Accessibility" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                                <xs:element name="Role" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                                <xs:element name="Rating" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                                <xs:element name="Viewpoint" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                                <xs:element name="ContentComponent" type="ContentComponentType"
minOccurs="0" maxOccurs="unbounded"/>
                                <xs:element name="BaseURL" type="BaseURLType" minOccurs="0"
maxOccurs="unbounded"/>
                                <xs:element name="SegmentBase" type="SegmentBaseType" minOccurs="0"/>
                                <xs:element name="SegmentList" type="SegmentListType" minOccurs="0"/>
                                <xs:element name="SegmentTemplate" type="SegmentTemplateType"
minOccurs="0"/>
                                <xs:element name="Representation" type="RepresentationType"
minOccurs="0" maxOccurs="unbounded"/>
                        </xs:sequence>
                        <xs:attribute ref="xlink:href"/>
                        <xs:attribute ref="xlink:actuate" default="onRequest"/>
                        <xs:attribute ref="xlink:type" fixed="simple"/>
                        <xs:attribute ref="xlink:show" fixed="embed"/>
                        <xs:attribute name="id" type="xs:unsignedInt"/>
                        <xs:attribute name="group" type="xs:unsignedInt"/>
                        <xs:attribute name="lang" type="xs:language"/>



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                        <xs:attribute name="contentType" type="RFC6838ContentTypeType"/>
                        <xs:attribute name="par" type="RatioType"/>
                        <xs:attribute name="minBandwidth" type="xs:unsignedInt"/>
                        <xs:attribute name="maxBandwidth" type="xs:unsignedInt"/>
                        <xs:attribute name="minWidth" type="xs:unsignedInt"/>
                        <xs:attribute name="maxWidth" type="xs:unsignedInt"/>
                        <xs:attribute name="minHeight" type="xs:unsignedInt"/>
                        <xs:attribute name="maxHeight" type="xs:unsignedInt"/>
                        <xs:attribute name="minFrameRate" type="FrameRateType"/>
                        <xs:attribute name="maxFrameRate" type="FrameRateType"/>
                        <xs:attribute name="segmentAlignment" type="xs:boolean" default="false"/>
                        <xs:attribute name="subsegmentAlignment" type="xs:boolean" default="false"/>
                        <xs:attribute name="subsegmentStartsWithSAP" type="SAPType" default="0"/>
                        <xs:attribute name="bitstreamSwitching" type="xs:boolean"/>
                        <xs:attribute name="initializationSetRef" type="UIntVectorType"/>
                        <xs:attribute name="initializationPrincipal" type="xs:anyURI"/>
                </xs:extension>
        </xs:complexContent>
     </xs:complexType>
     <xs:simpleType name="RatioType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Ratio Type for sar and par
        </xs:documentation>
        </xs:annotation>
        <xs:restriction base="xs:string">
                <xs:pattern value="[0-9]*:[0-9]*"/>
        </xs:restriction>
     </xs:simpleType>
     <xs:simpleType name="FrameRateType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Type for Frame Rate
        </xs:documentation>
        </xs:annotation>
        <xs:restriction base="xs:string">
                <xs:pattern value="[0-9]+(/[1-9][0-9]*)?"/>
        </xs:restriction>
     </xs:simpleType>
     <xs:simpleType name="RFC6838ContentTypeType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Type for RFC6838 Content Type
        </xs:documentation>
        </xs:annotation>
        <xs:restriction base="xs:string">
                <xs:enumeration value="text"/>
                <xs:enumeration value="image"/>
                <xs:enumeration value="audio"/>
                <xs:enumeration value="video"/>
                <xs:enumeration value="application"/>
                <xs:enumeration value="font"/>
        </xs:restriction>
     </xs:simpleType>
     <xs:simpleType name="SAPType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Stream Access Point type enumeration
        </xs:documentation>
        </xs:annotation>
        <xs:restriction base="xs:unsignedInt">
                <xs:minInclusive value="0"/>
                <xs:maxInclusive value="6"/>
        </xs:restriction>
     </xs:simpleType>




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5.3.3.4 Switching within Adaptation Sets
Switching refers to the presentation of decoded data from one Representation up to a certain time t, and
presentation of decoded data of another Representation from time t onwards; for details, refer to
subclause 4.3.
The Switching element as defined in Table 6 provides instructions of switch points within an
Adaptation Set and the permitted switching options as defined in Table 7. When this element is present,
it signals opportunities for simple switching across Representations in one Adaptation Set. This element
may be used instead of the attributes @segmentAlignment or @bitstreamSwitching.
Table 7 defines different switching strategies that provide instructions to the client on the procedures to
switch appropriately within an Adaptation Set.
                                      Table 6 — Switch point signalling

 Element or Attribute Name                    Use         Description
        Switching                                         Switching logic description for the associated
                                                          Representation
          @interval                            M          specifies the interval between two switching points in
                                                          the scale of the @timescale on Representation
                                                          level. Any Segment for which the earliest presentation
                                                          time minus the @t value of the S element describing
                                                          the segment is an integer multiple of the product of
                                                          @timescale and @interval is a switch-to
                                                          opportunity, i.e. it enables to switch to this
                                                          Representation with the switching strategy as defined
                                                          by the @type value.
                                                          The value should be chosen such that the resulting
                                                          time matches MPD start time of segments, otherwise
                                                          no switching will be described.
          @type                                OD         specifies the switching strategy for the switch points
                                                          identified in by the @interval attribute. Switching
                                            default:
                                           'media'        strategies are defined in Table 7.

                                        Table 7 — Switching strategies

 Type               Description
 media              Media level switching: in this case, switching is possible at the switch point by decoding
                    and presenting switch-from Representation up to switch point t, initializing the switch-to
                    Representation with the associated Initialization Segment and continue decoding and
                    presenting the switch-to Representation from time t onwards.
 bitstream          Bitstream switching: in this case, switching is possible at the switch point by decoding and
                    presenting switch-from Representation up to switch point t, and continue decoding and
                    presenting the switch-to Representation from time t onwards. More specifically, the
                    concatenation of two Representations at the switch point results in a "conforming
                    Segment track" as defined in 4.5.4 with the media format as specified in the @mimeType
                    attribute.
                    Initialization of the switch-to Representation is not necessary and is not recommended.
                    In order to enable this feature, it is recommended to use the same Initialization Segment
                    for all Representations in the Adaptation Set, i.e. the highest profile/level is signalled in the
                    Initialization Segment.



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The XML schema snippet is as follows:
     <xs:complexType name="SwitchingType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Switching
        </xs:documentation>
        </xs:annotation>
        <xs:attribute name="interval" type="xs:unsignedInt" use="required"/>
        <xs:attribute name="type" type="SwitchingTypeType" default="media"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
     </xs:complexType>
     <xs:simpleType name="SwitchingTypeType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Switching Type type enumeration
        </xs:documentation>
        </xs:annotation>
        <xs:restriction base="xs:string">
                <xs:enumeration value="media"/>
                <xs:enumeration value="bitstream"/>
        </xs:restriction>
     </xs:simpleType>



5.3.3.5      Switching across Adaptation Sets
Representations in two or more Adaptation Sets may provide the same content or the content may be
offered such that seamless switching is desired (for example in case of multiple viewpoints). In addition,
the content may be time-aligned and may be offered such that seamless switching across Representations
in different Adaptation Sets is simplified. Typical examples are the offering of the same content with
different codecs, for example H.264/AVC and H.265/HEVC and the content author wants to provide such
information to the receiver in order to seamlessly switch Representations (as defined in subclause 4.5.1)
across different Adaptation Sets.
A content author may signal such seamless switching property across Adaptation Sets by providing a
Supplemental Descriptor along with an Adaptation Set with @schemeIdURI set to
urn:mpeg:dash:adaptation-set-switching:2016 and the @value is a comma-separated list
of Adaptation Set IDs that may be seamlessly switched to from this Adaptation Set.
If the content author signals the ability of Adaptation Set switching and as @segmentAlignment or
@subsegmentAlignment are set to TRUE, the (Sub)Segment alignment element shall be valid for all
Representations in all Adaptation Sets for which the @id value is included in the @value attribute of the
Supplemental descriptor.
For Adaptation Sets containing Representations, when two Adaptation Sets signal Adaptation Set
switching, then for any two Representations, X and Y, within the union of the two Adaptation Sets, the m-
th Subsegment of X and the n-th Subsegment of Y shall be non-overlapping (as defined in subclause 4.5.3)
whenever m is not equal to n.
If the content author signals the ability of Adaptation Set switching and Switching element is provided,
the signalled switch points apply for all Representations in all Adaptation Sets for which the @id value is
included in the @value attribute of the Supplemental descriptor.
As an example, a content author may signal that seamless switching across an H.264/AVC Adaptation Set
with AdaptationSet@id="4" and an HEVC Adaptation Set with AdaptationSet@id="5" is
possible by adding a Supplemental Descriptor to the H.264/AVC Adaptation Set with @schemeIdURI
set to urn:mpeg:dash:adaptation-set-switching:2016 and the @value="5" and by
adding a Supplemental Descriptor to the HEVC Adaptation Set with @schemeIdURI set to
urn:mpeg:dash:adaptation-set-switching:2016 and the @value="4".
In addition, if the content author signals the ability of Adaptation Set switching for any Adaptation Sets
then the parameters as defined for an Adaption Set shall also hold for all Adaptation Sets that are included

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in the @value attribute. This constraint may result that the switching may only be signalled with one
Adaptation Set, but not with both as for example one Adaptation Set signalling may include all spatial
resolutions of another one, whereas it is not the case the other way around.
5.3.4 Media content component
5.3.4.1    Overview
Each Adaptation Set contains one or more media content components. The properties of each media
content component are described by a ContentComponent element or may be described directly on
the AdaptationSet element if only one media content component is present in the Adaptation Set.
ContentComponent elements are contained in an AdaptationSet element.
The semantics of the attributes and elements within a ContentComponent element are provided in
Table 8 in subclause 5.3.4.2. The XML syntax of the ContentComponent element is provided in
subclause 5.3.4.3.
5.3.4.2 Semantics
                        Table 8 — Semantics of ContentComponent element

 Element or Attribute Name                 Use       Description
      ContentComponent                               Description of a content component.
          @id                               O        specifies an identifier for this media component.
                                                     The attribute shall be unique in the scope of the
                                                     containing Adaptation Set.
                                                     The value of this attribute should be the media
                                                     component identifier in the media segment (i.e. the
                                                     Track Id in ISO BMFF segments and PID in MPEG-2
                                                     TS segments) described by this
                                                     ContentComponent element.
                                                     Multiplexing of media components may also be
                                                     provided on elementary stream level, for example
                                                     for next generation audio codecs, different audio
                                                     components may be mixed. In this case, the id may
                                                     also point to specific components in a single
                                                     elementary stream.
          @lang                             O        Same semantics as in Table 5 for @lang attribute.
          @contentType                      O        Same semantics as in Table 5 for @contentType
                                                     attribute.
          @par                              O        Same semantics as in Table 5 for @par attribute.
          @tag                              O        specifies the tag of the Content Component which
                                                     may be used for selection purposes towards the
                                                     decoder.
          Accessibility                   0…N        Same semantics as in Table 5 for
                                                     Accessibility element.
          Role                            0…N        Same semantics as in Table 5 for Role element.
          Rating                          0…N        Same semantics as in Table 5 for Rating element.
          Viewpoint                       0…N        Same semantics as in Table 5 for Viewpoint
                                                     element.


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 Element or Attribute Name                      Use       Description
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory,
 F=fixed
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in
 italics bold referring to those taken from the Base type that has been extended by this type.

5.3.4.3      XML syntax
    <xs:complexType name="ContentComponentType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Content Component
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:element name="Accessibility" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="Role" type="DescriptorType" minOccurs="0" maxOccurs="unbounded"/>
                <xs:element name="Rating" type="DescriptorType" minOccurs="0" maxOccurs="unbounded"/>
                <xs:element name="Viewpoint" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="id" type="xs:unsignedInt"/>
        <xs:attribute name="lang" type="xs:language"/>
        <xs:attribute name="contentType" type="RFC6838ContentTypeType"/>
        <xs:attribute name="par" type="RatioType"/>
        <xs:attribute name="tag" type="TagType"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>
    <xs:simpleType name="TagType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Tag
        </xs:documentation>
        </xs:annotation>
        <xs:restriction base="xs:string"/>
    </xs:simpleType>



5.3.5     Representation
5.3.5.1      Overview
Representations are described by the Representation element. Representation elements are
contained in an AdaptationSet element.
A Representation is one of the alternative choices of the complete set or subset of media content
components comprising the media content during the defined Period.
A Representation starts at the start of the Period PeriodStart and continues to the end of the Period, i.e.
the start of the next Period or the end of the Media Presentation.
Each Representation includes one or more media streams, where each media stream is an encoded
version of one media content component.
A Representation consists of one or more Segments.
Each Representation either shall contain an Initialization Segment or each Media Segment in the
Representation shall be self-initializing, i.e. the Media Segment itself conforms to the media type as
specified in the @mimeType attribute for this Representation.



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When a Representation is not a dependent Representation, i.e. the @dependencyId attribute is absent,
then concatenation of the Initialization Segment, if present, and all consecutive Media Segments in one
Representation shall represent a conforming Segment track as defined in subclause 4.5.4 conforming to
the media type as specified in the @mimeType attribute for this Representation.
Dependent Representations are described by a Representation element that contains a
@dependencyId attribute. Dependent Representations are regular Representations except that they
depend on a set of complementary Representations for decoding and/or presentation. The
@dependencyId contains the values of the @id attribute of all the complementary Representations, i.e.
Representations that are necessary to present and/or decode the media content components contained
in this dependent Representation.
For any dependent Representation X that depends on complementary Representation Y, the m-th
Subsegment of X and the n-th Subsegment of Y shall be non-overlapping (as defined in subclause 4.5.3)
whenever m is not equal to n. For dependent Representations, the concatenation of the Initialization
Segment with the sequence of Subsegments of the dependent Representations, each being preceded by
the corresponding Subsegment of each of the complementary Representations in order as provided in
the @dependencyId attribute, shall represent a conforming Subsegment track as defined in subclause
4.5.4 conforming to the media format as specified in the @mimeType attribute for this dependent
Representation.
     NOTE 1      When decoding of a dependent Representation is started from a SAP in the (Sub)Segment with
     number i, the decoding process does not need to access data from the complementary Representation(s) from
     any earlier (sub)segments than (sub)Segment with number i of the complementary Representation(s).

     NOTE 2      In case a dependent Representation X depends on at least two complementary Representations Yi,
     that are also dependent Representations depending, directly or indirectly, on the same complementary
     Representation Z, then the concatenation as defined above results in a sequence conforming to the media
     format if the Segments of Representation Z are concatenated only the first time encountered following the
     order in the @dependencyId attributes starting from X. If following recursively the dependencies indicated
     in the @dependencyId of Representations, certain Representations can be encountered more than once. In
     this case, the corresponding Segments or Subsegments are expected to only be concatenated once, namely
     when first encountered.

Associated Representations are described by a Representation element that contains an
@associationId attribute and optionally an @associationType attribute. Associated
Representations are Representations that provide information on their relationships with other
Representations. As opposed to complementary Representations, the segments of an associated
Representation may be optional for decoding and/or presentation of the Representations identified by
@associationId. They can be considered as supplementary or descriptive information, the type of the
association being specified by the @associationType attribute.
     NOTE 3      @associationId and @associationType attributes can only be used between Representations that
     are not in the same Adaptation Sets.

If a Representation is offered in a Media Presentation with MPD@type='dynamic', it is recommended
that means to compensate such drift be included. For more details, refer to A.8.
The semantics of the attributes and elements within a Representation are provided in Table 9 in
subclause 5.3.5.2. The XML syntax of the Representation type is provided in subclause 5.3.5.3.




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5.3.5.2 Semantics
                                   Table 9 — Semantics of Representation element

 Element or Attribute Name                      Use    Description
       Representation                                  This element contains a description of a
                                                       Representation.
          @id                                    M     specifies an identifier for this Representation. The
                                                       identifier shall be unique within a Period unless the
                                                       Representation is functionally identical to another
                                                       Representation in the same Period.
                                                       The identifier shall not contain whitespace characters.
                                                       If used in the template-based URL construction as
                                                       defined in subclause 5.3.9.4.4, the string shall only
                                                       contain characters that are permitted within an HTTP-
                                                       URL according to IETF RFC 3986.
          @bandwidth                             M     Consider a hypothetical constant bitrate channel of
                                                       bandwidth with the value of this attribute in bits per
                                                       second (bps). Then, if the Representation is
                                                       continuously delivered at this bitrate, starting at any
                                                       SAP that is indicated either by @startWithSAP or
                                                       by any Segment Index box, a client can be assured of
                                                       having enough data for continuous playout providing
                                                       playout begins after
                                                       @minBufferTime * @bandwidth bits have been
                                                       received (i.e. at time @minBufferTime after the
                                                       first bit is received).
                                                       For dependent Representations, this value specifies the
                                                       bandwidth according to the above definition for the
                                                       aggregation of this Representation and all
                                                       complementary Representations.
                                                       For details, see subclause 5.3.5.4.
          @qualityRanking                        O     specifies a quality ranking of the Representation
                                                       relative to other Representations in the same
                                                       Adaptation Set. Lower values represent higher quality
                                                       content. If not present, then no ranking is defined.
          @dependencyId                          O     specifies all complementary Representations the
                                                       Representation depends on in the decoding and/or
                                                       presentation process as a whitespace-separated list of
                                                       values of @id attributes.
                                                       If not present, the Representation can be decoded and
                                                       presented independently of any other Representation.
                                                       This attribute shall not be present where there are no
                                                       dependencies.
          @associationId                         O     specifies all Representations the Representation is
                                                       associated with in the decoding and/or presentation
                                                       process as a whitespace-separated list of values of
                                                       Representation@id attributes.




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 Element or Attribute Name       Use    Description
       @associationType           O     specifies, as a whitespace-separated list of values, the
                                        kind of association for each Representation the
                                        Representation has been associated with through the
                                        @associationId attribute. Values taken by this
                                        attribute are 4 character codes (4CCs) for track
                                        reference types registered in MP4 registration
                                        authority.
                                        This attribute shall not be present when
                                        @associationId is not present.
                                        When present, this attribute shall have as many values
                                        as the number of identifiers declared in the
                                        @associationId attribute.
       @mediaStreamStructur       O     The attribute may be present for Representations
       eId                              containing video and its semantics are unspecified for
                                        any other type of Representations.
                                        If present, the attribute
                                        @mediaStreamStructureId specifies a
                                        whitespace-separated list of media stream structure
                                        identifier values. If media streams share the same
                                        media stream structure identifier value, the media
                                        streams shall have the following characteristics:
                                        — The media streams have the same number of
                                             stream access points of type 1 to 3.

                                        —    The values of T SAP , T DEC , T EPT , and T PTF of the i-th
                                             SAP of type 1 to 3 in one media stream are
                                             identical to the values of T SAP , T DEC , T EPT , and T PTF ,
                                             respectively, of the i-th SAP of type 1 to 3 in the
                                             other media streams for any value of i from 1 to
                                             the number of SAPs of type 1 to 3 in any of the
                                             media streams.

                                        —    A media stream formed by concatenating the
                                             media stream of a first Representation until I SAU
                                             (exclusive) of the i-th SAP of type 1 to 3 and the
                                             media stream of a second Representation (having
                                             the same media stream structure identifier value
                                             as for the first Representation) starting from the
                                             I SAU (inclusive) of the i-th SAP of type 1 to 3
                                             conforms to the specification in which the media
                                             stream format is specified for any value of i from 1
                                             to the number of SAPs of type 1 to 3 in either
                                             media stream. Furthermore, the decoded pictures
                                             have an acceptable quality regardless of type of
                                             the stream access point access unit used.




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 Element or Attribute Name                     Use       Description
                                                         All media stream structure identifier values for one
                                                         Adaptation Set shall differ from those of another
                                                         Adaptation Set.
                                                         If not present, then for this Representation no
                                                         similarities to other Representations are known.
                                                         Indicating multiple media stream structure identifier
                                                         values for a Representation can be useful in cases
                                                         where switching between Representations A and B as
                                                         well as between Representations B and C is allowed at
                                                         non-IDR intra pictures, but switching between
                                                         Representations A and C would cause too severe a
                                                         degradation in the quality of the leading pictures and is
                                                         hence not allowed. To indicate these permissions and
                                                         restrictions, Representation A would contain
                                                         @mediaStreamStructureId equal to “1”,
                                                         Representation B would contain
                                                         @mediaStreamStructureId equal to “1 2”, and
                                                         Representation C would contain
                                                         @mediaStreamStructureId equal to “2”
          CommonAttributesElem                  —        Common Attributes and Elements (attributes and
          ents                                           elements from base type RepresentationBaseType).
                                                         For more details, see subclause 5.3.7.
          BaseURL                             0…N        specifies a Base URL that can be used for reference
                                                         resolution and alternative URL selection. For more
                                                         details, refer to the description in subclause 5.6.
          ExtendedBandwidth                   0…N        specifies an extended bandwidth model with more
                                                         detailed information on the characteristics of the
                                                         Representation.
                                                         For more details, see subclause 5.3.5.6.
          SubRepresentation                   0…N        specifies information about a Sub-Representation that
                                                         is embedded in the containing Representation.
                                                         For more details, see subclause 5.3.5.6.
          SegmentBase                          0...1     specifies default Segment Base information.
                                                         For more details, see subclause 5.3.9.
          SegmentList                         0 ... 1    specifies the Segment List information.
                                                         For more details, see subclause 5.3.9.
          SegmentTemplate                     0 ... 1    specifies the Segment Template information.
                                                         For more details, see subclause 5.3.9.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics
 bold referring to those taken from the Base type that has been extended by this type.




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5.3.5.3   XML syntax
    <xs:complexType name="RepresentationType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Representation
        </xs:documentation>
        </xs:annotation>
        <xs:complexContent>
                <xs:extension base="RepresentationBaseType">
                        <xs:sequence>
                                <xs:element name="BaseURL" type="BaseURLType" minOccurs="0"
maxOccurs="unbounded"/>
                                <xs:element name="ExtendedBandwidth" type="ExtendedBandwidthType"
minOccurs="0" maxOccurs="unbounded"/>
                                <xs:element name="SubRepresentation" type="SubRepresentationType"
minOccurs="0" maxOccurs="unbounded"/>
                                <xs:element name="SegmentBase" type="SegmentBaseType" minOccurs="0"/>
                                <xs:element name="SegmentList" type="SegmentListType" minOccurs="0"/>
                                <xs:element name="SegmentTemplate" type="SegmentTemplateType"
minOccurs="0"/>
                        </xs:sequence>
                        <xs:attribute name="id" type="StringNoWhitespaceType" use="required"/>
                        <xs:attribute name="bandwidth" type="xs:unsignedInt" use="required"/>
                        <xs:attribute name="qualityRanking" type="xs:unsignedInt"/>
                        <xs:attribute name="dependencyId" type="StringVectorType"/>
                        <xs:attribute name="associationId" type="StringVectorType"/>
                        <xs:attribute name="associationType" type="ListOf4CCType"/>
                        <xs:attribute name="mediaStreamStructureId" type="StringVectorType"/>
                </xs:extension>
        </xs:complexContent>
    </xs:complexType>
    <xs:simpleType name="StringNoWhitespaceType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                String without white spaces
        </xs:documentation>
        </xs:annotation>
        <xs:restriction base="xs:string">
                <xs:pattern value="[^\r\n\t \p{Z}]*"/>
        </xs:restriction>
    </xs:simpleType>
    <xs:simpleType name="StringVectorType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Whitespace-separated list of strings
        </xs:documentation>
        </xs:annotation>
        <xs:list itemType="xs:string"/>
    </xs:simpleType>
    <xs:simpleType name="ListOf4CCType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Whitespace separated list of 4CC
        </xs:documentation>
        </xs:annotation>
        <xs:list itemType="FourCCType"/>
    </xs:simpleType>
    <xs:simpleType name="FourCCType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                4CC as per latest 14496-12
        </xs:documentation>
        </xs:annotation>
        <xs:restriction base="xs:string"/>
    </xs:simpleType>



5.3.5.4   Relation of Bandwidth and Minimum Buffer Time attributes
The MPD contains a pair of values for a bandwidth and buffering description, namely the Minimum Buffer
Time (MBT) expressed by the value of MPD@minBufferTime and bandwidth (BW) expressed by the
value of Representation@bandwidth. The following holds:


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— The value of the minimum buffer time does not provide any instructions to the client on how long to
  buffer the media. The value however describes how much buffer a client should have under
  ideal network conditions. As such, MBT is not describing the burstiness or jitter in the network, it is
  describing the burstiness or jitter in the content encoding. Together with the BW value, it is a
  property of the content. Using the "leaky bucket" model, it is the size of the bucket that makes BW
  true, given the way the content is encoded.

— The minimum buffer time provides information that for each representation, the following shall be
  true: if the Representation (starting at any segment) is delivered over a constant bitrate channel with
  bitrate equal to value of the BW attribute then each access unit with presentation time PT is available
  at the client latest at time with a delay of at most PT + MBT.

— In the absence of any other guidance, the MBT should be set to the maximum GOP size (coded video
  sequence) of the content, which quite often is identical to the maximum segment duration for the live
  profile or the maximum subsegment duration for the On-Demand profile. The MBT may be set to a
  smaller value than maximum (sub)segment duration but should not be set to a higher value.

5.3.5.5      Random Access to Representations
Random Access refers to start processing, decoding and presenting the Representation from the random
access point at time t onwards by initializing the Representation with the Initialization Segment, if
present and decoding and presenting the Representation from the signalled Segment onwards. Random
Access point may be signalled with the RandomAccess element as defined in Table 10.
Table 11 provides different random access point types.




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                             Table 10 — Random Access Signalling

 Element or Attribute Name          Use       Description
     RandomAccess                             Random Access Information
        @interval                    M        specifies the position of the random access points in
                                              the Representations. The information is specified in
                                              the scale of the @timescale on Representation
                                              level. Any Segment for which the MPD start time minus
                                              the @t value of the S element describing the segment
                                              is an integer multiple of the product of @timescale
                                              and
                                              @interval is a random access opportunity, i.e. it
                                              enables randomly access to this Representation with
                                              the random access strategy as defined by the @type
                                              value.
                                              The value should be chosen such that the resulting
                                              time matches MPD start time of segments, otherwise
                                              no random access will be described.
        @type                        OD       specifies the random access strategy for the random
                                              access points in by the @interval attribute.
                                   default:
                                  "closed"    The value shall use a type present in Table 11.
                                              If the value of the type is unknown, the DASH Client is
                                              expected to ignore the containing Random Access
                                              element.
        @minBufferTime                O       specifies a common duration used in the definition of
                                              the Representation data rate (see @bandwidth
                                              attribute in subclauses 0 and 5.3.5.4).
                                              If not present, then the value of the MPD level is
                                              inherited.
        @bandwidth                    O       Consider a hypothetical constant bitrate channel of
                                              bandwidth with the value of this attribute in bits per
                                              second (bps). Then, if the Representation is
                                              continuously delivered at this bitrate, starting at any
                                              RAP indicated in this element a client can be assured of
                                              having enough data for continuous playout providing
                                              playout begins after
                                              @minBufferTime * @bandwidth bits have
                                              been received (i.e. at time @minBufferTime after
                                              the first bit is received).
                                              For dependent Representations, this value specifies
                                              the bandwidth according to the above definition for
                                              the aggregation of this Representation and all
                                              complementary Representations.
                                              For details, see subclause 5.3.5.4.
                                              If not present, the value of the Representation is
                                              inherited.




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                                       Table 11 — Random Access Strategies

       Type                                            Informative description
     closed           Closed GOP random access. This implies that the segment is a Random Access Segment as
                      well as the segment starts with a SAP type of 1 or 2. SAP type 1 or 2 is a necessary condition,
                      but not sufficient. In addition, all requirements of a Random Access Segment need to be
                      fulfilled.
       open           Open GOP random access. This implies that the segment is a Random Access Segment as
                      well as the segment starts with a SAP type of 1, 2 or 3. SAP type 1, 2 or 3 is a necessary
                      condition, but not sufficient. In addition, all requirements of a Random Access Segment need
                      to be fulfilled.
    gradual           Gradual decoder refresh random access. This implies that the segment is a Random Access
                      Segment as well as the segment starts with a SAP type of 1, 2, 3 or 4. SAP type 1, 2, 3 or 4 is a
                      necessary condition, but not sufficient. In addition, all requirements of a Random Access
                      Segment need to be fulfilled.
The XML schema snippet is as follows:
     <xs:complexType name="RandomAccessType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Random Access
        </xs:documentation>
        </xs:annotation>
        <xs:attribute name="interval" type="xs:unsignedInt" use="required"/>
        <xs:attribute name="type" type="RandomAccessTypeType" default="closed"/>
        <xs:attribute name="minBufferTime" type="xs:duration"/>
        <xs:attribute name="bandwidth" type="xs:unsignedInt"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
     </xs:complexType>
     <xs:simpleType name="RandomAccessTypeType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Random Access Type type enumeration
        </xs:documentation>
        </xs:annotation>
        <xs:restriction base="xs:string">
                <xs:enumeration value="closed"/>
                <xs:enumeration value="open"/>
                <xs:enumeration value="gradual"/>
        </xs:restriction>
     </xs:simpleType>
5.3.5.6 Extended Bandwidth Signalling
Subclause 5.3.5.4 provides a detailed overview on the usage of @minBufferTime and @bandwidth for
determining the bitrate properties of the associated Representation. However, this model does not
expose certain extended bandwidth properties of the Representation, for example the nature of the
encoding being variable bitrate, or any bitrate properties over different time windows.
For this purpose, each Represention have assigned an extended bandwidth signalling providing
additional properties of the Representation. This information is provided as part of the
ExtendedBandwidth element as defined in Table 12.




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                    Table 12 — Semantics of Extended Bandwidth signalling

 Element or Attribute Name              Use         Description
     ExtendedBandwidth
        @vbr                            OD          If set to true, the content is encoded to primarily
                                                    have a constant or consistent quality, while at the
                                    default=false
                                                    same time when the signal restrictions on
                                                    MPD@minBufferTime and
                                                    Representation@bandwidth attributes are
                                                    reached, the quality of the content may drop. In
                                                    cases where is cap is not reached, the quality of the
                                                    content is expected to be consistent.
                                                    If set to false or not present, no information on the
                                                    nature of the encoding is present.


                                                        NOTE The signalling set to true implies that
                                                        the actual instantaneous bitrate can
                                                        frequently be below the maximum.

        ModelPair                       0..N        defines an extended bandwidth model pair that
                                                    applies for the Representation.
           @bufferTime                   M          specifies a duration used in the definition of the
                                                    Representation data rate together with
                                                    @bandwidth attribute within the same element.
                                                        NOTE There are cases for which a real or
                                                        expected long-term average bitrate may be
                                                        usefully signaled. Examples include (i) the
                                                        signaling of the average bitrate of a
                                                        Representation in On-Demand case. In this
                                                        case the @buffer may be set to the duration of
                                                        the Period and the @bandwidth may be set
                                                        to the size of the Representation. (ii) the
                                                        signaling of the maximum expected long-term
                                                        bitrate in Live-Edge Periods: In this case the
                                                        @buffer is set to a large value, for example 1
                                                        hour, or 24 hours and the bandwidth
                                                        expresses the maximum amount of bytes over
                                                        this period.




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 Element or Attribute Name                      Use       Description
                @bandwidth                       M        Consider a hypothetical constant bitrate channel of
                                                          bandwidth with the value of this attribute in bits
                                                          per second (bps). Then, if the Representation is
                                                          continuously delivered at this bitrate, starting at
                                                          any signalled SAP of type 1 or 2 included in this
                                                          Representation element, a client can be assured of
                                                          having enough data for continuous playout
                                                          providing playout begins after
                                                          @bufferTime * @bandwidth bits have been
                                                          received (i.e. at time @bufferTime after the
                                                          first bit is received).
                                                          For dependent Representations, this value
                                                          specifies the bandwidth according to the above
                                                          definition for the aggregation of this
                                                          Representation and all complementary
                                                          Representations.
                                                          For details, see subclause 5.3.5.4.
 Key
 For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
 For elements: <minOccurs>..<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.


The XML schema snippet is as follows:
    <xs:complexType name="ExtendedBandwidthType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Extended Bandwidth Model
                </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:element name="ModelPair" type="ModelPairType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="vbr" type="xs:boolean" default="false"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>
    <xs:complexType name="ModelPairType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Model Pair
                </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="bufferTime" type="xs:duration" use="required"/>
        <xs:attribute name="bandwidth" type="xs:unsignedInt" use="required"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>




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5.3.6   Sub-Representation
5.3.6.1 Overview
Sub-Representations are embedded in regular Representations and are described by the
SubRepresentation element. SubRepresentation elements are contained in a
Representation element.
The SubRepresentation element describes properties of one or several media content components
that are embedded in the Representation. It may for example describe the exact properties of an
embedded audio component (e.g. codec, sampling rate, etc.), an embedded sub-title (e.g. codec) or it may
describe some embedded lower quality video layer (e.g. some lower frame rate, etc.).
Sub-Representations and Representation share some common attributes and elements.
In case the @level attribute is present in the SubRepresentation element,
— Sub-Representations provide the ability for accessing a lower quality version of the Representation
  in which they are contained. In this case, Sub-Representations for example allow extracting the audio
  track in a multiplexed Representation or may allow for efficient fast-forward or rewind operations if
  provided with lower frame rate;

— the Initialization Segment and/or the Media Segments and/or the Index Segments shall provide
  sufficient information such that the data can be easily accessed through HTTP partial GET requests.
  The details on providing such information shall be defined by the media format in use. For media
  formats defined in this document, the Subsegment Index as defined in subclause 6.3.2.4shall be used.

If the @level attribute is absent, then the SubRepresentation element is solely used to provide a
more detailed description for media streams that are embedded in the Representation.
The semantics of the attributes and elements within a Sub-Representation are provided in Table 13 of
subclause 5.3.6.2. The XML syntax of the Sub-Representation type is provided in subclause 5.3.6.3.
5.3.6.2 Semantics
                       Table 13 — Semantics of SubRepresentation element

 Element or Attribute Name                Use      Description
        SubRepresentation                          specifies a Sub-Representation.
         @level                            O       specifies the Sub-Representation level. If @level
                                                   attribute is present and for media formats used in this
                                                   document, a Subsegment Index as defined in subclause
                                                   6.3.2.4 shall be available for each Media Segment in the
                                                   containing Representation.
                                                   If not present, then the SubRepresentation
                                                   element is solely used to provide a more detailed
                                                   description for media streams that are embedded in the
                                                   Representation.
         @dependencyLevel                  O       specifies the set of Sub-Representations within this
                                                   Representation that this Sub-Representation depends
                                                   on in the decoding and/or presentation process as a
                                                   whitespace-separated list of @level values.
                                                   If not present, the Sub-Representation can be decoded
                                                   and presented independently of any other
                                                   Representation.



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 Element or Attribute Name                    Use        Description
           @bandwidth                          CM        Identical to the @bandwidth definition in
                                             shall be    Representation but applied to this Sub-Representation.
                                            present if   This attribute shall be present if the @level attribute
                                            @level       is present.
                                            is present
           @contentComponent                    O        if present, specifies the set of all media content
                                                         components that are contained in this Sub-
                                                         Representation as a whitespace-separated list of values
                                                         of ContentComponent@id values.
                                                         if not present, the Sub-Representation is not assigned
                                                         to a media content component.
           CommonAttributesEle                  -        Common Attributes and Elements (attributes and
           ments                                         elements from base type RepresentationBaseType).
                                                         For details, see subclause 5.3.7.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold preceded with an @, List of elements and attributes is in italics
 bold referring to those taken from the Base type that has been extended by this type.

5.3.6.3      XML syntax
     <xs:complexType name="SubRepresentationType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                SubRepresentation
        </xs:documentation>
        </xs:annotation>
        <xs:complexContent>
                <xs:extension base="RepresentationBaseType">
                        <xs:attribute name="level" type="xs:unsignedInt"/>
                        <xs:attribute name="dependencyLevel" type="UIntVectorType"/>
                        <xs:attribute name="bandwidth" type="xs:unsignedInt"/>
                        <xs:attribute name="contentComponent" type="StringVectorType"/>
                </xs:extension>
        </xs:complexContent>
     </xs:complexType>



5.3.7 Common attributes and elements
5.3.7.1 Overview
The elements AdaptationSet, Representation and SubRepresentation have assigned
common attributes and elements. The attributes and elements listed in Table 14 of subclause 5.3.7.2 may
be present in all three elements.
The semantics of the common attributes and elements are provided in Table 14 in subclause 5.3.7.2, the
syntax is provided in subclause 5.3.7.3.
The 'Use' column in Table 14 shall be interpreted that an attribute marked with 'M' shall be available for
a Representation, i.e. it shall either be present in the Representation element, or if not, it shall be in
the containing AdaptationSet element. An attribute marked with 'O' may be absent in both.




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5.3.7.2 Semantics
     Table 14 — Common Adaptation Set, Representation and Sub-Representation attributes and
                                          elements

  Element or Attribute Name             Use      Description
                                        (see
                                     subclause
                                      5.3.7.1)
       Common attributes and
       elements
          @profiles                      O       specifies the profiles which the associated
                                                 Representation(s) conform to of the list of Media
                                                 Presentation profiles as described in 8. The value
                                                 shall be a subset of the respective value in any
                                                 higher level of the document hierarchy
                                                 (Representation, Adaptation Set, MPD).
                                                 If not present, the value is inferred to be the same as
                                                 in the next higher level of the document hierarchy.
                                                 For example, if the value is not present for a
                                                 Representation, then @profiles at the
                                                 Adaptation Set level is valid for the Representation.
                                                 The same syntax as defined in 5.3.1.2 shall be used.
          @width                         O       specifies the horizontal visual presentation size of
                                                 the video media type on a grid determined by the
                                                 @sar attribute.
                                                 In the absence of @sar width and height are
                                                 specified as if the value of @sar were "1:1"
                                                     NOTE The visual presentation size of the video
                                                     is equal to the number of horizontal and
                                                     vertical samples used for presentation after
                                                     encoded samples are cropped in response to
                                                     encoded cropping parameters, “overscan”
                                                     signalling, or “pan/scan” display parameters,
                                                     e.g. SEI messages.

                                                 If not present on any level, the value is unknown.
          @height                        O       specifies the vertical visual presentation size of the
                                                 video media type, on a grid determined by the @sar
                                                 attribute.
                                                 If not present on any level, the value is unknown.
          @sar                           O       specifies the sample aspect ratio of the video media
                                                 component type, in the form of a string consisting of
                                                 two integers separated by ':', e.g. "10:11". The
                                                 first number specifies the horizontal size of the
                                                 encoded video pixels (samples) in arbitrary units.
                                                 The second number specifies the vertical size of the
                                                 encoded video pixels (samples) in the same units as
                                                 the horizontal size.
                                                 If not present on any level, the value is unknown.



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   Element or Attribute Name          Use      Description
                                      (see
                                   subclause
                                    5.3.7.1)
            @frameRate                O        specifies the output frame rate (or in the case of
                                               interlaced, half the output field rate) of the video
                                               media type in the Representation. If the frame or
                                               field rate is varying, the value is the average frame
                                               or half the average field rate field rate over the
                                               entire duration of the Representation.
                                               The value is coded as a string, either containing two
                                               integers separated by a "/", ("F/D"), or a single
                                               integer "F". The frame rate is the division F/D, or F,
                                               respectively, per second (i.e. the default value of D is
                                               "1").
                                               If not present on any level, the value is unknown.
            @audioSamplingRate        O        Either a single decimal integer value specifying the
                                               sampling rate or a whitespace-separated pair of
                                               decimal integer values specifying the minimum and
                                               maximum sampling rate of the audio media
                                               component type. The values are in samples per
                                               second.
                                               If not present on any level, the value is unknown.
            @mimeType                 M        specifies the MIME type of the concatenation of the
                                               Initialization Segment, if present, and all consecutive
                                               Media Segments in the Representation.
            @segmentProfiles          O        specifies the profiles of Segments that are essential
                                               to process the Representation. The detailed
                                               semantics depend on the value of the @mimeType
                                               attribute.
                                               The contents of this attribute shall conform to either
                                               the pro-simple or pro-fancy productions of
                                               4.5 of IETF RFC 6381:2011, without the enclosing
                                               DQUOTE characters, i.e. including only the
                                               unencodedv or encodedv elements
                                               respectively. As profile identifier, the brand
                                               identifier for the Segment as defined in 6 shall be
                                               used.
                                               4CC may contain characters that must be escaped in
                                               XML. 4CC strings shall be escaped according to W3C
                                               Extensible Markup Language (XML):2008, Section
                                               2.4.
                                               If not present on any level, the value may be
                                               deducted from the value of the @profiles
                                               attribute.




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  Element or Attribute Name        Use      Description
                                   (see
                                subclause
                                 5.3.7.1)
        @codecs                     O       specifies the codecs present within the
                                            Representation. The codec parameters shall also
                                            include the profile and level information where
                                            applicable.
                                            For segment formats defined in this document, this
                                            element shall be present and the contents of this
                                            attribute shall conform to either the simp-list
                                            or fancy-list productions of
                                            IETF RFC 6381:2011, subclause 3.2, without the
                                            enclosing DQUOTE characters. The codec identifier
                                            for the Representation's media format, mapped into
                                            the name space for codecs as specified in
                                            IETF RFC 6381:2011, subclause 3.3, shall be used.
        @containerProfiles          O       specifies the container profiles of Representations
                                            that are essential to process it. The detailed
                                            semantics depend on the value of the @mimeType
                                            attribute.
                                            The contents of this attribute shall conform to either
                                            the pro-simple or pro-fancy productions
                                            ofIETF RFC 6381:2011, subclause 4.5, without the
                                            enclosing DQUOTE characters, i.e. including only the
                                            unencodedv or encodedv elements
                                            respectively.
                                            4CC may contain characters that must be escaped in
                                            XML. 4CC strings shall be escaped according to W3C
                                            Extensible Markup Language (XML):2008, Section
                                            2.4.
        @maximumSAPPeriod           O       when present, specifies the maximum SAP interval
                                            in seconds of all contained media streams, where the
                                            SAP interval is the maximum time interval between
                                            the T SAP of any two successive SAPs of types 1 to 3
                                            inclusive of one media stream in the associated
                                            Representations.
                                            If not present on any level, the value is unknown.
        @startWithSAP               O       when present and greater than 0, specifies that in
                                            the associated Representations, each Media Segment
                                            starts with a SAP of type less than or equal to the
                                            value of this attribute value in each media stream.
                                            A Media Segment starts with a SAP in a media
                                            stream if the stream contains a SAP in that Media
                                            Segment, I SAU is the index of the first access unit that
                                            follows I SAP and I SAP is contained in the Media
                                            Segment.
                                            If not present on any level, the value is unknown.




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   Element or Attribute Name          Use      Description
                                      (see
                                   subclause
                                    5.3.7.1)
            @maxPlayoutRate           O        specifies the maximum playout rate as a multiple of
                                               the regular playout rate, which is supported with the
                                               same decoder profile and level requirements as the
                                               normal playout rate.
                                               If not present on any level, the value is 1.
            @codingDependency         O        When present and 'true', for all contained media
                                               streams, specifies that there is at least one access
                                               unit that depends on one or more other access units
                                               for decoding. When present and 'false', for any
                                               contained media stream, there is no access unit that
                                               depends on any other access unit for decoding (e.g.
                                               for video all the pictures are intra coded). If not
                                               specified on any level, there may or may not be
                                               coding dependency between access units.
            @scanType                 O        specifies the scan type of the source material of the
                                               video media component type. The value may be
                                               equal to one of "progressive", "interlaced" and
                                               "unknown". If not specified on any level, the scan
                                               type is "progressive".
            @selectionPriority        OD       specifies the selection priority for the described data
                                               structures, i.e. the one described by the containing
                                   default=1
                                               element. In the absence of other information, higher
                                               numbers are the preferred selection over lower
                                               numbers.
            @tag                      O        specifies the tag of the Representation, Adaptation
                                               Set or Preselection which may be used for selection
                                               purposes towards the decoder.
                                                    NOTE This attribute is primarily introduced
                                                    for the usage of Pre-Selections and Adaptation
                                                    Sets, but future use for Representation and Sub-
                                                    Representations is not precluded.

            FramePacking             0…N       specifies frame-packing arrangement information of
                                               the video media component type.
                                               When no FramePacking element is provided for
                                               a video component, frame-packing shall not used for
                                               the video media component.
                                               For details, see subclauses 5.8.1 and 5.8.4.6.
            AudioChannelConfigur     0…N       specifies the audio channel configuration of the
            ation                              audio media component type.
                                               For details, see subclauses 5.8.1 and 5.8.4.7.
            ContentProtection        0…N       specifies information about content protection
                                               schemes used for the associated Representations.
                                               For details, see subclauses 5.8.1 and 5.8.4.1.



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  Element or Attribute Name        Use      Description
                                   (see
                                subclause
                                 5.3.7.1)
        OutputProtection          0…1       specifies information about output protection
                                            schemes required for presenting the associated
                                            Representations
                                            For details, see subclauses 5.8.4.12.
        EssentialProperty         0…N       specifies information about the containing element
                                            that is considered essential by the Media
                                            Presentation author for processing the containing
                                            element.
                                            For details, see subclause 5.8.4.8.
        SupplementalProperty      0…N       specifies supplemental information about the
                                            containing element that may be used by the DASH
                                            Client optimizing the processing.
                                            For details, see subclause 5.8.4.9.
        InbandEventStream         0…N       specifies the presence of an inband event stream in
                                            the associated Representations.
                                            For details, refer to subclause 5.10.
        Switching                 0…N       Specifies a switch-to times and types for the
                                            associated Representations. For more details, refer
                                            to subclause 0.
                                            These elements shall only be present if the
                                            @timescale value is the same for all
                                            Representations in one Adaptation Set and if the
                                            Segment Timeline is used for segment duration
                                            signalling.
        RandomAccess              0…N       Specifies a random access times and types for the
                                            associated Representations. For more details, refer
                                            to subclause 5.3.5.5.
                                            These elements shall only be present if the
                                            @timescale value is the same for all
                                            Representations in one Adaptation Set and if the
                                            Segment Timeline is used for segment duration
                                            signalling.
        GroupLabel                0…N       specifies a summary label for a group of Labels. For
                                            more details, refer to subclause 5.3.10.
        Label                     0…N       specifies a textual description of the element that
                                            may be used for annotation and selection purposes.
                                            For more details, refer to subclause 5.3.10.
        ProducerReferenceTime     0…N       specifies the presence of and possibly values of
                                            producer reference time in the associated
                                            Representations.
                                            For details refer to subclause 5.12.




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   Element or Attribute Name                   Use         Description
                                               (see
                                            subclause
                                             5.3.7.1)
            ContentPopularityRate              0…N         indicates a level of popularity of the containing
                                                           entity (i.e., the Adaptation Set, Representation or
                                                           Preselection) within the Media Presentation. For
                                                           details, see subclause 5.14.
                                                               NOTE This element is primarily introduced for
                                                               the usage of Pre-Selections and Adaptation Sets
                                                               but use for Representation and Sub-
                                                               Representations is not precluded.

            Resync                             0…N         Specifies information on Segments’
                                                           resynchronization points.
                                                           For details refer to subclause 5.3.12.

   Key
   For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
   For elements: <minOccurs>..<maxOccurs> (N=unbounded)
   Elements are bold; attributes are non-bold and preceded with an @.

5.3.7.3 XML syntax
    <xs:complexType name="RepresentationBaseType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Representation base (common attributes and elements)
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:element name="FramePacking" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="AudioChannelConfiguration" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="ContentProtection" type="ContentProtectionType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="OutputProtection" type="DescriptorType" minOccurs="0"/>
                <xs:element name="EssentialProperty" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="SupplementalProperty" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="InbandEventStream" type="EventStreamType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="Switching" type="SwitchingType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="RandomAccess" type="RandomAccessType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="GroupLabel" type="LabelType" minOccurs="0" maxOccurs="unbounded"/>
                <xs:element name="Label" type="LabelType" minOccurs="0" maxOccurs="unbounded"/>
                <xs:element name="ProducerReferenceTime" type="ProducerReferenceTimeType"
minOccurs="0" maxOccurs="unbounded"/>
                <xs:element name="ContentPopularityRate" type="ContentPopularityRateType"
minOccurs="0" maxOccurs="unbounded"/>
                <xs:element name="Resync" type="ResyncType" minOccurs="0" maxOccurs="unbounded"/>
                <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="profiles" type="ListOfProfilesType"/>
        <xs:attribute name="width" type="xs:unsignedInt"/>
        <xs:attribute name="height" type="xs:unsignedInt"/>
        <xs:attribute name="sar" type="RatioType"/>
        <xs:attribute name="frameRate" type="FrameRateType"/>



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        <xs:attribute name="audioSamplingRate" type="AudioSamplingRateType"/>
        <xs:attribute name="mimeType" type="xs:string"/>
        <xs:attribute name="segmentProfiles" type="ListOf4CCType"/>
        <xs:attribute name="codecs" type="CodecsType"/>
        <xs:attribute name="containerProfiles" type="ListOf4CCType"/>
        <xs:attribute name="maximumSAPPeriod" type="xs:double"/>
        <xs:attribute name="startWithSAP" type="SAPType"/>
        <xs:attribute name="maxPlayoutRate" type="xs:double"/>
        <xs:attribute name="codingDependency" type="xs:boolean"/>
        <xs:attribute name="scanType" type="VideoScanType"/>
        <xs:attribute name="selectionPriority" type="xs:unsignedInt" default="1"/>
        <xs:attribute name="tag" type="TagType"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>
    <xs:simpleType name="AudioSamplingRateType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Audio Sampling Rate
        </xs:documentation>
        </xs:annotation>
        <xs:restriction base="UIntVectorType">
                <xs:minLength value="1"/>
                <xs:maxLength value="2"/>
        </xs:restriction>
    </xs:simpleType>
    <xs:simpleType name="VideoScanType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Video Scan type enumeration
        </xs:documentation>
        </xs:annotation>
        <xs:restriction base="xs:string">
                <xs:enumeration value="progressive"/>
                <xs:enumeration value="interlaced"/>
                <xs:enumeration value="unknown"/>
        </xs:restriction>
    </xs:simpleType>
    <xs:simpleType name="CodecsType">
        <xs:restriction base="xs:string">
                <xs:pattern value="&charset;&squote;&language;&squote;&id_list;">
                        <xs:annotation>
                                <xs:documentation>RFC6381 fancy-list without enclosing double
quotes</xs:documentation>
                        </xs:annotation>
                </xs:pattern>
                <xs:pattern value="&id_simple;(,&id_simple;)*">
                        <xs:annotation>
                                <xs:documentation>RFC6381 simp-list without enclosing double
quotes</xs:documentation>
                        </xs:annotation>
                </xs:pattern>
        </xs:restriction>
    </xs:simpleType>



5.3.8 Subsets
5.3.8.1 Overview
Subsets are described by the Subset element contained in the Period element.
Subsets provide a mechanism to restrict the combination of active Adaptation Sets where an active
Adaptation Set is one for which the DASH Client is presenting at least one of the contained
Representations.
A Subset defines a set of one or more Adaptation Sets. The presence of a Subset element within a
Period element expresses the intention of the creator of the Media Presentation that a client should act
as follows: at any time, the set of active Adaptation Sets shall be a subset of the Adaptation Sets of one of
the specified Subsets. Any Adaptation Set not explicitly contained in any Subset element is implicitly
contained in all specified Subsets.


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This implies that
— empty Subsets are not allowed.

— no Subset should contain all the Adaptation Sets.

Each Adaptation Set for which the value of the @id is provided in the @contains attribute is contained
in this Subset.
The semantics of the attributes and elements within a Subset are provided in Table 15 of subclause
5.3.8.2. The XML syntax of the Subset type is provided in subclause 5.3.8.3.
5.3.8.2 Semantics
                                   Table 15 — Subset element semantics

 Element or Attribute Name                Use     Description
    Subset                                        specifies a Subset


       @contains                          M       specifies the Adaptation Sets contained in a Subset by
                                                  providing a white space separated list of the @id values of
                                                  the contained Adaptation Sets.
       @id                                O       specifies a unique identifier for the Subset.


 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>..<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.

5.3.8.3      XML syntax
     <xs:complexType name="SubsetType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Subset
        </xs:documentation>
        </xs:annotation>
        <xs:attribute name="contains" type="UIntVectorType" use="required"/>
        <xs:attribute name="id" type="xs:string"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
     </xs:complexType>



5.3.9 Segments and Segment information
5.3.9.1 General
This clause defines the MPD information for Segments. Segment formats are defined in 6.
Specifically, a Segment shall either be
— referenced by an HTTP-URL included in the MPD, where an HTTP-URL is defined as an <absolute-
  URI> according to IETF RFC 3986:2005 subclause 4.3, with a fixed scheme of “http” or “https”,
  possibly restricted by a byte range if a range attribute is provided together with the URL. The byte
  range shall be expressed as a byte-range-spec as defined in IETF RFC 2616 subclause 14.35.1. It
  is restricted to a single expression identifying a contiguous range of bytes, or




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— included in the MPD with a data URL as defined in IETF RFC 2397. Data URLs shall only be used if
  explicitly permitted by the profile. In addition, the guidelines and recommendations in
  IETF RFC 2397 should be taken into account.

Each Segment referenced through an HTTP-URL in the MPD is associated with a Segment availability
interval, i.e. a time window in wall-clock time at which the Segment can be accessed via the HTTP-URL.
The Segment availability interval window is described by a Segment availability start time and a Segment
availability end time.
Representations are assigned Segment Information through the presence of the elements BaseURL,
SegmentBase, SegmentTemplate and/or SegmentList. The Segment Information provides
information on the location, availability and properties of all Segments contained in one Representation.
Specifically, information on the presence and location of Initialization, Media, Index and Bitstream
Switching Segments is provided.
The elements SegmentBase, SegmentTemplate and SegmentList may be present in the
Representation element itself. In addition, to express default values, they may be present in the
Period and AdaptationSet element. At each level at most one of the three, SegmentBase,
SegmentTemplate and SegmentList, shall be present. Further, if SegmentTemplate or
SegmentList is present on one level of the hierarchy, then the other one shall not be present on any
lower hierarchy level.
SegmentBase, SegmentTemplate and SegmentList shall inherit attributes and elements from the
same element on a higher level. If the same attribute or element is present on both levels, the one on the
lower level shall take precedence over the one on the higher level.
Several mechanisms are available to specify the Segment Information. Specifically, each Representation
shall have assigned exactly one of the following choices to determine the Segment Information, either by
direct presence in the Representation element or by inheritance from the higher levels:
— one SegmentList element — for syntax and semantics, refer to subclause 5.3.9.3,

— one SegmentTemplate element — for syntax and semantics, refer to subclause 5.3.9.4,

— one or more BaseURL elements, at most one SegmentBase element, and no SegmentTemplate
  or SegmentList element. The SegmentBase element is defined in subclause 5.3.9.2.

     NOTE        These rules do not prohibit the usage of the BaseURL element together with SegmentList or
     SegmentTemplate. If the BaseURL is present together with the either the SegmentList or the
     SegmentTemplate, then processing according to subclause 5.6 applies. All three elements
     SegmentBase, SegmentTemplate and SegmentList share common elements based on the
     SegmentBase element. Furthermore, SegmentTemplate and SegmentList share common
     attributes and elements. The common information is defined in subclause 5.3.9.2.
The derivation and details of Initialization, Media, Index and Bitstream Switching Segment Information
based on the above information are provided in subclause 5.3.9.5.
5.3.9.2 Segment base information
5.3.9.2.1 Overview
The SegmentBase element is sufficient to describe the Segment Information if and only if a single Media
Segment is provided per Representation and the Media Segment URL is included in the BaseURL
element.




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In case multiple Media Segments are present, either a SegmentList or a SegmentTemplate shall be
used to describe the Segment Information. SegmentList or a SegmentTemplate share the multiple
Segment base information as provided in subclause 5.3.9.2.2, Table 17.
If the Representation contains more than one Media Segment, then either the attribute @duration or
the element SegmentTimeline shall be present. The attribute @duration and the element
SegmentTimeline shall not be present at the same time.
Segments described by the Segment base information are referenced by an HTTP-URL conforming to the
type URLType as defined in Table 18.
The semantics of the attributes and elements for the SegmentBase element and the Segment base
information are provided in subclause 5.3.9.2.2, Table 16 and the multiple Segment base information in
Table 17 in subclause 5.3.9.2.2. The XML syntax of the Segment Base Information is provided in subclause
5.3.9.2.3.
5.3.9.2.2 Semantics
          Table 16 — Semantics of SegmentBase element and Segment Base Information type

 Element or Attribute Name                      Use         Description
          SegmentBase                                       specifies Segment base element.
          Segment Base Information                          This element also specifies the type for the
                                                            Segment base information that is the base type
                                                            for other elements.
              @timescale                          O         specifies the timescale in units per seconds to
                                                            be used for the derivation of different real-
                                                            time duration values in the Segment
                                                            Information.
                                                            If not present on any level, it shall be set to 1.
                                                                 NOTE This can be any frequency but
                                                                 typically is the media clock frequency of
                                                                 one of the media streams (or a positive
                                                                 integer multiple thereof).
              @presentationTimeOffs               O         specifies the presentation time offset of the
              et                                            Representation relative to the start of the
                                                            Period, i.e. the presentation time value of the
                                                            media stream that shall be presented at the
                                                            start of this Period.
                                                            The value of the presentation time offset in
                                                            seconds is the division of the value of this
                                                            attribute and the value of the @timescale
                                                            attribute.
                                                            If not present on any level, the value of the
                                                            presentation time offset is 0.




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 Element or Attribute Name           Use      Description
         @eptDelta                    O       specifies the difference between the earliest
                                              presentation time in the Representation and
                                              the value of the
                                              @presentationTimeOffset.
                                              The value of the earliest presentation time of
                                              the first Media Segment in this Representation
                                              in seconds is computed as the sum of the value
                                              of this attribute and the value of the
                                              @presentationTimeOffset in units of the
                                              @timescale attribute.
                                              If the media is contained in a Self-Initializing
                                              Media Segment, the value of
                                              @presentationTimeOffset is used to
                                              identify the Sub-Segment, that is the first one
                                              of the Representation. In this case, the value of
                                              @eptDelta shall be set to the difference of
                                              the @presentationTimeOffset and the
                                              earliest presentation time of the Subsegment
                                              containing the media time provided by the
                                              value of @presentationTimeOffset.
                                              If not present, the value is unknown, but
                                              specific profiles may require it to be zero, if
                                              not signalled.
                                                       NOTE If the value if @eptDelta is
                                                       smaller than zero then this results in
                                                       an overlap prior to the Period. If the
                                                       value is positive, it results in a gap.
         @pdDelta                     O       specifies the difference between the
                                              presentation duration of this Representation
                                              in units of @timescale and the Period
                                              duration.
                                              If the media is contained in a Self-Initializing
                                              Media Segment, the sum of the value of
                                              @presentationTimeOffset and the
                                              Period duration is used to identify the
                                              Subsegment, that is the last one of the
                                              Representation. In this case, @pdDelta shall
                                              be set according to the presentation duration
                                              of this last Subsegment.
                                              If not present, the value is unknown.
                                                   NOTE          If the value if @pdDelta is
                                                   smaller than zero then this results in a
                                                   gap at the end of the Period. If the value is
                                                   positive, it results in an overlap.




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 Element or Attribute Name              Use      Description
              @presentationDuration      O       specifies the presentation duration of the
                                                 Representation in the Period.
                                                 The value of the presentation duration in
                                                 seconds is the division of the value of this
                                                 attribute and the value of the @timescale
                                                 attribute. Specifically, the sum of the value of
                                                 the @presentationTimeOffset, if
                                                 present, or 0 otherwise and the value of this
                                                 attribute is the last presentation time to be
                                                 presented for this Representation.
                                                 If not present on any level, the value of this
                                                 attribute is unknown and the Representation
                                                 should be presented until the end of the
                                                 Period, i.e. until the presentation is terminated
                                                 or until the next Period starts.
              @timeShiftBufferDepth      O       specifies the duration of the time shifting
                                                 buffer for this Representation that is
                                                 guaranteed to be available for a Media
                                                 Presentation with type 'dynamic'. When not
                                                 present, the value is of the
                                                 @timeShiftBufferDepth on MPD level
                                                 applies. If present, this value shall be not
                                                 smaller than the value on MPD level. This
                                                 value of the attribute is undefined if the
                                                 @type attribute is equal to 'static'.
                                                     NOTE When operating in a time-shift
                                                     buffer on a Representation with value
                                                     larger than the time-shift buffer signalled
                                                     on MPD level, not all Representations are
                                                     necessarily available for switching.
              @indexRange                O       specifies the byte range that contains the
                                                 Segment Index in all Media Segments of the
                                                 Representation.
                                                 The byte range shall be expressed and
                                                 formatted as a byte-range-spec as
                                                 defined in IETF RFC 7233:2014, subclause 2.1.
                                                 It is restricted to a single expression
                                                 identifying a contiguous range of bytes.
                                                 If not present, the value is unknown.
              @indexRangeExact          OD       when set to 'true' specifies that for all
                                                 Segments in the Representation, the data
                                       default
                                                 outside the prefix defined by @indexRange
                                      "false"
                                                 contains the data needed to access all access
                                                 units of all media streams syntactically and
                                                 semantically.
                                                 This attribute shall not be present if
                                                 @indexRange is absent.




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 Element or Attribute Name                         Use        Description
           @availabilityTimeOffs                    O         specifies an offset to define the adjusted
           et                                                 segment availability time. The value is
                                                              specified in seconds, possibly with arbitrary
                                                              precision.
                                                              The offset provides the time how much earlier
                                                              these segments are available compared to
                                                              their computed availability start time for all
                                                              Segments of all associated Representation.
                                                              The segment availability start time defined by
                                                              this value is referred to as adjusted segment
                                                              availability start time. For details on
                                                              computing the adjusted segment availability
                                                              start time, refer to subclause 5.3.9.5.
                                                              If not present, no adjusted segment availability
                                                              start time is defined.
                                                                      NOTE The value of "INF" implies
                                                                      availability of all segments starts at
                                                                      MPD@availabilityStartTime.
           @availabilityTimeComp                    O         specifies if all Segments of all associated
           lete                                               Representation are complete at the adjusted
                                                              availability start time. The attribute shall be
                                                              ignored if @availabilityTimeOffset
                                                              is not present on any level.
                                                              If not present on any level, the value is
                                                              inferred to true.
                                                                      NOTE If the value is set to false, then it
                                                                      can be inferred by the client that the
                                                                      Segment is available at its announced
                                                                      location prior being complete.
           Initialization                         0 ... 1     specifies the URL including a possible byte
                                                              range for the Initialization Segment.
                                                              For the type definition, refer to Table 18.
           RepresentationIndex                    0 ... 1     specifies the URL including a possible byte
                                                              range for the Representation Index Segment.
                                                              For the type definition, refer to Table 18.
           FailoverContent                        0 ... 1     specifies times where the content has been
                                                              replaced by failover content, for example
                                                              because of an encoder error.
                                                              For details refer to subclause 5.3.9.7.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.




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                        Table 17 — Semantics of MultipleSegmentBaseInformation type

 Element or Attribute Name                         Use        Description
          MultipleSegmentBaseInformation                      specifies multiple Segment base information.
              @duration                             O         If present, specifies the constant approximate
                                                              Segment duration.
                                                              All Segments within this Representation
                                                              element have the same duration unless it is the
                                                              last Segment within the Period, which can be
                                                              significantly shorter.
                                                              The value of the duration in seconds is the
                                                              division of the value of this attribute and the
                                                              value of the @timescale attribute
                                                              associated to the containing Representation.
                                                              For more details, refer to subclause 5.3.9.5.3.
              @startNumber                          O         specifies the number of the first Media
                                                              Segment in this Representation in the Period.
                                                              For details, refer to subclause 5.3.9.5.3.
              @endNumber                            O         specifies the number of the last Media
                                                              Segment in this Representation in the Period.
                                                              If not present, the number is inferred from the
                                                              duration of the Period.
                                                              For details refer to 5.3.9.5.3.
              Segment Base Information                        specifies Segment base information.


              SegmentTimeline                      0...1      specifies the timeline of arbitrary Segment
                                                              durations
                                                              For more details, see subclause 5.3.9.6.
              BitstreamSwitching                  0 ... 1     specifies the URL including a possible byte
                                                              range for the Bitstream Switching Segment.
                                                              For the type definition, refer to Table 18.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.




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                          Table 18 — Semantics of elements of type URLType

 Element or Attribute Name               Use       Description
     Element of type URLType                       defines an HTTP-URL
       @sourceURL                         O        specifies the source URL part and shall be formatted
                                                   either as an <absolute-URI> according to
                                                   IETF RFC 3986:2005, subclause 4.3, with a fixed
                                                   scheme of “http” or “https” or as a <relative-ref>
                                                   according to IETF RFC 3986:2005 subclause 4.2.
                                                   If not present, then any BaseURL element is mapped
                                                   to the @sourceURL attribute and the range attribute
                                                   shall be present.
       @range                             O        specifies the byte range restricting the above HTTP-
                                                   URL.
                                                   The byte range shall be expressed and formatted as a
                                                   byte-range-spec as defined in
                                                   IETF RFC 7233:2014 subclause 2.1. It is restricted to a
                                                   single expression identifying a contiguous range of
                                                   bytes.
                                                   If not present, the element refers to the entire resource
                                                   referenced in the @sourceURL attribute.

5.3.9.2.3 XML-Syntax
    <xs:complexType name="SegmentBaseType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Segment information base
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:element name="Initialization" type="URLType" minOccurs="0"/>
                <xs:element name="RepresentationIndex" type="URLType" minOccurs="0"/>
                <xs:element name="FailoverContent" type="FailoverContentType" minOccurs="0"/>
                <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="timescale" type="xs:unsignedInt"/>
        <xs:attribute name="eptDelta" type="xs:integer"/>
        <xs:attribute name="pdDelta" type="xs:integer"/>
        <xs:attribute name="presentationTimeOffset" type="xs:unsignedLong"/>
        <xs:attribute name="presentationDuration" type="xs:unsignedLong"/>
        <xs:attribute name="timeShiftBufferDepth" type="xs:duration"/>
        <xs:attribute name="indexRange" type="SingleRFC7233RangeType"/>
        <xs:attribute name="indexRangeExact" type="xs:boolean" default="false"/>
        <xs:attribute name="availabilityTimeOffset" type="xs:double"/>
        <xs:attribute name="availabilityTimeComplete" type="xs:boolean"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>
    <xs:complexType name="MultipleSegmentBaseType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Multiple Segment information base
        </xs:documentation>
        </xs:annotation>
        <xs:complexContent>
                <xs:extension base="SegmentBaseType">
                        <xs:sequence>
                                <xs:element name="SegmentTimeline" type="SegmentTimelineType"
minOccurs="0"/>
                                <xs:element name="BitstreamSwitching" type="URLType" minOccurs="0"/>
                        </xs:sequence>
                        <xs:attribute name="duration" type="xs:unsignedInt"/>



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                        <xs:attribute name="startNumber" type="xs:unsignedInt"/>
                        <xs:attribute name="endNumber" type="xs:unsignedInt"/>
                </xs:extension>
        </xs:complexContent>
    </xs:complexType>
    <xs:complexType name="URLType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Segment Info item URL/range
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="sourceURL" type="xs:anyURI"/>
        <xs:attribute name="range" type="SingleRFC7233RangeType"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>
    <xs:simpleType name="SingleRFC7233RangeType">
        <xs:restriction base="xs:string">
                <xs:pattern value="([0-9]*)(\-([0-9]*))?"/>
        </xs:restriction>
    </xs:simpleType>



5.3.9.3      Segment list
5.3.9.3.1 Overview
The Segment list is defined by a SegmentList element. Each SegmentList element itself contains a
list of SegmentURL elements for a consecutive list of Segment URLs. Each Segment URL may contain the
Media Segment URL and possibly a byte range. The Segment URL element may also contain an Index
Segment.
The semantics of the attributes and elements for the Segment list are provided in subclause 5.3.9.3.2,
Table 19. The XML syntax of the Segment Information is provided in subclause 5.3.9.3.3.
5.3.9.3.2 Semantics
                                   Table 19 — Semantics of SegmentList element

 Element or Attribute Name                          Use      Description
           SegmentList                                       specifies Segment information.
              @xlink:href                            O       specifies a reference to a remote element
                                                             entity that contains one or multiple elements
                                                             of type SegmentList.
              @xlink:actuate                        OD       specifies the processing set, can be either
                                                             "onLoad" or "onRequest"
                                                  default:
                                               "onRequest"
              MultipleSegmentBaseInforma                     Multiple Segment base information as defined
              tion                                           in subclause 5.3.9.2, Table 17.
              SegmentURL                           0…N       specifies a Media Segment URL and a possibly
                                                             present Index Segment URL




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 Element or Attribute Name           Use      Description
            @media                    O       in combination with the @mediaRange
                                              attribute, specifies the HTTP-URL for the
                                              Media Segment.
                                              It shall be formatted as an <absolute-
                                              URI> according to IETF RFC 3986:2005,
                                              subclause 4.3, with a fixed scheme of “http” or
                                              “https” or as a <relative-ref> according
                                              to IETF RFC 3986:2005, subclause 4.2.
                                              If not present, then any BaseURL element is
                                              mapped to the @media attribute and the
                                              range attribute shall be present.
            @mediaRange               O       specifies the byte range within the resource
                                              identified by the @media corresponding to
                                              the Media Segment.
                                              The byte range shall be expressed and
                                              formatted as a byte-range-spec as
                                              defined in IETF RFC 7233:2014, subclause 2.1.
                                              It is restricted to a single expression
                                              identifying a contiguous range of bytes.
                                              If not present, the Media Segment is the entire
                                              resource referenced by the @media attribute.
            @index                    O       in combination with the @indexRange
                                              attribute, specifies the HTTP-URL for the
                                              Index Segment.
                                              It shall be formatted as an <absolute-
                                              URI> according to IETF RFC 3986:2005,
                                              subclause 4.3, with a fixed scheme of “http” or
                                              “https” or as a <relative-ref> according
                                              to IETF RFC 3986:2005, subclause 4.2.
                                              If not present and the @indexRange not
                                              present either, then no Index Segment
                                              information is provided for this Media
                                              Segment.
                                              If not present and the @indexRange
                                              present, then the @media attribute is
                                              mapped to the
                                              @index. If the @media attribute is not
                                              present either, then any BaseURL element is
                                              mapped to the @index attribute and the
                                              @indexRange attribute shall be present.




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 Element or Attribute Name                          Use          Description
                  @indexRange                         O          specifies the byte range within the resource
                                                                 identified by the @index corresponding to
                                                                 the Index Segment. If @index is not present,
                                                                 it specifies the byte range of the Segment
                                                                 Index in Media Segment.
                                                                 The byte range shall be expressed and
                                                                 formatted as a byte-range-spec as
                                                                 defined in IETF RFC 7233:2014, subclause 2.1.
                                                                 It is restricted to a single expression
                                                                 identifying a contiguous range of bytes.
                                                                 If not present, the Index Segment is the entire
                                                                 resource referenced by the @index attribute.

 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 The conditions only hold without using @xlink:href. If linking is used, then all attributes are "optional" and
 <minOccurs=0>.
 Elements are bold; attributes are non-bold and preceded with an @.

5.3.9.3.3 XML-Syntax
    <xs:complexType name="SegmentListType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Segment List
        </xs:documentation>
        </xs:annotation>
        <xs:complexContent>
                <xs:extension base="MultipleSegmentBaseType">
                        <xs:sequence>
                                <xs:element   name="SegmentURL"   type="SegmentURLType"   minOccurs="0"
maxOccurs="unbounded"/>
                        </xs:sequence>
                        <xs:attribute ref="xlink:href"/>
                        <xs:attribute ref="xlink:actuate" default="onRequest"/>
                        <xs:attribute ref="xlink:type" fixed="simple"/>
                        <xs:attribute ref="xlink:show" fixed="embed"/>
                </xs:extension>
        </xs:complexContent>
    </xs:complexType>
    <xs:complexType name="SegmentURLType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Segment URL
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="media" type="xs:anyURI"/>
        <xs:attribute name="mediaRange" type="SingleRFC7233RangeType"/>
        <xs:attribute name="index" type="xs:anyURI"/>
        <xs:attribute name="indexRange" type="SingleRFC7233RangeType"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>




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5.3.9.4 Segment template
5.3.9.4.1 Overview
The Segment template is defined by the SegmentTemplate element. In this case, specific identifiers
that are substituted by dynamic values assigned to Segments, to create a list of Segments. The substitution
rules are provided in subclause 5.3.9.4.4.
The semantics of the attributes and elements for the Segment list are provided in subclause 5.3.9.4.2,
Table 20. The XML syntax of the Segment Information is provided in subclause 5.3.9.4.3.
5.3.9.4.2 Semantics
                          Table 20 — Semantics of SegmentTemplate element

 Element or Attribute Name                        Use      Description
         SegmentTemplate                                   specifies Segment template information.
            MultipleSegmentBaseInformation                 Provides the Multiple Segment base information
                                                           as defined in subclause 5.3.9.2.
            @media                                  O      specifies the template to create the Media
                                                           Segment List.
                                                           For more details, refer to subclause 5.3.9.4.4.
            @index                                  O      specifies the template to create the Index
                                                           Segment List. If neither the $Number$ nor the
                                                           $Time$ identifier is included, this provides the
                                                           URL to a Representation Index.
                                                           For more details, refer to subclause 5.3.9.4.4.
            @initialization                         O      specifies the template to create the Initialization
                                                           Segment. Neither $Number$ nor the $Time$
                                                           identifier shall be included.
                                                           For more details, refer to subclause 5.3.9.4.4.
            @bitstreamSwitching                     O      specifies the template to create the Bitstream
                                                           Switching Segment. Neither $Number$ nor the
                                                           $Time$ identifier shall be included.
                                                           For more details, refer to subclause 5.3.9.4.4.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.

5.3.9.4.3 XML syntax
     <xs:complexType name="SegmentTemplateType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Segment Template
        </xs:documentation>
        </xs:annotation>
        <xs:complexContent>
                <xs:extension base="MultipleSegmentBaseType">
                        <xs:attribute name="media" type="xs:string"/>
                        <xs:attribute name="index" type="xs:string"/>
                        <xs:attribute name="initialization" type="xs:string"/>
                        <xs:attribute name="bitstreamSwitching" type="xs:string"/>



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                </xs:extension>
        </xs:complexContent>
     </xs:complexType>



5.3.9.4.4 Template-based Segment URL construction
The SegmentTemplate@media attribute, the SegmentTemplate@index             attribute, the
SegmentTemplate@initialization                 attribute             and               the
SegmentTemplate@bitstreamSwitching attribute each contain a string that may contain one or
more of the identifiers as listed in Table 21.
In each URL, the identifiers from Table 20 shall be replaced by the substitution parameter defined in
Table 16. Identifier matching is case-sensitive. If the URL contains unescaped $ symbols which do not
enclose a valid identifier, then the result of URL formation is undefined. In this case, it is expected that
the DASH Client ignores the entire containing Representation element and the processing of the MPD
continues as if this Representation element was not present. The format of the identifier is also
specified in Table 21.
Each identifier may be suffixed, within the enclosing '$' characters, with an additional format tag aligned
with the printf format tag as defined in IEEE 1003.1-2008[10] following this prototype:
     %0[width]d

The width parameter is an unsigned integer that provides the minimum number of characters to be
printed. If the value to be printed is shorter than this number, the result shall be padded with zeros. The
value is not truncated even if the result is larger.
The Media Presentation shall be authored such that the application of the substitution process results in
valid Segment URLs.
Strings outside identifiers shall only contain characters that are permitted within URLs according to
IETF RFC 3986.
                                     Table 21 — Identifiers for URL templates

   $<Identifier>$          Substitution parameter                                  Format
           $$              Is an escape sequence, i.e. "$$" is replaced with a     not applicable
                           single "$"
  $RepresentationID$       This identifier is substituted with the value of the    The format tag shall not be
                           attribute Representation@id of the                      present.
                           containing Representation.
       $Number$            This identifier is substituted with the number of the   The format tag may be present.
                           corresponding Segment, if $SubNumber$ is not
                                                                                   If no format tag is present, a
                           present in the same string.
                                                                                   default format tag with
                           If $SubNumber$ is present, this identifier is           width=1 shall be used.
                           substituted with the number of the corresponding
                           Segment sequence. For details, refer to subclauses
                           5.3.9.6.4 and 5.3.9.6.5.
     $Bandwidth$           This identifier is substituted with the value of        The format tag may be present.
                           Representation@bandwidth attribute value.
                                                                                   If no format tag is present, a
                                                                                   default format tag with
                                                                                   width=1 shall be used.




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     $<Identifier>$    Substitution parameter                                   Format
          $Time$       This identifier is substituted with the value of the     The format tag may be present.
                       MPD start time of the Segment being accessed. For
                                                                                If no format tag is present, a
                       the Segment Timeline, this means that this identifier
                                                                                default format tag with
                       is substituted with the value of the
                                                                                width=1 shall be used.
                       SegmentTimeline@t attribute for the
                       Segment being accessed. Either $Number$ or
                       $Time$ may be used but not both at the same time.
      $SubNumber$      This identifier is substituted with the number of the    The format tag may be present.
                       corresponding Segment in a Seqment Sequence. This
                                                                                If no format tag is present, a
                       identifier shall only be present if either $Number$ or
                                                                                default format tag with
                       $Time$ are present as well. For details, refer to
                                                                                width=1 shall be used.
                       subclauses 5.3.9.6.4 and 5.3.9.6.5.

5.3.9.5      Segment information
5.3.9.5.1 Overview
The Segment Information provides the following information:
— the presence or absence of Initialization, Index and Bitstream Switching Segment information,

— the HTTP-URL and possibly a byte range for each accessible Segment in each Representation, or the
  Segment directly in the MPD as a data URL as defined in IETF RFC 2397,

— all valid Segment URLs declared by the containing MPD,

— for services with MPD@type='dynamic', the Segment availability start time and Segment
  availability end time of each Segment,

— an approximate Media Presentation start time of each Media Segment in the Media Presentation
  timeline within the Period.

The derivation of Initialization, Media, Index and Bitstream Switching Segment Information from the
elements SegmentBase, SegmentList and SegmentTemplate is provided in subclauses 5.3.9.5.2,
5.3.9.5.3, 5.3.9.5.4 and 5.3.9.5.5. Reference resolution as defined in subclause 5.6.4 and base URL selection
as defined in subclause 5.6.5 using BaseURL elements as defined in subclause 5.6 shall be applied to any
URLs.
5.3.9.5.2 Initialization Segment information
Each Representation has assigned at most one Initialization Segment.
The presence of an Initialization Segment is indicated by the presence of
SegmentBase.Initialization,                       SegmentList.Initialization,                          the
SegmentTemplate.Initialization element or the SegmentTemplate@initialization
attribute that may contain URL and byte range information or URL construction rules for the Initialization
Segment.
If neither Initialization element nor SegmentTemplate@initialization attribute are
present for a Representation then each Media Segment within the Representation shall be self-initializing.
For services with MPD@type='dynamic', the Segment availability start time of the Initialization
Segment is the sum of the value of the MPD@availabilityStartTime and the PeriodStart time as
defined in subclause 5.3.2.1 of the containing Period and the Segment availability end time of the



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Initialization Segment is the largest Segment availability end time of any Media Segment in this
Representation. For Segment availability of Media Segments, refer to subclause 5.3.9.5.3.
The data structures retrieved from the Initialization URL are defined in subclause 6.2.2.
5.3.9.5.3 Media Segment information
If a Representation consists of more than one Media Segment, then this Representation has assigned a
list of consecutive Media Segments. The list may be specified explicitly by one or more SegmentList
elements or implicitly by a SegmentTemplate element.
Each entry in this Media Segment list has assigned the following parameters:
— a valid Media Segment URL and possibly a byte range,

— the number and position of the Media Segment in the Representation,

— the MPD start time of the Media Segment in the Representation providing an approximate
  presentation start time of the Segment in the Period,

— the MPD duration of the Media Segment providing an approximate presentation duration of the
  Segment.

The MPD start time and the MPD duration may be approximate and do not necessarily reflect the exact
Media Presentation time. For more details on the relation of MPD start times and Media Presentation
time, refer to subclause 7.2.1.
In order to obtain the list of Media Segment URLs, i.e. the URL for each Segment at a specific position k in
the list based on the Segment Information, the following shall apply:
— If SegmentTemplate element is present, the Template-based Segment URL construction in
  subclause 5.3.9.4.4 shall be applied as follows.

     — If the Representation contains or inherits a SegmentTemplate element with $Number$ then
            the URL of the Media Segment at position k in the Representation is determined by replacing
            the $Number$ identifier by (k−1) + (k start −1) with k start the value of the @startNumber
            attribute, if present, or 1 otherwise.

     — If the Representation contains or inherits a SegmentTemplate element with $Time$ then the
            URL of the media segment at position k is determined by replacing the $Time$ identifier by
            MPD start time of this segment, as described below.

— If one or more SegmentList elements are present then they contain a list of SegmentURL
  elements for a consecutive list of Media Segment URLs. The number of the first Segment in the list
  within this Period is determined by the value of the SegmentList@startNumber attribute, if
  present, or it is 1 in case this attribute is not present. The sequence of multiple SegmentList
  elements within a Representation shall result in Media Segment List with consecutive numbers.

— None of the above: in this case, only a single Media Segment shall be present with the URL provided
  by a BaseURL element and the SegmentBase element may be present.

For the derivation of the MPD start time and duration of each Media Segment in the list of Media
Segments, the position k of the Media Segment and the following information are used.
— If neither @duration attribute nor SegmentTimeline element is present, then the
  Representation shall contain exactly one Media Segment. The MPD start time is 0 and the MPD



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     duration is obtained in the same way as for the last Media Segment in the Representation (see below
     for more details).

— If @duration attribute is present, then the MPD start time of the Media Segment is determined as
  (Number-Number Start ) times the value of the attribute @duration with Number Start the value of the
  @startNumber attribute, and Number the segment number [e.g. (k−1) + Number Start ]. The MPD
  duration of the Media Segment is the value of the attribute @duration unless the Media Segment is
  the last one the Representation (see below for more details).

— If @duration attribute is not present and the SegmentTimeline element is present then rules in
  subclause 5.3.9.6 apply to determine the start time and duration of each Media Segment in the Media
  Segment list.

— To determine the duration of the only or the last Media Segment of any Representation in a Period,
  the MPD shall include sufficient information to determine the duration of the containing Period. For
  example, the MPD@mediaPresentationDuration, or Period@duration, or next
  Period@start may be present. The Media Presentation author should always provide a Segment
  as indicated by the duration of the Period, even if the Segment may not contain any media samples.
  If the content author provides a different number of Segments as nominally derived, it should add
  the @endNumber attribute to provide the number of the last segment in the Period. The value of the
  @endNumber should differ by at most 1 from the nominally derived value. A Segment with a number
  greater than the value of @endNumber is not valid.

For services with MPD@type='dynamic', the Segment availability start time of a Media Segment is the
sum of
— the value of the MPD@availabilityStartTime,

— the PeriodStart time of the containing Period as defined in subclause 5.3.2.1,

— the MPD start time of the Media Segment, and

— the MPD duration of the Media Segment.

     NOTE         By adding the MPD duration of the segment to the segment availability start time of the segment,
     the segment availability start time of the first segment of each Period depends on the segment duration. This
     enables to provide segments in Representations with shorter MPD duration earlier, for example to reduce
     latency for certain Representations.


The Segment availability end time of a Media Segment is the sum of the Segment availability start time,
the MPD duration of the Media Segment and the value of the attribute @timeShiftBufferDepth for
this Representation.
If the @availabilityTimeOffset attribute is present for a Representation in the Segment
Information or the BaseURL element, then the parameter availabilityTimeOffset is determined
as the sum of all values of @availabilityTimeOffset on all levels that are processed in determining
the URL for the corresponding segment. Then the adjusted segment availability start time is determined
by subtracting the value of availabilityTimeOffset from the Segment availability start time. This
adjusted segment availability start time provides a time instant in wall-clock time at which a Segment
becomes an available Segment. If the @availabilityTimeComplete flag is set to false for such a
Representation on any level, then the entire Segment may not yet be fully available at the adjusted
segment availability start time. No promise how the Segment will be made available is provided in this
case. To signal the gradual availability of Segments over time, refer to subclause 5.3.12.1.


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The MPD shall include URL information for all Segments with an availability start time less than both (i)
the end of the Media Presentation and (ii) the sum of the latest time at which this version of the MPD is
available on the server and the value of the MPD@minimumUpdatePeriod.
The data structures retrieved from the URL referring to a Media Segment are defined in subclause 6.2.3.
5.3.9.5.4 Index Segment information
Each Segment typically has assigned Segment Index information that may be provided in an explicitly
declared Index Segment.
The presence of explicit Index Segment information is indicated
— by the presence of one RepresentationIndex element providing the Segment Index for the
  entire Representation, or

— by the presence of at least one of the two attributes @index               and @indexRange in the
  SegmentList.SegmentURL element, or

— by the presence of SegmentTemplate@index attribute. If either $Number$ or $Time$ are present
  the Template-based Segment URL construction in subclause 5.3.9.4.4 shall be applied with number
  set to the number of the corresponding Media Segment. If not present, the
  SegmentTemplate@index attribute constitutes a reference to Representation Index.

The @indexRange attribute may also be used to provide the byte range for an index within a Media
Segment, where this is allowed by the Media Segment format. In this case the @index attribute shall not
be present and the range specified shall lie completely within any byte range specified for the Media
Segment.
The availability of Index Segments is identical to the availability to the Media Segments they correspond
to.
The data structures retrieved from the URL referring to an Index Segment are defined in subclause 6.2.4.
5.3.9.5.5 Bitstream Switching Segment information
Each Representation has assigned at most one Bitstream Switching Segment. The Bitstream Switching
Segment is only relevant in case the @bitstreamSwitching flag is set to 'true' and may enable the
creation of a conforming Segment track for Segments from different Representations.
The presence of a Bitstream Switching Segment is indicated by the presence of the
BitstreamSwitching element or the SegmentTemplate@bitstreamSwitching attribute that
that may contain URL and byte range information or construction rules for the URL.
If neither BitstreamSwitching element nor SegmentTemplate@bitstreamSwitching
attribute are present for a Representation and the @bitstreamSwitching flag is set to 'true', there
are no Bitstream Switching Segments.
The Segment availability time of the Bitstream Switching Segment is identical to the one specified for the
Initialization Segment in subclause 5.3.9.5.2.
The data structures retrieved from the URL referring to a Bitstream Switching Segment are defined in
subclause 6.2.5.




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5.3.9.6 Segment timeline
5.3.9.6.1 General
The SegmentTimeline element expresses the earliest presentation time and presentation duration (in
units based on the @timescale attribute) for each Segment in the Representation. The use is an
alternative to providing the @duration attribute and provides four additional features:
— the specification of arbitrary Segment durations,

— the specification of accurate Segment durations for one media stream where the duration expresses
  presentation duration of the Segment, and

— the signalling of discontinuities of the Media Presentation timeline for which no Segment data are
  present in a specific Representation.

— the ability to signal Segment sequences. For more details, refer to subclause 5.3.9.6.4. Segment
  sequences shall only be used if explicitly permitted by the profile in use.

For compactness, the syntax of this element includes run-length compression to express a sequence of
Segments having constant duration.
The SegmentTimeline element shall contain a list of S elements each of which describes a sequence
of contiguous segments of identical MPD duration. The S element contains a mandatory @d attribute
specifying the MPD duration, an optional @r repeat count attribute specifying the number of contiguous
Segments with identical MPD duration minus one and an optional @t time attribute. The value of the @t
attribute minus the value of the @presentationTimeOffset specifies the MPD start time of the first
Segment in the series.
The @r attribute has a default value of zero (i.e., a single Segment in the series) when not present. For
example, a repeat count of three means there are four contiguous Segments, each with the same MPD
duration. The value of the @r attribute of the S element may be set to a negative value indicating that the
duration indicated in @d repeats until the S@t of the next S element or if it is the last S element in the
SegmentTimeline element until the end of the Period or the next update of the MPD, i.e. it is treated
in the same way as the @duration attribute for a full period.
Any @d value shall not exceed the value of MPD@maxSegmentDuration.
The @d attribute shall represent the accurate presentation duration of the Segment except for the
following conditions are met:
     — the @availabilityTimeOffset is present for the Representation,

     — the @availabilityTimeComplete is set to FALSE for the Representation,

     — the S element is the one with the largest S@t value in the MPD, and

     — the non-adjusted segment availability time of the Segment is greater than or equal to the publish
       time of the MPD.

This means that for such a Segment, the @d attribute may be updated with a new version of the MPD, or
a new S element may be added to reflect a different duration of the Segment than the nominal one. A
DASH Client should not rely on nominal segment durations for the derivation of Segment addresses in
the case the $Time$ identifier is present, but instead the duration of the Segment may be derived by
parsing the Segment and determining the value or by updating the MPD after the non-adjusted segment
availability time.


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The textual order of the S elements within the SegmentTimeline element shall match the numbering (and
thus time) order of the corresponding Media Segments.
When the SegmentTemplate is in use and the $Time$ identifier is present in the
SegmentTemplate@media then
— If a Segment Index ('sidx') box is present, then the values of the SegmentTimeline shall
  describe accurate timing of each Media Segment. Specifically, these values shall reflect the
  information provided in the Segment index ('sidx') box, i.e.

     — the value of @timescale shall be identical to the value of the timescale field in the first
           'sidx' box,

     — the value of S@t shall be identical to the value of the earliest_presentation_time in the
            first 'sidx' box of the Media Segment described in S,

     — the value of S@d shall be identical to sum of the values of all Subsegment_duration fields in
            the first 'sidx' box of the Media Segment described in S.

— If a Segment Index ('sidx') box is not present, then the derivation of the earliest presentation time
  shall be based on the media internal data. The details depend on the segment format in use and
  further restriction on the segment format may apply.

— The Segment URL for a Media Segment is obtained by replacing the $Time$ identifier by the earliest
  presentation time obtained from the SegmentTimeline.

     NOTE        As the earliest presentation time of the next Media Segment in the same Representation can be
     derived from the actual Media Segment, e.g. by the use of the Segment Index, the Segment URL can be generated
     without reading of the updated MPD that contains the update to the Segment Timeline.


The semantics of the attributes and elements for Segment Timeline are provided in subclause 5.3.9.6.2,
Table 22. The XML syntax of the Segment Timeline is provided in subclause 5.3.9.6.3.
5.3.9.6.2 Semantics
                              Table 22 — Semantics of SegmentTimeline element

 Element or Attribute Name                     Use         Description
          SegmentTimeline                                  specifies the Segment timeline information
              S                                0 .. N      specifies Segment start time and duration for a
                                                           contiguous sequence of segments of identical
                                                           durations, referred to as series in the following.
                                                               NOTE The S elements are ordered in sequence
                                                               of increasing values of the attribute @t.




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 Element or Attribute Name       Use        Description
            @t                     O        this value of this attribute minus the value of the
                                            @presentationTimeOffset specifies the
                                            MPD start time, in @timescale units, of the first
                                            Segment in the series. The MPD start time is relative
                                            to the beginning of the Period.
                                            The value of this attribute shall be equal to or greater
                                            than the sum of the previous S element earliest
                                            presentation time and the sum of the contiguous
                                            Segment durations.
                                            If the value of the attribute is greater than what is
                                            expressed by the previous S element, it expresses
                                            discontinuities in the timeline.
                                            If not present, then the value shall be assumed to be
                                            zero for the first S element and for the subsequent S
                                            elements, the value shall be assumed to be the sum of
                                            the previous S element's earliest presentation time
                                            and contiguous duration [i.e. previous
                                            S@t + @d * (@r + 1)].
            @n                     O        specifies the Segment number of the first Segment in
                                            the series.
                                            The value of this attribute shall be at least one
                                            greater than the number of previous S elements plus
                                            the
                                            @startNumber attribute value, if present. If the
                                            value of @n is greater than one plus the previously
                                            calculated Segment number, it expresses that one or
                                            more prior Segments in the timeline are unavailable.
            @d                    M         specifies the Segment duration or the duration of a
                                            Segment sequence, in units of the value of the
                                            @timescale.
            @k                    OD        specifies the number of Segments that are included in
                                            a Segment Sequence. The attribute shall not be
                               default: 1
                                            present unless explicitly permitted by the profile.
                                            For more details, refer to subclause 5.3.9.6.3.
            @r                    OD        specifies the repeat count of the number of following
                                            contiguous Segments or Segment Sequences with the
                               default: 0
                                            same duration expressed by the value of @d. This
                                            value is zero-based (e.g. a value of three means four
                                            Segments or Segment Sequences in the contiguous
                                            series). A negative value of the @r attribute of the S
                                            element indicates that the duration indicated in @d
                                            attribute repeats until the start of the next S element,
                                            the end of the Period or until the next MPD update.




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 Element or Attribute Name                   Use        Description
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.

5.3.9.6.3 XML syntax
     <xs:complexType name="SegmentTimelineType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Segment Timeline
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:element name="S" minOccurs="0" maxOccurs="unbounded">
                        <xs:complexType>
                                <xs:attribute name="t" type="xs:unsignedLong"/>
                                <xs:attribute name="n" type="xs:unsignedLong"/>
                                <xs:attribute name="d" type="xs:unsignedLong" use="required"/>
                                <xs:attribute name="r" type="xs:integer" default="0"/>
                                <xs:attribute name="k" type="xs:unsignedLong" default="1"/>
                                <xs:anyAttribute namespace="##other" processContents="lax"/>
                        </xs:complexType>
                </xs:element>
                <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
     </xs:complexType>



5.3.9.6.4 Segment Sequences
Segment sequences in the Segment Timeline may be signalled with including a @k attribute in the S
element of the SegmentTimeline. The @k shall only be present if all of the following requirements
are fulfilled:
— the addressing scheme for the associated Representation is using Segment template with either
  $Number$ or hierarchical templating and sub-numbering as defined in subclause 5.3.9.6.5,

— the profile explicitly allows the usage of Segment sequences.

If @k is present and greater than 1, then it specifies that sequence described by @d is accurate in timing
but contains @k Segments.
The MPD duration of the Segment is determined as the integer value of @d divided by the value of @k and
determines the MPD start time and therefore the Segment availability start time. MPD duration of the
Segments is not required to exactly match the media duration of the Segments.
The integer of the quotient of the value of @d and the value of @k of any S element shall not exceed the
quotient of @d and the value of @k minus 1 of any other S element in the Segment Timeline.
The concatenation of all Segments in a Segment sequence shall have an accurate segment duration
according of the value of @d.
Any Segment in a Segment sequence may carry inband events.
5.3.9.6.5 Hierarchical Templating and Sub-Numbering
If the Segment template contains a $SubNumber$ value and a Segment Timeline signalling with Segment
sequence is used, then



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— if $Time$ is present, the $Time$ is replaced with the earliest presentation time of the Segment
  sequence for all Segments in the Segment Sequence,

— if $Number$ is present, the $Number$ is replaced with the number of the Segment sequence, i.e.
  with the number as if every Segment sequence in the Segment timeline is treated as single Segment,

— and in both cases the $SubNumber$ is replaced with the Segment number of the Segment Sequence,
  with 1 being the number of the first Segment in the sequence.

     NOTE       The earliest presentation time of the next Segment Sequence in the same Representation can be
     derived from the sum of the earliest presentation time of the current Segment Sequence and the duration of
     the Segment resulting from the concatenation of all Media Segments in a Segment Sequence. In case of ISO
     BMFF, this can be accomplished by summing the track runs of segments in the seqment sequence.

5.3.9.7     Failover Content Signalling
5.3.9.7.1 General
In certain cases, a time-continuous section of a Representation or an Adaptation Set is not properly
represented, for example due to errors in the content ingest or encoding. However, at least at the DASH
level, the content may be offered properly by adding a Missing Segments as defined in 6.2.6 or by
including content that is encoded but representing some failover content instead of the main content.
The FailoverContent element enables identification of such sections of Representations that include
alternative “failover content” and should be avoided by the DASH Client, for example by switching to a
Representation that does not include such failover content.
The FailoverContent element contains a list of failover content sections, each expressed by one FCS
element. The FCS element contains an optional @d attribute specifying the MPD duration of the
alternative content section and a mandatory @t time attribute whereby the value of the @t attribute
minus the value of the @presentationTimeOffset specifies the MPD start time of the alternative
content section.
The semantics of the attributes and elements for failover content are provided in 5.3.9.7.2, Table 23. The
XML syntax of the Failover Content signalling is provided in 5.3.9.7.3.
5.3.9.7.2 Semantics
                          Table 23 — Semantics of FailoverContent element
 Element or Attribute Name               Use            Description

       FailoverContent                                  specifies sections that contain failover content.
          @valid                             OD         specifies whether the corresponding data results in
                                           default:     a valid HTTP request or if the request is invalid and
                                            true        it is expected that a 404 is received when requesting
                                                        the associated Media Segment.
             FCS                               1 .. N   specifies one continuous section of failover content.
                @t                              M       this value of this attribute minus the value of the
                                                        @presentationTimeOffset specifies the MPD
                                                        start time, in @timescale units, of the first sample
                                                        in the alternative content section.
                                                        The value of this attribute shall be equal to or
                                                        greater than the sum of the previous FCS element



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                                                       earliest presentation time and the sum of the
                                                       contiguous section durations.
                 @d                          O         specifies the alternative content section duration in
                                                       units of the value of the @timescale.
                                                       If not present, the alternative content section lasts
                                                       until the start of the next FCS element, or until the
                                                       end of the Period or until the end of MPD duration,
                                                       whichever occurring first in the timeline.
 Legend:
     For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory.
     For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.


5.3.9.7.3 XML syntax
     <xs:complexType name="FailoverContentType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Failover Content
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:element name="FCS" maxOccurs="unbounded">
                        <xs:complexType>
                                <xs:attribute name="t" type="xs:unsignedLong" use="required"/>
                                <xs:attribute name="d" type="xs:unsignedLong"/>
                                <xs:anyAttribute namespace="##other" processContents="lax"/>
                        </xs:complexType>
                </xs:element>
                <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="valid" type="xs:boolean" default="true"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
     </xs:complexType>



5.3.10 Label and Group Label
5.3.10.1 Overview
Labels provide the ability to annotate data structures in a DASH Media Presentation by providing a short
textual description of the parent element. Labels can be used for the purpose of interaction and
configuration settings within a DASH Client or associated application. For example, the Label element
can be used to provide a selection menu to the user.
GroupLabel may be added on a higher level to provide a summary or title of labels collected in a group.
For example, GroupLabel can be used as the title on a selection menu containing a collection of labels.
Labels with the same value for the @id attribute belong to a label group. All labels with the same @id
shall be on the same level in the MPD.
The @lang attribute assigned to a label describes the language of that label. For example, the @lang
attribute can be used by the DASH Client to filter labels according to user language preferences.
The semantics of the label element and the group label element are provided in Table 24 and Table 25,
respectively, in subclause 0, the XML syntax is provided in subclause 5.3.10.3.




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5.3.10.2 Semantics
                                Table 24 — Semantics of Label element

 Element or Attribute Name                 Use         Description
 Label                                                 The label and the actual text of the label that
                                                       annotates the element in the DASH Media
                                                       Presentation
     @id                                   OD          An identifier for the label. Labels with the same
                                        default: 0     value for this attribute belong to a label group.
     @lang                                  O          Specifies the language of the label. If not present,
                                                       the language of the label is unknown.
                             Table 25 — Semantics of GroupLabel element

 Element or Attribute Name                 Use         Description
 GroupLabel                                            The actual text of the group label that annotates the
                                                       element in the DASH Media Presentation
     @id                                   OD          An identifier for the group label. The value for this
                                        default: 0     attribute shall be unique for all group labels in the
                                                       MPD. The value of this attribute shall be the same
                                                       as the id attribute of all Label elements in the label
                                                       group.
     @lang                                  O          Specifies the language of the label. If not present,
                                                       the language of the label is unknown.

5.3.10.3 XML Syntax
     <xs:complexType name="LabelType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Label and Group Label
        </xs:documentation>
        </xs:annotation>
        <xs:simpleContent>
                <xs:extension base="xs:string">
                        <xs:attribute name="id" type="xs:unsignedInt" default="0"/>
                        <xs:attribute name="lang" type="xs:language"/>
                        <xs:anyAttribute namespace="##other" processContents="lax"/>
                </xs:extension>
        </xs:simpleContent>
     </xs:complexType>
     <xs:complexType name="ProducerReferenceTimeType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Producer Reference time
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:element name="UTCTiming" type="DescriptorType" minOccurs="0"/>
                <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="id" type="xs:unsignedInt" use="required"/>
        <xs:attribute name="inband" type="xs:boolean" default="false"/>
        <xs:attribute name="type" type="ProducerReferenceTimeTypeType" default="encoder"/>
        <xs:attribute name="applicationScheme" type="xs:string"/>
        <xs:attribute name="wallClockTime" type="xs:string" use="required"/>
        <xs:attribute name="presentationTime" type="xs:unsignedLong" use="required"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
     </xs:complexType>




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5.3.11 Preselection
5.3.11.1 Overview
The concept of Preselections was initially considered for the purpose of enabling Next Generation Audio
(NGA) codecs to signal suitable combinations of audio elements that are offered in different Adaptation
Sets. However, the Preselection concept is introduced in a generic manner such that it can also be
applicable to and used by other media types and codecs.
Preselections define user experiences that can be selected by the DASH Client. Each Preselection is
uniquely identifiable and distinguishable, e.g. by language. A Preselection encompasses a subset of media
components such that the media components can be selected and combined into a complete experience.
Preselections can be used to reference a set of Representations from multiple Adaptation Sets in order to
produce a complete experience. Preselections can also be used to indicate a pre-defined experience at the
elementary-stream level, i.e. the DASH Client can select a pre-defined experience and provides the
selection to the media engine.
Preselections may be uniquely identified by a Preselection Tag. Users/Codecs using this Tag functionality
are encouraged to provide more information on how tags defined in the MPD map to functionality in the
specific codec.
Preselections have equivalent annotation parameters to Adaptation Sets and are always assigned exactly
one media type.
Media components can be mapped to Adaptation Sets in multiple ways:
     1. by a one-to-one mapping between media components and Adaptation Sets;
     2. by the inclusion of multiple media components in a single Adaptation Set where all encoded
        versions of the media components are multiplexed on the file-container level;
     3. by the inclusion of multiple media components in a single Adaptation Set where all encoded
        versions of the media components are multiplexed on the elementary-stream level.

If the Adaptation Set contains a single media component, then the media component can be referenced
by the @id of the Adaptation Set.
If the Adaptation Set contains multiple media components multiplexed on the file-container level, then
each media component is mapped to a Content Component as defined in 5.3.4. For example, in the ISO
BMFF case, a Representation contains multiple tracks and each track is mapped to a Content Component.
Therefore, media components can be referenced by the @id of an Adaptation Set or the @id of a Content
Component. When Preselections reference Content Components, the @id of Adaptation Sets and
Content Components shall be unique within the scope of a Period.
If the Adaptation Set contains multiple media components multiplexed at the elementary-stream level,
then a pre-defined experience is referenced by the Preselection. For example, in the ISO BMFF case, a
Representation contains a single track of multiple media components that is referenced by the @id of the
Adaptation Set. Multiple Preselections can reference the Adaptation Set and select a pre-defined
experience by passing the Presentation Tag to the media engine along with the media stream.
The Main Adaptation Set is the Adaptation Set that contains the Initialisation Segment for the complete
experience. Each Preselection shall reference a Main Adaptation Set and may reference zero, one or more
other Adaptation Sets.
     NOTE In the context of Preselection the term "Main Adaptation Set" is used. This term is not to be confused
     with an Adaptation Set that has assigned the main Role.

Within a Preselection, two types of Adaptation Sets are differentiated:




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     — Main Adaptation Set: A Representation of this Adaptation Set is needed for playback of the
       Preselection. In particular for ISO BMFF, the Initialization Segment of such a Representation is
       needed for playback of the Preselection.

     — Partial Adaption Set: A Representation of this Adaptation Set is only consumable together with
       the Main Adaptation Sets within this Preselection. Again, in particular for ISO BMFF, the
       Initialization Segment of a Representation of the Main Adaptation Set is needed for playback.

Preselections, main Adaptation Set and partial Adaptation Sets may be defined by one of the two means:
     — A preselection descriptor as specified in subclause 5.3.11.2. Such a descriptor enables simple
       configurations and preserves backward compatibility but may not be suitable for advanced use
       cases.

     — A preselection element as specified in 5.3.11.3 and 5.3.11.4. The semantics of the Preselection
       element is provided in subclause 5.3.11.3 and the XML syntax is provided in 5.3.11.4.

5.3.11.2 Preselection Descriptor
The Preselection Descriptor is used for two purposes.
     — To indicate that an Adaptation Set is part of a Preselection.

     — Optionally, to provide instructions on how to combine the Adaptation Set with other Adaptation
       Sets to form a Preselection.

The Preselection Descriptor shall be either an Essential Property Descriptor or a Supplemental Property
Descriptor with a @schemeIdURI of "urn:mpeg:dash:preselection:2016".
For simple use cases, the Preselection Descriptor may be used to provide instructions on how to combine
the Adaptation Set with other Adaptation Sets to form a Preselection. The descriptor shall only be present
at the Adaptation Set level.
The @value attribute of the descriptor provides two fields, separated by a comma:
     — the Preselection Tag

     — the id of the Adaptation Sets or Content Components referenced by this Preselection as a white
       space separated list in processing order. The first id references the Main Adaptation Set.

The syntax for the value attribute of the Preselection descriptor shall follow the PRESELECTION-
DESCRIPTOR-VALUE as defined in the following ABNF notation according to IETF RFC 5234:
           PRESELECTION-DESCRIPTOR-VALUE = TAG-VALUE "," ID-LIST

           ID-LIST = ID-VALUE [ WHITESPACE ID-VALUE]
           TAG-VALUE = STRING
           ID-VALUE = 1* DIGIT
           STRING = *VCHAR


If the descriptor is present, but the value field is absent, the Adaptation Set shall be referenced by at least
one Preselection.
If the value field is present, then this descriptor identifies a Preselection. The Tag is assigned, and the
Preselection includes the ids of the Adaptation Sets that are part of this Preselection. In this case, the
Multi-Segment Track Conformance rule as defined in subclause 5.3.11.5.2 applies.



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If the descriptor is present and used with the Essential Descriptor, then this indicates that the Adaptation
Set is only consumable as part of a Preselection.
If the descriptor is present and used with the Supplemental Descriptor, then this indicates that the
Adaptation Set is also consumable independently of a Preselection.
5.3.11.3 Semantics of Preselection element
As an alternative to the Preselection descriptor, Preselections may also be defined through the
Preselection element as provided in Table 26. The selection of Preselections is based on the contained
attributes and elements in the Preselection element.
                                   Table 26 — Semantics of PreSelection element

 Element or Attribute Name                        Use       Description
       Preselection
          @id                                     OD        specifies the id of the Preselection. This shall be
                                                            unique within one Period.
                                                default=
                                                   1
          @preselectionComponents                  M        specifies the ids of the contained Adaptation Sets or
                                                            Content Components that belong to this Preselection
                                                            as white space separated list in processing order.
                                                            The first id defines the Main Adaptation Set.
          @lang                                    O        same semantics as in Table 5 for @lang attribute.
          @order                                  OD        specifies the conformance rules for Representations
                                                            in Adaptation Sets within the Preselection.
                                                 Default:
                                                'undefi     When set to 'undefined', the Preselection follows
                                                  ned'      the conformance rules for Multi-Segment Tracks in
                                                            subclause 5.3.11.5.1.
                                                            When set to 'time-ordered', the Preselection
                                                            follows the conformance rules for Time-Ordered
                                                            Segment Tracks in subclause 5.3.11.5.2.
                                                            When set to 'fully-ordered', the Preselection
                                                            follows the conformance rules for Fully-Ordered
                                                            Segment Tracks in subclause 5.3.11.5.3. In this case,
                                                            order in the @preselectionComponents
                                                            attribute specifies the component order.
           Accessibility                         0…N        specifies information about accessibility scheme.
                                                            For more details, refer to subclauses 5.8.1 and
                                                            5.8.4.3.
           Role                                  0…N        specifies information on role annotation scheme.
                                                            For more details, refer to subclauses 5.8.1 and
                                                            5.8.4.2.
           Rating                                0…N        specifies information on rating scheme.
                                                            For more details, refer to subclauses 5.8.1 and
                                                            5.8.4.4.




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 Element or Attribute Name                     Use      Description
         Viewpoint                             0…N      specifies information on viewpoint annotation
                                                        scheme.
                                                        For more details, refer to subclauses 5.8.1 and
                                                        5.8.4.5.
         CommonAttributesElements                -      specifies the common attributes and elements
                                                        (attributes and elements from base type
                                                        RepresentationBaseType). For details, see
                                                        subclause 5.3.7.
 Key
 For attributes: M=mandatory, O=Optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>..<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.

5.3.11.4 XML Syntax
    <xs:complexType name="PreselectionType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Preselection
        </xs:documentation>
        </xs:annotation>
        <xs:complexContent>
                <xs:extension base="RepresentationBaseType">
                        <xs:sequence>
                                <xs:element name="Accessibility" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                                <xs:element name="Role" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                                <xs:element name="Rating" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                                <xs:element name="Viewpoint" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                        </xs:sequence>
                        <xs:attribute name="id" type="StringNoWhitespaceType" default="1"/>
                        <xs:attribute name="preselectionComponents" type="StringVectorType"
use="required"/>
                        <xs:attribute name="lang" type="xs:language"/>
                        <xs:attribute name="order" type="PreselectionOrderType" default="undefined"/>
                </xs:extension>
        </xs:complexContent>
    </xs:complexType>
    <xs:simpleType name="PreselectionOrderType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Preselection Order type
        </xs:documentation>
        </xs:annotation>
        <xs:restriction base="xs:string">
                <xs:enumeration value="undefined"/>
                <xs:enumeration value="time-ordered"/>
                <xs:enumeration value="fully-ordered"/>
        </xs:restriction>
    </xs:simpleType>



5.3.11.5 Conformance rules
5.3.11.5.1 Conformance rules for Multi-Segment Tracks
Where multiple Adaptation Sets indicate this type of ordering, each Adaptation Set and the contained
Representations follow the regular conformance rules for multi-segment tracks as defined in subclause
5.3.5.1.


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No additional conformance rules are defined for the Representations in different Adaptation Sets within
Preselections.
5.3.11.5.2 Conformance rules for Time-Ordered Segment Track
Where multiple Adaptation Sets indicate this type of ordering, each Adaptation Set and the contained
Representations follow the conformance rules for multi-segment tracks as defined in subclause
5.3.11.5.1.
In addition, the concatenation of the following shall represent a conforming Segment track as defined in
subclause 4.5.4 and conforming to the media type as specified in the @mimeType attribute for the
Representation of the Main Adaptation Set:
    — An Initialization Segment of one Representation of the Main Adaptation Set (specified by the first
      id in the @preselectionComponents attribute or the Preselection Descriptor, and

    — media segments/subsegments of one Representation from each Adaptation Set referenced in the
      Preselection ordered by non-decreasing first decode times.

     NOTE        This does not constrain the order of segments with the same first decode time.

If Adaptation Sets within a Preselection are time-ordered as defined above, the Representations of all
Adaptation Sets referenced by the Preselection should be segment/subsegment aligned as defined in
subclause 5.3.3.5.
5.3.11.5.3 Conformance rules for Fully-Ordered Segment Track
Where multiple Adaptation Sets indicate this type of ordering, each Adaptation Set and the contained
Representations follow the conformance rules for multi-segment tracks as defined in subclause
5.3.11.5.1.
In addition, the concatenation of the following shall represent a conforming Segment track as defined in
subclause 4.5.4 and conforming to the media type as specified in the @mimeType attribute for the
Representation of the Main Adaptation Set:
    — An Initialization Segment of one Representation of the Main Adaptation Set (specified by the first
      id in the @preselectionComponents attribute or the Preselection Descriptor), and

    — media segments/subsegments of one Representation from each Adaptation Set referenced in the
      Preselection ordered first by non-decreasing decode times and then by position in the list given
      in @preselectionComponents.

If Adaptation Sets referenced by a Preselection are fully ordered as defined above, the Representations
of all Adaptation Sets referenced by the Preselection shall be segment/subsegment aligned as defined in
subclause 5.3.3.5.
5.3.12 Initialization Set, Group and Presentation
5.3.12.1 Initialization Set
An Initialization Set provides a common set of media properties across Periods in a Media Presentation.
If an Initialization Set with certain properties is provided in an MPD, there shall be at least one Adaptation
Set in at least one Period with these properties. More importantly, it can also be indicated that all Periods
in the Media Presentations include at least one Adaptation Set that follows the properties of the
Initialization Set. Especially in the latter case. an Initialization Set can be selected at the start of a Media
Presentation in order to establish the relevant decryption, decoding and rendering environment. This
provides expected consistent playback behaviour for the DASH Client if it selects only Adaptation Sets
that are included in the selected Initialization Set.

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The semantical definition of Initialization Sets shares all parameters of Adaptation Sets, but but an
Initialization Set may only include a subset of those parameters. An Adaptation Set referring to an
Initialization Set that it conforms to may include additional information, for example:

   — There may be an Initialization Set with media type audio and a @codecs parameter, but without
     a @lang attribute. Then each Period includes at least one Adaptation Sets with the same media
     type, the same @codecs parameter, but each of the Adaptation Sets defines a different language
     for each Period. This ensures that initialization of an audio playback decoder is possible, but over
     Period boundaries, the language may change, or additional languages may be added.

   — There may be an Initialization Set with media type video and @maxWidth and @maxHeight
     parameter and a @codecs parameter. Then at least one Period includes at least one Adaptation
     Set with the same media type, but its actual codecs parameters and the @maxWidth and
     @maxHeight may be different than the ones in the Initialization Set, but can be decoded and
     displayed within the Initialization Set constraints.

An Initialization Set may get assigned a specific profile using the @profiles parameter in order to
express conformance to DASH profiles or Interoperability Points.

If an MPD has multiple Periods, there should be at least one Initialization Set be present for each media
type.

The semantics of the attributes and elements within an InitializationSet element are provided in
subclause 5.3.12.2, Table 27. The XML syntax of the InitializationSet element is provided in
subclause 5.3.12.3.
5.3.12.2 Semantics

                      Table 27 — Semantics of InitializationSet element
 Element or Attribute Name                  Use         Description
      InitializationSet                                 Initialization Set description
        @xlink:href                          O          specifies a reference to a remote element entity that shall
                                                        contain exactly one element of type InitializationSet

        @xlink:actuate                       OD         specifies the processing instructions, which can be either
                                                        "onLoad" or "onRequest".
                                           default:
                                        'onRequest'

        @id                                  M          specifies a unique identifier for this Initialization Set. The
                                                        attribute shall be a unique unsigned integer value amongst
                                                        all InitializationSet and InitializationGroup ids in the scope
                                                        of the MPD.
        @inAllPeriods                        OD         if set to true, then there is at least one Adaptation Set in
                                                        each Period of the Media Presentation that conforms to this
                                        Default: TRUE
                                                        Initialization Set.
        @contentType                         O          specifies the media content component type for this
                                                        Initialization Set. A value of the top-level Content-type
                                                        'type' value as defined in 4 of IETF RFC 6838:2013 shall be
                                                        taken.

                                                        If not present, the media content component type may be
                                                        defined for each media component or it may be unknown.




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 Element or Attribute Name           Use   Description
          @par                        O    specifies the picture aspect ratio of the video media
                                           component type, in the form of a string consisting of two
                                           integers separated by ':', e.g. ”16:9”. When this attribute
                                           is present, and the attributes @width and @height for
                                           for the Representations of Adaptation Sets conforming to
                                           this Initialization Set are also present, the picture aspect
                                           ratio as specified by this attribute shall be the same as
                                           indicated by the values of @width, @height, and @sar,
                                           i.e. it shall express the same ratio as (@width * sarx):
                                           (@height * sary), with sarx the first number in @sar and
                                           sary the second number.

                                           If not present, the picture aspect ratio may be defined for
                                           each media component or it may be unknown.
          @maxWidth                   O    specifies the maximum @width value in all
                                           Representations in all Adaptation Sets associated to this
                                           Initialization Set. This value has the same units as the
                                           @width attribute.

                                           If not present, the value is unknown.
          @maxHeight                  O    specifies the maximum @height value in all
                                           Representations in all Adaptation Sets associated to this
                                           Initialization Set. This value has the same units as the
                                           @height attribute.

                                           If not present, the value is unknown.

          @maxFrameRate               O    specifies the maximum @framerate value in all
                                           Representations in all Adaptation Sets associated to this
                                           Initialization Set. This value is encoded in the same format
                                           as the @frameRate attribute.

                                           If not present, the value is unknown.

          @initialization             O    specifies the URL of an Initialization Segment.
          CommonAttributesElements    -    specifies the common attributes and elements (attributes
                                           and elements from base type
                                           RepresentationBaseType). For details see 5.3.7.

          Accessibility              0…N   specifies information about accessibility scheme for all
                                           Adaptation Sets associated to this Initialization Set.

                                           For more details, refer to subclauses 5.8.1 and 5.8.4.3.
          Role                       0…N   specifies information on role annotation scheme for all
                                           Adaptation Sets associated to this Initialization Set.

                                           For more details, refer to subclauses 5.8.1 and 5.8.4.2.
          Rating                     0…N   specifies information on rating scheme for all Adaptation
                                           Sets associated to this Initialization Set

                                           For more details, refer to subclauses 5.8.1 and 5.8.4.4.




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 Element or Attribute Name                           Use         Description
          Viewpoint                                 0…N          specifies information on viewpoint annotation scheme for
                                                                 all Adaptation Sets associated to this Initialization Set

                                                                 For more details, refer to subclauses 5.8.1 and 5.8.4.5.

 Legend:
      For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory, F=fixed.
      For elements: <minOccurs>...<maxOccurs> (N=unbounded)
      The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
      <minOccurs=0>
 Elements are bold; attributes are non-bold and preceded with an @, List of elements and attributes is in italics bold
 referring to those taken from the Base type that has been extended by this type.



5.3.12.3 XML syntax
    <xs:complexType name="InitializationSetType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Initialization Set
        </xs:documentation>
        </xs:annotation>
        <xs:complexContent>
                <xs:extension base="RepresentationBaseType">
                        <xs:sequence>
                                <xs:element name="Accessibility" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                                <xs:element name="Role" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                                <xs:element name="Rating" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                                <xs:element name="Viewpoint" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                        </xs:sequence>
                        <xs:attribute ref="xlink:href"/>
                        <xs:attribute ref="xlink:actuate" default="onRequest"/>
                        <xs:attribute ref="xlink:type" fixed="simple"/>
                        <xs:attribute name="id" type="xs:unsignedInt" use="required"/>
                        <xs:attribute name="inAllPeriods" type="xs:boolean" default="true"/>
                        <xs:attribute name="contentType" type="RFC6838ContentTypeType"/>
                        <xs:attribute name="par" type="RatioType"/>
                        <xs:attribute name="maxWidth" type="xs:unsignedInt"/>
                        <xs:attribute name="maxHeight" type="xs:unsignedInt"/>
                        <xs:attribute name="maxFrameRate" type="FrameRateType"/>
                        <xs:attribute name="initialization" type="xs:anyURI"/>
                </xs:extension>
        </xs:complexContent>
    </xs:complexType>



5.3.12.4 Initialization Group and Initialization Presentation
5.3.12.4.1 Overview
Initialization Group and Initialization Presentation signal the capabilities required for playback of the
content as intended by the service provider.
The InitializationGroup element lists the minimum requirements for playback of a media content
type in all Periods of the Media Presentation. Any Period contained in the Media Presentation shall have
at least one Adaptation Set that conforms to one of the Initialization Sets included in this Initialization
Group. Therefore, a client supporting all listed Initialization Sets in one InitializationGroup
element is expected to be able to play that media type during the entire Media Presentation.
The InitializationPresentation element lists the minimum requirements for playback of a
Media Presentation in all Periods. A client supporting all listed Initialization Sets and Groups of one


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Initialization Presentation is expected to be able to play the entire Media Presentation as intended by the
service provider.
An Initialization Group or Presentation may get assigned a specific profile using the @profiles
parameter in order to express conformance to DASH Profiles or Interoperability Points.
5.3.12.4.2 Application of Initialization hierarchy
Figure 4 demonstrates the use of initialization hierarchy in signalling the required capabilities. In this
example, the MPD has 3 different media types: video, audio and subtitle. The MPD has several Periods,
the Adaptation Sets of which are described by different Initialization Sets for each media type:
Initialization Sets (IS) 1-4 define the requirements for 4 different video decoders, Initialization Sets 5-7
define the requirements for 3 audio decoders, and Initialization Sets 8-9 define the requirements for 2
different subtitle parsers.



                                       Initialization Presentation 1                   Initialization Presentation 2




             Initialization Group 1                              Initialization Group 3

                     Initialization Group 2




             Initialization Set 1
                                                                Initialization Set 5                        Initialization Set 8

                   Initialization Set 2                                Initialization Set 6                         Initialization Set 9
                                                                                                                   (@inAllPeriod) =true)
                          Initialization Set 3                               Initialization Set 7

                                    Initialization Set 4


                               Video                                          Audio                                    Subtitle


                                      Figure 4 — An Example of initialization signaling.
In Figure 4, each Initialization Group defines the minimum requirement for playback of a media type for
entire Media Presentation, while each Initialization Presentation defines the requirements to playback
Media Presentation as intended by the service provider. Initialization Group (IG) 1 consists of IS1 and
IS2, while Initialization Group 2 consists of IS2 and IS3, which means that a client can play the video
during all periods if it supports the decoders defined in IG1 or IG2. Similarly, IG3 consists of IS5 and IS6,
so a client supporting decoders defined by IS5 and IS6 can play the audio during all periods. And finally,
since IS9 @inAllPeriod is set to true, a client supporting IS9 can play the existing subtitle in all periods.
To playback the content as intended by service provider, the MPD contains of two Initialization
Presentations (IP) 1 and 2. IP1 defines a complete presentation that consists of audio and video (i.e. the
client has to support IG1 and IG3). IP2 adds the support for playback of subtitle IS9 to its presentation
requirements.
5.3.13 Resynchronization
5.3.13.1 Overview
In DASH context, in typical cases Segments are treated as a single unit for download, random access to
Media Presentations, and they are also addressed by a single URL. However, Segments may have internal

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structures that enable resynchronization on container level and random access to the respective
Representation even within a Segment. The resynchronization mechanism is supported and signalled by
the Resync element.
The Resync element signals Resynchronization Points in Segments. A Resynchronization Point marks
the start (in byte position) of a well-structured continuous byte range within a Segment that contains
media data of certain presentation duration and can be accessed independently on container format level.
A Resynchronization Point may provide additional functionalities, such as access on decryption and
decoding level.
A container format making use of the Resynchronization feature must define a Resynchronization Point
and associated properties.
A Resynchronization Point in a Segment is defined as follows:
   1. A Resynchronization Point enables to start parsing and processing on the container level.
   2. A Resync Point has assigned the following properties:
          — It has a byte offset or index Index from the start of the Segment, pointing to the
               Resynchronization Point.
          — It has an earliest presentation time Time in the Representation, i.e. the smallest
               presentation time of any sample included in the Representation when starting to
               process from the Resynchronization Pointer.
          — It has assigned a type Type, for example, defined by the SAP type in ISO/IEC 14496-12.
          — It has assigned a boolean marker property Marker indicating whether the
               Resynchronization Point can be detected while parsing Segment through a specific
               structure or if the resync point needs to be signalled by external means.
   3. Starting to process the Segment from a Resynchronization Point, together with the information
      in the Initialization Segment, if present, allows container parsing. Whether and how to access
      the contained and potentially encrypted elementary stream may be indicated by the
      resynchronization access point type.
Signalling each Resynchronization Point with all properties in the MPD can be done by providing a
separate metadata Segment describing the Resynchronization Points in a Segment. However, not in all
cases such side-car Segments may be provided, or at least provided in time. For example, in case of
dynamic and live services, Resynchronization Points are added by the Segment packager independent of
MPD updates. A Resynchronization Point may be generated by the encoder and packager independently
from the MPD. Also, in low-latency cases, the MPD signalling may not be available to the DASH client.
Hence, there are two non-mutually exclusive ways specified to signal Resync Points provided in a
Segment in an MPD:
   1. By providing a binary map for each Resynchronization Point in a Representation that includes
      timed metadata track. This is most easily used for Segments that are fully available on the
      network.
   2. By signalling the existence of Resynchronization Points in a Media Segment with additional
      information that permits to easily locate the Resynchronization Points in terms of the byte
      position and the presentation time, as well as providing the type of the Resynchronization Point.
In case the Resync element is present with @dImin and @dT attributes included and the derived from
these values are adjusted values dImin in bytes and dT in seconds, respectively, and the
@availabilityTimeComplete attribute is set to false, then the following shall hold:
   — At the adjusted availability start time of the Segment, the first chunk is available.



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    — At the sum of the adjusted availability start time of the Segment and i*dT, the (i+1)th chunk is
      available with i=1, …, N and N the total amount of chunks in the Segment.
    — If the @rangeAccess on BaseURL attribute associated to the Representation is set to true,
      available chunks may be accessed with byte ranges. If set to false, the client should not expect a
      response corresponding to the requested byte range.
In order to signal the above properties, a Resync element is defined with different attributes, that are
explained in more detail in subclause 5.3.13.2, Table 28. The XML Syntax is provided in subclause 5.3.13.3.
5.3.13.2 Semantics
                                   Table 28 — Semantics of Resynchronization Point

 Element or Attribute Name                      Use       Description
        Resync                                            Resync Point signalling
                                                          if present, specifies that Resync Points are present in
                                                          the Segments of the corresponding Representation.
           @type                                 OD       specifies the type of the Resync Point.
                                               default:   if 0, specifies that on Segment format level the Resync
                                                "0"       Points allow parsing and decryption to access the
                                                          Segments, in combination with the Initialization
                                                          Segment of the corresponding Representation (if
                                                          present).
                                                          For all Segment formats defined in this document, the
                                                          following holds:
                                                                  if greater than 0, specifies that one or multiple
                                                                  Resync Points are present with the properties
                                                                  of @type=0 and the properties defined in the
                                                                  element in each corresponding Segment with
                                                                  SAP type being equal to or smaller than the
                                                                  one indicated in the value.
                                                                  For details on SAP types, refer to subclause
                                                                  4.5.2.
           @dT                                    O       specifies the maximum difference of the Time values
                                                          of any two consecutive Resynchronization Points that
                                                          are included in the @type definition above in any
                                                          Media Segment for this Representation.
                                                          The value is expressed in scale of the @timescale of
                                                          the corresponding Representation.
                                                          If not present, the value is unknown.
           @dImax                                 O       specifies the maximum difference of the Index values
                                                          of any two consecutive Resync Points that are included
                                                          in the @type definition above in any Media Segment
                                                          for this Representation normalized by the
                                                          @bandwidth value of the Representation.
                                                          To obtain the maximum difference in octets, the value
                                                          of @dImax is multiplied with the @bandwidth value.
                                                          If not present, the value is unknown.




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 Element or Attribute Name                 Use        Description
           @dImin                           OD        specifies the minimum difference of the Index values
                                                      of any two consecutive Resynchronization Points that
                                         Default: 0
                                                      are included in the @type definition of this element in
                                                      any Media Segment for this Representation
                                                      normalized by the @bandwidth value of the
                                                      Representation.
                                                      To obtain the minimum difference in octets, the value
                                                      of @dImin is multiplied with the @bandwidth value.
                                                      If not present, the value is assumed to be 0.
           @marker                          OD        If set to true, it specifies that every
                                                      Resynchronization Point includes a specific marker for
                                         Default:
                                         FALSE        Resynchronization Point detection.
                                                      If not present or FALSE, the presence of a marker for
                                                      every signalled Resynchronization Point cannot be
                                                      expected.
                                                      Every Segment format making use of this functionality
                                                      must specify a Resynchronization Marker. For details
                                                      refer to the Segment formats in Clause 6.



5.3.13.3 XML Syntax
      <xs:complexType name="ResyncType">
         <xs:annotation>
                 <xs:documentation xml:lang="en">
                 Resynchronization Point
         </xs:documentation>
         </xs:annotation>
         <xs:attribute name="type" type="SAPType" default="0"/>
         <xs:attribute name="dT" type="xs:unsignedInt"/>
         <xs:attribute name="dImax" type="xs:float"/>
         <xs:attribute name="dImin" type="xs:float" default="0"/>
         <xs:attribute name="marker" type="xs:boolean" default="false"/>
         <xs:anyAttribute namespace="##other" processContents="lax"/>
      </xs:complexType>



5.4 Media Presentation Description updates
5.4.1 General
If MPD@type is set to 'dynamic', the MPD may be updated during the Media Presentation. Updates
typically extend the accessible Segment list for each Representation, introduce a new Period, update
Segment locations or terminate the Media Presentation.
When the MPD is updated
   — the updated MPD shall be made available as follows:
             — At the same location as the original MPD, if no MPD.Location element is present in the
               original MPD at the same location provided by the MPD.Location elements are present
               in the original MPD
             — at all locations provided by the MPD.Location elements;
             — the updated MPD may be made available as an MPD patch document by providing one or
               several MPD.PatchLocation elements that can be combined and processed with the


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                  original MPD to generate an updated MPD. The MPD patch document is updated at the
                  same time when the MPD is updated. Hence, timing related to MPD patch document is
                  expected to be identical the operation of MPD updates.
    — the value of MPD@id, if present, shall be the same in the original and the updated MPD;
    — the values of any Period@id attributes shall be the same in the original and the updated MPD,
      unless the containing Period element has been removed;
    — the values of any AdaptationSet@id attributes shall be the same in the original and the
      updated MPD unless the containing Period element has been removed;
    — any Representation with the same @id and within the same Period as a Representation appearing
      in the previous MPD shall provide functionally equivalent attributes and elements and shall
      provide functionally identical Segments with the same indices in the corresponding
      Representation in the new MPD.
If the attribute MPD@minimumUpdatePeriod is not present, no update to the MPD is expected, the
attribute MPD@mediaPresentationDuration or the Period@duration of the last Period shall be
present and the MPD shall remain valid until the Media Presentation end time.
If the attribute MPD@minimumUpdatePeriod is present, updates to the MPD are expected and
restricted in a sense that at the location where the MPD is available at a certain time, the MPD is also valid
for the duration of the value of the MPD@minimumUpdatePeriod attribute. Specifically, the following
shall hold.
If the i-th version of the MPD is the last version of MPD till the end of the Media Presentation, let Texp(i)
be the Media Presentation end time.
Otherwise, let Texp(i) be the sum of the value of MPD@minimumUpdatePeriod and the wall-clock time
at which the i-th version of the MPD is updated [and replaced with the (i+1)-th version] at the location
where the MPD is available. The i-th MPD shall remain valid until Texp(i) in the following sense:
    — all Segments with availability start time less than Texp(i) shall be available at their availability
      start times at the location advertised in the i-th MPD.

    — all Representations have a Segment with an availability start time, Tavail, which is less than
      Texp(i) and with duration not less than [Texp(i)−Tavail].

     NOTE 1     The actual duration of this Segment is not known at the client until this Segment or the updated
     MPD is fetched and this Segment duration can be less than the previous Segment duration if it is the last
     Segment in the Period or if the Segment Timeline is in place.

     NOTE 2      It is possible that the clients do not know Texp(i), but they can each calculate a lower bound on
     Texp(i) by adding MPD@minimumUpdatePeriod to the wall-clock time at which they request the MPD, or
     the MPD patch document.

     NOTE 3      The second condition above ensures that sufficient media is contained in each Representation to
     present the Media Presentation up to Texp(i) for a client that begins playing each Segment at the earliest
     possible time (its availability start time).

     NOTE 4      The result of the MPD validity requirement is that all items a client expects to be able to retrieve
     (both segments and MPD elements) are guaranteed to be available for retrieval during the periods that the
     client can expect them to be accessible.

     NOTE 5      An MPD can contain no Period element or only an early available Period can be provided. In this
     case, updates to the MPD are expected in order to provide the start time of the first Period, which coincides
     with the start of the actual Media Presentation.



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      NOTE 6     An update of the MPD does not necessarily change the MPD but can only extend the validity of this
      MPD.

      NOTE 7      If the @minimumUpdatePeriod is set to 0, then as a consequence of NOTE 2, all segments with
      availability start time less than the request time of the MPD are available at the location advertised in the MPD.

5.4.2 MPD Reset
In certain cases, the DASH server may fail to produce an MPD update and may have to reset the entire
content on the server, but still offer the MPD at the same URL as part of an MPD update. Whereas such an
update may be inconsistent with the rules in subclause 5.4.1, it is expected that the client will continue
the service properly when such a reset occurs.
If the MPD author does such a reset, it shall signal the reset by providing either an Essential Descriptor
or     a   Supplemental      Descriptor     on     MPD      level   with     @schemeIdURI        set    to
urn:mpeg:dash:reset:2016. If this is signalled, the content author indicates that the MPD that
results from this update does not need to comply with MPD update rules in subclause 5.4.1. If an Essential
Descriptor is used, the DASH Client may terminate presentation, if the signal is not supported by the
client.
DASH Clients receiving such an MPD as part of an MPD update are expected to continue using the previous
MPD as long as possible, but at most up to the time expressed by the sum of the availability start time and
the Period start time of the new MPD. At this time, the new MPD is expected to be used for playout. Should
the client not have available any media data until the updated MPD can be used for playout, it is expected
that the DASH Client conceals the gap in media time appropriately.
The updated MPD may be valid upon reception of the MPD including the reset signal, if the sum of the
availability start time and the Period start time of the new MPD is less than the current MPD presentation
time. In this case, a DASH Client may cancel decoding and presentation of media data from the previous
MPD overlapping the updated one.

5.5 MPD assembly
5.5.1 General
A mechanism for referencing a remote element entity from within a local MPD is defined. A subset of W3C
XLINK simple links is defined consisting of
— restricted syntax and semantics as specified in subclause 5.5.2, and

— the processing model as specified in subclause 5.5.3.

If the MPD is updated, then the rules in subclause 5.2.3.5 apply to the MPD after dereferencing all remote
element entities.
5.5.2 Syntax and semantics
Table 29 provides the XLINK attributes that are used in this document and shall be supported
accordingly.
                              Table 29 — XLINK attributes used in this document

        Attribute           Comments and Usage
 @xlink:type                Identifies the type of W3C XLINK being used.
                            In the context of this document, all references shall be W3C XLINK simple links. The
                            attribute @xlink:type is optional with fixed setting
                            @xlink:type="simple".


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       Attribute            Comments and Usage
 @xlink:href                references the remote element entity by a URI as defined in IETF RFC 3986.
                            In the context of this document, such URIs shall exclusively be HTTP-URLs.
                            For example, cookies as defined in IETF RFC 6265 may be used in order to enable
                            targeted resolution of the same HTTP-URL provided in this attribute. Detailed
                            requirements on the support and usage of such technologies are outside the scope
                            of this document.
 @xlink:show                Defines the desired behaviour of the remote element entity once dereferenced from
                            within an MPD as defined in W3C XLINK.
                            In the context of this document, the attribute @xlink:show is optional with
                            fixed setting @xlink:show="embed".
                                   NOTE In W3C XLINK, the behaviour of conforming XLink applications when
                                   embedding as a remote element entity is not defined. Thus, the actual
                                   behaviour for this document is defined in subclause 5.5.3.
 @xlink:actuate             Defines the desired timing of dereferencing a remote element entity from within an
                            MPD as defined in W3C XLINK. In the context of this document, the attribute values
                            shall only take one of the following:
                            1) onLoad: an application should dereference the remote element entity
                                 immediately on loading the MPD. The remote element entity shall not contain
                                 another @xlink:href with @xlink:actuate set to onLoad.

                            2)     onRequest (default): according to W3C Xlink, an application should
                                   dereference the remote element entity only on a post-loading event triggered
                                   for the purpose of dereferencing. In the context of this document, the
                                   application dereferences the link only for those resources it needs (or
                                   anticipates it probably will need) and at the time when it needs the content of
                                   the remote element entity for playout. Examples include dereferencing a link
                                   in a Period element when the play-time is expected to enter that Period,
                                   dereferencing an Adaptation Set link when it appears to contain
                                   Representations that will be needed, and so on.



5.5.3 Processing
The following rules apply to the processing of URI references within @xlink:href:
1) URI references to remote element entities that cannot be resolved shall be treated as invalid
   references and invalidate the URI and all @xlink attributes included in the element containing
   @xlink:href shall be removed.

2) URI references to remote element entities that are inappropriate targets for the given reference shall
   be treated as invalid references (see below for the appropriate targets) and invalidate the URI and
   all @xlink attributes included in the element containing @xlink:href shall be removed.

3) URI references to remote element entities that contain another @xlink:href attribute with
   xlink:actuate set to onLoad are invalid circular references and invalidate the URI. In this case,
   all @xlink attributes included in the element containing @xlink:href shall be removed.

4) The xlink:href may contain a URN as urn:mpeg:dash:resolve-to-zero:2013. If this
   value is present, the element containing the xlink:href attribute and all @xlink attributes


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      included in the element containing @xlink:href shall be removed at the time when the resolution
      is due.

5) If a URI reference is relative then reference resolution as defined in subclause 5.6.4 shall apply.

The remote element entity referenced with @xlink:href within an element of the MPD (referred to as
MPD element) shall be formatted according to the following rules:
1) Only a single top-level element type of the same type as the MPD element shall be obtained from a
   remote element entity. However, multiple top-level elements of the same type may be obtained from
   a remote element entity unless explicitly restricted. All these elements shall have the same type as
   the element of the MPD containing xlink. If multiple top-level elements are obtained from the remote
   element entity, the elements shall be in appropriate order and the first element shall replace the
   element of the MPD containing the xlink. All additional top-level elements shall be inserted
   immediately after this element in the order in which they appear.

      NOTE      The remote element entity can be a non-valid XML document, when containing multiple top-level
      elements.

2) The remote element entity may contain another @xlink:href attribute with @xlink:actuate
   set to onRequest. In this case, the resolution to the referenced remote element entity is expected
   to happen only when the latter is needed again after processing the content in the returned
   document.

The remote element entity referenced from within an MPD (referred to as appropriate targets) shall be
embedded into the MPD by applying the following rules:
1) If the remote element entity is empty, all @xlink attributes shall be removed from the element in
   the MPD and the remaining attributes and child elements shall not be changed.

2) If the remote element entity is non-empty, the original element in the MPD that contains
   @xlink:href shall be replaced with the content in the remote element entity. If multiple top-level
   elements are obtained from the remote element entity, the elements shall be in appropriate order
   and the first element shall replace the MPD element. All other top-level elements shall be inserted
   immediately after this element in the order in which they are declared.

3) All XLINK attributes initially present in the MPD shall be removed after dereferencing is completed.

4) All resources in the remote element entity referenced by @xlink:href shall have an availability
   end time as specified by MPD@availabilityEndTime.

Remote element entities are not valid MPDs and, when stored in a file system, should not use the .mpd
file extension.

5.6 Base URL Processing
5.6.1 Overview
The BaseURL element may be used to specify one or more common locations for Segments and other
resources. Reference resolution as defined in subclause 5.6.4 shall be applied to each URL in the MPD.
Handling of multiple alternative base URLs is addressed in subclause 5.6.5.
The semantics of the attributes and elements for the Base URL are provided in 5.6.2, Table 30. The XML
syntax of the Base URL is provided in subclause 5.6.3.




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5.6.2 Semantics
                                   Table 30 — Semantics of BaseURL element

 Element or Attribute Name                     Use    Description
    BaseURL                                           A URL that can be used as Base URL. The content of
                                                      this element is a URI string as described in
                                                      subclause 5.6.4.
       @serviceLocation                         O     This attribute specifies a relationship between Base
                                                      URLs such that BaseURL elements with the same
                                                      @serviceLocation value are likely to have
                                                      their URLs resolve to services at a common network
                                                      location, for example a common Content Delivery
                                                      Network.
                                                      If not present, no relationship to any other Base
                                                      URL is known.
       @byteRange                               O     If present, specifies HTTP partial GET requests may
                                                      alternatively be issued by adding the byte range
                                                      into a regular HTTP-URL based on the value of this
                                                      attribute and the construction rules in E.2.
                                                      If not present, HTTP partial GET requests may not
                                                      be converted into regular GET requests.
                                                          NOTE Such alternative requests are expected
                                                          to not be used unless the DASH application
                                                          requires this. For more details, refer to
                                                          Annex E.
       @availabilityTimeOffset                  O     specifies an offset to define the adjusted segment
                                                      availability time. For semantics, refer to Table 14.
                                                      If the value is present in SegmentBase then this
                                                      attribute is additive to the one in SegmentBase.
                                                      For details on processing, refer to 5.3.9.5.3.
       @availabilityTimeComple                  O     specifies if all Segments of all associated
       te                                             Representation are complete at the adjusted
                                                      availability start time. For semantics, refer to Table
                                                      14.
                                                      If the value is present in SegmentBase then this
                                                      attribute should not be present. If present in
                                                      SegmentBase and BaseURL, the value in
                                                      BaseURL shall be ignored.
       @timeShiftBufferDepth                    O     specifies the duration of the smallest time shifting
                                                      buffer for any Representation in the MPD that is
                                                      guaranteed to be available for a Media Presentation
                                                      with type 'dynamic'.
                                                      This value overrides MPD@timeShiftBufferDepth for
                                                      the resources that use this BaseURL.
                                                      This value of the attribute is undefined if the
                                                      MPD@type attribute is equal to 'static'.




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 Element or Attribute Name                     Use      Description
        @rangeAccess                           OD       If set to true, partially available Segments may be
                                                        accessed with byte range request. If a client is
                                             Default:
                                             FALSE      making a byte-range request against a partially
                                                        available Segment and the first-byte position of that
                                                        range request is non-zero and the client is expecting
                                                        an aggregating response, then the client should
                                                        signal that expectation which shall follow the
                                                        convention of IETF RFC 8673. Specifically, it should
                                                        use a last-byte value of 9007199254740991.
                                                        This will signal the server to respond with a 206
                                                        aggregating response instead of waiting for the end
                                                        of the Segment and responding with a 200 response
                                                        code and a content-length response header.
                                                        If set to false, the client should not expect a
                                                        response corresponding to the requested byte
                                                        range.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.

5.6.3 XML syntax
      <xs:complexType name="BaseURLType">
         <xs:annotation>
                 <xs:documentation xml:lang="en">
                 Base URL
         </xs:documentation>
         </xs:annotation>
         <xs:simpleContent>
                 <xs:extension base="xs:anyURI">
                         <xs:attribute name="serviceLocation" type="xs:string"/>
                         <xs:attribute name="byteRange" type="xs:string"/>
                         <xs:attribute name="availabilityTimeOffset" type="xs:double"/>
                         <xs:attribute name="availabilityTimeComplete" type="xs:boolean"/>
                         <xs:attribute name="timeShiftBufferDepth" type="xs:duration"/>
                         <xs:attribute name="rangeAccess" type="xs:boolean" default="false"/>
                         <xs:anyAttribute namespace="##other" processContents="lax"/>
                 </xs:extension>
         </xs:simpleContent>
      </xs:complexType>



5.6.4 Reference resolution
URLs at each level of the MPD are resolved according to IETF RFC 3986 with respect to the BaseURL
element specified at that level of the document or the level above in the case of resolving base URLs
themselves (the document "base URI" as defined in IETF RFC 3986:2005, subclause 5.1 is considered to
be the level above the MPD level). If only relative URLs are specified and the document base URI cannot
be established according to IETF RFC 3986 then the MPD should not be interpreted. URL resolution
applies to all URLs found in MPD documents.
In addition to the document level (the level above the MPD level), base URL information may be present
on the following levels:
— On MPD level in MPD.BaseURL element. For details, refer to subclause 5.3.1.2.

— On Period level in Period.BaseURL element. For details, refer to subclause 5.3.2.2.


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— On Adaptation Set level in AdaptationSet.BaseURL element. For details, refer to subclause
  5.3.3.2.

— On Representation level in Representation.BaseURL. For details, refer to subclause 5.3.5.2.

When a BaseURL element is present on the same level in the MPD as an actual URL, resolution of the
actual URL includes the value of the BaseURL.
     NOTE       URL resolution is defined in RFC 3986:2005, section 5.2 and is not a simple concatenation. In
        particular, when a URL in the MPD is specified as a relative URLs, then as per IETF RFC 3986 for the URL
        resulting from resolving the value of the BaseURL element, all characters following the last ‘/’ part of its
        path part are replaced by the value of the actual URL attribute.

5.6.5 Alternative base URLs
If alternative base URLs are provided through the BaseURL element at any level, identical Segments shall
be accessible at multiple locations. In the absence of other criteria, the DASH Client may use the first
BaseURL element as "base URI". The DASH Client may use base URLs provided in the BaseURL element
as "base URI" and may implement any suitable algorithm to determine which URLs it uses for requests.
If a BaseURL element containing an absolute URL is present on any level, it overwrites any BaseURL
information present on a higher level.

5.7 Program information
5.7.1 Overview
Descriptive information on the program may be provided for a Media Presentation within the
ProgramInformation element.
When multiple ProgramInformation elements are present, the @lang attribute shall be present and
each element shall describe the Media Presentation sufficiently in the language defined by the value of
the @lang attribute.
For each language, the program information may specify title, source of the program, copyright
information, and a URL to more information.
The semantics of the attributes within the ProgramInformation element are provided in subclause
5.7.2, Table 31. The XML syntax of ProgramInformation element is provided in subclause 5.7.3.

5.7.2 Semantics
                                   Table 31 — Program information semantics

 Element or Attribute Name                   Use         Description
    ProgramInformation                                   specifies descriptive information about the program
       @lang                                   O         Declares the language code(s) for this Program
                                                         Information. The syntax and semantics according to
                                                         IETF RFC 5646 shall be applied.
                                                         If not present, the value is unknown.
       @moreInformationURL                     O         If provided, this attribute specifies an absolute URL
                                                         which provides more information about the Media
                                                         Presentation.
                                                         If not present, the value is unknown.
       Title                                 0 ... 1     specifies the title for the Media Presentation.


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 Element or Attribute Name                Use        Description
        Source                            0 ... 1    specifies information about the original source (for
                                                     example content provider) of the Media Presentation.
        Copyright                         0 ... 1    specifies a copyright statement for the Media
                                                     Presentation, usually starting with the copyright
                                                     symbol, unicode U+00A9.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default Value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.

5.7.3 XML syntax
      <xs:complexType name="ProgramInformationType">
         <xs:annotation>
                 <xs:documentation xml:lang="en">
                 Program Information
         </xs:documentation>
         </xs:annotation>
         <xs:sequence>
                 <xs:element name="Title" type="xs:string" minOccurs="0"/>
                 <xs:element name="Source" type="xs:string" minOccurs="0"/>
                 <xs:element name="Copyright" type="xs:string" minOccurs="0"/>
                 <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
         </xs:sequence>
         <xs:attribute name="lang" type="xs:language"/>
         <xs:attribute name="moreInformationURL" type="xs:anyURI"/>
         <xs:anyAttribute namespace="##other" processContents="lax"/>
      </xs:complexType>



5.8 Descriptors
5.8.1 General
The descriptor elements are all structured in the same way, namely they contain a @schemeIdUri
attribute that provides a URI to identify the scheme and an optional attribute @value and an optional
attribute @id. The semantics of the element are specific to the scheme employed. The URI identifying the
scheme may be a URN or a URL.
In this document, specific elements for descriptors are defined in subclause 5.8.4.
The MPD does not provide any specific information on how to use these elements. It is up to the
application that employs DASH formats to instantiate the description elements with appropriate scheme
information. However, this document defines some specific schemes in subclause 5.8.5.
DASH applications that use one of these elements must first define a Scheme Identifier in the form of a
URI and must then define the value space for the element when that Scheme Identifier is used. The
Scheme Identifier appears in the @schemeIdUri attribute.
In the case that a simple set of enumerated values is required, a text string may be defined for each value
and this string must be included in the @value attribute. If structured data is required then any extension
element or attribute may be defined in a separate namespace.
The @id value may be used to refer to a unique descriptor or to a group of descriptors. In the latter case,
descriptors with identical values for the attribute @id shall be synonymous, i.e. the processing of one of
the descriptors with an identical value for @id is sufficient.




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Two elements of type DescriptorType are equivalent, if the element name, the value of the
@schemeIdUri and the value of the @value attribute are equivalent. If the @schemeIdUri is a URN,
then equivalence shall refer to lexical equivalence as defined in IETF RFC 8141:2017, Clause 3. If the
@schemeIdUri is a URL, then equivalence shall refer to equality on a character-for-character basis as
defined in IETF RFC 3986:2005 subclause 6.2.1. If the @value attribute is not present, equivalence is
determined by the equivalence for @schemeIdUri only. Attributes and element in extension
namespaces are not used for determining equivalence. The @id attribute may be ignored for equivalence
determination.
The semantics of the attributes within an element of the type DescriptorType are provided in
subclause 5.8.2, Table 32. The XML schema definition of DescriptorType is provided in subclause
5.8.3. The specific descriptors follow these syntax and semantics.
5.8.2 Semantics of generic descriptor
                         Table 32 — Semantics of elements of type DescriptorType

 Element or Attribute Name                Use        Description
          Element of type                            specifies a descriptor.
          DescriptorType
              @schemeIdUri                 M         specifies a URI to identify the scheme. The semantics of
                                                     this element are specific to the scheme specified by this
                                                     attribute. The @schemeIdUri may be a URN or URL.
                                                     When a URL is used, it should also contain a month-date
                                                     in the form mmyyyy; the assignment of the URL must
                                                     have been authorized by the owner of the domain name
                                                     in that URL on or very close to that date, to avoid
                                                     problems when domain names change ownership.
              @value                        O        specifies the value for the descriptor element. The value
                                                     space and semantics must be defined by the owners of
                                                     the scheme identified in the @schemeIdUri
                                                     attribute.
              @id                           O        specifies an identifier for the descriptor. Descriptors
                                                     with identical values for this attribute shall be
                                                     synonymous, i.e. the processing of one of the
                                                     descriptors with an identical value is sufficient.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.
5.8.3    XML syntax of generic descriptor
     <xs:complexType name="DescriptorType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Descriptor
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="schemeIdUri" type="xs:anyURI" use="required"/>
        <xs:attribute name="value" type="xs:string"/>
        <xs:attribute name="id" type="xs:string"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
     </xs:complexType>



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5.8.4 Specific descriptors
5.8.4.1 Content protection
5.8.4.1.1 General
Content protection descriptors are signalled by the ContentProtection element and are used to
provide content protection, encryption, and DRM related information in order to access encrypted and/or
DRM-protected content. The ContentProtection element is an extended descriptor type.
For the element ContentProtection, the @schemeIdUri attribute is used to identify a content
protection descriptor scheme.
The ContentProtection descriptors is expected to provide sufficient information, possibly in
conjunction with the @value and/or extension attributes and elements, such as the DRM system(s),
encryption algorithm(s), and key distribution scheme(s) employed, to enable a client to determine
whether it can possibly play the protected content. The ContentProtection element can be extended
in a separate namespace to provide information specific to a content protection scheme (e.g. particular
key management systems or encryption methods).
When no ContentProtection element is present, the content shall not be encrypted.
Subclause 5.8.5.2 exclusively defines schemes indicating the encryption scheme for different MPEG
formats. In subclause 5.8.5.2.2, the MP4 protection scheme identified with @schemeIdUri set to
"urn:mpeg:dash:mp4protection:2011" is defined. In subclause 5.8.5.2.3, the MPEG-2 TS
protection         scheme           identified       with         @schemeIdUri        set       to
"urn:mpeg:dash:13818:1:CA_descriptor:2011" is defined. These schemes merely indicate
the encryption mode used in conjunction with one or more DRMs. Hence, it is recommended to provide
the client with additional content protection information about the available DRMs.
Additional ContentProtection elements with the @schemeIdURI attribute set to a URN not defined
in subclause 5.8.5 must describe a specific key management and protection scheme that is sufficient to
access and present the Representation. For such schemes, an optional @robustness attribute may be
present, for details see subclause 5.8.4.1.2.
The content protection information may be provided explicitly in a ContentProtection element or
may be referenced from another ContentProtection element. For details refer to subclause 5.8.4.1.3.
The semantics of the attributes within the ContentProtection element are provided in subclause
5.8.4.1.4, Table 30. The XML syntax of ContentProtection element is provided in subclause 5.8.4.1.5.
Subclause 5.8.4.1.6 provides information on how to define a content protection scheme.
5.8.4.1.2 Robustness
An optional @robustness attribute may be present in a ContentProtection element specifying the
minimum robustness value required for playing back the associated Representations.
Robustness levels are generally used to differentiate implementations based on their level of robustness
to attacks. Typically, the differentiation is based on whether decryption and decoding are performed in
hardware or software. The set of robustness levels, their values, and the ordering are specific to each
content protection scheme.
The robustness information may be provided to a DASH client for optimizing its processing. Typically, if
the client ignores this information, it will identify whether its robustness level is sufficient for playing the
associated Representations only after processing the DRM license server response.
For details defining robustness levels for a content protection scheme, refer to subclause 5.8.4.1.6.



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     NOTE       Different DRMs can potentially have different robustness levels on the same device, and different
     codecs can have different robustness levels with the same DRM on the same device. A client may thus factor
     these in when selecting the DRM and codec.

5.8.4.1.3 Referencing
An MPD may contain multiple Representations or Adaptation Sets with identical ContentProtection
descriptors. This redundancy may become significant in cases such as carriage of Protection System
Specific Header ('pssh') information inside the ContentProtection descriptor.
For this purpose, a ContentProtection element may contain a @refId attribute that shall uniquely
identify the element among all other ContentProtection elements in the MPD.
If a ContentProtection element with a @ref attribute is present, then exactly one
ContentProtection element with a matching @refId attribute value shall be present.
A ContentProtection element, referred to as "referencing", may contain a @ref attribute that is set
to the value of @refID of any ContentProtection element, referred to as "source". In this case the
following holds:
    — The "referencing" ContentProtection element inherits all attributes and elements from the
      “source” ContentProtection element.
    — Any element or attribute present in the “referencing” ContentProtection element remains
      in the "referencing" ContentProtection element.
    — The "source" ContentProtection element shall be included in a Period not later than the
      Period that contains in the “referencing” ContentProtection.


     NOTE 1      The content author is expected to be careful about the consequences of a client not being able to
     dereference a "referencing" ContentProtection element. In this case, the client could either reject the
     associated Representations, or it could be forced to exchange additional information with the DRM server to
     identify the suitability of being able to access the associated Representations.

     NOTE 2      A “source” ContentProtection element could be included in a Period which at some point is
     outside of the time shift buffer, yet still included in the MPD updates.

5.8.4.1.4 Semantics
                     Table 33 — Semantics of elements of Content Protection descriptor

 Element or Attribute Name                   Use        Description
    ContentProtection                                   specifies information regarding a content protection or
                                                        encryption scheme used to encrypt and/or protect the
                                                        associated Representation(s)
       @schemeIdUri                           M         identifies a content protection or encryption scheme.

       @value                                 O         provides additional information specific to the content
                                                        protection or encryption scheme. For example, it may
                                                        provide information such as DRM version, encryption
                                                        mode, etc. For details, refer to subclause 5.8.4.1.6.




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 Element or Attribute Name                Use        Description
        @ref                                O        If present, makes this a referencing content protection
                                                     descriptor that inherits from a “source” content
                                                     protection descriptor which is identified by the
                                                     equivalent value of @refId attribute. For details, refer
                                                     to subclause 5.8.4.1.3.
                                                     The attribute shall not be present if the @refId
                                                     attribute is present.
        @refId                              O        specifies an identifier of this descriptor. The identifier
                                                     shall be unique within an MPD.
                                                     The attribute shall not be present if the @ref attribute
                                                     is present.
        @robustness                        OD        specifies the robustness level required for this content
                                                     protection scheme for accessing content represented
                                                     by the associated Representation(s). For more details
                                                     refer to subclause 5.8.4.1.2 and 5.8.4.1.6.
                                                     If not present, then the lowest robustness level for the
                                                     identified content protection scheme applies.
 Key
 For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.


5.8.4.1.5 Syntax
      <xs:complexType name="ContentProtectionType">
         <xs:annotation>
                 <xs:documentation xml:lang="en">
                 Content Protection
         </xs:documentation>
         </xs:annotation>
         <xs:complexContent>
                 <xs:extension base="DescriptorType">
                         <xs:attribute name="robustness" type="StringNoWhitespaceType"/>
                         <xs:attribute name="refId" type="xs:ID"/>
                         <xs:attribute name="ref" type="xs:IDREF"/>
                 </xs:extension>
         </xs:complexContent>
      </xs:complexType>



5.8.4.1.6 Definition of content protection schemes
Content Protection schemes may be defined and be used together with the content protection descriptor.
In order to define a content protection scheme, this subclause defines several rules and recommendations
for such a definition.
The following information is required for defining a content protection scheme:
   1) A unique value of the scheme identifier @schemeIdUri
   2) A list of permissible values for the @value attribute and their interpretation. There is no need to
      define a value if the scheme identifier itself is sufficient to convey the information.

The following information is recommended:


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    1) The usage and setting of the @robustness attribute. Robustness values, if defined, must be
       provided in an ordered list from low to high, representing the robustness level.
    2) Example(s) of value discovery by the client using some frequently used APIs (e.g. W3C EME,
       Android, etc.).
    3) How these values can be used by players in existing workflows.
    4) Additional information that is important for the content protection scheme.

This document does not define content protection schemes in the sense as introduced above. However,
this document provides in subclause 5.8.5.2 some well-defined encryption schemes to be used in context
with external content protection schemes.
External organizations can define content protection schemes. If they do, they must provide the
aforementioned required information and are encouraged to provide the recommended information.
Organizations are encouraged to document content protection schemes along with all additional
information at DASH-IF Content Protection.
5.8.4.2 Role
For the element Role, the @schemeIdUri attribute is used to identify the role scheme employed to
identify the role of the media content component. Roles define and describe characteristics and/or
structural functions of media content components.
One Adaptation Set or one media content component may have assigned multiple roles even within the
same scheme.
This document defines a simple role scheme in subclause 5.8.5.5.
In addition, this document defines other roles schemes to support signalling for multiple view signals in
subclause 5.8.5.6.
5.8.4.3 Accessibility
For the element Accessibility, the @schemeIdUri attribute is used to identify the accessibility
scheme employed. Accessibility is a general term used to describe the degree to which the DASH Media
Presentation is available to as many people as possible.
     NOTE     Accessibility elements fulfil a very similar purpose with respect to media content
     components as for Role elements but are specifically intended for accessibility.

One Adaptation Set or one media content component may have assigned multiple accessibility purposes
even within the same scheme.
This document does not define a specific accessibility scheme, but the simple role scheme in subclause
5.8.5.5 may be used to express a minimum amount of accessibility information.
5.8.4.4 Rating
For the element Rating, the @schemeIdUri attribute is used to identify the rating scheme employed.
Ratings specify that content is suitable for presentation to audiences for which that rating is known to be
appropriate, or for unrestricted audiences.
     NOTE        If an audience has a rating restriction, it is intended that content that has associated ratings is not
     presented to that audience, unless at least one scheme is recognized and the rating value indicates that the
     content is appropriate to that audience.

This document does not define a rating scheme.




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5.8.4.5 Viewpoint
For the element Viewpoint, the @schemeIdUri attribute is used to identify the viewpoint scheme
employed.
Adaptation Sets containing non-equivalent Viewpoint element values contain different media content
components. The Viewpoint elements may equally be applied to media content types that are not video.
Adaptation Sets with equivalent Viewpoint element values are intended to be presented together. This
handling should be applied equally for recognized and unrecognized @schemeIdUri values.
This document does not define a viewpoint scheme.
5.8.4.6 Frame-packing
For the element FramePacking, the @schemeIdUri attribute is used to identify the frame-packing
configuration scheme employed.
Multiple FramePacking elements may be present. If so, each element shall contain sufficient
information to select or reject the described Representations.
      NOTE       If the scheme or the value for all FramePacking elements are not recognized, the DASH Client
      is expected to ignore the described Representations. A client can reject the Adaptation Set on the basis of
      observing a FramePacking element.

The descriptor may carry frame-packing schemes using the URN label and values defined for
VideoFramePackingType in ISO/IEC 23091-3.
This document also defines frame-packing schemes in subclause 5.8.5.6. These schemes are maintained
for backward-compatibility, but it recommended to use the signalling as defined in ISO/IEC 23091-3.
5.8.4.7 Audio channel configuration
For the element AudioChannelConfiguration, the @schemeIdUri attribute is used to identify the
audio channel configuration scheme employed.
Multiple AudioChannelConfiguration elements may be present indicating that the Representation
supports multiple audio channel configurations. For example, it may describe a Representation that
includes MPEG Surround audio supporting stereo and multichannel.
      NOTE 1     If the scheme or the value for this descriptor is not recognized, the DASH Client is expected to ignore
      the descriptor.

The descriptor may carry audio channel configuration using the URN label and values defined for
ChannelConfiguration in ISO/IEC 23001-8.
      NOTE 2    In addition, a scheme for audio channel configuration is also defined in subclause 5.8.5.4. This
      scheme is maintained for backward-compatibility, but it is preferable to use the signalling as defined in
      ISO/IEC 23001-8.

5.8.4.8 Essential Property Descriptor
For the element EssentialProperty, the Media Presentation author expresses that the successful
processing of the descriptor is essential to properly use the information in the parent element that
contains this descriptor unless the element shares the same @id with another EssentialProperty
element.
If EssentialProperty elements share the same @id, then processing one of the
EssentialProperty elements with the same value for @id is sufficient. At least one
EssentialProperty element of each distinct @id value is expected to be processed.


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     NOTE 1     If the scheme or the value for this descriptor is not recognized, the DASH Client is expected to ignore
     the parent element that contains the descriptor.

Multiple EssentialProperty elements with the same value for @id and with different values for
@id may be present.
If one or more EssentialProperty elements sharing the same @id appear at the MPD level, this
means that successful processing of at least one of these descriptors is essential to properly access and/or
present the content described by this MPD.
     NOTE 2     In the case when none of the EssentialProperty elements sharing the same @id can be
     successfully processed, the DASH Client is expected to terminate the media presentation.

The removal of an EssentialProperty descriptor in an MPD shall not change the conformance of this MPD
to its associated schema and profile.
5.8.4.9 Supplemental Property Descriptor
For the element SupplementalProperty, the Media Presentation author expresses that the
descriptor contains supplemental information that may be used by the DASH Client for optimized
processing.
     NOTE       If the scheme or the value for this descriptor is not recognized, the DASH Client is expected to ignore
     the descriptor.

Multiple SupplementalProperty elements may be present.

5.8.4.10 Asset Identifier
The AssetIdentifier is used to identify the asset on Period level. If two different Periods contain
equivalent Asset Identifiers then the content in the two Periods belongs to the same asset.
     NOTE         If the scheme or the value for this descriptor is not recognized, the AssetIdentifier element
     can still be used to understand the equivalence of Asset Identifiers across Periods. Processing of the descriptor
     scheme and value by the DASH Client is not essential for normal operation.

5.8.4.11 UTC Timing Descriptor
Using the UTCTiming element, the Media Presentation author provides additional information for the
client to optionally obtain wall-clock time to be used in Media Presentation. If multiple schemes are
specified by the Media Presentation author, their order indicates their relative preference, first having
the highest, and the last having the least priority. However, the client may choose any method, potentially
having to deal with reduced accuracy.
The value of the @schemeIdURI for this descriptor shall be restricted to one of the identifiers
documented in the first column "@schemeIdURI" in subclause 5.8.5.7, Table 35.

5.8.4.12 Output protection
5.8.4.12.1 General
Output protection schemes, such as High-bandwidth Digital Content Protection, Digital Content
Protection, LLC HDCP, are frequently used to protect the rendered output in transit from the decoding
device to the displaying device (for example, from a set-top box connected to a TV set using an HDMI
cable). These output protection schemes and their properties are frequently a pre-requisite for the ability
to present digital media content.
The OutputProtection element is a descriptor type and this descriptor may be used to identify an
output protection descriptor scheme that is required to present the associated Representation(s).


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The ultimate decision for whether a Representation can be rendered by a client is typically defined by the
content usage rules, usually documented in the license provided by the DRM license server. However, the
information contained in the output protection descriptor can be used by the client to select the
associated Representation or Adaptation Set and start downloading without waiting for the license server
response.
This information is provided to the DASH client to optimize its processing. Typically, if the client ignores
this information, it will identify whether its output environment is capable to play the associated
Representations after processing detailed DRM information.
When an OutputProtection element is not present, the client should not make any assumptions on
whether output protection is indeed a prerequisite for content presentation.
      NOTE       The authoritative answer to the question “can the client present this representation” is still given
      by the DRM license server response. Hence, even if the descriptor is not understood, incorrect, or ignored, it
      would not result in incorrect behaviour, only in reduced efficiency.

5.8.4.12.2 Output protection schemes definition
Output protection schemes may be defined and be used in DASH together with the output protection
descriptor. In order to define an output protection scheme, this subclause defines several rules and
recommendations for the definition of this.
For defining an output protection scheme the following information is required:
   1) A unique value of @schemeIdUri
   2) The list of permissible values for the @value attribute in non-decreasing order, and their
      interpretation

The following information is recommended:
   1) Example(s) of value discovery by the client using some frequently used APIs (e.g. W3C EME,
      Android, etc.)
   2) Example(s) of how these values would be used by the players to reject potentially unplayable
      associated representations

Output protection schemes defined in this document are provided in subclause 5.8.5.14.
External organizations can define output protection schemes. If they do, they must provide the required
information from above and are encouraged to provide the recommended versions.
Organizations are encouraged to document content protection schemes along with all additional
information at DASH-IF Output Protection.
5.8.5 Specific scheme definitions
5.8.5.1 General
The definition of specific schemes (both syntax and semantics) to be used in any of the descriptor
elements requires the definition of the URI by the authors to link the content description to the Media
Presentation. In subclause 5.8.5, some schemes and scheme identifiers are defined to enable usage of
existing code points in combination with this document as well as to provide simple means to support
different functionalities.




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5.8.5.2 Content protection
5.8.5.2.1 General
The remainder of subclause 5.8.5.2 defines a set of URIs that identify specific encryption schemes
schemes. Note that these defined schemes do not follow the rules of subclause 5.8.4.1.6 as they are
exclusively used to identify the encryption scheme rather than a full content protection scheme. However,
they are supposed to be used with the ContentProtection descriptor.

5.8.5.2.2 The MP4 Protection Scheme
For Representations based on ISO/IEC 14496-12, the following URI is defined to indicate protection
schemes identified by the Scheme Type within the Scheme Type Box of the Protection Scheme
Information Box of the file:
     urn:mpeg:dash:mp4protection:2011
In this scheme, the @value attribute shall present and shall be the 4CC contained in the Scheme Type
Box, suitably percent-encoded according to IETF RFC 8141, and may include the version number. The
4CC and the version number, if present, shall be separated by a ":". The version number shall be encoded
as up to 8 hexadecimal digits, where the leading '0's may be omitted.
The syntax for the value field of the content protection descriptors shall follow the MP4-PROTECTION-
VALUE as defined in the following ABNF notation according to IETF RFC 5234:
            MP4-PROTECTION-VALUE = VERSIONED-4CC

            VERSIONED-4CC = CCCC [ CCCC-VERSION ]
            CCCC = ALPHA ALPHA ALPHA ALPHA
            CCCC-VERSION = ":" 1*8HEX

            CA-DESCRIPTOR-VALUE = LHEX LHEX LHEX LHEX

            LHEX = DIGIT / "a" / "b" / "c" / "d" / "e" / "f"


The value space of the @robustness attribute is not defined for this scheme and therefore the attribute
shall not be present.
If the urn:mpeg:dash:mp4protection:2011 content protection scheme is assigned to a
Representation, it merely indicates the encryption mode used in conjunction with one or more DRMs.
Hence, it is recommended to provide the client with additional information about the available DRMs.
If the value of the Scheme Type Box (and hence the value of the @value attribute of the MP4 protection
scheme) is defined in ISO/IEC 23001-7, then as defined in 11 of ISO/IEC 23001-7, the following applies:
    1) The MPD author is encouraged to provide additional DRM-specific ContentProtection
       elements. These typically use the @schemeIdUri property to carry a UUID, as defined in IETF
       RFC 4122, of the specific content protection scheme and may include additional scheme-specific
       information.
    2) The presence, syntax, and semantics of the @value attributes are governed by the specific
       content protection scheme.
    3) The @cenc:default_KID attribute as defined in ISO/IEC 23001-7 should be present in the
       ContentProtection            element     with    cenc       defined    as     the  namespace
       xmlns:cenc="urn:mpeg:cenc:2013" as defined in ISO/IEC 23001-7.
    4) A media player application may read the @cenc:default_KID value to determine whether that
       key has been acquired, and may acquire a license using the information in a cenc:pssh element
       in advance of media availability.


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   5) The carriage of the scheme-specific cenc:pssh element is recommended.

Organizations are encouraged to document content protection schemes along with all additional
information at DASH-IF Content Protection.
5.8.5.2.3 The CA_descriptor scheme
For Representations based on ISO/IEC 13818-1 (MPEG-2 Transport Stream), the following URI is defined
to indicate the Conditional Access System used:
      urn:mpeg:dash:13818:1:CA_descriptor:2011
In this scheme, the value of the @value attribute shall be the 4-digit lower-case hexadecimal
Representation of the 16-bit CA_system_ID from the CA_descriptor as defined in ISO/IEC 13818-1.
The value space of the @robustness attribute is not defined for this scheme and therefore the attribute
shall not be present.
5.8.5.3 Frame-packing
The following defines a set of URIs that identify specific frame-packing arrangements, i.e. schemes
contained in the FramePacking element:
— For Adaptation Sets or Representations that contain a video component that conforms to
  ISO/IEC 14496-10[19],                              the                             URI
  urn:mpeg:dash:14496:10:frame_packing_arrangement_type:2011 is defined. The
  @value shall be value as defined for VideoFramePackingType in ISO/IEC 23091-2.

— For Adaptation Sets or Representations that contain a video component that conforms to
  ISO/IEC 13818-1, the URI urn:mpeg:dash:13818:1:stereo_video_format_type:2011
  is defined. The @value shall be value as defined for VideoFramePackingType in ISO/IEC 23091-
  2.

The syntax for the value field of the frame packing descriptors shall follow the FRAME-PACKING-
ARRANGEMENT-TYPE-VALUE as defined in the following ABNF notation according to IETF RFC 5234:
         FRAME-PACKING-ARRANGEMENT-TYPE-VALUE = VIDEO-FRAME-PACKING-TYPE
         STEREO-VIDEO-FORMAT-TYPE = VIDEO-FRAME-PACKING-TYPE
         VIDEO-FRAME-PACKING-TYPE = 1*2DIGIT
5.8.5.4 Audio channel configuration schemes
The following defines a URI that identifies channel configuration signalling for Representations that
contain             an              audio              component.                The             URI
"urn:mpeg:dash:23003:3:audio_channel_configuration:2011" is defined to indicate the
channel configuration as defined by Table 68 (Channel Configurations, meaning of
channelConfigurationIndex, mapping of channel elements to loudspeaker positions') of
ISO/IEC 23003-3. The @value shall be the value as defined for ChannelConfiguration in ISO/IEC
23091-3.
The URN "urn:mpeg:dash:outputChannelPositionList:2012" defines a list of output
channel positions to signal individual speaker positions. The @value shall be a space-delimited list of
values as defined of the OutputChannelPosition as defined in ISO/IEC 23091-3. For example, the
@value for the subclause 7.1 channel configuration 2 high as 2/0/0, 5 mid as 3/0/2 and 0.1 low, where
a/b/c indicates speaker count in front, side and back, respectively and 0.1 indicates a subwoofer channel),
is "2 0 1 4 5 3 17 18".




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5.8.5.5 DASH role scheme
The URN "urn:mpeg:dash:role:2011" is defined to identify the role scheme defined in Table 34.
Role@value shall be assigned to Adaptation Sets that contain a media component type to which this
role is associated.
     Table 34 — Role@value attribute for scheme with a value "urn:mpeg:dash:role:2011"

 Role@value                        Description                                                   Applicable
                                                                                                 Media Type(s)
 caption                           Captions (see NOTE 3 below).                                  video, text
 subtitle                          Subtitles (see NOTE 3 below).                                 video, text
 Main                              Main media component(s) which is/are intended for             any
                                   presentation if no other information is provided.
 alternate                         Media content component(s) that is/are an alternative to      any
                                   (a) main media content component(s) of the same media
                                   component type (see NOTE 2 below).
 supplementary                     Media content component that is supplementary to a            any
                                   media content component of a different media component
                                   type (see NOTE 1 below).
 commentary                        Experience that contains a commentary (e.g. director's        audio, text
                                   commentary) (typically audio).
 dub                               Experience that contains an element that is presented in a    audio, text
                                   different language from the original (e.g. dubbed audio,
                                   translated captions).
 description                       Textual or audio media component containing a textual         audio, text
                                   description (intended for audio synthesis) or an audio
                                   description describing a visual component.
 sign                              Visual media component representing a sign-language           video
                                   interpretation of an audio component.
 metadata                          Media component containing information intended to be         text,
                                   processed by application specific elements.                   application
 enhanced-audio-                   Experience containing an element for improved                 audio
 intelligibility                   intelligibility of the dialogue.
 emergency                         Experience that provides information, about a current         any
                                   emergency, that is intended to enable the protection of
                                   life, health, safety, and property, and may also include
                                   critical details regarding the emergency and how to
                                   respond to the emergency.
 forced-subtitle                   Textual information meant for display when no other text      text
                                   representation is selected. It is used to clarify dialogue,
                                   alternate languages, texted graphics or location/person
                                   IDs that are not otherwise covered in the
                                   dubbed/localized audio.
 easyreader                        Simplified or reduced captions as specified in [United        text, video
                                   States Code Title 47 CFR 79.103(c)(9)].




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 Role@value                     Description                                                     Applicable
                                                                                                Media Type(s)
 karaoke                        Textual representation of a songs’ lyrics, usually in the       any
                                same language as the associated song. See SMPTE
                                ST 2067-2.
 NOTE 1 A normal audio/video program labels both the primary audio and video as "main". However, when the
 two media component types are not equally important, for example (a) video providing a pleasant visual
 experience to accompany a music track that is the primary content or (b) ambient audio accompanying a video
 showing a live scene such as a sports event, that is the primary content, the accompanying media can be
 assigned a "supplementary" role.
 NOTE 2 Alternate media content components are expected to carry other descriptors to indicate in what way
 it differs from the main media content components (e.g. a Viewpoint descriptor or a Role descriptor), especially
 when multiple alternate media content components including multiple supplementary media content
 components are available.
 NOTE 3 Open ("burned in") captions or subtitles would be marked as media type component "video" only, but
 having a descriptor saying “caption” or “subtitle”.
 NOTE 4 Role descriptors with values such as "subtitle", "caption", "description", "sign" or "metadata" can be
 used to enable assignment of a "kind" value in W3C HTML 5 applications for tracks exposed from a DASH MPD.
The syntax for the value field of the role descriptor shall follow the ROLE-VALUE as defined in the
following ABNF notation according to IETF RFC 5234:
 ROLE-VALUE = "caption" / "subtitle" / "main" / "alternate" / "supplementary"
 ROLE-VALUE =/ "commentary"/ "dub" / "description" / "sign" / "metadata"
 ROLE-VALUE =/ "enhanced-audio-intelligibility" / "emergency"
 ROLE-VALUE =/ "forced-subtitle" / "easyreader" / "karaoke"
5.8.5.6 DASH Multiple views scheme
This scheme is defined for multiple views media content description.
This scheme may be used with the Role descriptor applied to a ContentComponent element of type
video or to an AdaptationSet element. If this scheme is applied to an AdaptationSet element
containing multiple views, each media content component of type video shall have a
ContentComponent element that contains the Role descriptor using this scheme. A Role element of
this scheme is used to indicate which views amongst the views comprising multiple presentable stereo
pairs the contained media content component or components represent. If N views are available that can
be combined into M valid stereo pairs, the Role with @schemeIdURI equal to
"urn:mpeg:dash:stereoid:2011" signals which views form a stereo pair and which one is the left
view and which one is the right view of each stereo pair. The @value of the Role element shall contain a
space-delimited list of view indicators 'li' or 'rj' where i, j are non-negative decimal integers. A stereo pair
i (0 <= i < M) is formed by using a view whose Role element includes the view indicator 'li' as the left
view and a view whose Role element contains the view indicator 'ri' as the right view. Within the
@value attribute, view indicators shall be ordered with all left view indictors preceding all right view
indicators and within each group in ascending order of view index.
The syntax for the value field of the role descriptor shall follow the STEROID-VALUE as defined in the
following ABNF notation according to IETF RFC 5234:
        STEROID-VALUE = LEFT-VIEW-INDICATOR *[ SP LEFT-VIEW-INDICATOR ]
        RIGHT-VIEW-INDICATOR *[ SP RIGHT-VIEW-INDICATOR ]

        LEFT-VIEW-INDICATOR = "l" DECIMAL_DIGITS
        RIGHT-VIEW-INDICATOR = "r" DECIMAL_DIGITS

        DECIMAL_DIGITS = 1*DIGIT


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5.8.5.7 DASH UTC Timing Schemes
This document defines several methods, specified in Table 35, by which DASH Clients can obtain wall-
clock times as used by the Media Presentation. Specifically, this clock is synchronized to the one used to
generate the MPD.
                                   Table 35 — Different UTC timing Methods
 @schemeIdURI                                 Description
 urn:mpeg:dash:utc:ntp:2014                   The identifier indicates that the @value contains a white
                                              space separated list of servers that are recommended to be
                                              used in combination with the NTP protocol as defined in
                                              IETF RFC 5905 for getting the appropriate time.
                                                  NOTE Multiple servers can be used to improve accuracy.
                                              Use of NTP servers not specified in the @value attribute is
                                              allowed.
                                              For exact syntax of the value of the @value attribute, see
                                              below.
 urn:mpeg:dash:utc:sntp:2014                  The identifier indicates that the @value contains a white
                                              space separated list of servers that are recommended to be
                                              used in combination with the SNTP protocol as defined in
                                              IETF RFC 5905 for getting the appropriate time.
                                              For exact syntax of the value of the @value attribute, see
                                              below.
 urn:mpeg:dash:utc:http-                      The identifier indicates that the @value contains a white
 head:2014                                    space separated list of HTTP URLs that are recommended to be
                                              used in combination with the HTTP protocol as defined in
                                              IETF RFC 7230 for getting the appropriate time.
                                              The value of the @value attribute contains a white space
                                              separated list of HTTP URLs to which HTTP HEAD requests can
                                              be made to obtain the Date information in the HTTP Header
                                              providing the wall-clock time for this Media Presentation.
                                              For exact syntax of the value of the @value attribute, see
                                              below.
 urn:mpeg:dash:utc:http-                      The identifier indicates that the @value contains a white
 xsdate:2014                                  space separated list of HTTP URLs that are recommended to be
                                              used in combination with the HTTP protocol as defined in
                                              IETF RFC 7230 for getting the appropriate time.
                                              The value of the @value attribute contains a white space
                                              separated list of HTTP URLs to which HTTP GET requests can
                                              be made to obtain the timing information. The timing
                                              information is contained in the message body of the HTTP
                                              response to the above HTTP GET request and contains the time
                                              value which shall be formatted according to xs:dateTime as
                                              defined in W3C XML Schema Part 2: Datatypes specification.
                                              This value is based on a wall clock synchronized to the one
                                              used to generate the MPD.
                                              For exact syntax of the value of the @value attribute, see
                                              below.




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 @schemeIdURI                          Description
 urn:mpeg:dash:utc:http-               The identifier indicates that the @value contains a white
 iso:2014                              space separated list of HTTP URLs that are recommended to be
                                       used in combination with the HTTP protocol as defined in
                                       IETF RFC 7230 for getting the appropriate time.
                                       The value of the @value attribute contains a white space
                                       separated list of HTTP URLs to which HTTP GET requests can
                                       be made to obtain the timing information. The timing
                                       information is contained in the message body of the HTTP
                                       response to the above HTTP GET request and contains time
                                       value formatted according to ISO time code as defined in
                                       ISO/IEC 8601. This value is based on a wall clock synchronized
                                       to the one used to generate the MPD.
                                       For exact syntax of the value of the @value attribute, see
                                       below.
 urn:mpeg:dash:utc:http-               The identifier indicates that the @value contains a white
 ntp:2014                              space separated list of HTTP URLs that are recommended to be
                                       used in combination with the HTTP protocol as defined in
                                       IETF RFC 7230 for getting the appropriate time.
                                       The value of the @value attribute contains a white space
                                       separated list of HTTP URLs to which HTTP GET requests can
                                       be made to obtain the timing information. The timing
                                       information is contained in the message body of the HTTP
                                       response to the above HTTP GET request and contains time
                                       value formatted according to formatted according to NTP
                                       timestamp format in IETF RFC 5905. This value is based on a
                                       wall clock synchronized to the one used to generate the MPD.
                                       For exact syntax of the value of the @value attribute, see
                                       below.
 urn:mpeg:dash:utc:direct:2014         The identifier indicates that the @value field, contains the
                                       time value which shall be formatted according to xs:dateTime
                                       as defined in W3C XML Schema Part 2: Datatypes. This value is
                                       based on a wall clock synchronized to the one used to generate
                                       the MPD.
                                       For exact syntax of the value of the @value attribute, see
                                       below.
The syntax for the value field of the UTC Timing descriptor with @schemeIdURI set to
"urn:mpeg:dash:utc:ntp:2014" or set to "urn:mpeg:dash:utc:sntp:2014" shall follow
the NTP-VALUE as defined in the following ABNF notation according to IETF RFC 5234:
       NTP-VALUE = TIME-SERVER *[ WS TIME-SERVER ]
       TIME-SERVER = host [ ":" port ] ; host and port are declared in
       IETF RFC 3896 and
                                             ; augmented IETF RFC 6874
The syntax for the value field of the UTC Timing descriptor with @schemeIdURI set to
"urn:mpeg:dash:utc:http-head:2014",            set   to    "urn:mpeg:dash:utc:http-
xsdate:2014”,        set    to    "urn:mpeg:dash:utc:http-iso:2014"       or     set    to
"urn:mpeg:dash:utc:ntp:2014" shall follow the HTTP-VALUE as defined in the following ABNF
notation according to IETF RFC 5234:



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      HTTP-VALUE = httpurl *[ WS httpurl ] ; httpurl is defined in
      IETF RFC 1738
The syntax for the value field of the UTC Timing descriptor with @schemeIdURI set to
"urn:mpeg:dash:utc:direct:2014" shall follow the DIRECT-VALUE as defined in the following
ABNF notation according to IETF RFC 5234:
       DIRECT-VALUE = ["-"] 4DIGIT "-" 2DIGIT "-" 2DIGIT "T" 2DIGIT ":"
       2DIGIT ":" 2DIGIT [ "Z" / ( "+" / "-") 2DIGIT ":" 2DIGIT ]
5.8.5.8 Audio Receiver Mix
This clause defines a scheme for use in EssentialProperty or SupplementaryProperty to
indicate that two audio Adaptation Sets need to be mixed by the media engine prior to playback.
The @schemeIdUri attribute identifying the scheme is urn:mpeg:dash:audio-receiver-
mix:2014.
The @value attribute shall contain the value of the AdaptationSet@id from an Adaptation Set with
content type audio attribute with which the current Adaptation Set needs to be mixed with in order to
provide complete audio experience.
An example of receiver mix is the case where a single audio Adaptation Set provides music and effects —
i.e. complete experience without dialogues, and one or more Adaptation Sets provide dialogues in
different languages. In this case, the dialogue Adaptation Sets depends on music and effects Adaptation
Set.
The mixing requirement is unidirectional — i.e. requirement of mixing Representation A with
Representation B when A is selected does not imply mixing the two is required if B is selected.
The syntax for the value field of the audio receiver mix descriptor shall follow the AUDIO-RECEIVER-
MIX-VALUE as defined in the following ABNF notation according to IETF RFC 5234:
         AUDIO-RECEIVER_MIX-VALUE = ADAPTATION-SET-ID

         ADAPTATION-SET-ID = DECIMAL_DIGITS
         DECIMAL_DIGITS = 1*DIGIT
5.8.5.9 DASH MPD Adaptation Set Linking scheme
The URN "urn:mpeg:dash:mpd-as-linking:2015" is defined in order to provide information
that the same Adaptation Set can be found in another MPD. The scheme may be used with Essential
Property Descriptors together with an EmptyAdaptationSet element or with Supplemental Property
Descriptors. The value provides
— a URL to the MPD, including appropriate anchors for Periods and Adaptation Set as defined in C.4.2,
  and

— optionally, a timeline offset field to synchronize the data added as a white space separated second
  item. If the value is not present, then the media time on the original MPD and the linked MPD are
  identical. If a timeOffset field is added, then this value expresses the difference between the media
  time of the Adaptation Set of the linked MPD and the media time in the originating MPD. The number
  may be positive or negative. The timeoffset is in unit of @timescale of the linked Adaptation
  Sets.

The Descriptor shall only be used in combination with Adaptation Sets (regular or empty ones). If all
information is contained in the Adaptation Set, then a Supplemental Descriptor or an Essential Descriptor
may be used. If the Adaptation Set does neither contain a Representation element, nor an @xlink
attribute, then an Empty Adaptation Set as well as an Essential Descriptor shall be used to indicate that
the Adaptation Set is not fully described in this MPD.


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      NOTE        This scheme can be used for many use cases. However, one specific use case is the server-based
      mosaic channel as described in ISO/IEC TR 23009-3[20]. The use case can be fulfilled by the combination of the
      Spatial Relationship Description (SRD) as defined in Annex H and this scheme. In this case, the same value of
      source_id parameter in SRD scheme indicates the association among Adaptation Set(s) (regular and empty
      ones if present) even though Representation is not present in an Empty Adaptation Set.

The syntax for the value field of the adaptation set linking descriptor shall follow the MPD-AS-LINKING-
VALUE as defined in the following ABNF notation according to IETF RFC 5234:
         MPD-AS-LINKING-VALUE = MPD-URL [ WSP TIMELINE-OFFSET ]

         MPD-URL = httpurl   ; defined in IETF RFC 1738
         TIMELINE-OFFSET = "timeOffset=" ["-"] DECIMAL_DIGITS
         DECIMAL_DIGITS=1*DIGIT
5.8.5.10 Sub-Asset Identifier scheme
In DASH MPD, sub-assets across Periods can be identified using the sub asset Scheme Identifier. This
scheme is signalled using a specific SupplementalProperty descriptor at the Adaptation Set or Sub-
Representation level with @schemeIdUri attribute set to "urn:mpeg:dash:sai:2015".
If two different Adaptation Sets or Sub-Representation from different Periods contain Sub-Asset
Identifiers descriptors with the same @value attribute, then the content in the Representation(s)
contained in these Adaptation Sets represent, at least, the same sub-asset.
      NOTE 1     The association between sub-assets and an Adaptation Set can change across Periods. For instance,
      an Adaptation Set can be associated with a sub-asset of an asset in one Period but with another sub-asset of the
      same asset in another Period.

      NOTE 2     Sub-Asset Identifier descriptor can be used by DASH Clients to select Representation(s) to be
      processed after a Period change.

      A given Sub-Representation or Adaptation Set can contain more than one Sub-Asset Identifier descriptor
      indicating that this Sub-Representation or the Representation(s) contained in this Adaptation Set, respectively,
      represent more than one identified part of the asset.

      NOTE 3     If the value for this descriptor is not recognized, the SubAsset Identifier descriptor can still be used
      to understand the equivalence of sub-asset identifiers across Periods. Processing of the descriptor scheme and
      value by the DASH Client is not essential for normal operation.

      NOTE 4       Different Adaptation Sets or Sub-Representations in a Period do not contain the same SubAsset-
      Identifier, i.e. the same @schemeIdUri and @value is dis-allowed.

The syntax for the value field of the Sub-Asset identifier descriptor shall follow the SAI-VALUE as
defined in the following ABNF notation according to IETF RFC 5234:
         SAI-VALUE = STRING
         STRING = *VCHAR
5.8.5.11 Client Authentication and Content Access Authorization
When client authentication and/or content access authorization functionality is needed, DASH may be
used with different schemes such as Open Authentication Technical Committee (OATC) Online
Multimedia Authorization Protocol (OMAP)[13], Open Standard for Authorization (OAuth) 2.0[14], OASIS
Security Assertion Markup Language (SAML)[15], 3GPP Generic Authentication Architecture (GAA)[16], or
3GPP Generic Bootstrapping Architecture (GBA)[17]. This section describes generic signalling to support
use of various authentication and authorization schemes.
Typical access control methods include blocking HTTP requests that do not include a security token
obtained by the authorization protocol wherein the security token is validated by a CDN before


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downloading the requested Media Segment, or encrypting Media Segments so that playback will be
restricted unless the authorization protocol provides the client with a decryption key.
For client authentication, a service may limit content delivery to authenticated clients, and may use client
identification information such as certificates, cookies, and embedded keys to determine subscription
rights, etc. required to authorize playback of the Media Presentation. The details of such a scheme are
outside the scope of this document. A client that does not support the signalled content access
authorization would not be able to play the content.
     NOTE       This subclause does not provide any requirements on client authentication or content access
     authorization.

The signalling and setup of the specific scheme may be done outside the MPD level, e.g. a system applying
such a scheme may only permit access to the MPD if the client is authenticated or the content access is
authorized.
However, there are cases for which the MPD is provided without access control. In this case, client
authentication and content access authorization methods may be signalled in the MPD using Essential
Property Descriptors. The DASH Client may be offered with multiple options to access the entire Media
Presentation or specific parts of the Media Presentation, e.g. a specific Adaptation Set. An Essential
Property descriptor may be placed at the appropriate level, and, for example, the
EssentialProperty@schemeIdUri may signal the URN of the appropriate authentication or
authorization method and the EssentialProperty@value attribute may carry some scheme specific
information. Other signalling may be used, but the detailed signalling and semantics remain specific to a
particular scheme.
There may be cases in which multiple options are provided to the client for client authentication and/or
content access authorization. In this case, the EssentialProperty@id value may be used to signal
functional equivalence of descriptors. In the absence of other information, the
EssentialProperty@id value may contain the following URNs:
— urn:mpeg:dash:client-authentication:2015 for client authentication.

— urn:mpeg:dash:content-authorization:2015 for content access authorization.

In this case,
— each EssentialProperty descriptor with EssentialProperty@id value of
  urn:mpeg:dash:client-authentication:2015 indicates a supported client authentication
  protocol. A client may select one of possibly multiple elements with that EssentialProperty@id
  value, and a scheme that it recognizes based on the @schemeIdUri attribute; and execute that
  protocol using any information included in the @value attribute and any extension elements defined
  by that particular authentication scheme.

— each EssentialProperty descriptor with EssentialProperty@id value of
  urn:mpeg:dash:content-authorization:2015 indicates a supported content access
  authorization protocol. A client may select one of possibly multiple elements with that
  EssentialProperty@id value, and a scheme that it recognizes based on the @schemeIdUri
  attribute; and execute that protocol using any information included in the @value attribute and any
  extension elements defined by that particular authorization scheme.

A DASH Client that is successfully authenticated as an authenticated player and authorized for playback
of some or all Representations or Adaptation Sets in the MPD may request and play the authorized
content.



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5.8.5.12 Audio Interactivity Descriptor
A scheme is defined to be used with an Essential Property or Supplemental Property Descriptor as
"urn:mpeg:dash:audio-interactivity:2016".
This descriptor indicates if the associated audio content (Adaptation Set, Preselection or Representation)
contains media components that are enabled for user interactivity through associated metadata. The
descriptor is used e.g. to facilitate user interface (UI) resource management in the receiving client.
Interactivity involves user interaction with elements, i.e. the user can modify dynamically for example
the gain, spatial position or mute/unmute status of audio elements. Therefore, a UI is required to enable
this kind of personalization during playback. A supplemental descriptor should be used if a UI is not
mandatory to select and play the corresponding audio elements. An essential descriptor should be used
if a UI is mandatory in order to play the corresponding audio elements. The @value attribute is owned
by the codec in use. The detailed semantics of the descriptor are also owned by the codec in use.
5.8.5.13 Quality Equivalence Descriptor
A scheme is defined to be used with a Supplemental Property Descriptor as "urn:mpeg:dash:qr-
equivalence:2019". This descriptor enables an indication that the values provided with each
@qualityRanking hold across Adaptation Sets that are included in the equivalence indicator. In this
case the value of all provided @qualityRanking values provides an equivalence.
This descriptor may be declared at MPD, Period or Preselection level. Multiple quality equivalence
descriptors may be present in an MPD.
The value of the descriptor provides a comma-separated list of Adaptation Set identifiers of the
Adaptation Sets that have equivalent quality ranking. If the @value attribute is absent, all Adaptation
Sets in the underlying hierarchy have equivalent quality ranking.
The syntax for the value field of the quality ranking equivalence descriptor shall follow the QR-
EQUIVALENCE-VALUE as defined in the following ABNF notation according to IETF RFC 5234:
       QR-EQUIVALENCE-VALUE = AS-ID [ WSP AS-ID ]

       AS-ID = DECIMAL_DIGITS
       DECIMAL_DIGITS = 1*DIGIT


5.8.5.14 Output protection schemes
5.8.5.14.1 General
The remainder of subclause 5.8.5.14 defines a set of URIs that identify specific output protection schemes
following the rules of subclause 5.8.5.14.2.
5.8.5.14.2 HDCP Output Protection Scheme
The subclause defines an output protection scheme for HDCP, Digital Content Protection, LLC HDCP, with
@schemeIdUri defines "urn:mpeg:dash:output-protection:hdcp:2020" and the value as
defined in Table 36. The value provides an association between the content and the device output
requirements, namely the minimum HDCP version that a device output must comply with to output the
associated content.




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Table 36 defines an order list with increasing rows defining increasing levels.
      Table 36 — Value definition of HDCP Output protection scheme with @schemeIdURI set to
                      "urn:mpeg:dash:output-protection:hdcp:2020"
       @value                      Interpretation (Output compliance requirement for content)
         1.0             HDCP 1.0-compliant device
         1.1             HDCP 1.1-compliant device
         1.2             HDCP 1.2-compliant device
         1.3             HDCP 1.3-compliant device
         1.4             HDCP 1.4-compliant device
         2.0             HDCP 2.0-compliant device
         2.2             HDCP 2.2-compliant device
         2.3             HDCP 2.3-compliant device


5.9 DASH metrics descriptor
5.9.1 Overview
This document does not define mechanisms for reporting metrics; however, it does define a set of metrics
and a mechanism that may be used by the service provider to trigger metric collection and reporting at
the clients, if a reporting mechanism is available. The trigger mechanism is based on the Metrics
element in the MPD. The element contains the list of DASH Metrics for which the measurements are
desired, the time interval and the granularity for the measurements, as well as the scheme according to
which the metric reporting is desired.
The semantics of the attributes within the Metrics element are provided in subclause 5.9.2, Table 37.
The XML syntax of Metrics element is provided in 5.9.3.
The semantics of the Reporting element are provided in subclause 5.9.4.

5.9.2 Semantics




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                                Table 37 — Semantics of Metrics element

 Element or Attribute Name                 Use        Description
        Metrics                                       DASH metric element
           @metrics                          M        specifies all DASH Metrics that the client is desired to
                                                      report as a list of DASH Metric keys. The keys shall be
                                                      used as defined in Annex D, separated by a comma.
           Range                           0 ... N    specifies the time period during which DASH Metrics
                                                      collection is requested. When not present, DASH
                                                      Metrics reporting is requested for the whole duration
                                                      of the content.
               @starttime                    O        specifies the start time of the DASH Metrics collection
                                                      operation. When not present, DASH Metrics collection
                                                      is requested from the beginning of content
                                                      consumption.
                                                      For services with MPD@type='dynamic', the start
                                                      time is indicated in wall clock time by adding the value
                                                      of this attribute to the value of the
                                                      MPD@availabilityStartTime attribute.
                                                      For services with MPD@type='static', the start
                                                      time is indicated in Media Presentation time and is
                                                      relative to the PeriodStart time of the first Period in this
                                                      MPD.
                                                           NOTE For example, if
                                                           MPD@availabilityStartTime is 14:30
                                                           and the metrics collection is intended to start at
                                                           14:45, then @starttime is 0:15.

               @duration                     O        specifies the duration of the DASH metrics collection
                                                      interval. The value of the attribute expresses in Media
                                                      Presentation time.
                                                      If not present, the value is identical to the Media
                                                      Presentation duration.
           Reporting                       1 ... N    specifies information about the requested reporting
                                                      method and formats.
                                                      For more details, refer to subclause 5.9.4.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.

5.9.3    XML syntax
      <xs:complexType name="MetricsType">
         <xs:annotation>
                 <xs:documentation xml:lang="en">
                 Metrics
         </xs:documentation>
         </xs:annotation>
         <xs:sequence>
                 <xs:element name="Range" type="RangeType" minOccurs="0" maxOccurs="unbounded"/>
                 <xs:element name="Reporting" type="DescriptorType" maxOccurs="unbounded"/>



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                <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="metrics" type="xs:string" use="required"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>
    <xs:complexType name="RangeType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Metrics Range
        </xs:documentation>
        </xs:annotation>
        <xs:attribute name="starttime" type="xs:duration"/>
        <xs:attribute name="duration" type="xs:duration"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>



5.9.4 Metric reporting
DASH Clients should collect metrics based on the Metric element and report the collected metrics using
one of the reporting schemes in the Reporting descriptor in the Metrics element.
It is expected that elements containing unrecognized reporting schemes are ignored by the DASH Client.
If multiple Reporting elements are present, it is expected that the client processes one of the
recognized reporting schemes.
No reporting scheme is specified in this document. It is expected that external specifications may define
formats and delivery for the reporting data. External specifications defining a reporting scheme should
take specific care to respect privacy issues.

5.10 Events
5.10.1 Overview
Events may be provided in the MPD or within a Representation in order to signal aperiodic information
to the DASH Client or to an application. Events are timed, i.e. each event starts at a specific media
presentation time and may have a duration. Events include DASH specific signalling or application-
specific events. DASH events are identified by scheme identifiers defined in this document. For
application specific events, a scheme identifier identifies the application such that the DASH Client can
forward the event to the proper application.
Events of the same type are clustered in Event Streams by the same scheme/value pair. This enables a
DASH Client or the application to subscribe to an Event Stream of interest and ignore Event Streams that
are of no relevance or interest.
Two ways of signalling events are provided, namely:
— events signalled in the MPD as defined in subclause 5.10.2,

— events signalled inband in the Representation as defined in subclause 5.10.3.

Generally, the Event Stream timing model follows the timing model of a media Representation in a Period.
DASH-specific events are defined in subclause 5.10.4.
5.10.2 MPD Events
5.10.2.1 Overview
Events may be signalled in the MPD. A sequence of events assigned to the media presentation time may
be provided in the MPD on Period level. Events of the same type are summarized in an Event Stream that
is specified by an EventStream element in a Period element. Events shall terminate at the end of a


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Period even if the start time is after the Period boundary or duration of the event extends beyond the
Period boundary.
The EventStream element is structured in a similar way as the descriptor defined in subclause 5.8,
namely it contains a @schemeIdUri attribute that provides a URI to identify the scheme and an optional
attribute @value. The semantics of the element are specific to the scheme employed. The URI identifying
the scheme may be a URN or a URL.
A Period shall contain at most one EventStream element with the same value of the @schemeIdUri
attribute and the value of the @value attribute, i.e. all Events of one type shall be clustered in one Event
Stream.
As Event Streams contain timed events, also a time scale attribute @timescale is provided to assign
events to a specific media presentation time within the Period. The timed events themselves are
described by the Event element.
This document does not provide any specific information on how to use Event Streams. It is up to the
application that employs DASH formats to instantiate the description elements with appropriate scheme
information. However, this document defines some specific schemes in subclause 5.10.4.
      NOTE       A DASH application that uses one of these elements defines a Scheme Identifier in the form of a URI
      and then defines the value space for the element when that Scheme Identifier is used. The Scheme Identifier
      appears in the @schemeIdUri attribute.

The semantics of the attributes within the EventStream element are provided in subclause 5.10.2.2,
Table 38 and the semantics of the attributes within the Event element are provided in subclause
5.10.2.2, Table 39. The XML syntax of EventStream and Event element is provided in subcrlause
5.10.2.3.
5.10.2.2 Semantics
                                       Table 38 — Event Stream Semantics

 Element or Attribute                    Use        Description
 Name
   EventStream                                      specifies event Stream
        @xlink:href                       O         specifies a reference to an external EventStream element
        @xlink:actuate                   OD         specifies the processing instructions, which can be either
                                                    "onLoad" or "onRequest".
                                       default:
                                     onReques       This attribute shall not be present if the @xlink:href
                                         t          attribute is not present.
        @schemeIdUri                      M         identifies the message scheme. The string may use URN or
                                                    URL syntax. When a URL is used, it is recommended to also
                                                    contain a month-date in the form mmyyyy; the assignment of
                                                    the URL must have been authorized by the owner of the
                                                    domain name in that URL on or very close to that date. A URL
                                                    may resolve to an Internet location, and a location that does
                                                    resolve may store a specification of the message scheme.
        @value                            O         specifies the value for the event stream element. The value
                                                    space and semantics must be defined by the owners of the
                                                    scheme identified in the @schemeIdUri attribute.




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 Element or Attribute                Use             Description
 Name
       @timescale                      O             specifies the timescale in units per seconds to be used for the
                                                     derivation of different real-time duration values in the
                                                     Event elements.
                                                     If not present on any level, it shall be set to 1.
       @presentationTim               OD             specifies the presentation time offset of this Event Stream
       eOffset                                       that aligns with the start of the Period. Any Event contained
                                   Default: 0
                                                     in this Event Stream is mapped to the Period timeline by
                                                     using the Event presentation time subtracted by the value of
                                                     the presentation time offset.
                                                     This adjustment shall not be applied to Inband event message
                                                     streams..
                                                     The value of the presentation time offset in seconds is the
                                                     division of the value of this attribute and the value of the
                                                     @timescale attribute.
       Event                         0 ... N         specifies one event. For details see Table 39.
                                                     Events in Event Streams shall be ordered such that their
                                                     presentation time is non-decreasing.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.
                                         Table 39 — Event Semantics

 Element or Attribute Name                     Use         Description
          Event                                            specifies an Event and contains the message of the
                                                           event. The content of this element depends on the event
                                                           scheme. The contents shall be either:
                                                               •    A string, optionally encoded as specified by
                                                                    @contentEncoding
                                                               •    XML content using elements external to the
                                                                    MPD namespace
                                                           For new event schemes string content should be used,
                                                           making use of Base 64 encoding if needed.
                                                                NOTE The schema allows “mixed” content within
                                                                this element however only string data or XML
                                                                elements are permitted by the above options, not a
                                                                combination.




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 Element or Attribute Name                 Use        Description
           @presentationTim                OD         specifies the presentation time of the event relative to
           e                            default: 0    the start of the Period taking into account the
                                                      @presentationTimeOffset of the Event Stream, if
                                                      present.
                                                      The value of the presentation time in seconds is the
                                                      division of the value of this attribute and the value of
                                                      the @timescale attribute.
                                                      If not present, the value of the presentation time is 0.
           @duration                        O         specifies the presentation duration of the Event.
                                                      The value of the duration in seconds is the division of
                                                      the value of this attribute and the value of the
                                                      @timescale attribute.
                                                      The interpretation of the value of this attribute is
                                                      defined by the scheme owner.
                                                      If not present, the value of the duration is unknown.
           @id                              O         specifies an identifier for this instance of the event.
                                                      Events with equivalent content and attribute values in
                                                      the Event element shall have the same value for this
                                                      attribute.
                                                      The scope of the @id for each Event is with the same
                                                      @schemeIdURI and @value pair.
           @contentEncoding                 O         specifies whether the information in the body and the
                                                      information in the @messageData is encoded.
                                                      If present, the following value is possible:
                                                          •   base64 the content is encoded as described in
                                                              IETF RFC 4648 prior to adding it to the field.
                                                      If this attribute is present, the DASH Client is expected
                                                      to decode the message data and only provide the
                                                      decoded message to the application.
           @messageData                     O         specifies the value for the event stream element. The
                                                      value space and semantics must be defined by the
                                                      owners of the scheme identified in the
                                                      @schemeIdUri attribute.
                                                          NOTE the use of the message data is discouraged
                                                          by content authors, it is only maintained for the
                                                          purpose of backward-compatibility. Including the
                                                          message in the Event element is recommended in
                                                          preference to using this attribute. This attribute is
                                                          expected to be deprecated in the future editions of
                                                          this document.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.



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5.10.2.3 XML-Syntax
    <xs:complexType name="EventStreamType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Event Stream
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:element name="Event" type="EventType" minOccurs="0" maxOccurs="unbounded"/>
                <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute ref="xlink:href"/>
        <xs:attribute ref="xlink:actuate" default="onRequest"/>
        <xs:attribute ref="xlink:type" fixed="simple"/>
        <xs:attribute ref="xlink:show" fixed="embed"/>
        <xs:attribute name="schemeIdUri" type="xs:anyURI" use="required"/>
        <xs:attribute name="value" type="xs:string"/>
        <xs:attribute name="timescale" type="xs:unsignedInt"/>
        <xs:attribute name="presentationTimeOffset" type="xs:unsignedLong" default="0"/>
    </xs:complexType>
    <xs:complexType name="EventType" mixed="true">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Event
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="presentationTime" type="xs:unsignedLong" default="0"/>
        <xs:attribute name="duration" type="xs:unsignedLong"/>
        <xs:attribute name="id" type="xs:unsignedInt"/>
        <xs:attribute name="contentEncoding" type="ContentEncodingType"/>
        <xs:attribute name="messageData" type="xs:string">
                <xs:annotation>
                        <xs:documentation xml:lang="en">
                                Deprecated in favor of carrying the message information in the
                                value space of the event
                        </xs:documentation>
                </xs:annotation>
        </xs:attribute>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>
    <xs:simpleType name="ContentEncodingType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Event Coding
        </xs:documentation>
        </xs:annotation>
        <xs:restriction base="xs:string">
                <xs:enumeration value="base64"/>
        </xs:restriction>
    </xs:simpleType>



5.10.3 Inband Event Signalling
5.10.3.1 Overview
Event streams may be multiplexed with Representations by adding the event messages as part of the
Segments. The event streams may be present in selected Representations, in one or several selected
Adaptation Sets only or in all Representations. For example, one possible configuration is one where only
the audio Adaptation Sets may contain inband events.
In order to identify the Representations that carry the event stream, the presence of Events shall be
signalled in the MPD as defined in subclause 5.10.3.2.




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If more than one Representation carries event streams with the same @schemeIdUri and the same
@value, the streams shall be semantically equivalent, i.e. processing one Representation is sufficient.
The format of the box to signal events in the media stream is provided in subclause 5.10.3.3.
5.10.3.2 MPD Signalling
An inband event stream may be present in a Representation. If it is expected to be processed by the DASH
Client it is indicated by an InbandEventStream element at the Adaptation Set or Representation level.
The InbandEventStream type is defined in 5.10.2, Table 38 based on the EventStream semantics,
but the following restrictions apply:
   — The @timescale attribute may be absent.

   — The @presentationTimeOffset attribute shall be absent.

   — The InbandEventStream element shall not contain any MPD Events, i.e. the Event element
     shall not be included in any InbandEventStream element.

One Representation may contain multiple inband Event streams, each indicated by a separate
InbandEventStream element.
Inband event messages may be present in Representations but a corresponding InbandEventStream
element (with the identical @schemeIdUri and @value pair) is not present in MPD. Such inband event
messages are expected to be ignored by the DASH Client. A DASH Client is only expected to process inband
event messages if a corresponding InbandEventStream element is present in the MPD.

5.10.3.3 Event message box
5.10.3.3.1 General
The Event Message box ('emsg') provides signalling for generic events related to the media
presentation time. The same semantics as for an event defined in the MPD specified in subclause 5.10.2
applies.
The Event Message box ('emsg') can carry signalling specific to the DASH operations. The event scheme
identifier and the events for this are defined in subclause 5.10.4.
A Media Segment if based on the ISO BMFF container may contain one or more event message ('emsg')
boxes. If present, any 'emsg' box shall be placed as follows:
   — It may be placed before the first 'moof' box of the segment
   — It may be placed in between any 'mdat' and 'moof' box. In this case an equivalent 'emsg'
     with the same id value shall be present before the first 'moof' box of any Segment.
      NOTE These placement options allow emsg boxes to be placed at the start of segments, or mid segment, whilst
      allowing clients to choose to only process emsg boxes which occur at the start of segments.

The carriage of event messages in MPEG-2 TS based segments is described in subclause 5.10.3.3.5.
Event message boxes with scheme identifier and value pairs that are not defined in the MPD should not
be present. If a DASH Client detects an event message box with a scheme that is not defined in MPD, the
client is expected to ignore it.
5.10.3.3.2 Definition
Box Type: 'emsg'
Container: Segment


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Mandatory: No
Quantity: Zero or more
5.10.3.3.3 Syntax
aligned(8) class DASHEventMessageBox extends FullBox('emsg', version,
flags=0){
   if (version==0) {
      string            scheme_id_uri;
      string            value;
      unsigned int(32) timescale;
      unsigned int(32) presentation_time_delta;
      unsigned int(32) event_duration;
      unsigned int(32) id;
   } else if (version==1) {
      unsigned int(32)      timescale;
      unsigned int(64)      presentation_time;
      unsigned int(32)      event_duration;
      unsigned int(32)      id;
      string                scheme_id_uri;
      string                value;
   }
   unsigned int(8)   message_data[];
}

5.10.3.3.4 Semantics
— scheme_id_uri: is a null-terminated ('C') string in UTF-8 characters that identifies the message
  scheme. The semantics and syntax of the message_data[] are defined by the owner of the scheme
  identified. The string may use URN or URL syntax. When a URL is used, it is recommended to also
  contain a month-date in the form mmyyyy; the assignment of the URL must have been authorized by
  the owner of the domain name in that URL on or very close to that date. A URL may resolve to an
  Internet location, and a location that does resolve may store a specification of the message scheme.

— value: is a null-terminated ('C') string in UTF-8 characters that specifies the value for the event. The
  value space and semantics must be defined by the owners of the scheme identified in the
  scheme_id_uri field.

— timescale provides the timescale, in ticks per second, for the event duration and
  presentation_time_delta or presentation_time fields. The value should be identical to
  the timescale of a track contained in the carrying Segment. Furthermore, the value should be identical
  for all events in one Event Stream.

— presentation_time_delta provides the Media Presentation time delta of the media
  presentation time of the event and the earliest presentation time in this segment. If the segment index
  is present, then the earliest presentation time is determined by the field
  earliest_presentation_time of the first 'sidx' box. If the segment index is not present, the
  earliest presentation time is determined as the earliest presentation time of any access unit in the
  media segment. The timescale is provided in the timescale field.

— presentation_time provides the Media Presentation time of the event measured on the Movie
  timeline, in the timescale provided in the timescale field, and adjusted by
  InbandEventStream@presentationTimeOffset, in the time scale provided by
  InbandEventStream@timescale; the value shall not be less than the earliest presentation time
  of the carrying Segment.

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— event_duration provides the duration of event in media presentation time. The timescale is
  indicated in the timescale field. The value 0xFFFFFFFF indicates an unknown duration. The
  interpretation of this value must be defined by the owner of the event scheme.

— id: a field identifying this instance of the message. The scope of this identifier for each event is with
  the same scheme_id_uri and value pair. Messages with the same id within the scope of the
  same scheme_id_uri and value pair are equivalent , i.e. processing of any one event message
  box with the same id is sufficient.

— message_data: body of the message, which fills the remainder of the message box. This may be
  empty depending on the above information. The syntax and semantics of this field must be defined
  by the owner of the scheme identified in the scheme_id_uri field.

5.10.3.3.5 Carriage of the Event Message Box in MPEG-2 TS
A Media Segment if encapsulated in MPEG-2 Transport Stream may contain one or more event message
('emsg') boxes encapsulated into transport stream packets.
Transport stream packets carrying the 'emsg' box shall use a reserved fixed PID value of 0x0004.
The transport stream packet carrying the start of the ′emsg′ box shall have the
payload_unit_start_indicator field set to '1', and the packet payload will start with the
'emsg' box. The complete Box.type field shall be present in this first packet, and the payload size shall
be at least 8 bytes.
The continuation of box data occupies the following transport stream packets from the same PID. The last
packet carrying the end of the box is padded using adaptation field stuffing bytes.
A segment shall contain only complete boxes. If @bitstreamSwitching is set, and subsegments are
used, a subsegment shall contain only complete ′emsg′ boxes.
For any packet with PID value of 0x0004, the value of the transport_scrambling_control field
shall be set to ′00′.

5.10.3.3.6 Inband Event Alignment
If        AdaptationSet.InbandEventStream                    element          is       present         and
AdaptationSet@segmentAlignment attribute is true, event message boxes in non-overlapping
Segments shall be aligned. Let S R1 (T) be a segment of Representation R 1 with earliest presentation time
T, and let the Adaptation Set contain N representations. If S R1 (T) contains one or more Event Message
('emsg') boxes, identical 'emsg' boxes shall be contained in each of the non-overlapping Segments
S R2 (T)…S RN (T).
        NOTE 1 As a consequence, under the above constrains, all Representations in the Adaptation Set
        contain events.

        NOTE 2 If Segments are non-overlapping, but their EPT differ, alignment described above still applies,
        and Event Message boxes are in the beginning of both Segments.

5.10.4 DASH-specific events
5.10.4.1 Overview
DASH specific events that are of relevance for the DASH Client are signalled in the MPD. The URN
"urn:mpeg:dash:event:2012" is defined to identify the event scheme defined in Table 40.




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For events using this schema, the 'emsg'.message_data[] field contains the DASHEvent structure
defined below:
aligned(8) struct DASHEvent
{
   string publish_time; // MPD@publishTime
   if ( 'emsg'.value == 2 )
   {
      string mpd_patch; // MPD patch as defined in subclause 5.15
   }
   if ( 'emsg'.value == 3 )
   {
      string mpd; // full MPD, as defined in subclause 5.10.4.4
   }
}
         Table 40 — InbandEventStream@value attribute for scheme with a value
                           "urn:mpeg:dash:event:2012"

          @value               Description
              1                indicates that MPD validity expiration events as defined in subclause 5.10.4.2 are
                               signalled in the Representation. MPD validity expiration is signalled in the event
                               stream as defined in subclause 5.10.4.2 at least in the last segment with earliest
                               presentation time smaller than the event time.
              2                indicates that MPD validity expiration events as defined in subclause 5.10.4.2 are
                               signalled in the Representation. MPD validity expiration is signalled in the event
                               stream as defined in subclause 5.10.4.2 at least in the last segment with earliest
                               presentation time smaller than the event time. In addition, the message includes an
                               MPD Patch document as defined in subclause 5.15. DASHEvent.mpd field within
                               the message_data field.
              3                indicates that MPD validity expiration events as defined in subclause 5.10.4.4 are
                               signalled in the Representation. MPD validity expiration is signalled in the event
                               stream as defined in subclause 5.10.4.2 at least in the last segment with earliest
                               presentation time smaller than the event time. In addition, the message includes a
                               complete MPD as defined in subclause 5.10.4.4 in DASHEvent.mpd field within
                               the message_data field.



     NOTE   Additional values for InbandEventStream@value                             when    @schemeIDURI           is
     urn:mpeg:dash:event:2012 are reserved for ISO/IEC.

5.10.4.2 MPD validity expiration
MPD validity expiration events provide the ability to signal to the client that the MPD with a specific
publish time can only be used up to a certain media presentation time.
MPD validity expiration shall be signalled for all updates causing an extension of the timeline, except for
the following ones:
— The value of the MPD@minimumUpdatePeriod is changed,

— The value of a SegmentTimeline.S@r has changed,

— A new SegmentTimeline.S element is added.



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If the scheme_id_uri is set to "urn:mpeg:dash:event:2012" and the value is set to 1, then the
fields in the event message box shall document the following:
— the DASHEvent.publish_time field contains the publish time of an MPD, i.e. the value of the
  MPD@publishTime.

— The media presentation time beyond the event time (indicated time by
  presentation_time_delta in v0 and the presentation_time in v1) is correctly described
  only by MPDs with publish time greater than indicated value in the message_data field.

— the event duration expresses the remaining duration of Media Presentation from the event time. If
  the event duration is 0, the Media Presentation ends at the event time. If 0xFFFF, the media
  presentation duration is unknown.

This implies that clients attempting to process the Media Presentation at the event time or later are
expected to operate on an MPD with a publish time that is later than the indicated publish time in this
box.
Event boxes in different segments may have identical id fields, but different values for the
presentation_time or presentation_time_delta if the earliest presentation time is different
across segments.
Figure 5 shows an example for MPD validity expiration method. An MPD signals the presence of the
scheme in one or several Representations. Once a new MPD gets available, that adds new information not
present in the MPD with @publishTime="2012-11-01T09:06:31.6", the expiration time of the
current MPD is added to the segment by using the emsg box. The information may be present in multiple
segments.




              Figure 5 — Example for MPD validity expiration to signal new Period


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5.10.4.3 MPD Patch event
For DASH events with value 2, an MPD patch shall be included in the DASHEvent structure, immediately
following the publish_time field. The payload of this message shall be a valid MPD patch as defined in
subclause 5.15.
The result of the patch application shall be parse-tree identical before any xlink resolution to the MPD
with publish_time would have been retrieved at event time. For details on the processing model refer
to subclause 5.15.4.
5.10.4.4 MPD Update Event
For DASH events with value 3, a complete MPD shall be included in the in the DASHEvent structure,
immediately following the publish_time field. The content of the mpd field shall be the MPD.

5.10.4.5 DASH Callback Event
5.10.4.5.1 General
DASH Callback events are indications in the content that it is expected by a DASH Client to issue an HTTP
GET request to a given URL and ignore the HTTP response. These event schemes are identified by the
URN "urn:mpeg:dash:event:callback:2015".
A content author may use such an event for tracking play-back of specific content on a server that is not
included in the media path.
The Status-Code field of the HTTP response should be 2xx; however, the client is expected to entirely
ignore the response.
     NOTE 1      HTTP GET (as opposed to HEAD) is used in alignment with IAB VAST[18].

The message body of the HTTP response should be as small as possible or absent.
     NOTE 2       The system adopting this functionality is expected to define appropriate means for secure handling
     of this feature.

5.10.4.5.2 Inband event
Table 41 defines the message data and the expected actions for different @value values when the DASH
callback event is signalled as an Inband Event.
              Table 41 — Message data and expected actions for DASH call back inband event
  value           message_data[]           Action
     1          Valid HTTP/HTTPS URL       An HTTP GET request is expected to be issued to a URL contained in
                                           message_data[].
                                           The URL shall be a NULL-terminated string.
                                           HTTP response shall either not be provided or be provided such that
                                           it can be discarded.

5.10.4.5.3 MPD event
Table 42 defines the relevant parameters for a call back event signalled in the MPD.




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                 Table 42 — Relevant parameters for a call back event signalled in the MPD

 Attribute                                 Value
 EventStream@schemeIdUri                   "urn:mpeg:dash:event:callback:2015"
 EventStream@value                         1
 Event@messageData                         HTTP-URL
                                           HTTP response is expected to be discarded without parsing.

5.10.4.6 Presentation Termination Event
DASH Presentation Termination events are indications that the currently playing Media Presentation is
ending at a time earlier than expected from the current MPD. This event can be either an inband event or
an MPD event. These events are identified by the URN "urn:mpeg:dash:event:ttfn:2016".
      NOTE       The primary use case for this feature is when the client does not expect to get an MPD update.

Three values are defined according to Table 43.
             Table 43 — interpretation of value field of a Presentation Termination event

         value               Description
             0               indicates the end of presentation, including these of chained-to and fallback MPDs
             1               Indicates end of presentation. Presentation described in the chained-to MPD (if the
                             latter is present) is still valid.
                                  NOTE If the value of earliestTimeToResolve in the MPD chaining
                                  descriptor is later than the time derived from
                                  'emsg'.presentation_time_delta, this is considered an error
                                  condition and triggers switch to the fallback presentation, if possible.

             2               Indicates end of presentation due to an unspecified error condition. Fallback
                             presentation is still valid; hence the client is expected to switch to it.

5.11 MPD Chaining
5.11.1 General
MPD chaining provides a mechanism to indicate that, at the end of one Media Presentation, a new Media
Presentation starts. The end may be a regular end, or an early termination due to an error condition. In
order to enable this mechanism, the “chained-from” MPD may include an Essential or Supplemental
descriptor which points to the “chained-to” MPD location.
Two cases are differentiated, a regular chaining operation at the end of the chained-from MPD in 5.11.2
and a case for which the chained-to MPD is only played in case the “chained-from” MPD is terminated
early due to error conditions as defined in subclause 5.11.3 and serves as a fallback.
5.11.2 Regular Chaining
Regular chaining refers to the case that a Media Presentation is played until the end, and once the Media
Presentation is finished, a new chained Media Presentation is played instantaneously. A client receiving
the chained-from MPD is expected to play the chained-to MPD right after the chained-from one. Each MPD
has its own independent media timeline, but the DASH Client is expected to continue the presentation to
create a sequential presentation.
The chained-from MPD may be of type static or dynamic. The chained-to MPD may also be of type static
and type dynamic.


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MPD chaining can for example be used for pre-roll ads or creating a sequence of programs using multiple
MPDs. In this case, the chained-from MPD may be of type static, whereas the chained-to MPD may be of
type dynamic. In this case, the client is expected to join the dynamic MPD at the live edge, or if an anchor
is presented as defined in C.4, at the indicated time in the anchor. The chained-from MPD may contain an
@xlink:href Period for personalization of the ad, whereas the chained-to MPD is common.
MPD chaining is signalled by using an Essential or Supplementary Descriptor on MPD level with
@schemeIdUri set to "urn:mpeg:dash:mpd-chaining:2016". Each MPD may contain at most
one descriptor for MPD chaining. The @value of this descriptor shall be composed of the whitespace-
separated parameters according to Table 44. If @value only contains the first parameter, no whitespace
is needed.
                                   Table 44 — Semantics of value for MPD chaining

 Value parameters                                  Use       Description
     url                                           M         specifies the location of manifest to be played
                                                             manifest (chained-to MPD) after this MPD.
                                                             The client is expected, after playback of the
                                                             entire MPD, to download the chained-to MPD
                                                             from the location defined by this parameter and
                                                             play chained-to MPD without any delays
                                                             (similar to play back of a new period). In the
                                                             case the url does not return a valid MPD or
                                                             any HTTP error response, the client is expected
                                                             to treat it as an invalid MPD.
                                                             If the url has any anchor, it anchors the
                                                             chained-to MPD according to C.4.
     earliestTimeToResolve                          O        recommends the earliest media presentation
                                                             time in the chained-from MPD as a difference to
                                                             the end of the Media Presentation in
                                                             milliseconds to fetch the chained-to MPD.
                                                             If not present, no recommendation is provided.

5.11.3 Fallback Chaining
Fallback chaining refers to the case that a Media Presentation is played, but once an error condition
occurs, a new chained Media Presentation may be played. Fallback chaining descriptor allows the author
to provide alternative content the client can switch to in case of error condition preventing it from
continuing normal playback.
An error condition triggering such processing is one of the following:
— Failure to of an MPD.

— Failure to download a media (sub)segment with a given value of earliest presentation time, after
  exhausting all possibilities of retrieving it (such as trying all BaseURLs and all Representations within
  an Adaptation Set), if the value of MPD@type is "static".

— Failure to retrieve a chained-to MPD.

— Unspecified error condition triggered via Presentation Termination event with value for fallback.




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Fallback presentation descriptor provides a URL to an alternative MPD which should be played out once
one of the aforementioned error conditions makes it impossible to continue playback of the current
Media Presentation.
Fallback shall be signalled by a Supplementary Descriptor on MPD level with @schemeIdUri set to
"urn:mpeg:dash:fallback:2016". Each MPD may contain at most one Fallback Presentation
descriptor.
The @value of this descriptor shall be one URL or a whitespace-separated list of URLs of the “chained-
to” MPD. If multiple URLs are provided, the content author expresses the preferences of using one of those
by the order with the first one having the highest preference.

5.12 Producer Reference Time
5.12.1 General
The Producer Reference Time supplies media correlation between media timestamps and wall clock
production time. This information permits the following, among others:
   — provides media clients with information to enable consumption and production to proceed at
     equivalent rates, thus avoiding possible buffer overflow or underflow.

   — enables measuring and potentially controlling the latency between the production of the media
     time and the playout.

The definition follows the Producer Reference Time ('prft') as defined in ISO/IEC 14496-12.
The information may be provided inband as part of the Segments in the ('prft'), in the MPD or both.

The semantics of the attributes and elements for producer reference time are provided in subclause
5.12.2, Table 45. The XML syntax of the Producer Reference Time is provided in subclause 5.12.3.
5.12.2 Semantics
                     Table 45 — Semantics of ProducerReferenceTime element

 Element or Attribute Name                Use               Description
         ProducerReferenceTime                              specifies the producer reference time for the
                                                            associated Representations.
            @id                                 M           Identifies the Producer       Reference     ime
                                                            documented in the MPD.
            @inband                             OD          signals if every segment or subsegment
                                                            contains a 'prft' of the type below. If set to
                                           default: false
                                                            true, every segment or subsegment shall
                                                            contain the 'prft' as defined in ISO/IEC
                                                            14496-12 and the flags set according to the
                                                            @type attribute of this element.
            @type                               OD          specifies the type of the Producer Reference
                                                            Time from the following list:
                                             default:
                                            encoder             — encoder provides a reference when
                                                                  the media time was input to an encoder
                                                                  following the exact definition in
                                                                  ISO/IEC 14496-12, 'prft' for flags
                                                                  set to 0.




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                                                               — captured provides a reference when
                                                                 the media time was captured following
                                                                 the exact definition in ISO/IEC 14496-
                                                                 12, 'prft' for both flag 8 and flag 16
                                                                 being set.
                                                               — application provides a reference of
                                                                 the media time related to wall-clock
                                                                 time based on an application defined
                                                                 relation. In this case following ISO/IEC
                                                                 14496-12 'prft' flag 16 shall be set
                                                                 and flag 8 shall be unset.

              @applicationScheme                CM         specifies the application scheme to which the
                                                           time conforms if @type is set to
                                                           application.
                                                           If the @type is set to application, this
                                                           attribute should be present.
                                                           If the @type is set other than application,
                                                           this attribute shall not be present.
              @wallClockTime                     M         specifies a wall-clock time in the following
                                                           format
                                                               — if UTCTiming element is absent, the
                                                                 NTP format associated to @media as
                                                                 defined in ISO/IEC 14496-12 'prft'
                                                                 for ntp_timestamp
                                                               — if UTCTiming element is present, the
                                                                 format is identical to the format as
                                                                 defined in the UTC Timing scheme.

                                                                NOTE If the MPD Generator extracts the
                                                                information from the producer reference
                                                                time box, the value needs to be converted
                                                                to the correct scheme.

              @presentationTime                  M         specifies a presentation time in timescale of the
                                                           Representation that relates to the value of the
                                                           @wallClockTime.
                                                                NOTE If the data is extracted from the
                                                                producer reference time box, then this
                                                                value is derived by the media_time field.

              UTCTiming                        0…1         If present, then the wall-clock times provided in
                                                           this context are synchronized with the timing
                                                           anchor provided in this descriptor. The same
                                                           UTC Timing descriptor shall also be present in
                                                           the MPD.

 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.




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5.12.3 XML Syntax
      <xs:simpleType name="ProducerReferenceTimeTypeType">
         <xs:restriction base="xs:string">
                 <xs:enumeration value="encoder"/>
                 <xs:enumeration value="captured"/>
                 <xs:enumeration value="application"/>
         </xs:restriction>
      </xs:simpleType>



5.13 Leap seconds
5.13.1 Overview
Information on the  occurrence   of   leap    seconds   and  their relationship with
MPD@availabilityStartTime can be expressed using the LeapSecondInformation element.
This information allows a client to perform time calculations accurately without an external source of
information on the timing of past and future leap seconds. It also allows a service provider to express
any correction for leap seconds that has already been made.
With this information, a client may perform timing calculations by assuming a constant day length of
86400 seconds if it first applies the relevant offset from the LeapSecondInformation element to the
value of the MPD@availabilityStartTime attribute. The client can then correctly play a Media
Presentation for which MPD@type is 'dynamic' when leap seconds have occurred since the time of
MPD@availabilityStartTime and even when leap seconds occur during playback.
The offset specified in @availabilityStartLeapOffset applies if the current time is before
@nextLeapChangeTime. @nextAvailabilityStartLeapOffset applies if the current time is
equal to or after @nextLeapChangeTime, but its use may need to be delayed if the client’s internal wall
clock has not yet processed the leap second.
      NOTE 1 If a particular client’s wall clock is synchronized solely by means of a one-shot protocol, e.g. using the
      scheme urn:mpeg:dash:utc:http-xsdate:2014 defined in subclause 5.8.5.7, the value of
      @availabilityStartLeapOffset remains appropriate for that client until its clock is next synchronized
      after the leap second has occurred.

      NOTE 2 Leap seconds can occur at any of four possible times each year and can add or remove a second from
      the UTC timeline. Whilst leap seconds always occur immediately before midnight UTC, they can occur during
      the day in other time zones. Even within the Greenwich Mean Time (GMT) zone, the most common time for a
      leap second has been 23:59:60 on New Year’s Eve, when many people may be watching live video streams.
      It is therefore important that leap seconds are handled correctly.

Some operating systems allow leap seconds to be handled by “smearing” the leap second over a longer
period of time. Care should be taken to ensure that availability times in a published MPD are not affected
by this.
The semantics of the attributes within the LeapSecondInformation element are provided in
subclause 5.13.2, Table 46. The XML syntax of the LeapSecondInformation element is provided in
subclause 5.13.3.




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5.13.2 Semantics
                                   Table 46 — Leap Second Information Semantics

    Element or Attribute Name             Use                            Description

    LeapSecondInformation                         specifies leap second information affecting MPD timing
                                                  calculations

       @availabilityStartL                 M      specifies the number of seconds applying at the time of MPD
       eapOffset                                  publication that a client would need to subtract from
                                                  MPD@availabilityStartTime in order to perform
                                                  timing calculations without further consideration of leap
                                                  seconds.
                                                  If a leap second correction has already been applied, the
                                                  LeapSecondInformation element should still be
                                                  present but this attribute should be set to 0.

       @nextAvailabilitySt                 O      specifies the number of seconds that will apply from the
       artLeapOffset                              time of the next leap second (indicated by the
                                                  @nextLeapChangeTime) that a client would need to
                                                  subtract from MPD@availabilityStartTime in order
                                                  to perform timing calculations without further
                                                  consideration of leap seconds.
                                                  If the timing of the next leap second is unknown, this
                                                  attribute shall be omitted.

       @nextLeapChangeTime                 O      specifies the UTC time at which a leap second will occur.
                                                  Before this time, @availabilityStartLeapOffset
                                                  applies.          On       or    after     this     time,
                                                  @nextAvailabilityStartLeapOffset applies for
                                                  timing calculations made against a wall clock that has
                                                  processed the leap second.
                                                  If the timing of the next leap second is unknown, this
                                                  attribute shall be omitted.

 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.


5.13.3 XML-Syntax
    <xs:complexType name="LeapSecondInformationType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Leap Second Information
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="availabilityStartLeapOffset" type="xs:integer" use="required"/>
        <xs:attribute name="nextAvailabilityStartLeapOffset" type="xs:integer"/>
        <xs:attribute name="nextLeapChangeTime" type="xs:dateTime"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>




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5.13.4 Leap second information updates
Streams which continue to run continuously between leap second changes will need to update the MPD
to change the LeapSecondInformation element. At a time after @nextLeapChangeTime, and
preferably long enough to be able to expect all leap second aware clients to have resynchronized their
clocks, the value of @nextAvailabilityStartLeapOffset can be moved into
@availabilityStartLeapOffset, and the attributes @nextAvailabilityStartLeapOffset
and @nextLeapChangeTime removed. Then, at least MPD@minimumUpdatePeriod before the next
leap second change, the LeapSecondInformation element can be updated to include the new values for
@nextAvailabilityStartLeapOffset and @nextLeapChangeTime. It is possible to make both
of these changes at the same time if the new values are known when
@availablilityStartLeapOffset is being updated.
      NOTE Updating the MPD in this manner is normally be seamless for clients that process the
      LeapSecondInformation element and for those that do not. However, if the stream continues across many leap
      seconds, clients that do not process the LeapSecondInformation element have a cumulative error in their
      calculation of the live edge when they join the stream.

5.14 Content Popularity Rate
5.14.1 General
Content Popularity Rate is a method for signalling information on which content items amongst the
different Preselections and Adaptation Sets are expected to be more popular than others. Example use
cases for different content streams in a Media Presentation include:
   — content streams from different viewpoints: in this case, an Adaptation Set containing
     recommended viewpoint is expected to be more popular than other Adaptation Sets.

   — sub-picture streams in a 360 video: in this case, a set of Adaptation Sets containing the sub-picture
     streams that compose “recommended viewport” can be signalled as more popular than others.

Content Popularity Rate information is expected to be provided by the content provider based on the
author’s intent, expected consumption rate by users, or actual viewing statistics that could have been
measured by using DASH metrics, such as Play list as defined in Annex D.4.6.
If provided, the information can be used for data prefetching by clients or network elements, e.g. CDN
servers. It can also be used for example to deliver the data that is considered most relevant on a preferred
data link, for example on multicast or broadcast, whereas less popular data is only provided in unicast.
Expected-to-be-popular data can also be prefetched in higher quality in order to ensure that such data is
available in good quality.
To indicate the popularity of a Pre-selection or Adaptation Set, the ContentPopularityRate element
may be present within that element. The ContentPopularityRate element contains one or more PR
elements giving the rating for different parts of the content.                The semantics of the
ContentPopularityRate element are provided in 5.14.2 Table 47, the syntax is provided in 5.14.3.




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5.14.2 Semantics
                         Table 47 — Semantics of ContentPopularityRate element
 Element or Attribute Name                 Use      Description
          ContentPopularityRate                     specifies the Content Popularity Rate information.
              @source                       M       indicates the source of rating by this element. The
                                                    value can be one of the following:
                                                        — content (when the value is specified by
                                                          the content author or content provider).

                                                        — statistics (when the value is specified
                                                          based on viewing statistics).

                                                        — other.

                                                    When “other” is used, @source_description
                                                    should be provided.
              @source_description            O      UTF-8 string that provides a textual description of
                                                    the source of rating.
              PR                           1 .. N   specifies start time and number of segments for a
                                                    contiguous sequence of segments assigned identical
                                                    Popularity Rate value.
                   @popularityRate          M       indicates the relative Popularity Rate of the segments
                                                    of containing entity (i.e. the Preselection or
                                                    Adaptation           Set        containing         this
                                                    ContentPopularityRate element), within the
                                                    same Media Presentation. No unit. The value shall be
                                                    in the range of 1 to 100. A greater value means higher
                                                    likelihood of the series of (Sub)Segments being
                                                    consumed/requested.
                   @start                    O      specifies the first Segment from which
                                                    @popularityRate value of this PR element is
                                                    relevant.
                                                    If the addressing scheme for the containing entity is
                                                    using Segment template with $Number$, then
                                                    @popularityRate applies from the earliest
                                                    presentation time of the Segment with the segment
                                                    number specified by this attribute. For other
                                                    addressing       schemes,      the      value      of
                                                    @popularityRate applies from the Segment
                                                    which contains the media sample whose
                                                    presentation time specified by this attribute in unit
                                                    of @timescale on Representation level.
                                                    If not present, then it shall be assumed that
                                                    @popularityRate applies from:
                                                        •   the first Segment of the containing Period,
                                                            for the first PR element




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                                                            •   the Segment after the last Segment of the
                                                                previous PR element, for other PR elements.

               @r                             OD        specifies the number of segments after the segment
                                                        indicated by @start which are included in this PR
                                           default: 0
                                                        entry (i.e. the repeat count). A negative value
                                                        indicates that the series continues until the segment
                                                        before the first segment of the next PR element, or if
                                                        there are no further PR elements until the end of the
                                                        Period or the next MPD update.
 Legend:
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory.
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.



5.14.3 XML syntax
      <xs:complexType name="ContentPopularityRateType">
         <xs:annotation>
                 <xs:documentation xml:lang="en">
                 Content Popularity Rate
         </xs:documentation>
         </xs:annotation>
         <xs:sequence>
                 <xs:element name="PR" maxOccurs="unbounded">
                         <xs:complexType>
                                 <xs:attribute name="popularityRate">
                                         <xs:simpleType>
                                                 <xs:restriction base="xs:unsignedInt">
                                                         <xs:minInclusive value="1"/>
                                                         <xs:maxInclusive value="100"/>
                                                 </xs:restriction>
                                         </xs:simpleType>
                                 </xs:attribute>
                                 <xs:attribute name="start" type="xs:unsignedLong" use="optional"/>
                                 <xs:attribute name="r" type="xs:int" use="optional" default="0"/>
                                 <xs:anyAttribute namespace="##other" processContents="lax"/>
                         </xs:complexType>
                 </xs:element>
                 <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
         </xs:sequence>
         <xs:attribute name="source" use="required">
                 <xs:simpleType>
                         <xs:restriction base="xs:string">
                                 <xs:enumeration value="content"/>
                                 <xs:enumeration value="statistics"/>
                                 <xs:enumeration value="other"/>
                         </xs:restriction>
                 </xs:simpleType>
         </xs:attribute>
         <xs:attribute name="source_description" type="xs:string"/>
         <xs:anyAttribute namespace="##other" processContents="lax"/>
      </xs:complexType>




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5.15 MPD patch framework
5.15.1 Overview
In the case of a live linear channel and dynamic MPD, MPD updates can happen frequently and create a
considerable bandwidth and processing overhead. In the vast majority of cases, a small minority of
elements in the MPD is added or removed. For example, in case of relatively frequent MPD requests and
use of SegmentTimeline, only at most a few S elements are added per adaptation set.
MPD patch framework allows transmission of only changed parts of the MPD as opposed to the complete
MPD and uses the XML patch framework defined in RFC 5261.
The MPD patch framework consists of the following main functionalities:
        1) The location where the MPD patch document can be accessed and the information associated
           with this information. This is specified in subclause 5.2.3 in the MPD as the element
           MPD.PatchLocation. For details refer to subclause 5.15.2.
        2) An MPD patch document that includes the instructions to patch an MPD. For details refer to
           subclause 5.15.3.
        3) The processing model to generate an equivalent new MPD from an MPD in memory and the
           MPD patch document as documented in subclause 5.15.4.
        4) Recommended practices and guidelines for the DASH client to make use of the MPD Patch
           functionality in subclause 5.15.5.

5.15.2 MPD Patch Location
An MPD may contain one or several PatchLocation elements to provide a location for an MPD patch
document that may apply to the MPD including this element in order to generate an updated MPD.
The semantics of the MPD patch location element are provided in Table 48 and the XML syntax is provided
in Table 49.
                           Table 48 — Semantics of PatchLocation element in MPD

          Element or Attribute Name                Use                       Description
    PatchLocation                                            specifies a location at which the MPD patch is
                                                             available. The referenced document shall
                                                             conform to an MPD patch document as defined
                                                             in subclause 5.15.3.
    @ttl                                            O        specifies the time period duration (in
                                                             seconds) starting from
                                                             MPD@publishTime until the MPD patch
                                                             document is at least available at the
                                                             indicated location above. For details refer
                                                             to the processing model in subclause
                                                             5.14.4.
                                                             If not present, the value is unknown.
    Key
    For attributes: M=mandatory, O=optional
    Elements are bold; attributes are non-bold and preceded with an @.




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                       Table 49 — XML Syntax of PatchLocation element in MPD
      <xs:complexType name="PatchLocationType">
         <xs:annotation>
                 <xs:documentation xml:lang="en">
                 Patch Location Type
         </xs:documentation>
         </xs:annotation>
         <xs:simpleContent>
                 <xs:extension base="xs:anyURI">
                         <xs:attribute name="ttl" type="xs:double" use="optional"/>
                         <xs:anyAttribute namespace="##other" processContents="lax"/>
                 </xs:extension>
         </xs:simpleContent>
      </xs:complexType>



5.15.3 MPD patch document
5.15.3.1 General
The MPD Patch (MPP) is a document that contains required information to generate an equivalent new
MPD from an MPD in hand and this information. The processing is provided in subclause 5.15.4. Typically,
this processing is done by the DASH client, but the description is independent of the DASH client.
The MPP is an XML document that shall be formatted according to the XML schema provided in Annex B.
Some context on the schema is provided in subclause 5.15.3.2.
The extension of the MPP XML schema (as provided in Annex B), in particular the addition of XML
attributes or elements in the MPP namespace, is reserved to ISO/IEC.
The MPP shall be authored such that, after XML attributes or elements in the DASH namespace but not in
the XML schema documented in Annex B are removed, the result is a valid XML document formatted
according to that schema and that conforms to this document.
In addition, the MPP shall be authored such that, after XML attributes or elements in the other
namespaces than the MPP namespace are removed, the result is a valid XML document formatted
according to that schema and that conforms to this document.
Following XML rules, the MPP document shall contain exactly one Patch element as specified in
subclause 5.15.3.2. The summary of the semantics of the attributes and elements within a Patch element
are provided in Table 50, subclause 5.15.3.2. The XML syntax of the Patch element is provided in
subclause 5.15.3.3 together with the schema. The Patch element may contain one or multiple add,
remove, and replace elements which shall be as defined in IETF RFC 5261. The add, remove, and
replace elements define operations to be applied to the MPD in hand that result in the creation of the
fully updated MPD. The operations utilize XPath 1.0 selectors, restricted in complexity from their original
W3C definition by IETF RFC 5261, to target elements and attributes within the MPD in hand. In addition,
subclause 5.15.3.4 defines restrictions on the usage of the elements within selectors for targeting MPD
elements.
The MIME type of the MPD document is defined in Annex C.
The encoding of the MPD shall be UTF-8 as defined in IETF RFC 3629. All data provided in extension
namespaces shall be UTF-8 as defined in IETF RFC 3629. If binary data needs to be added, it shall be
included in Base64 as described in IETF RFC 4648 within a UTF-8 encoded element with a proper name
space or identifier, such that an XML parser knows how to process or ignore it.
The delivery of the MPP is outside the scope of this document. However, if the MPP is delivered over
HTTP, then the MPP document may be transfer encoded for transport, as described in IETF RFC 7230.
Selected MPP examples are provided in Annex G.21.




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5.15.3.2 Semantics
The MPD patch document contains a single Patch element, which contains multiple add, remove, and
replace elements shall be as defined in IETF RFC 5261. The semantics of the Patch element are
provided in Table 50 and the XML syntax is provided in subclause 5.15.3.3.
                                   Table 50 — Semantics of Patch element in MPP

              Element or Attribute Name                     Use                    Description
 Patch                                                       1         element that carries the patch data.
      @mpdId                                                 M         Specifies the identifier for the Media
                                                                       Presentation Description this patch
                                                                       applies to.
      @publishTime                                           M         Specifies the wall-clock time when
                                                                       the MPD patch was generated and
                                                                       publish at the origin server.
      @originalPublishTime                                   M         Specifies the wall-clock time used as
                                                                       a basis for generating information in
                                                                       the MPD patch.
                                                                       This patch only applies to the MPD
                                                                       with MPD@publishTime equal to
                                                                       this value, otherwise it is expected
                                                                       to be ignored by the DASH client
      add                                                   0..N       Specifies an <add> element as
                                                                       defined in RFC 5261, subclause 4.3.
                                                                       For restrictions, refer to subclause
                                                                       5.15.3.4.
      remove                                                0..N       Specifies an <remove> element as
                                                                       defined in RFC 5261, subrclause 4.4.
                                                                       For restrictions, refer to subclause
                                                                       5.15.3.4.
      replace                                               0..N       Specifies an <replace> element as
                                                                       defined in RFC 5261, subclause 4.5.
                                                                       For restrictions, refer to subclause
                                                                       5.15.3.4.
  Key
  For attributes: M=mandatory, O=optional
  Elements are bold; attributes are non-bold and preceded with an @.



5.15.3.3 XML Syntax
<?xml version="1.0" encoding="UTF-8"?>
<xs:schema xmlns:xs="http://www.w3.org/2001/XMLSchema" xmlns:patch="urn:ietf:params:xml:schema:patch-
ops" xmlns="urn:mpeg:dash:schema:mpd-patch:2020" targetNamespace="urn:mpeg:dash:schema:mpd-patch:2020"
elementFormDefault="qualified" attributeFormDefault="unqualified">
    <!-- Include patch operations from RFC5261 -->
    <xs:include schemaLocation="https://www.iana.org/assignments/xml-registry/schema/patch-ops.xsd"/>
    <xs:element name="Patch" type="PatchType"/>
    <!-- Patch -->
    <xs:complexType name="PatchType">
        <xs:choice minOccurs="1" maxOccurs="unbounded">



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             <xs:element name="add" type="add"/>
             <xs:element name="remove" type="remove"/>
             <xs:element name="replace" type="replace"/>
             <xs:any namespace="##other" processContents="lax"/>
        </xs:choice>
        <xs:attribute name="mpdId" type="xs:string" use="required"/>
        <xs:attribute name="publishTime" type="xs:dateTime" use="required"/>
        <xs:attribute name="originalPublishTime" type="xs:dateTime" use="required"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>
</xs:schema>
5.15.3.4 Element Addressing Restrictions
The following element addressing restrictions apply for DASH MPD elements:
       Elements with an @id attribute with uniqueness requirement among its siblings present shall
        only be identified by the value of this attribute. In particular, Period, AdaptationSet,
        Representation, and SubRepresentation shall be only addressed via their @id.

       DescriptorType elements with an @schemeIdUri attribute shall be identified by the value
        of this attribute, for example SupplementalProperty.

       S elements shall be addressed in one of the following ways:

              — @t or @n attribute of S elements if the said attribute is present in the S element.

              — by position.

       All other elements shall be addressed by position, e.g. SegmentTemplate[1].

Examples:
      /MPD/Period[@id="1"]/AdaptationSet[@id="1"]/SegmentTemplate[1]/Segment
         Timeline[1]/S[@t="12345"]

      /MPD/Period[@id="1"]/AdaptationSet[@id="1"]/SegmentTemplate[1]/Segment
      Timeline[1]/S[42]@r

5.15.4 Processing Model
This processing model describes how to achieve an updated MPD from an in-memory MPD and the
information in the MPD patch document.
The MPD derived through MPD patch application shall be identical in their canonical XML form as defined
in W3C Canonical XML to the full MPD at the MPD.Location, if present, or the URL of the initial MPD
with the same value of the MPD@publishTime attribute, prior to XLink resolution.
      NOTE 1     An in-memory MPD is an MPD that is retained within either the temporary or persistent memory
      of a DASH client and is referenced by the DASH client to proceed with the playout of the media presentation.

To allow for DASH client implementation efficiency, the in-memory MPD need not be stored in full XML
structure format, but it must be stored such that all DASH defined identifiers and element order of
multiple events of the same type are preserved. See 5.15.3.3 for the XPath addressing modes permitted
by this document.
The MPD patch document is guaranteed to be available between MPD@publishTime and
MPD@publishTime + PatchLocation@ttl.
The patch operations shall be applied prior to Xlink dereferencing. For instance, if patch application
results in a new remote Period, dereferencing shall occur after the patch.


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     NOTE 2     Patch application is not expected to affect periods previously resolved using XLink, unless the entity
     generating the patch is aware of the Period@id of the previously resolved period.

5.15.5 Recommended Client Operation
A DASH client is expected to carefully use the MPD patch information to avoid any mal-formed or wrong
MPDs based on erroneous MPD Patch operation.
It is important to note that an MPD patch document is valid if and only if all of the following conditions
are met given an MPD and an MPD patch:
      The Patch@mpdId value of the MPD patch is identical to the value of the MPD@id attribute of
       the in-memory MPD

      The value of the Patch@originalPublishTime                           is identical to the value of the
       MPD@publishTime attribute of the in-memory MPD

      The value of Patch@publishTime is greater than the value of the MPD@publishTime
       attribute of the in-memory MPD

      The patch contains a replace element modifying the value of MPD@publishTime to the value of
       Patch@publishTime

The DASH client is expected to check all of the above conditions.
If any of the above conditions does not hold,
    — the patch application could produce a different MPD than the MPD with the same MPD@id and
      MPD@publishTime. This will lead to implementation-specific, fragile, and inconsistent
      operation of the client. In case of any doubt, the client is expected to request the full MPD, and
      ignore the patch.
    — In case the request is made after the end of this window, the client should request the full MPD,
      rather than the patch.
If all the conditions hold, the DASH client is expected to use the MPD Patch to generate a new MPD at the
client.


6 Segment formats
6.1 General
The Segment formats specify the syntax and semantics of the resources that are associated with HTTP-
URLs identified by the MPD, or directly provided in data URLs. For example, an HTTP GET request to a
resource identified in the MPD is responded with an HTTP response including an entity body that
conforms to a segment format.
Different Segment types are defined in subclause 6.2.
This document focuses on Segment formats based on MPEG container formats. Specifically,
— in subclause 6.3, Segment formats are described for use with Media Segments based on the ISO Base
  Media File Format as defined in ISO/IEC 14496-12;

— in subclause 6.4, Segment formats are described for use with Media Segments based on the MPEG-2
  Transport Stream as defined in the ISO/IEC 13818-1.




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In both cases, the Segment formats are defined such that the Media Segment formats comply with the
respective container formats.
Guidelines for adding other Segment formats are provided in Annex F.

6.2 Segment types
6.2.1 General
Four different Segment types are defined:
— Initialization Segments containing initialization information for accessing the Representation in
  subclause 6.2.2,

— Media Segments containing encoded media content components in subclause 6.2.3,

— Index Segments primarily containing indexing information for Media Segments in subclause 6.2.4,

— Bitstream Switching Segments containing essential data to switch to the Representation to which it
  is assigned in subclause 6.2.5.

6.2.2 Initialization Segment
The Initialization Segment contains initialization information for accessing the Representation. The
Initialization Segment shall not contain any media data with an assigned presentation time.
      NOTE       The Initialization Segment is conceptually processed by the media engine in Figure 2 to initialize
      the media engines for enabling play-out of Media Segments of the containing Representation.

The Initialization Segment is media format specific and more details shall be defined for each media
format that permits or requires the presence of an Initialization Segment.
6.2.3 Media Segment
6.2.3.1 General
A Media Segment contains and encapsulates media streams that are either described within this Media
Segment or described by the Initialization Segment of this Representation or both.
In addition, a Media Segment
1) shall contain a number of complete access units.

2) should provide information on how to access the Media Presentation within this Segment, e.g. exact
   presentation time and an index. There is no requirement that a Media Segment starts with a SAP, but
   it is possible to signal in the MPD that all media streams in a Segments within a Representation start
   with a SAP.

3) shall contain only media streams that start with a SAP of type 1 or 2, if it is the first Media Segment
   in the Representation.

4) shall contain sufficient information to time-accurately present each contained media component in
   the Representation. The time-accuracy enables a client to seamlessly switch Representations and
   jointly present multiple Representations.

5) may be divided into Subsegments by a Segment Index as defined in subclause 6.2.3.2. In some media
   formats, the Segment Index may be contained in the Media Segment. In other formats, the Segment
   Index may be included in a dedicated Index Segment. For more details on Index Segments, refer to
   subclause 6.2.4.

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6) shall specify all Media Presentation times relative to the start of the Period and compensated with
   the value of the @presentationTimeOffset. The presentation time in Media Segments shall be
   accurate to ensure accurate alignment of all Representations in one Period. For more details, refer to
   subclause 7.2.1.

The Media Segment is media format specific and more details are specified for individual media formats.
6.2.3.2 Subsegments and Segment Index
Media Segments may contain multiple Subsegments. Each Subsegment shall contain a number of
complete access units. There may also be media-format-specific restrictions on Subsegment
boundaries. If a Segment is divided into multiple Subsegments, this division is described by a compact
Segment index, which provides the presentation time range in the Representation and corresponding
byte range in the Segment occupied by each Subsegment for one or more media streams. Clients may
download this index in advance and then issue requests for individual Subsegments.
     NOTE        Segment Index information is conceptually processed by the DASH access client in Figure 2 in order
     to access Subsegments by the use of HTTP partial GET requests.

In addition, the Segment Index provides timing and stream access information. This includes the earliest
presentation time of access units in each Subsegment of an indexed media stream and the presentation
time of the first SAP, if present.
If a Segment Index is present for at least one media stream, then for any media stream for which no
Segment Index is present, referred to as non-indexed stream, the following applies:
— every access unit of the non-indexed streams shall be a SAP of type 1.

— for each Subsegment, every non-indexed stream shall contain exactly one access unit within the
  Subsegment with presentation time less than or equal to the earliest presentation time of the
  Subsegment.

When multiple media streams are indexed in a single index file, the corresponding Segment Index for
different media streams should index the same number of Subsegments.
If no Segment Index is provided for a Media Segment, then the Media Segment constitutes one
Subsegment.
The Segment Index may be included in the Media Segment, typically in the beginning of the file. Segment
Index information may also be provided in separate Index Segments as defined in subclause 6.2.4. A
Subsegment may itself be further subdivided using further Segment Indices. If a Subsegment only
contains media data but no Segment Index, it is referred to as Media Subsegment.
The Segment Index may contain additional Subsegment indexing information for accessing different
levels of Subsegments in a Media Subsegment. For more details, refer to subclause 6.2.3.3.
A generic mechanism for indexing of Media Segments is provided by the Segment Index ('sidx') box in
ISO/IEC 14496-12. This indexing applies to all media formats defined in this document. In this case,
— the  earliest presentation time   of                    a    Subsegment        is    documented        in    the
  earliest_presentation_time field.

— the byte range is documented by the first_offset field and the reference_size field. If two
  Segment Index boxes document the same byte range, then the value of their reference_size field
  shall be identical, and the values their first_offset field shall point to the same byte offset in the
  file.




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6.2.3.3 Subsegment Index
Media Subsegments may be indexed further to enable accessing different levels of Subsegments in a
Media Subsegment. This Subsegment Index may also be provided in separate Index Segments together
with the Segment Index.
A generic syntax and semantic for Subsegment indexing is provided by the Subsegment Index ('ssix')
in ISO/IEC 14496-12.
6.2.4 Index Segment
Index Segments contain information that is related to Media Segments and primarily contain indexing
information for Media Segments. An Index Segment may provide information for one or more Media
Segments.
The Index Segment may be media format specific and more details shall be defined for each media format
that permits Index Segments.
6.2.5 Bitstream Switching Segment
A Bitstream Switching Segment contains data essential for switching to the Representation it is assigned
to.
The Bitstream Switching Segment is media format specific and more details shall be defined for each
media format that permits Bitstream Switching Segments.
6.2.6 Missing Content Segment
A Missing Content Segment is defined for the purpose to extend the Segment Timeline even if the data in
the Segment is not present or is only partially present. This Segment contains no or a subset of media
samples of the media timeline duration it is representing. If the Segment is not a decodable media
segment, then the segment shall include a major brand 'miss'. The Segment may additionally contain
an 'emsg', for example, to indicate an MPD validity expiration event.
In addition, for a Missing Content Segment, the following shall hold:
   — a single Segment Index ('sidx') box shall be present and the values of the Segment Index shall
     describe accurate timing of the Segment Timeline, i.e.,
         — the earliest_presentation_time in the 'sidx'box shall be the value of S@t as
             signalled in the Segment Timeline in the MPD
         — the Subsegment_duration fields in the 'sidx' box shall be the value of S@d as
             signaled in the Segment Timeline in the in the MPD

By forcing these values, the DASH Client is able to properly extend the Segment Timeline even though no
actual media data may be present.

6.3 Segment formats for ISO base media file format
6.3.1 General
This subclause defines Segment formats based on the ISO Base Media File Format as specified in
ISO/IEC 14496-12. All Segment formats defined in subclause 6.3 shall contain one or more boxes in
accordance with the box structure of the ISO base media file format ISO/IEC 14496-12.
Refinements on generic concepts are introduced in subclause 6.3.2. Segment formats are defined for
Initialization Segments (subclause 6.3.3), Media Segments (subclause 6.3.4) and Self-Initializing Media
Segments (subclause 6.3.5). Bitstream Switching Segments and Index Segments are not defined for this
media format.




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6.3.2 Preliminaries: Refinements of generic concepts
6.3.2.1 Subsegments
Media Subsegments for Media Segments based on the ISO base media file format are defined as a self-
contained set of one or more consecutive movie fragments; such a set contains one or more movie
fragment boxes with the corresponding media data ('mdat') box(es). A media data box containing data
referenced by a movie fragment ('moof') box shall follow that movie fragment box and precede the next
movie fragment box, if any, containing information about the same track.
For a Media Subsegment, the value of the reference_type field in the describing Segment Index
('sidx') box shall be set to 0.

6.3.2.2 Media stream access points
Different types of stream access points for the ISO base media file format are defined in
ISO/IEC 14496-12.
6.3.2.3 Segment Index
If the Segment Index is provided, the Segment Index ('sidx') box in ISO/IEC 14496-12 shall be used.
Exact definitions for the use of the Segment Index ('sidx') box with media formats based on the
ISO base media file format are specified in ISO/IEC 14496-12.
6.3.2.4 Subsegment Index
If the Subsegment Index is provided, the Subsegment Index ('ssix') box in ISO/IEC 14496-12 shall be
used. Exact definitions for the use of the Subsegment Index ('ssix') box for the use with media formats
based on the ISO base media file format are specified in ISO/IEC 14496-12.
6.3.2.5 Resynchronization Point
A Resynchronization Point for the ISO BMFF is defined as the start of ISO BMFF Segment as defined in
ISO/IEC 14496-12 with the restrictions in terms of both, cardinality and ordinality as defined in Table 51.
           Table 51 — Resynchronization Point for the ISO BMFF - Cardinality and Ordinality

NL 0 Cardinality           Specification           Constraints                   Description
                         ISO/IEC 14496-12          DASH/CMAF                     Segment Type
 styp         0/1                                   constraints
                                                                     Signalling compatibility to CMAF Chunk
                         ISO/IEC 14496-12          DASH/CMAF               Producer Reference Time
 prft         0/1
                                                    constraints
                          ISO/IEC 23009-1          DASH/CMAF                     Event Message
 emsg           *
                                                    constraints
 free           *        ISO/IEC 14496-12              none                         free box
 skip           *        ISO/IEC 14496-12              none                         skip box
                         ISO/IEC 14496-12          DASH/CMAF          Movie Fragment box and the boxes it
 moof          1
                                                    constraints                   contains
                         ISO/IEC 14496-12          DASH/CMAF        Media Data container for media samples
 mdat          1
                                                    constraints
Cardinality 0/1 means that at most one needs to be present, * means that any number or none of those are
present.
NL refers to the nesting level, all boxes are on level 0.



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For ISO BMFF based Resynchronization Point, the properties are defined as follows
   — The index Index is defined as the byte offset of the first octet of the constrained ISO BMFF
     Segment.
   — The earliest presentation time Time is defined as the smallest time of the combination of the
     decode time, the composition offset and the edit list, of any sample in this ISO BMFF Segment.
   — The SAP type is defined according to subclause 4.5.2.
   — If the 'styp' is present and the box following the 'styp' is one of the following 'prft', 'emsg',
     'free', 'skip', 'moof', and the cardinality and ordinality of the Resynchronization Point as
     provided in Table 51 is fulfilled then the marker is present.
6.3.3 Initialization Segment format
The Initialization Segment shall conform to the ISO base media file format.
The Initialization Segment shall contain an "ftyp" box, and a “moov” box. It shall not contain any "moof"
boxes. It may contain other boxes, such as the "pdin" box. The tracks in the "moov" box shall contain no
samples (i.e. the entry_count in the "stts", "stsc", and "stco" boxes shall be set to 0), and the "moov"
box is thus small.
      NOTE 1     This can reduce the start-up time significantly as the Initialization Segment needs to be downloaded
      before any Media Segment can be processed.

The "mvex" box shall be contained in the "moov" box to indicate that the client has to expect movie
fragments. The "mvex" box also sets default values for the tracks and samples of the following movie
fragments.
The Initialization Segment provides the client with the metadata that describes the encoding of the media
content, specifically of the Representation. The media engine in the client uses the information in the
"moov" box to identify the available media content components and their characteristics.
      NOTE 2    It is expected that the media engine in the DASH Clients does not require any information in the
      MPD for successful decoding and presentation of the contained media streams.

6.3.4 Media Segment types
6.3.4.1 General
Media Segments can be of different types: Delivery Unit Media Segments, simple Media Segments,
Random Access Media Segments, Switching Media Segments, Indexed Media Segments, Sub-Indexed
Media Segments.
All Media Segments shall conform to the general definitions in subclause 6.3.4.2. Additional type-specific
constraints are provided further below in subclause 6.3.4.
Further rules on Media Segments in combination with certain MPD attributes are provided in subclause
7.3.
Media Segments may conform to multiple types. Conformance can be expressed by adding the brand(s)
to the 'styp' box as a compatible brand and, if applicable, as the major brand.
Unless explicitly mentioned differently, the boxes referred in subclause 6.3.4 are specified in
ISO/IEC 14496-12.
6.3.4.2 Delivery Unit Media Segment
A Media Segment conforming to the Media Segment Format is defined as follows:



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— Each Media Segment shall contain one or more whole self-contained movie fragments. A whole, self-
  contained movie fragment is a movie fragment ('moof') box and a media data ('mdat') box that
  contains all the media samples that do not use external data references referenced by the track runs
  in the movie fragment box.

— Each 'moof' box shall contain at least one track fragment.

— The 'moof' boxes shall not use external data references, the flag 'default-base-is-moof'
  shall be set, and data-offset shall be used, i.e. 'base-data-offset-present' shall not be
  used. This combination of settings is referred to as movie-fragment relative addressing for media
  data.

— Absolute byte-offsets shall not be used for this media data. In a movie fragment, the duration by
  which each track extends should be as close to equal as practical. In particular, as movie fragments
  are accumulated, the track durations should remain close to each other and there should be no 'drift'.

— Each Media Segment may carry 'dums' in the Segment Type box ('styp') as a compatible brand.
  The conformance requirements of this brand are defined in this subclause.

6.3.4.3 Simple format type
A Media Segment conforming to the Simple Media Segment Format for DASH is defined as follows:
— It shall conform to the Delivery Unit Media Segment format as specified in subclause 6.3.4.2.

— Each 'traf' box shall contain a 'tfdt' box.

          NOTE       The track fragment adjustment box 'tfad' as defined in 3GPP TS26.244 can also be present.
          DASH Clients are discouraged to apply both the alignment established by the 'tfdt' and the time-
          shifting implied by the ′tfad′, which would result in a double correction.

— Each Simple Media Segment may contain one or more 'sidx' boxes. If present, the first 'sidx'
  box shall be placed before any 'moof' box and the first Segment Index box shall document the entire
  Segment.

— For the purpose of determining overlapping and non-overlapping segments, redundant samples as
  defined in ISO/IEC 14496-12 shall be ignored. In other words, the earliest presentation time of any
  access unit in the stream shall be computed without taking redundant samples into account.

— Each Media Segment may contain a 'styp' box and if present shall carry 'msdh' as a compatible
  brand. The conformance requirement of this brand is defined in this subclause.

6.3.4.4 Indexed Media Segment
A Media Segment conforming to the Indexed Media Segment Format is defined as follows:
— Each Media Segment shall comply with the Delivery Unit Media Segment as defined in subclause
  6.3.4.2 and in addition in each self-contained movie fragment, the movie fragment ('moof') box is
  immediately followed by its corresponding media data ('mdat').

— Each Media Segment shall contain one or more 'sidx' boxes. The first 'sidx' box shall be placed
  before any 'moof' box and shall document Subsegments that span the composition time of the
  entire Segment.



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— Each Media Segment shall carry 'msix' as a compatible brand. The conformance requirements of
  this brand are defined in this subclause.

6.3.4.5 Sub-Indexed Media Segment
A Media Segment conforming to the Sub-Indexed Media Segment Format is defined as follows:
— It shall conform to the indexed Media Segment format as specified in subclause 6.3.4.3.

— The Subsegment Index box ('ssix') shall be present and shall follow immediately the 'sidx' box
  that documents the same Subsegment. This immediately preceding 'sidx' shall only index Media
  Subsegments.

— It shall carry 'sims' in the Segment Type box ('styp') as a compatible brand. The conformance
  requirements of this brand are defined in this subclause.

6.3.4.6 Random Access Media Segment
A Media Segment conforming to the Random Access Media Segment Format is defined as follows:
— It shall conform to the Simple format as specified in subclause 6.3.4.3.

— The first access unit in each movie fragment in a Random Access Media Segment shall correspond to
  the I sau of a SAP of type 1, 2, or 3.

— The media segment shall carry sufficient information to access the media in the stream, e.g. all
  necessary encryption in combination with the Initialization Segment, if available.

6.3.5 Self-Initializing Media Segment formats
6.3.5.1 General format type
The Self-Initializing Media Segment is conformant with the ISO base media file format and defines the
DASH Self-Initializing Media Segment 'dsms' brand.
The Self-Initializing Media Segment is conformant with the ISO base media file format.
      NOTE      Since one Representation only contains one self-initializing Media Segment, switching is expected
      to happen within the Segment, e.g. at a Subsegment that contains a SAP.

6.3.5.2 Indexed self-initializing Media Segment
The Indexed Self-Initializing Media Segment conforms to the concatenation of an Initialization Segment
and a single Indexed Media Segment without the 'styp' box preceding the Media Segment and shall
carry 'dash' as a compatible brand.
The format of the Indexed self-initializing Media Segment is a conforming ISO base media file format file
and defines the 'dash' brand.

6.4 Segment formats for MPEG-2 transport streams
6.4.1 General
This subclause introduces Segment formats that are suitable to be used if Media Segments are valid
MPEG-2 TS, conforming to ISO/IEC 13818-1.
      NOTE      It is possible to encapsulate MPEG-2 TS formatted media within an ISO base media file format. This
      mode of operation is not discussed in this subclause. If MPEG-2 TS formatted media is encapsulated in an
      ISO base media file format, then the rules as defined in subclause 6.3 apply.


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Refinements on generic concepts are introduced in subclause 6.4.2. Segment formats are defined for
Initialization Segments (see subclause 6.4.3), Media Segments (see 6.4.4), Bitstream Switching Segments
(see subclause 6.4.5) and Index Segments (see subclause 6.4.6). MPEG-2 TS specific box structures are
defined in subclause 6.4.7.
6.4.2 Preliminaries: Refinements of generic concepts
6.4.2.1 Subsegment
In the context of MPEG-2 TS based delivery formats, a Subsegment is defined as an indexed set of access
units consecutive in decode order. A subsegment shall contain complete access units for the indexed
media stream (i.e. stream for which reference_ID equals PID); however, it may contain incomplete
PES packets from other media streams.
These access units are encapsulated in one or more PES packets. Each PES packet is encapsulated into
one or more TS packets with the same PID value.
6.4.2.2 Media stream access points
For the case of MPEG-2 TS, a media stream is equivalent to an Elementary Stream as defined in
ISO/IEC 13818-1.
Different types of stream access points are defined in ISO/IEC 14496-12. The same type definitions shall
apply for the MPEG-2 TS. More specifically, in the case of MPEG-2 TS, a SAP corresponds to an Elementary
Stream Random Access Point, as defined in ISO/IEC 13818-1. Consequently, I SAU is the position of the first
(sync) byte of a TS packet with PID assigned to this Elementary Stream. This TS packet contains the first
byte of a PES packet, which, in turn, contains the Elementary Stream Access Point. PES packet starting at
I SAU shall contain only an integral number of access units and shall contain a PTS.
     NOTE 1      I SAU generally corresponds to the start of a TS packet with PID value for one Elementary Stream, the
     payload_unit_start_indicator field set to '1', adaptation_field_control set to '11', and
     the random_access_indicator field in the Adaptation Field is set to '1'. For SAP types 1-3, the
     random_access_indicator field in the Adaptation Field is commonly set to '1' (this is the case unless
     no PES payload bytes are found within the packet payload).

     NOTE 2      Following the definitions in this subclause, the first packet of the PCR PID is present at or prior to
     the TS packet at smallest I SAP. If PCRs are carried on a media PID, the first packet of this PID is the first packet
     following the initialization data, and carries a PCR. In order to avoid changing the underlying content, the
     implementer is able to choose adding a packet carrying only adaptation field with a PCR, but no payload. This
     packet is placed prior to the smallest I SAU of any stream in this Representation.

     NOTE 3      If Index Segment is provided, and the 'pcrb' box is present, PCR can be inferred from this box.

6.4.2.3 Segment Index
If the Segment Index is provided, the Segment Index ('sidx') box in ISO/IEC 14496-12 shall be used
for Segment Indexing. In addition to these definitions, the following conditions shall be met for a Segment
Index used to describe MPEG-2 TS based Media Segment:
— reference_ID field of 'sidx' box shall be the PID value of the indexed stream.

— All media offsets within 'sidx' boxes shall be to the first (sync) byte of a TS packet.

     NOTE         Times within 'sidx' boxes are expressed in units of the timescale field, rather than in 90 kHz
     clock ticks.




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6.4.2.4 Subsegment Index
If the Subsegment Index is provided, the Subsegment Index ('ssix') box in ISO/IEC 14496-12 shall be
used for indexing byte ranges within a subsegment. In addition to these definitions, the following
conditions shall be met for a Segment Index used to describe MPEG-2 TS based Media Segment.
— All media offsets within 'ssix' boxes shall be to the first (sync) byte of a TS packet.

6.4.3 Initialization Segment types and formats
6.4.3.1 Initialization information
Initialization information is any information necessary to enable the media engine to start decoding the
payload of any TS packet belonging to any media stream within a (Sub)Segment.
Untimed initialization information includes PAT, CAT, PMT, EMM, and any other PSI information possibly
included by the Media Presentation author. Any additional information that does not alter the Media
Presentation timeline is allowed.
Time-varying initialization information is information that is required for the successful start of playout
but is different for at least two Subsegments or Segments within a Representation.
Mandatory initialization information summarizes information that shall be present prior to any media
data to enable decoding and presentation. As a consequence, mandatory initialization information
includes at least the following information, in this order:
— PAT (untimed, unless changes within the Representation);

— PMT (untimed, unless changes within the Representation);

— PCR (time-varying).

If MPEG-2 Conditional Access is used, ECM is considered mandatory untimed initialization information if
it does not change for the whole duration of the Period; otherwise it is considered mandatory time-
varying initialization information.
6.4.3.2 Initialization Segment
An Initialization Segment shall be a valid MPEG-2 TS, conforming to ISO/IEC 13818-1.
The concatenation of an Initialization Segment with any Media Segment shall have the same presentation
duration as the original Media Segment.
The Initialization Segment shall contain mandatory untimed initialization information as defined in
subclause 6.4.3.1. Time-varying initialization information shall not be present in the Initialization
Segment, i.e.
— PCR-bearing packets shall not be present in the Initialization Segment;

— ECM may be present as long as it does not change within the entire Representation;

— Any PSI table may be present as long as it does not change within the entire Representation.

The Initialization Segment shall contain only complete sections.
Initialization Segment may or may not be present. If it is not present for a given Representation, all Media
Segments belonging to this Representation shall be self-initializing. Also, if an Initialization Segment is
used, not all initialization information needs to reside in the Initialization Segment, only presence of
complete initialization information in the concatenation of Initialization Segment and Media Segment is
required.


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6.4.4 Media Segment types and formats
6.4.4.1 General
All Media Segments shall conform to the basic Media Segment in subclause 6.4.4.2.
Further rules on Media Segments in combination with certain MPD attributes are provided in subclause
7.4.
6.4.4.2 Basic Media Segment
A Media Segment shall be a valid MPEG-2 TS, conforming to ISO/IEC 13818-1.
As a consequence of the requirement in subclause 5.3.5.1, the concatenation of consecutive Media
Segments of the same Representation shall also yield a valid MPEG-2 TS conforming to ISO/IEC 13818-1.
In addition, the following conditions shall be met:
— Media Segments shall contain complete MPEG-2 TS packets,

— Media Segments shall contain exactly one program,

— All time-varying initialization information shall be present between I SAP and I SAU and/or in the Index
  Segment, if present,

— No Media Segment shall depend on initialization information appearing in any preceding Media
  Segment.

Media Segments should contain only complete PES packets and sections. Each PES packet should be
comprised of one or more complete access units in each packet. Media Segments should contain only
complete access units.
6.4.4.3 Content Protection
All information necessary for decrypting, or locating information required to decrypt, the encrypted TS
packets in a (Sub)Segment shall be present before the encrypted packet(s) to which they apply, either in
the same (Sub)Segment, and/or in the Initialization Segment (if used). As an example, this requires the
presence of the ECM necessary for decrypting the first encrypted packet of the (Sub)Segment is within
the (Sub)Segment before such a packet. A Subsegment may not have an ECM preceding the first encrypted
packet if the location of this ECM can be determined using an Index Segment.
     NOTE        Sub-Representations can be arranged such that information such as ECM is included in all Sub-
     Representations that need them, for example by assigning the ECM an individual level and add dependency on
     all relevant Sub-Representations on this level.

6.4.4.4 Self-initializing Media Segment
A Self-initializing Media Segment conforms to the basic Media Segment as defined in subclause 6.4.4.2
and in addition shall contain at least all mandatory untimed and timed initialization information as
defined in subclause 6.4.3.1.
All required initialization information as defined in subclause 6.4.3.1 should be present prior to any
media data.
6.4.5 Bitstream Switching Segment
A Bitstream Switching Segment shall be a valid MPEG-2 TS, conforming to ISO/IEC 13818-1.
A Bitstream Switching Segment, when concatenated with any Media Segment, shall not alter the Media
Presentation timeline for the corresponding Media Segment.



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If initialization information is carried within a Bitstream Switching Segment, it shall be identical to the
one in the Initialization Segment, if present, of the Representation.
      NOTE       Authors are encouraged to use Bitstream Switching Segments when there is a reasonable
      expectation of non-conforming behaviour (such as continuity counter errors, etc.) at the concatenation point
      of two consecutive Media Segments from different Representation, lack of correct initialization information
      (two Representations with different initialization information).

6.4.6 Index Segment
6.4.6.1 General
Index Segments consist of a sequence of ISO BMFF-box-structures.
Index Segments may either be associated to a single Media Segment as specified in subclause 6.4.6.2 or
may be associated to all Media Segments in one Representation as specified in subclause 6.4.6.3. An Index
Segment may also contain a Subsegment Index as specified in subclause 6.4.6.4 and any other boxes
defined in subclause 6.4.7.
It is recommended that Index Segments be at least provided for one media stream.
      NOTE 1      Although the Media Segments are MPEG-2 TS based, Index Segments are reusing ISO BMFF-box-
      structures. This allows the DASH access client in the model of Figure 2 to be universal and independent of the
      Media Format.

      NOTE 2     Index Segments are not valid ISO BMFF files, and complete implementation of ISO BMFF is not
      necessary to utilize indexes in a MPEG-2 TS based client. A partial implementation would suffice, since only few
      ISO BMFF boxes, such as 'styp', 'sidx', and 'ssix', are required in order to parse an MPEG-2 TS Index
      Segment.

Other box types may be present in an MPEG-2 TS Index Segment, but, if present, they shall not contain
information required to interpret the 'styp', 'sidx' or 'ssix' boxes.

6.4.6.2 Single Index Segment
A Single Index Segment indexes exactly one Media Segment and is defined as follows:
— Each Single Index Segment shall begin with a 'styp' box, and the brand 'sisx' shall be present
  in the 'styp' box. The conformance requirement of the brand 'sisx' is defined in this subclause.

— Each Single Index Segment shall contain one or more 'sidx' boxes which index one Media Segment.

— A Single Index Segment may contain one or multiple 'ssix' boxes. If present, the 'ssix' shall
  follow the 'sidx' box that documents the same Subsegment without any other 'sidx' preceding
  the 'ssix'.

— A Single Index Segment may contain one or multiple 'pcrb' boxes as defined in subclause 6.4.7.2.
  If present, 'pcrb' shall follow the 'sidx' box that documents the same Subsegments, i.e. a
  'pcrb' box provides PCR information for every subsegment indexed in the last 'sidx' box.

6.4.6.3 Representation Index Segment
A Representation Index Segment indexes all Media Segments of one Representation and is defined as
follows:
— Each Representation Index Segment shall begin with an 'styp' box, and the brand 'risx' shall
  be present in the 'styp' box. The conformance requirement of the brand 'risx' is defined by this
  subclause;


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— Each Media Segment is indexed by one or more Segment Index box(es); the boxes for a given Media
  Segment are contiguous;

— Each Segment Index box may be followed by an 'ssix' and/or 'pcrb' box;

— The Segment Index for each Media Segments is concatenated in order, preceded by a single Segment
  Index box that indexes the Index Segment. This initial Segment Index box shall have one entry in its
  loop for each Media Segment, and each entry refers to the Segment Index information for a single
  Media Segment.

The structure of a Representation Index Segment is shown in Figure 6. This figure illustrates a case where
a Representation Index Segment is provided and the Subsegment Index is used in order to enable efficient
trick mode operation. The figure shows four consecutive Subsegments, S0, S1, S2, and S3, each indexed
by an 'sidx' box, and two temporal layers within a video stream, I frames (L0) and P frames (L1),
indexed by an 'ssix' box.




                           Figure 6 — Structure of Representation Segment Index


6.4.6.4 Subsegment Index Segment
A Subsegment Index Segment shall conform to an Index Segment and shall also include a Subsegment
Index. A Subsegment Index Segment is defined as follows:
— It shall be either a Single Index Segment or a Representation Index Segment.

— The Subsegment Index box ('ssix') shall be present and shall follow immediately the 'sidx' box
  that documents the same Subsegment. The value of the reference_type field shall be equal to 0




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      for this Subsegment in this immediately preceding Segment Index ('sidx') box. If the ′pcrb′ box
      is present, it shall follow 'ssix'.

— It shall carry 'ssss' in the Segment Type box ('styp') as a compatible brand. The conformance
  requirement of this brand is defined in this subclause.

6.4.7 Boxes used with MPEG-2 TS Index Segments
6.4.7.1 General
Index Segments may contain additional auxiliary information contained in boxes conforming to the
ISO base media file format boxes. Boxes exclusively relevant for the MPEG-2 TS Media Segments are
documented in subclause 6.4.7.
6.4.7.2 MPEG-2 TS PCR information box
6.4.7.2.1 Definition
Box Type: 'pcrb'
Container: File
Mandatory: No
Quantity: Zero or one
Signals the PCR information for MPEG-2 TS.
6.4.7.2.2 Syntax
aligned(8) class MPEG2TSPCRInfoBox extends Box(′pcrb′, 0) {
      unsigned int(32)   subsegment_count;
      for( i=1; i <= subsegment_count; i++){
            unsigned int(42)   pcr;
            unsigned int(6)    pad = 0;
      }
}


6.4.7.2.3 Semantics
— subsegment_count is a positive integer specifying the number of Subsegments for which partial
  Subsegment information is specified in this box. subsegment_count shall be equal to
  reference_count in the last Segment Index box.

— pcr for each iteration of the loop indicates the MPEG-2 TS PCR corresponding to the first (sync) byte
  of the first MPEG-2 TS packet in the media Subsegment corresponding to the current iteration. If this
  TS packet carries a PCR, its value will be different from the one specified in this field, since
  ISO/IEC 13818-1 defines PCR as relative to the byte containing the last bit of the
  program_clock_reference_base field.


7 Combined semantics of MPD and Segment formats
7.1 Overview
An MPD and the referenced Segments comprise a Media Presentation. The formats for these two key
components of a DASH-compatible Media Presentation are defined in Clauses 5 and 5.15. In this clause,
Media Presentation authoring rules are provided on how the MPD and different Segment formats may be
combined to establish a complete Media Presentation.




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Specifically, aspects are addressed that deal with the Segment, that have special alignment with the
Segments of other Representations to enable and simplify seamless switching and joint presentation.
General Media Presentation authoring rules are provided in subclause 7.2 and specific ones for each
media format are provided in the remainder of Clause 7. Specifically, rules when using the ISO base media
file format are provided in subclause 7.3 and the rules when using the MPEG-2 TS are provided in
subclause 7.4. Guidelines for other formats are provided in Annex F.
     NOTE         Representation metadata present in the MPD can also be repeated in the media streams, e.g. in an
     Initialization Segment or a Media Segment. The Media Presentation is expected be provided such that no
     mismatch between these two values occurs. If it does, the value in the media stream itself takes precedence
     over values expressed in the MPD, especially when used in the media decoding process. In addition, it is is
     important to consider that metadata in the MPD is primarily used for selection of Representations by the DASH
     Client, whereas data in the media stream is used by the media decoder in order to establish the decoding and
     rendering process. Metadata in the MPD is preferably added if the Media Presentation author expects that the
     DASH Client can make use of this information in the selection process.

7.2 General
7.2.1 Media Presentation timeline
One of the key features in DASH is that encoded versions of different media components share a common
timeline. The presentation time of access unit within the media content is mapped to the global common
presentation timeline for synchronization of different media components and to enable seamless
switching of different coded versions of the same media components.
The presentation times within each Period are relative to the PeriodStart time of the Period minus the
value of the @presentationTimeOffset, T O , of the containing Representation. This means for an
access unit with a presentation time T P signalled in the media stream, the Media Presentation time
relative to the PeriodStart is T M =T P −T O .
A Representation should cover all presentation times T P that are greater than and equal to the value of
the @presentationTimeOffset, T O . If smaller values are present, i.e. the value of the @eptDelta is
negative, then presentation of the Media Segment is expected to only take place for presentation times
greater than or equal to T O .
In case the @duration attribute is used for the signalling of the duration of Segments, then the MPD
start times as defined in subclause 5.3.9.5.3 should provide an approximation of the Media Presentation
time TM within the Period. Specifically, the difference between MPD start time and presentation time TP
shall not exceed 50% of value of @duration divided by the value of the @timescale attribute. In case
the Segment Timeline is used for the signalling of the duration of Segments, then the MPD start times as
defined in subclause 5.3.9.5.3 shall provide exactly the Media Presentation time T M within the Period, i.e.
the MPD start time is the earliest presentation time of the Segment.
At the start of a new Period, the playout procedure of the media content components may need to be
adjusted at the end of the preceding Period to match the PeriodStart time of the new Period as there may
be small overlaps or gaps with a Representation at the end of the preceding Period. Overlaps (respectively
gaps) may result from Media Segments with actual presentation duration of the media stream longer
(respectively shorter) than indicated by the Period duration.
There may be cases where the Media Presentation author observes issues in generating media, especially
for live services. This can be because the input signal to the encoder is not available or the encoder is
down. Generally, the Media Presentation author should address these issues by providing redundant
architectures or by the use of specific outage or blackout signals. Also, if the format in use permits, empty
Segments or zero duration Segments may be used.




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However, if such remedies are not available, the Media Presentation author may signal gaps in the
timeline. If the Segment Timeline is in use as defined in subclause 5.3.9.6, the gaps in the timeline may be
explicitly signalled. Alternatively, gaps in the segment timeline may be signalled by leaving gaps.
If no such means are available, early termination Periods may be used as defined in subclause 5.3.2. In
this case, the gaps at the end of the Period may be longer than indicated above. A client is expected to
overcome such outages and continue the Media Presentation with the availability of a new Period.
For     the        case    when      MPD@type        is  "dynamic"        and      the     attribute
MPD@suggestedPresentationDelay is present, then the sum of value of the
MPD@availibilityStartTime, the PeriodStart value, the presentation time within the Period of an
access unit, T M , and the value of the attribute MPD@suggestedPresentationDelay provides a
mapping of the presentation time of each access unit to the wall-clock time, for example to express
synchronization with a content internal time or for other reasons to enable synchronization of
presentation to the wall-clock.
Further media format specific definitions of presentation time may be defined.
7.2.2 Segment Index
If a Segment Index is present in a Media Segment of one Representation within an Adaptation Set, then
the following shall hold:
— the order of Segment Index boxes for multiple media streams induces an ordering on the media
  content components equal to the order in which a Segment Index box for a media stream for each
  component first appears. This ordering shall be the same for all Segments of all Representations of
  an Adaptation Set. As a consequence, if there is a Segment Index for a media content component in
  one Segment, there shall be a Segment Index for that media component in all Segments in this
  Adaptation Set.

— non-indexed media streams in all Representations of an Adaptation Set shall have the same access
  unit duration.

7.2.3 Segment alignment
The requirements stated in subclause 5.3.3.2 shall apply.
7.2.4 Subsegment alignment
The requirements stated in subclause 5.3.3.2 shall apply.

7.3 Media Presentation based on the ISO base media file format
7.3.1 General
The Media Presentation as introduced in 5 and 5.15 is instantiated in this subclause using the ISO base
media file format as defined in ISO/IEC 14496-12 as Segment formats.
An ISO BMFF-based DASH Media Presentation is described by an MPD as specified in subclause 5.1. The
MIME type of the MPD shall be as defined in Annex C.
The general rules defined in subclause 7.2 shall apply.
The @mimeType attribute of each Representation shall be provided according to IETF RFC 4337.
Additional parameters may be added according to IETF RFC 6381.
If present, the @SegmentProfiles shall provide a whitespace-separated list of the individual Segment
profile identifiers.
The following Segment types and formats may be used:


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— Initialization Segments complying with formats as defined in subclause 6.3.3.

— Media Segments complying with formats as defined in subclause 6.3.4.2.

— Self-Initializing Media Segments complying with formats as defined in subclause 6.3.5.

For ISO BMFF-based Media Presentation, the following applies:
1) In all cases for which a Representation contains more than one Media Segment, the following applies:

     i)   The Initialization Segment as defined in subclause 6.3.3 shall be present.

     ii) Media Segments shall not be self-initializing. The Media Segment format is defined in subclause
         6.3.4.

     iii) If the Media Segment is the last Media Segment in the Representation, this Media Segment may
          carry the 'lmsg' compatibility brand. If the Media Segment is not the last Media Segment in the
          Representation, the 'lmsg' compatibility brand shall not be present. The 'lmsg' type is
          defined in this subclause.

2) In case a Representation contains only a single Media Segment, then one of the following two options
   are valid.

     — One Initialization Segment as defined in subclause 6.3.3 and one Media Segment as defined in
           subclause 6.3.4 that is not self-initializing.

     — One Self-Initializing Media Segment as defined in subclause 6.3.5.

Index Segments may be present.
The content authoring rules for the Media Segments in combination with certain MPD attributes for ISO
BMFF-based DASH are provided in subclause 7.3.2.
In case Sub-Representations are used, the rules in subclause 7.3.4 shall apply.
7.3.2 Media presentation timeline
The presentation time T P internal in the media that maps the media to the Media Presentation timeline
shall be relative to the movie timeline, i.e. they are composition times after the application of any edit list
for the track using 'sidx', as defined in ISO/IEC 14496-12.
It is recommended that the @timescale attribute in the MPD matches the timescale field in the
Media Header Box of a present track. If the Segment Index ('sidx') box is present, then it is further
recommended that the track for which the Segment Index ('sidx') box appears first in the Media
Segment is the track defining the value of the @timescale attribute.

7.3.3 Authoring Rules for specific MPD attributes
7.3.3.1 Segments starting with media stream access points
No additional requirements beyond those stated in subclauses 5.3.3.2 and 6.3.2.2 are defined.
7.3.3.2 Bitstream switching
If the @bitstreamSwitching is set to 'true' for a set of Representations within an Adaptation Set,
the conditions stated in subclause 5.3.3.2 shall be satisfied and the Bitstream Switching Segment shall not
be present.



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As a consequence of @bitstreamSwitching being set to 'true', at least the following conditions are
satisfied:
— The track IDs for the same media content component are identical for each Representation in each
  Adaptation Set.

— The conditions required for setting the @segmentAlignment              attribute to 'true' for the
  Adaptation Set are fulfilled.

— The conditions required for setting (i) the @startWithSAP attribute to 2 for the Adaptation Set,
  or (ii) the conditions required for all Representations within the Adaptation Set to share the same
  value of @mediaStreamStructureId and setting the @startWithSAP attribute to 3 for the
  Adaptation Set, are fulfilled.

7.3.4 Sub-Representations
If a SubRepresentation element is present in a Representation in the MPD and the attribute
SubRepresentation@level is present, then the Media Segments in this Representation shall
conform to a Sub-Indexed Media Segment as defined in subclause 6.3.4.4. The Initialization Segment shall
contain the Level Assignment ('leva') box.
The attribute @level specifies the level to which the described Sub-Representation is associated to in
the Subsegment Index. The information in Representation, Sub-Representation and in the Level
Assignment ('leva') box contains information on the assignment of media data to levels.
Media data should be ordered such that each level provides an enhancement compared to the lower
levels.
7.3.5 Segment Timeline without Segment Index
If the Segment Timeline is in use and the $Time$ templating is applied and no Segment Index ('sidx')
box is present in the Media Segment, then:
— a single track shall be present in the Media Segment;

— a single movie fragment header shall be present in the Media Segment;

— the baseMediaDecodeTime in the 'tfdt' of the first movie fragment shall be the earliest
  presentation time of the Segment and may be used for generating the URL for this segment;

— the sum of all sample_duration of track run boxes ('trun') of the only track fragment box shall
  be the presentation duration of the Segment and may therefore be used to derive the address of the
  next Media Segment from the actual Media Segment without requiring an updated MPD.

7.4 Media Presentation based on MPEG-2 TS
7.4.1 General
In this subclause, a Media Presentation is instantiated based on Media Segment Formats using the MPEG-
2 TS as defined in ISO/IEC 13818-1. A MPEG-2 TS-based DASH Media Presentation is described by an
MPD as specified in subclause 5.2. The MIME type of the MPD shall be as defined in Annex C.
The general rules defined in subclause 7.2 shall apply.
The @mimeType attribute of each Representation shall be "video/mp2t".
The following Segment types and formats may be used:



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— Initialization Segments complying with formats as defined in subclause 6.4.3,

— Media Segments complying with formats as defined in subclause 6.4.4,

— Bitstream Switching Segments complying with formats as defined in subclause 6.4.5,

— Index Segments complying with formats as defined in subclause 6.4.6.

The @segmentProfiles attribute may be absent. If present, it is expected to be ignored.
If the Segment Timeline is in use and the $Time$ templating is applied, the Segment Index shall be
present.
7.4.2 Media presentation timeline
The presentation time T P internal in the media that maps the media to the Media Presentation timeline
shall be the one defined by the PTS in the MPEG-2 TS.
More specifically, for one Representation, let PTS(i) be the PTS of the ith access unit in the media
stream. Furthermore, let PTS A (i) be PTS(i) adjusted for 33-bit rollovers, i.e. calculated as if PTS had
an infinite amount of bits.
T P calculation is based on differences between PTS(i) and PTS(0), and therefore
T P (i)=[PTS A (i)−PTS 0 ]*S/90 000 with PTS 0 typically PTS(0). With appropriate scaling, PTS 0
can be derived from the value of @presentationTimeOffset attribute.
     NOTE        If Index Segment is used, S is provided by in the timescale field of the 'sidx' box.

If a media stream contains a discontinuity, the PTS A (i) calculation assumes relative timing is
maintained. Therefore, PTS A (i) is adjusted by the difference between the value of PCR of the first PCR-
bearing packet after the discontinuity and its interpolated PCR value (calculated using the pre-
discontinuity PCR rate).
In case of discontinuities, it is recommended to add a new Period to reset the value of
@presentationTimeOffset.
It is recommended that the @timescale attribute in the MPD match the clock frequency S of the
elementary streams. If the Segment Index ('sidx') box is present, then it is further recommended that
the media stream for which the Segment Index ('sidx') box that appears first in the Index Segment is
the elementary stream defining the value of the @timescale attribute.

7.4.3 Authoring rules for specific MPD attributes
7.4.3.1 Segments starting with Media stream access points
No additional requirements beyond those stated in subclauses 5.3.3.2 and 6.4.2.2 are defined.
7.4.3.2 Segment alignment
If the @segmentAlignment attribute is set to 'true', the requirements stated in subclauses 5.3.2
and 5.3.3.2 shall be met. In addition, the Media Segment shall contain only complete PES packets and
sections and only complete access units for each PID, and the first PES packet shall contain a PTS
timestamp.
7.4.3.3 Subsegment alignment
If the @subsegmentAlignment flag is not set to 'false', the semantics as defined in subclause
5.3.3.2 shall apply. In particular, for an MPEG-2 TS-based Media Presentation, a Subsegment shall contain



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only complete PES packets and sections for each PID, and the first PES packet from each elementary
stream shall contain a PTS.
7.4.3.4 Bitstream switching
If @bitstreamSwitching flag is set to 'true' for a set of Representations within an Adaptation Set,
then the conditions stated in subclause 5.3.3.2 shall be satisfied. In addition, the conditions in subclause
5.3.3.2 shall not only hold for the entire sequence from i=1,...,M, but for any consecutive sequence of
segments with any start index i S =1,...,M and any end index i E =i S ,...,M.
If @bitstreamSwitching flag is set to 'true', the Bitstream Switching Segment may be present,
indicated by BitstreamSwitching in the Segment Information. In this case, for any two
Representations, X and Y, within the same Adaptation Set, concatenation of Media Segment i of X,
Bitstream Switching Segment of Representation Y, and Media Segment i+1 of Representation Y shall be a
MPEG-2 TS conforming to ISO/IEC 13818-1.
As a consequence of the conformance rule as stated in 5.3.3.2, at least the following conditions are
satisfied if @bitstreamSwitching flag is set to 'true':
— The conditions required for setting the @startWithSAP attribute to 2 for the Adaptation Set, or
  the conditions required for all Representations within the Adaptation Set sharing the same value of
  @mediaStreamStructureId and setting the @startWithSAP attribute of the Adaptation Set 3,
  are fulfilled.

— The conditions required for setting the @segmentAlignment attribute set to 'true' for the
  Adaptation Set are fulfilled.

— PCR shall be present in the Segment prior to the first byte of a TS packet payload containing media
  data, and not inferred from the 'pcrb' box.

7.4.4 Sub-Representations
If a SubRepresentation element is present in a Representation in the MPD and the
SubRepresentation@level is present, then an Index Segment shall be present and shall conform to
the format defined in 6.4.6.4.
The Subsegment Index box shall contain at least one entry for the value of
SubRepresentation@level               and      for      each       value    provided       in    the
SubRepresentation@dependencyLevel. The remaining attributes of the SubRepresentation
element should provide sufficient information such that the data contained in the Sub-Representation
can be differentiated from the containing Representation as for the MPEG-2 TS no inband assignment of
levels is provided.
If Subsegment Index is used for extraction of temporal subsequences, PCR should precede the first bytes
of media within the range indicated in the Subsegment index. Also, encryption keys (if used) should not
change within the duration of a Subsegment.


8 Profiles
8.1 Definition
Profiles of DASH are defined so as to enable interoperability and the signalling of the use of features.
A profile imposes a set of specific restrictions. Those restrictions are typically on features of the Media
Presentation Description (MPD) document and on Segment formats, but may also be on content delivered
within Segments, such as on media content types, media format(s), codec(s), and protection formats, or


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on quantitative measures such as bit-rates, Segment durations and sizes, as well as horizontal and vertical
visual presentation size. Profiles defined in this document define restrictions on features of this document
and on Segment formats only (e.g. not codec types). Externally defined profiles may additionally impose
restrictions on other aspects.
     NOTE 1     A profile can also be understood as permission for DASH Clients that only implement the features
     required by the profile to process the Media Presentation (MPD document and Segments). However, as DASH
     Client operation is not specified normatively in this document, it is also unspecified how a DASH Client
     conforms to a particular profile. Hence, profiles merely specify restrictions on MPD and Segments rather than
     DASH Client behaviour.

A profile has an identifier, which is a URI. The identifier of a profile shall not contain any comma. The
profiles with which an MPD complies are indicated in the MPD@profiles attribute as a comma-
separated list of profile identifiers. Profile identifiers defined in this document are URNs and shall
conform to IETF RFC 8141. Externally defined profiles may use profile identifiers that are URNs or URLs.
When a URL is used, it should also contain a month-date in the form mmyyyy; the assignment of the URL
must have been authorized by the owner of the domain name in that URL on or very close to that date, to
avoid problems when domain names change ownership.
An MPD is conforming when it satisfies the following:
1) The MPD is valid in terms of the schema defined in Annex B.

2) The MPD conforms to the requirements defined in this document.

3) The MPD conforms to each of the profiles indicated in the MPD@profiles attribute as specified
   below.

When ProfA is included in the MPD@profiles attribute, the MPD is modified into a profile-specific MPD
for profile conformance checking using the following ordered steps:
1) The MPD@profiles attribute of the profile-specific MPD contains only ProfA.

2) An AdaptationSet element for which @profiles does not or is not inferred to include ProfA is
   removed from the profile-specific MPD.

3) A Representation element for which @profiles does not or is not inferred to include ProfA is
   removed from the profile-specific MPD.

4) All elements or attributes that are either (i) in this document and explicitly excluded by ProfA, or (ii)
   in an extension namespace and not explicitly included by ProfA, are removed from the profile-specific
   MPD.

5) All elements and attributes that “may be ignored” according to the specification of ProfA are removed
   from the profile-specific MPD.

An MPD is conforming to profile ProfA when it satisfies the following:
1) ProfA is included in the MPD@profiles attribute.

2) The profile-specific MPD for ProfA is valid in terms of the schema defined in Annex B.

3) The profile-specific MPD for ProfA conforms to the normative semantics defined in this document.

4) The profile-specific MPD for ProfA conforms to the restrictions specified for ProfA.



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A Media Presentation is conforming to profile ProfA when it satisfies the following:
1) The MPD of the Media Presentation is conforming to profile ProfA as specified above.

2) There is at least one Representation in each Period in the profile-specific MPD for ProfA.

3) The Segments of the Representations of the profile-specific MPD for ProfA conform to the restrictions
   specified for ProfA.

      NOTE 2    In other words, each MPD contains at least one Representation in each Period, which fulfils the
      requirements of a profile listed in MPD@profiles. There can be stricter rules on the occurrence of
      Representations in the specified profiles. For example, it can be required that there is at least one
      Representation for each media type that contains or is inferred to have the profile identifier of a specific profile.

This document defines several profiles.
External organizations or individuals may define restrictions, permissions and extensions by using this
profile mechanism. It is recommended that such external definitions be not referred to as profiles, but as
Interoperability Points. Such an interoperability points may be signalled in the @profiles parameter
once a URI is defined. The owner of the URI is responsible to provide sufficient semantics on the
restrictions and permission of this interoperability point.
Several profiles are defined relying on the ISO base media FF as Segment formats.
Several other profiles are defined for MPEG-2 TS based Media Segment formats.
All profiles are a subset of the full profile is defined in subclause 8.2.

8.2 Full profile
8.2.1 General
The full profile includes all features and Segment Types defined in this document.
The full profile is identified by the URN "urn:mpeg:dash:profile:full:2011".

8.2.2 Media Presentation Description constraints
The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD as defined in subclause 7.3 or 7.4 shall apply.

— The elements and attributes listed in subclause 5.2.3.2 may be ignored.

8.2.3 Segment format constraints
Representations and Segment formats shall conform to the following constraints:
— Representations shall comply either with the formats defined in subclause 7.3, referring to the
  Segment formats in subclause 6.3, or to the formats defined in subclause 7.4, referring to the Segment
  formats in subclause 6.4.

8.3 ISO Base media file format On Demand profile
8.3.1 General
This profile is intended to provide basic support for On-Demand content. The primary constraints
imposed by this profile are the requirement that each Representation is provided as a single Segment,
that Subsegments are aligned across Representations within an Adaptation Set and that Subsegments



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begin with Stream Access Points. This permits scalable and efficient use of HTTP servers and simplifies
seamless switching.
The On-Demand profile is identified by the URN "urn:mpeg:dash:profile:isoff-on-
demand:2011".

8.3.2 Media Presentation Description constraints
The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and the segments as defined in subclause 7.3 shall apply.

— Representations not inferred to have @profiles equal to the profile identifier as defined in
  subclause 8.3.1 may be ignored.

          NOTE      A condition to comply with the restrictions defined in subclause 7.3 is that the @mimeType
          equals video/mp4, audio/mp4, or application/mp4.

— The elements and attributes listed in subclause 5.2.3.2 may be ignored.

— MPD@type shall be "static".

— The Subset element may be ignored.

— Neither the Period.SegmentList element nor the Period.SegmentTemplate element shall
  be present.

— For Adaptation Sets conforming to this profile:

     — if either the AdaptationSet.SegmentList or the AdaptationSet.SegmentTemplate
             element is present in an AdaptationSet element then this AdaptationSet element
             may be ignored;

     — if           either         the     Representation.SegmentList     or      the
               Representation.SegmentTemplate element is present in a Representation
               element then this Representation element may be ignored;

     — if the Representation element does not contain a BaseURL element then this
           Representation element may be ignored;

     — AdaptationSet elements with AdaptationSet@subsegmentAlignment not present or
          set to 'false' may be ignored;

     — Representation elements with a @subsegmentStartsWithSAP value absent, zero or
          greater than 3 may be ignored;

     — Representation elements with @subsegmentStartsWithSAP value equal to 3 may be
          ignored if both the following conditions hold:

          — the containing Adaptation Set contains more than one Representation, and

          — no other Representation has the same value for @mediaStreamStructureId.




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— Elements using the @xlink:href attribute may be ignored from the MPD. The Representations
  conforming to this profile are those not accessed through an Adaptation Set that uses an
  @xlink:href.

8.3.3 Segment format constraints
For Representations and Segments referred to by the Representations in the profile-specific MPD for this
profile, the following constraints shall be met:
— Representations shall comply with the formats defined in subclause 7.3, referring to the Segment
  formats in subclause 6.3.

— Each Representation shall have one Segment that complies with the Self-Initializing Media Segment
  as defined in subclause 6.3.5.2.

— All Segment Index ('sidx') and Subsegment Index ('ssix') boxes shall be placed before any
  Movie Fragment ('moof') boxes.

— Index Segments shall not be present. However, a RepresentationIndex element or a
  @indexRange attribute may be present to signal the byte range for Segment Index within a Media
  Segment.

8.4 ISO Base media file format live profile
8.4.1 General
This profile is optimized for live encoding and may achieve latency of a few seconds by encoding and
immediate delivery of short Segments consisting of one or more movie fragments of ISO file format,
typically with relatively short duration. Each movie fragment may be requested as soon as available using
a template generated URL, so it is not normally necessary to request an MPD update prior to each Segment
request. Segments are constrained so that accessing Representations at Segment boundaries is enabled
and seamless switching within one Adaptation Set may be performed by first processing
(i.e. downloading, decoding and presenting) the come-from Representations and then processing the go-
to Representation. Although the profile is optimized for live services, the MPD@type attribute may be set
to 'static' to distribute non-live content, for example in case a live Media Presentation is terminated,
but kept available as On-Demand service.
The ISO Live profile is identified by the URN "urn:mpeg:dash:profile:isoff-live:2011".

8.4.2 Media Presentation Description constraints
The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and segments as defined in subclause 7.3 shall apply.

— The elements and attributes listed in subclause 5.2.3.2 may be ignored.

— Representations not inferred to have @profiles equal to the profile identifier as defined in
  subclause 8.4.1 may be ignored.

— In addition, Representation elements contained in an AdaptationSet element complying to
  this profile shall have the following constraints:

      — Representation elements with @startWithSAP value (either supplied directly or inherited
           from the containing AdaptationSet) equal to 3 may be ignored if both the following
           conditions hold:

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          — the containing Adaptation Set contains more than one Representation, and

          — no other Representation has the same value for @mediaStreamStructureId.

     — The SegmentTemplate element shall be present on at least one of the three levels, the Period
           level containing the Representation, the Adaptation Set containing the Representation, or on
           Representation level itself.

     — Representation elements with a @startWithSAP value (either supplied directly or
          inherited from the containing) absent, zero or greater than 3 may be ignored.

     — AdaptationSet elements with a @segmentAlignment value 'false' or absent may be
          ignored.

     — Representation elements with @startWithSAP value (either supplied directly or inherited
          from the containing Adaptation Set) equal to 3 may be ignored if both of the following
          conditions hold:

          — the containing Adaptation Set contains more than one Representation, and

          — no other Representation has the same value for @mediaStreamStructureId.

— Subset elements may be ignored.

— Elements using the @xlink:href attribute may be ignored from the MPD. The Representations
  conforming to this profile are those not accessed through an Adaptation Set that uses an
  @xlink:href.

— When the MPD is updated, the value of MPD@availabilityStartTime shall be the same in the
  original and the updated MPD.

8.4.3 Segment format constraints
For Representations and Segments referred to by the Representations in the profile-specific MPD for this
profile, the following constraints shall be met:
— Representations shall comply with the formats defined in subclause 7.3, referring to the Segment
  formats in subclause 6.3.

— Each Representation shall have one Initialization Segment and at least one Media Segment.

— Media Segments containing multiple Media Components shall comply with the formats defined in
  subclause 6.3.4.3, i.e. the brand 'msix'.

— In Media Segments, all Segment Index ('sidx') and Subsegment Index ('ssix') boxes shall be
  placed before any Movie Fragment ('moof') boxes.

— Index Segments shall not be present.

8.5 ISO Base media file format main profile
8.5.1 General
This profile is identified by the URN "urn:mpeg:dash:profile:isoff-main:2011".


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8.5.2 Media Presentation Description constraints
The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and segments as defined in subclause 7.3 shall apply.

— The elements and attributes listed in subclause 5.2.3.2 may be ignored.

— Representations not inferred to have @profiles equal to the profile identifier as defined in
  subclause 8.5.1 may be ignored.

— The Subset element may be ignored.

— Elements using the @xlink:href attribute may be ignored from the MPD. The Representations
  conforming to this profile are those not accessed through an Adaptation Set that uses an
  @xlink:href.

— For Adaptation Sets conforming to this profile:

      — Representation elements with a @startWithSAP value greater than 3 or contained in an
           AdaptationSet element with @subsegmentStartsWithSAP value greater than 3 may
           be ignored.

      — If MPD@type is 'dynamic',

         — AdaptationSet elements with a @segmentAlignment value 'false' or absent may
                 be ignored;

         — Representation elements with a @startWithSAP value (either supplied directly or
                 inherited from the containing AdaptationSet) absent or zero may be ignored.

      — Representation elements with @startWithSAP value (either supplied directly or inherited
           from the containing AdaptationSet) equal to 3 may be ignored if both the following
           conditions hold:

         — the containing Adaptation Set contains more than one Representation, and

         — no other Representation has the same value for @mediaStreamStructureId.

8.5.3 Segment format constraints
For Representations and Segments referred to by the Representations in the profile-specific MPD for this
profile, the following constraints shall be met:
— Representations shall comply with the formats defined in subclause 7.3, referring to the Segment
  formats in subclause 6.3.

— At least one SAP of type 1 to 3, inclusive, shall be present for each track in each Subsegment.

— In Media Segments, all Segment Index ('sidx') and Subsegment Index ('ssix') boxes shall be
  placed before any Movie Fragment ('moof') boxes.




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— Each Media Segment of the Representations not having @startWithSAP present or having
  @startWithSAP value 0 or greater than 3 shall comply with the formats defined in subclause
  6.3.4.3, i.e. the brand 'msix'.

8.6 MPEG-2 TS main profile
8.6.1 General
This profile imposes little constraint on the Media Segment format for MPEG-2 Transport Stream content.
This profile is identified by the URN "urn:mpeg:dash:profile:mp2t-main:2011".

8.6.2 Media Presentation Description constraints
The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD as defined in subclause 7.4 shall apply.

— The elements and attributes listed in subclause 5.2.3.2 may be ignored.

— Representations not complying with the restrictions defined in subclause 7.4 or not inferred to have
  @profiles equal to the profile identifier as defined in subclause 8.6.1 may be ignored.

— Representations not in group 0 may be ignored.

— Subset may be ignored.

— Representations containing the SegmentTimeline element may be ignored.

— It shall be possible to present a presentation conforming to this profile without resolving
  @xlink:href in AdaptationSet or SegmentList elements. Any initial Period elements
  using @xlink:href may be ignored, and the first non-excluded Period shall have an explicit
  @start attribute. After the first non-excluded Period, there shall be no Period using @xlink:href.

— When the MPD is updated, the value of MPD@availabilityStartTime shall be the same in the
  original and the updated MPD.

8.6.3 Segment format constraints
For Representations and Segments referred to by the Representations in the profile-specific MPD for this
profile, the following constraints shall be met:
— Representations shall comply with the formats defined in subclause 7.4, referring to the Segment
  formats in subclause 6.4.

8.6.4 Comments and recommendations
The following may be used, if desired:
— Representations not complying with the restrictions defined in subclause 7.4 may still be present,
  but the presentation should be presentable if they are ignored;

— Both SegmentTemplate or SegmentList elements may be used; the normal case is the use of
  SegmentList elements; however, clients should be capable of handling SegmentTemplate
  elements.

For Representations conforming to this profile:


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— Index Segments should be supplied.

— AdaptationSet elements containing Representations conforming to this profile should not set the
  value of the @segmentAlignment attribute (either supplied directly or inherited from the
  containing MPD) to 'false'.

— Representations conforming to this profile should set the value of the @startWithSAP to 1 or 2.
  @startWithSAP may be set to 3 if @mediaStreamStructureId is identical across
  Representations.

8.7 MPEG-2 TS simple profile
8.7.1 General
This profile is a subset of MPEG-2 TS main profile as defined in subclause 8.6. It poses more restrictions
on content encoding and multiplexing in order to allow simple implementation of seamless switching.
This is achieved by guaranteeing that a media engine conforming to ISO/IEC 13818-1 can play any
bitstream generated by concatenation of consecutive segments from any Representation within the same
Adaptation Set.
This profile is identified by the URN "urn:mpeg:dash:profile:mp2t-simple:2011".

8.7.2 Media Presentation Description constraints
The Media Presentation Description shall conform to the following constraints:
— All MPD constraints of MPEG-2 TS Main Profile as defined in subclause 8.6.2 shall be obeyed.

— The elements and attributes listed in subclause 5.2.3.2 may be ignored.

— Representations not complying with the restrictions defined in subclause 7.4 or not inferred to have
  @profiles equal to the profile identifier as defined in subclause 8.7.1 may be ignored.

— If an Index Segment is provided, any Adaptation Set with @subsegmentAlignment                        set to
  'false' may be ignored.

— Any Adaptation Set which contains more than one                           Representation       and     has
  @bitstreamSwitching not set to 'true' may be ignored.

— When the MPD is updated, the value of MPD@availabilityStartTime shall be the same in the
  original and the updated MPD.

8.7.3 Segment format constraints
For Representations and Segments referred to by the Representations in the profile-specific MPD for this
profile, the following constraints shall be met:
— Representations shall comply with the formats defined in subclause 7.4, referring to the Segment
  formats in subclause 6.4.

— All Media Segment constraints of MPEG-2 TS main profile as defined in subclause 8.6.3 shall be
  obeyed.

— PSI information, including versions, shall be identical within all Representations contained in an
  AdaptationSet.



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— If MPEG-2 Conditional Access framework is used, the same ECM shall be valid for the whole
  Subsegment, or for the whole Segment if Index Segment is not present.

— For an Index Segment, any single Segment Index ('sidx') box may either reference media, or other
  'sidx', but the same 'sidx' box may not reference both.

8.7.4 Recommendations
For Representations conforming to this profile, it is recommended that:
— Index Segments be supplied,

— SegmentTemplate elements be used.

8.8 ISO Base media file format extended live profile
8.8.1 General
This profile is largely an extension of ISO BMFF Live profile as described in subclause 8.4 of this
document. The main extensions are non-exclusion of remote elements and features introduced in the
second edition of this document, such as events.
This profile also imposes additional restrictions on MPD and Segment format in order to simplify
implementations.
The ISO-Base media file format extended live profile is identified by the following URN:
"urn:mpeg:dash:profile:isoff-ext-live:2014".

8.8.2 Media Presentation Description constraints
8.8.2.1 General
The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and the Segments as defined in subclause 7.3 shall apply.

— Periods which do not conform to the constraints in subclause 8.8.2.2 may not be presented.

— Representations not inferred to have @profiles equal to the profile identifier as defined in
  subclause 8.8.1 may be ignored.

8.8.2.2 Constraints on Period elements
— The Subset element may be ignored.

— The Period.SegmentList element shall not be present.

— If a Period contains multiple Adaptation Sets with @contentType="video" then at least one
  Adaptation         Set       shall        contain       a        Role        element    with
  @schemeIdUri="urn:mpeg:dash:role:2011" and @value="main" and each Adaptation
  Set containing such a Role element shall provide perceptually equivalent media streams.

— AdaptationSet elements that do not conform to subclause 8.8.2.3 may be ignored.




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8.8.2.3 Constraints on AdaptationSet elements
— AdaptationSet element can be ignored unless AdaptationSet.SegmentTemplate is
  present  and/or   for   each    Representation   within  this  Adaptation Set
  Representation.SegmentTemplate element is present;

— AdaptationSet element that contains more than one Representation can be ignored unless all of
  the following hold:

      — AdaptationSet@SegmentAlignment is present and has value of 'true';

      — AdaptationSet@startsWithSAP is present and has value of 1 or 2;

— Representation elements that do not conform to subclause 8.8.2.4 may be ignored.

8.8.2.4 Constraints on Representation elements
— Representations with value of the @mimeType attribute other than video/mp4, audio/mp4,
  application/mp4, or text/mp4 may be ignored. Additional profile or codec specific
  parameters may be added to the value of the MIME type attribute.

— If Representation.InbandEventStream or SubRepresentation.InbandEventStream
  are present, this Representation can be ignored.

8.8.3 Segment format constraints
Representations and Segments complying to this profile shall meet the following constraints:
— Representations shall comply with the formats defined in subclause 7.3.

— In Media Segments, all Segment Index ('sidx') and Subsegment Index ('ssix') boxes, if present,
  shall be placed before any Movie Fragment ('moof') boxes.

— Index Segments shall not be present.

8.8.4 Inband Events
If an AdaptationSet element inferred to have this profile within contains an InbandEventStream
element, and InbandEventStream@schemeIdUri has value "urn:mpeg:dash:event:2012",
all representations within this adaptation set shall contain aligned inband events.
      NOTE 1     MPD validity expiration inband events (see subclause 5.10.4.2) are essential for correct
      presentation of content formatted for the ISO BMFF Extended Live profile.

      NOTE 2      The author can assume that, for each value of MPD@publishTime they announce using MPD
      validity expiration event(s), the DASH Client receives and processes at least one Event Message ('emsg') box
      with this value in course of normal playback of this Period.

8.9 ISO Base media file format extended On Demand profile
8.9.1 General
This profile is largely an extension of ISO BMFF On Demand profile as described in subclause 8.3. The
main extensions are non-exclusion of remote elements and features introduced in the second edition of
this document.



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This profile also imposes additional restrictions on MPD and Segment format in order to simplify
implementations.
The ISO-Base media file format extended On Demand profile is identified by the following URN:
"urn:mpeg:dash:profile:isoff-ext-on-demand:2014".

8.9.2 Media Presentation Description constraints
8.9.2.1 General
The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and the Segments as defined in subclause 7.3 shall apply.

— Periods which do not conform to the constraints in subclause 8.9.2.2 may not be presented.

— Representations not inferred to have @profiles equal to the profile identifier as defined in
  subclause 8.9.1 may be ignored.

— MPD@type shall be "static".

8.9.2.2 Constraints on Period elements
— The Subset element may be ignored.

— Neither the Period.SegmentList element nor the Period.SegmentTemplate element shall
  be present.

— If a Period contains multiple Adaptation Sets with @contentType="video" then at least one
  Adaptation         Set       shall        contain       a        Role        element    with
  @schemeIdUri="urn:mpeg:dash:role:2011" and @value="main" and each Adaptation
  Set containing such a Role element shall provide perceptually equivalent media streams.

— AdaptationSet elements that do not conform to subclause 8.9.2.3 may be ignored.

8.9.2.3 Constraints on AdaptationSet elements
— AdaptationSet element can be ignored unless for each Representation within this Adaptation Set
  Representation.BaseURL is present.

— If either the AdaptationSet.SegmentList or the AdaptationSet.SegmentTemplate
  element is present in an AdaptationSet element then this AdaptationSet element may be
  ignored.

— If an AdaptationSet element contains more than one Representation element, then this
  AdaptationSet element can be ignored unless AdaptationSet@subsegmentAlignment is
  present and has value of 'true'; and AdaptationSet@subsegmentStartsWithSAP is present
  and has value of 1 or 2.

— Representation elements that do not conform to subclause 8.9.2.4 may be ignored.




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8.9.2.4 Constraints on Representation elements
— Representations with value of the @mimeType attribute other than video/mp4, audio/mp4,
  application/mp4, or text/mp4 may be ignored. Additional profile or codec specific
  parameters may be added to the value of the MIME type attribute.

— If either the Representation.SegmentList or the Representation.SegmentTemplate
  element is present in a Representation element then this Representation element may be
  ignored.

— If the Representation element does not contain a BaseURL element then this
  Representation element may be ignored.

— If Representation consists of a single Segment that complies with Indexed Media Segment or Indexed
  Self-Initializing Media Segment, this Representation element can be ignored unless
  SegmentBase@indexRange is present.

8.9.3 Segment format constraints
Representations and Segments complying to this profile shall meet the following constraints:
— Representations shall comply with the formats defined in subclause 7.3, referring to the Segment
  formats in subclause 6.3.

— Each Representation shall have one Segment that either (i) complies with the Indexed Self-
  Initializing Media Segment as defined in subclause 6.3.5.2 or (ii) complies with the Self-Initializing
  Media Segment as defined in subclause 6.3.5.1 and the Index Segment is present.

— For Indexed Self-Initializing Media Segments all Segment Index ('sidx') and Subsegment Index
  ('ssix') boxes shall be placed before any Movie Fragment ('moof') boxes.

— Event Message ('emsg') boxes shall not be present.

8.10 ISO Base media file format common profile
8.10.1 General
This profile is a restricted combination of both extended profiles described in 8.8 and 8.9. Use of this
profile implies that one can have a mix of two profiles in a single MPD, but not within the same Period.
The ISO-Base media file format common profile is                identified by the following           URN:
"urn:mpeg:dash:profile:isoff-common:2014".

8.10.2 Media Presentation Description constraints
8.10.2.1 General
The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and the Segments as defined in subclause 7.3 shall apply.

— Periods which do not conform to the constraints in subclause 8.10.2.2 may not be presented.

— MPD@profiles shall contain "urn:mpeg:dash:profile:isoff-common:2014".




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8.10.2.2 Constraints on Period elements
— Each Period shall conform either to constraints in subclause 8.8.2.2 or to constraints in subclause
  8.9.2.2.

8.10.3 Segment format constraints
Segments referred from Periods complying to constraints in subclause 8.8.2.2 shall conform to subclause
8.8.3.
Segments referred from Periods complying to constraints in subclause 8.9.2.2 shall conform to subclause
8.9.3.

8.11 ISO Base media file format broadcast TV profile
8.11.1 General
This profile provides a restricted profile primarily for distributing broadcast TV over broadcast and
broadband services, including service offerings for combined unicast and broadcast services. The profile
is based on ISO BMFF. In order to enable those advanced use cases, this profile introduces the main
restrictions that follow compared to the extended live profile:
— Use a single @timescale for all Representations in one Adaptation Set.

— Use Segment Timeline for signalling of segment durations:

     — The timing of the segments in the MPD is accurate.

     — The Segment Timeline may be on Representation level to allow different segment durations in
           different Representations. However, it may be defaulted on Adaptation Set level.

     — The Segment Timeline may use open ended @r (−1) or closed @r (>=0).

     — The Segment Timeline may use Segment sequences and Hierarchical Templating.

— Each Representation shall provide at least one RandomAccess element.

— If an Adaptation contains more than one Representation, then at least one Switching element shall
  be present.

— Segment alignment and start with SAP signalling may be used for backward compatible deployments
  but should generally not be used.

— Data URLs as defined in IETF RFC 2397 may be used for Initialization Segments.

The ISO-Base media file format broadcast TV profile is identified by the following URN:
"urn:mpeg:dash:profile:isoff-broadcast:2015".

8.11.2 Media Presentation Description constraints
8.11.2.1 General
The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD as defined in subclause 7.3 shall apply.

— The rules for the Segments as defined in subclause 7.3.5 shall apply.



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— Periods which do not conform to the constraints in subclause 8.11.2.2 may not be presented

— Representations not inferred to have @profiles equal to the profile identifier as defined in
  subclause 8.11.1 may be ignored

8.11.2.2 Constraints on Period elements
— The Subset element may be ignored.

— The Period.SegmentList element shall not be present.

— AdaptationSet elements that do not conform to subclause 8.11.2.3 may be ignored.

8.11.2.3 Constraints on AdaptationSet elements
— AdaptationSet element may be ignored unless AdaptationSet.SegmentTemplate is
  present  and/or   for   each    Representation   within  this  Adaptation Set
  Representation.SegmentTemplate element is present;

— AdaptationSet element may be ignored unless AdaptationSet.RandomAccess is present
  and/or for each Representation within this Adaptation Set Representation.RandomAccess
  element is present;

— AdaptationSet element that contains more than one Representation may be ignored unless
  AdaptationSet.Switching is present and/or for each Representation within this Adaptation
  Set Representation.Switching element is present and all the SegmentTemplate
  elements conform to subclause 8.11.2.5;

— InBandEventStream shall only be used on Adaptation Set level;

— Representation elements that do not conform to subclause 8.11.2.4 may be ignored.

8.11.2.4 Constraints on Representation elements
— Representations with value of the @mimeType attribute other than video/mp4, audio/mp4,
  application/mp4, or text/mp4 may be ignored. Additional profile or codec specific
  parameters may be added to the value of the MIME type attribute.

— Representation elements may be ignored if Representation.RandomAccess element is not
  present and also no AdaptationSet.RandomAccess element is present.

— InBandEventStream shall not be present on Representation level.

— Segment Timeline shall be used for signalling of segment durations and the following restrictions
  shall apply:

      — The timing of the segments in the MPD shall be accurate.

      — The Segment Timeline may be open ended @r (−1) or closed @r (>=0).

      — The Segment Timeline may contain Segment Sequences as defined in subclause 5.3.9.6.4 and
            Hierarchical Templating as defined in subclause 5.3.9.6.5.



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— The Segment Timeline may be on Representation level to allow different segment durations in
  different Representations. However, it may be defaulted on Adaptation Set level.

8.11.2.5 Constraints on SegmentTemplate elements
— @initialization attribute may include data URLs as defined in IETF RFC 2397.

8.11.3 Segment format constraints
Representations and Segments complying with this profile shall meet the following constraints:
— Representations shall comply with the formats defined in subclause 7.3.5.

— If Segment Sequences as defined in subclause 5.3.9.6.4 and Hierarchical Templating as defined in
  subclause 5.3.9.6.5 are used, then the first Segment of a Segment Sequence shall not carry 'dums'
  brand in the Segment Type box ('styp') as major brand and all other Segments of the Segment
  Sequence shall carry 'dums' brand in the Segment Type box ('styp') as major brand.

8.11.4 MPD Updates and Inband Event Streams
In order for a DASH Client to operate without frequent MPD requests and use the information contained
in Inband Event Streams, the content authoring needs to obey certain rules.
In case of MPD@type="dynamic" and the MPD indicates that one or several Representation(s) contain
an inband event stream in order to signal MPD validity expirations, then the following applies:
— The MPD@publishTime shall be present.

— The MPD@minimumUpdatePeriod should be set to a small number, preferably 0.

— For each newly published MPD that includes changes that are not restricted to any of the following
  (e.g. a new Period):

     — The value of the MPD@minimumUpdatePeriod is changed,

     — The value of a SegmentTimeline.S@r has changed,

     — A new SegmentTimeline.S element is added, and

     — Any information that is no longer in the availability time window.

     The following shall be done:

     — a new MPD shall be published with a new publish time MPD@publishTime;

     — an 'emsg' box shall be added to each segment of each Representation that contains an
           InbandEventStream element with

          — scheme_id_uri="urn:mpeg:dash:event:2012",

          — @value either set to 1 or set to 3,

          — the value of the MPD@publishTime of the previous MPD as the message_data.




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8.12 DASH profile for CMAF content
8.12.1 General
ISO/IEC 23000-19 defines the common media application format for segmented media. The CMAF
addressable media objects, also known as resources, may be delivered in a DASH Media Presentation.
Common Media Application Format (CMAF) specifies content formats independently of any manifest
format and defines the structural format of CMAF Tracks and relationships between these tracks. CMAF
is built on the ISO Base Media File Format (BMFF) as defined in ISO/IEC 14496-12 and its Segments follow
the ISO BMFF Segment constraints as defined in subclause 6.2.
In order to distribute CMAF content in DASH, two profiles are defined in the following, providing a
prescriptive mapping of CMAF structures and timelines to DASH structures and timelines. Applying this
mapping enables content to conform to both CMAF constraints and DASH requirements as well as to
distribute CMAF generated content with DASH.
Two profiles are defined:
   — The DASH core profile for CMAF Content is defined in subclause 8.12.5. This profile addresses a
     restrictive mapping of CMAF Presentation timelines to DASH Media Presentations.

   — The DASH extended profile for CMAF Content is defined in subclause 8.12.6. This profile is more
     permissive on timeline mapping and addresses cases for which splicing of content from different
     sources need to happen. In this case it is not always practical and feasible to map a CMAF
     Presentation exactly on a DASH Period.

In order to introduce the CMAF Mapping to DASH, a CMAF content model introduced in subclause 8.12.2
and high-level mapping considerations are provided in subclause 8.12.3. Subclause 8.12.4 provides
common constraints for the DASH profile for media content. Finally, some conformance checking
considerations are provided in subclause 8.12.6.
Example MPDs for this profile are provided in Annex G.
While the mappings defined by these profiles may not be the only possible mapping of CMAF content to
DASH, it is intended to enable the distribution of CMAF generated content in DASH in a consistent manner.
The profiles may also be used to provide a simple and well-defined manifest format for CMAF content,
for example for the exchange of CMAF. Such an MPD may also be used to describe the relationship of
stored CMAF Resources.
8.12.2 CMAF content model for DASH profile definition
8.12.2.1 Overview
This subclause introduces the main features of CMAF and defines the relevant terms in order to map
CMAF content to DASH Segments and provide the relevant MPD information.
The CMAF content model is shown in Figure 7 with a very principle mapping to DASH.




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                                       Figure 7 — CMAF Content Model
8.12.2.2 CMAF Addressable Objects
CMAF, as defined in ISO/IEC 23000-19, provides the following addressable objects:
    — CMAF Track File

    — CMAF Chunk

    — CMAF Segment

For details, please refer to the CMAF specification in ISO/IEC 23000-19.
CMAF Fragments and CMAF Chunks may be embedded in DASH Segments. In the context of this standard,
DASH Segments are the addressable units, i.e. units with an assigned URL.
Note that in practical applications,
    — CMAF Track Files are analogous to DASH Self-Initializing Media Segments

    — CMAF Headers are analogous to DASH Initialization Segments

    — CMAF Segments (consisting of one or more CMAF Fragments or CMAF Chunks) are analogous to
      DASH Media Segments.

8.12.2.3 CMAF Track Data Model
In the context of this document, the following definitions are relevant for CMAF Tracks as defined in
ISO/IEC 23000-19. For each CMAF Track k (k=1,…,K) in a CMAF Switching Set, the following features
are defined:
    — CMAF Header CH[k], k=1,…,K

    — CMAF Fragments CF[k,i], i = 1,2,3,… N, with



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               — The position in the CMAF track i

               — The earliest presentation time: tf[k,i]

               — The CMAF Fragment duration: df[k,i] = tf[k,i+1] - tf[k,i]

               — Optionally, wall-clock time assigned to the earliest presentation time of CMAF
                 Fragment: twc[k,i]

               — One or possibly more CMAF Chunks CC[k,i,j], j = 1,2,3,…, C[i]

                  — Number of chunks in a fragment C[i]

                  — Position in the fragment j

                  — Earliest decode time tc[k,i,j]

                  — Chunk duration in decode times dc[k,i,j]

   — The earliest presentation time of the first fragment, i.e. tf[k,i=1]

   — The duration of the CMAF Track is defined as dt[k]

   — The CMAF Track has an assigned media profile, which includes:

           — CMAF media profile brand

           — Suitable MIME Type string providing

                  — Media type

                  — Codecs parameter

                  — Profiles parameter

   — The CMAF Track has samples sample[k,s] with s=1,…,S, each with presentation time
     T[k,s].

8.12.2.4 CMAF Switching Set Model for this Specification
From the constraints on a CMAF Switching Set as defined in ISO/IEC 23000-19, the following holds:
   — All CMAF Tracks in a Switching Set conform to one media profile.

   — One CMAF header is identified to be the "CMAF Principal Header" which has the highest decoding
     requirements and as such can initialize a media pipeline for decoding any other track in the
     Switching Set. This header referred as CMAF Principal Header CH*.

   — The CMAF Header for each CMAF Track in a Switching Set is defined such that appending it to the
     track buffer does not result in a reinitialization of the decoding and rendering pipeline.

   — Each CMAF Track in a Switching Set has the same number of CMAF Fragments.




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    — The earliest decoding times of the CMAF Fragments at a position i in different CMAF Tracks of a
      CMAF Switching Set are identical.

    — The earliest presentation times of the CMAF Fragments at a position i in different CMAF Tracks
      of a CMAF Switching Set are identical, ie the value of tf[k,i] is the same for all k in the switching
      set.

    — The fragment duration of the CMAF Fragments at a position i in different CMAF Tracks of a CMAF
      Switching Set are identical, ie the value of df[k,i] is the same for all k in the switching set.

    — The duration of each CMAF track dt[k] is identical and defines the duration of the CMAF
      Switching Set dt.

Note that the equalities above only hold for CMAF Fragments, not necessarily for CMAF Chunks.
8.12.2.5 CMAF presentation timing model
There are multiple timelines involved in the authoring, playout, and rendering CMAF tracks within a
presentation:
    — Each track is a sequence of timed samples sample[k,s] with s=1,…,S, each with presentation
      time T[k,s]. Each sample has a decode time and duration and may also have a composition
      (display) time offset. Edit lists may be used to override the implicit direct mapping of the media
      timeline, into the timeline of the overall movie. The movie timeline is used to synchronize CMAF
      Tracks in a CMAF presentation and also serves as the synchronization source for playback – in a
      DASH player, or in an HTML 5 media element and media source.

    — Movie timelines are aligned between all CMAF Tracks in a CMAF presentation, but in contrast to
      ISO BMFF files the isn’t required to be at a presentation time 0.

    — In addition, each CMAF Track may have assigned an anchor wall-clock time (e.g. UTC time). The
      wall clock time may be used to relate a presentation time of the track to wall-clock time, for
      example expressing the time when the corresponding sample was captured, encoded, or
      packaged.

8.12.3 CMAF to DASH Mapping Principles
8.12.3.1 General
This subclause documents some high-level considerations on how to map and deliver CMAF
Presentations in DASH. It addresses both time mapping and structural mapping.
8.12.3.2 Timing Model Mapping
The CMAF mapping principles and timing model mapping for DASH and ISO BMFF is explained in
ISO/IEC 23000-19. References are provided in the following and their mapping to DASH is explained.
In the context of this profile, the CMAF presentation time equal to zero as defined in ISO/IEC 23000-19 is
mapped to the start of a DASH Period. As a consequence of this,
    — the start of a Period is also aligned with the earliest video media sample presentation time.

    — Each CMAF Track is mapped to a DASH Representation r.

    — The presentation time offset in DASH is identical to the earliest video media sample presentation
      time. The earliest video media sample presentation time is derived as the movie time of the track
      according to regular file format principles taking into account the baseMediaDecodeTime and, if

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      present, the composition offset, and the track edit list (in the track header). Note that the earliest
      presentation time of a CMAF Fragment may not be the presentation time of the first sample in
      decode time of the CMAF Fragment.

  — The presentation time offset is mapped to a DASH MPD by the value of the
    @presentationTimeOffset.

  — The mapping of non-video tracks to DASH Periods is such that the media samples in audio and
    subtitle CMAF tracks whose durations overlap the earliest video media sample presentation time
    will only be partially presented, starting at the earliest video media sample presentation time.

  — To maintain synchronization of all tracks of a single CMAF Presentation within a DASH Period,
    the presentation time offset of every CMAF switching set from the same CMAF Presentatoin needs
    to be equivalent, which means equal presentation time offsets, but possibly different integer
    values and timescales per CMAF switching set. However, DASH permits to map multiple CMAF
    Presentations to one Period (for example a main content and an alternative content). Hence,
    CMAF Tracks in one Period belonging to different CMAF Presentations are preferably
    differentiated accordingly.

  — For the mapping a CMAF Presentation to a DASH Period, the video track is assumed to be the
    primary track and hence, the Period duration is determined by the duration of the CMAF video
    track.

  — In certain cases, only a time span of a CMAF Presentation may be mapped to single Period, or a
    CMAF Presentation is provided in multiple DASH Periods. In the context of this profile, a time
    span of a CMAF Presentation mapped to a DASH Period also needs to conform to a CMAF
    Presentation. For this to hold, only specific time spans of a CMAF Presentation can be mapped,
    namely

  — The start of the Period needs to coincide with the start of a CMAF video fragment.

  — The end of a Period needs to coincide with the end of a CMAF video fragment in case of the DASH
    CMAF core profile.

  — Sequential and continuous playback of independent CMAF Presentations in DASH can be
    accomplished by each CMAF Presentation being mapped to a single Period and playing back a
    sequence of Periods. Specifically, it is assumed that the CMAF Presentations are played in
    sequence as follows:

  — For any CMAF Presentation contained in a Period p=1, …, P, the Period start time PST[p]
    reflects the actual time that elapses after playing the media of all prior CMAF
    Presentations/Periods in the sequence of these presentations relative to the PST[1] of the first
    CMAF Presentation/Period in the sequence.

  — The Period extends until the PST of the next Period/CMAF Presentation, or until the end of the
    sequenced presentation in the case of the last Period/CMAF Presentation.

  — The difference between the PST[p] of a Period/CMAF Presentation and the PST[p+1] time of
    the following Period/CMAF Presentation, is the Period/CMAF Presentation duration PD[p] in
    Media Presentation time of the media content represented, i.e. PD[p]= PST[p+1]- PST[p].

  — Period boundaries permit playback of content for timeline continuous CMAF Presentations or for
    timeline discontinuity. Continuity can be considered in different domains:


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    — Continuity in terms that the presentation time is continuous across Period boundaries. DASH
      permits both, timeline continuity and discontinuity.

    — Continuity in terms of remaining in the Initialization of a single CMAF Switching Set/DASH
      Adaptation Set, or to terminate and re-initialize. DASH again permits both, continuation with the
      same Initialization or changing the Initialization.

    — Whereas CMAF does not provide any specific support in cases where a decode time discontinuity,
      for example resulting from one or more missing or damaged CMAF fragments in a continuous
      CMAF presentation, DASH supports the signalling of such gaps and the maintenance of the
      timelines. For example, these can be split into multiple periods, or the DASH Segment Timeline
      functionality can be used.

8.12.3.3 Mapping of CMAF Structures
Different mappings of CMAF Presentations and structures to DASH MPDs may exist. This profile defines
a consistent mapping of CMAF Presentations and structures to a DASH Media Presentation.
Specifically, the DASH profiles for CMAF content as defined in this subclause address and define the
following:
    — The mapping of a single CMAF Presentation to a single DASH Period.

    — The mapping of multiple independent CMAF Presentations into a single DASH Period in order to
      allow the client to select a CMAF Presentation for playback, e.g. in case a main content and an
      alternative content is provided.

    — The mapping of a single CMAF Switching Set to a single DASH Adaptation Set. This includes the
      signalling of CMAF Principal Header information in DASH MPD Adaptation Set parameters.

    — The mapping of a single CMAF Track to a single DASH Representation. This includes the signalling
      of CMAF Header information in DASH MPD Representation parameters.

    — The exact time mapping of a CMAF Presentation to a DASH Period and the relevant Period related
      MPD signalling parameters.

    — The creation of multiple Periods from a single CMAF Presentation and the appropriate MPD and
      cross-Period signalling.

    — The sequencing of multiple independent CMAF Presentations into a DASH Media Presentation for
      continuous playback and the relevant signalling.

    — The insertion of an independent CMAF Presentation into the middle of another CMAF
      Presentation as part of DASH Media Presentation and the relevant signalling.

    — Additional mapping considerations.

In the context of this profile, CMAF Switching Sets support seamless switching as defined in subclause
4.5. Seamless switching can be achieved in DASH operations as follows:
    1) The content author provides the Representations A and B as referred in subclause 4.5 being
       conformant to a CMAF Track that is part of the same CMAF Switching Set.

    2) The client can switch at the start of DASH Segment or Subsegment (as long as the associated SAP
       Type is 1 or 2), i.e. at presentation times that coincide with the start of a CMAF Fragment.


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8.12.3.4 Mapping of CMAF Addressable Objects
CMAF Addressable Objects may be mapped directly to DASH Segments. The profile defined in this
subclause provides a consistent mapping to CMAF Addressable Resources to DASH Segments.
Specifically,
    — CMAF Headers are directly mapped to DASH Initialization Segments.

    — CMAF Segments and CMAF Chunks are directly mapped to DASH Media Segments.

    — CMAF Segments are directly mapped to DASH Media Segments.

    — CMAF Chunks may mapped to DASH Media Segments. In addition, the presence of CMAF chunks
      in CMAF Segments may be signalled in the DASH MPD.

    — CMAF Track files are directly mapped to DASH Self-Initializing Segments.

The profile also provides the information how the DASH Representation information (URLs, timing
information) is obtained for CMAF Addressable Resources.
8.12.3.5 Mapping of Media, Encryption and CMAF Header Information to MPD
CMAF introduces the concept of media profiles. A CMAF media profile is defined in ISO/IEC 23000-19.
Based on the definitions and alignment defined in the DASH profiles for CMAF content in this subclause
8.12, it is considered sufficient a for a media codec to be delivered and integrated in DASH as long as a
defines a CMAF media profile is defined and one of these defined profiles is used.
In order to integrate the media profile in DASH, for each media profile the essential and relevant
information in a DASH MPD can be documented. This DASH profile defines some generic media profile
independent requirements and recommendations for the mapping of CMAF Header information into the
MPD.
For a media codec to be used together with the DASH profile for DASH-based profile, the following
information needs to be provided:
    — A CMAF media profile definition with all the requirements according to ISO/IEC 23000-19 for a
      media profile.

    — The static mapping of parameters to a DASH MPD, in particular to the MPD parameters, such as
      @mimeType, @codecs, @containerProfiles, etc.

    — The dynamic mapping of parameters to a DASH MPD from a CMAF Principal Header, in particular
      to the MPD parameters, such as @maxWidth, @maxHeight, etc.

Similar aspects apply for encryption and DRM information, for which an adequate mapping is provided.
8.12.4 DASH profiles for CMAF content - Common constraints
8.12.4.1 General
This subclause 8.12.4 defines detailed requirements and recommendations for the mapping of CMAF
Presentations to DASH Media Presentations. According to the definition and usage of DASH profiles, the
constraints may also apply to subsets of Media Presentations for example to Representations, Adaptation
Sets or Periods.
In the remainder of the subclause 8.12.4, the constraints are summarized as DASH profile for CMAF
content constraints.



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8.12.4.2 Segment and Representation Constraints
If the DASH profile for CMAF content constraints apply to a DASH Representation, then the following holds
for this Representation:
    — Each Media Segment of the Representation shall conform to a CMAF Addressable Media Object as
      defined in ISO/IEC 23000-19.

          NOTE 1 By conforming to a CMAF Addressable Media Object the Media Segment automatically also
          conforms to a DASH Delivery Unit Media Segment as defined in subclause 6.3.4.2.

    — The Initialization Segment, if present, shall conform to a CMAF Header as defined in
      ISO/IEC 23000-19.

          NOTE 2 By conforming to a a CMAF Header the Initialization Segment automatically also conforms to a
          DASH Initialization Segment as defined in subclause 6.3.3.

    — The Representation shall conform to a CMAF Track as defined in ISO/IEC 23000-19 as well as to
      a DASH Representation as defined in subclause 5.3.5.

    — The @timecale shall be set to the timescale of the Media Header Box ('mdhd') of the CMAF
      track.

    — If every DASH Segment conforms to CMAF Fragment constraints and if @startWithSAP is
      present, it shall be set to value 1 or 2.

    — If the SegmentTimeline element is present for this Representation, then the following holds:

             — For every CMAF Fragment i, with i = 1,2,3,… N, an entry in an S element shall be
               present with

                       — @t set to earliest presentation time: tf[k,i]

                       — @d set to CMAF Fragment duration: df[k,i]

             — If each CMAF Chunk is an addressable media object, then @k shall be set to the number of
               chunks in this CMAF Fragment C[k,i] according to the Segment Sequence definition in
               subclause 5.3.9.6.4.

             — If consecutive CMAF Fragments have the same duration, their corresponding S element
               should be combined to a single S element.

    — If the @duration attribute is present for this Representation and the value of the attribute is
      referred to as dur, then

             — the following shall hold for each CMAF Fragment i, with i = 1,2,3,… N, the following
               shall hold:

                  ((i-1)+0.5)*dur <= (tf[k,i+1]–tf[k,1]) <= (i+0.5)*dur,
             — the Representation shall have assigned a @startWithSAP attribute with the value set
               to 1 or 2.

    — If the Representation is a Self-Initializing Media Segment, then



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           — the Representation shall have assigned a @subsegmentStartsWithSAP attribute with
             the value set to 1 or 2.

           — the Representation shall conform to a CMAF Track file;

           — the Representation shall conform to the Indexed self-initializing Media Segment as
             defined in subclause 6.3.5.2 and exactly one Segment Index ('sidx') box shall be used
             and shall be placed before any Movie Fragment ('moof') boxes.

           — The following applies for the Segment Index ('sidx')

                   — The reference_ID shall be the trackID of the CMAF Track

                   — The timescale shall be identical to the timescale of the Media Header Box
                     ('mdhd') of the CMAF track.

                   — the earliest_presentation_time shall be set to tf[k,1].

                   — reference_count shall be set to the number of CMAF Fragments, N, in the
                     CMAF Track

                   — Each CMAF Fragment shall be mapped to exactly one Subsegment as follows

                           — The reference_type shall be set to 0.

                           — The referenced_size is set to accordingly, with value being at least
                             the size of the CMAF Fragment but may be larger if additional data is
                             included in the track.

                           — starts_with_SAP shall be set to 1.

                           — The subsegment_duration is set to df[k,i].

                           — SAP_type shall be set to 1 or 2.

                           — SAP_delta_time shall be set to 0.

   — If multiple CMAF Chunks are present in Media Segments, Resynchronization Points should be
     signaled as defined in subclause 5.3.13.

   — Event message streams may be signalled with InbandEventStream elements. If Event message
     streams are relevant for client processing, they should be signalled using the with
     InbandEventStream elements. For details on signalling and the placement of Event Message
     boxes, please refer to subclause 5.10.

8.12.4.3 Adaptation Set Constraints
If the DASH profile for CMAF content constraints apply to an Adaptation Set, then the following holds for
this Adaptation Set:
   — Each Representation shall conform to the Representation constraints as defined in 8.12.4.2.

   — All Representations in the Adaptation Set shall conform to the CMAF Track requirements for a
     CMAF Switching Set as defined in ISO/IEC 23000-19.

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    — A CMAF Principal Header should be provided by one of the two following means:

    — An @initializationSetRef attribute that references an Initialization Set that itself contains
      a @initialization attribute. The value of this attribute references a CMAF Principal Header
      for the Adaptation Set.

    — An @initializationPrincipal attribute that references a CMAF Principal Header for the
      Adaptation Set.

          NOTE 1 If no CMAF Principal Header is explicitly signalled, the Initialization Segment of the
          Representation with the highest value for the @bandwidth attribute can serve as CMAF Principal Header.

    — The @contentType shall be set according to the hdlr type of the CMAF Principal Header of the
      Switching Set, i.e. to

             — vide to video,

             — soun to audio,

             — subt to application

             — text to text

    — The @mimeType shall be set to "<contentType>/mp4".

          NOTE 2 Setting @mimeType to "<contentType>/mp4, profiles='cmfc'" is correct, but can
          result that the media stream is not recognized. Hence, conformance to the CMAF profile is preferably
          documented by the @containerProfiles signalling.

    — The @containerProfiles parameter should be present. If present, it shall include at least one
      profile string, namely a structural brand being either 'cmfc' or 'cmf2'. In addition, it should
      include a CMAF media profile brand.

          NOTE 3 A CMAF Media profile brand is not required as conformance to a structural CMAF brand can be
          sufficient.

    — The @codecs parameter shall be set to according to the sample entry codingname field of the
      CMAF Principal Header.

          NOTE 4 By doing so, it is expected that this parameter is sufficient for capability exchange and media
          pipeline initialization. Representations can potentially signal different values for the @codecs parameter.

    — @segmentProfiles may be present to signal the conformance to CMAF addressable media
      object types.

    — If the content in an Adaptation Set is protected, the following applies:

             — the common encryption requirements in ISO/IEC 23000-19 shall apply,

             — the ContentProtection element shall be present and shall be set as follows:

             — A   ContentProtection   element  with   @schemeIdUri     equal    to
               "urn:mpeg:dash:mp4protection:2011" and @value equal to an encryption


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             scheme defined in ISO/IEC 23001-7. It may contain a @cenc:default_KID attribute. If
             present, the value of this attribute shall match the 'tenc' box default_KID value.

         — At least one ContentProtection element with @schemeIdUri equal to a UUID,
           according to IETF RFC 4122, value that signals that content keys can be obtained with a
           DRM system identified by the UUID, according to IETF RFC 4122. It may contain a
           @cenc:default_KID attribute and a cenc:pssh element. If present, the values shall
           match the tenc box default_KID value and the moov box pssh value respectively.

  — If the @contentType is video, then the following apply

         — Either @width and @height or @maxWidth and @maxHeight shall be present.

         — @maxWidth or @width shall be set to the width in the CMAF TrackHeaderBox of the
           CMAF Principal Header.

         — @maxHeight or @height shall be set to the height in the CMAF TrackHeaderBox of
           the CMAF Principal Header.

      NOTE 5 The encoded/decoded picture size may be slightly larger than the one signalled in the above
      parameters.

      NOTE 6 Using the maximum values instead of @width and @height allows to take into account that
      the Adaptation Set itself may have different encoded resolutions.

  — @frameRate should be present. If present, it shall be set as follows:

         — If the values moov/mvex/trex/default_sample_duration is not set to 0 and the
           moov/trak/mdia/mdhd/timescale is present, then

                 — Get moov/mvex/trex/default_sample_duration (e.g. 1001) from CMAF
                   Principal Header

                 — Get moov/trak/mdia/mdhd/timescale (e.g. 24000) from CMAF Principal
                   Header

                 — The value shall is set as "timescale/default_sample_duration" (e.g.
                   24000/1001)

         — else Media Profile specific settings may apply, for example in the Decoder Configuration
           Record such as the SPS data.

         — Media profile specific MPD settings may apply.

  — If the @contentType is audio, then the following applies

         — @lang shall set as follows:

                 — If an ExtendedLanguageBox (elng) in the MediaHeaderBox (mdia) of the
                   CMAF Principal Header is present in the TrackBox, then it is set of the content of
                   the extended_language field




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             — otherwise, as the language field in the MediaHeaderBox of the CMAF Header is
               present, but neither of the following applies: (i) the language field in the
               MediaHeaderBox of the CMAF header is set to 'und' (undetermined), and (ii) the
               language field in the MediaHeaderBox of the CMAF header is set to 'mul' (multiple),
               it is set of the value of the language field.

             — Media Profile specific MPD settings may apply, for example the usage of Preselections if
               'mul' is signalled and the available languages are signalled in the codec-specific
               AudioSampleEntry.

    — If the CMAF Principal Header contains one or more KindBox ('kind') in the UserDataBox
      ('udta') of the TrackBox with one or more instantiations where the schemeURI field is
      "urn:mpeg:dash:role:2011", then for each instantiation a Role descriptor should be
      present with @schemeIdURI field set to "urn:mpeg:dash:role:2011" and the @value
      field set to the value field of the instantiation.

          NOTE 7 There are cases where the Role was set in the encoded bitstream on a best knowledge basis,
          but when multiple encodings are combined in single MPD, the direct usage of the role defined in the media
          is not suitable in the MPD. In such cases the Role could be omitted or set differently.

          NOTE 8 The role could be set in the MPD even if not role is defined in the media. In order to avoid
          contradicting or non-matching Roles in the media and the MPD, the encoder is preferably not adding a role
          if it is unsure on an appropriate setting.

    — If the @bitstreamSwitching is set to true for this Adaptation Set, then the included CMAF
      Switching Set shall follow the "CMAF switching set single initialization constraints" as defined in
      ISO/IEC 23000-19.

    — Either the @segmentAlignment or @subsegmentAlignment shall be set to true.

    — Event Message Streams in the CMAF Track may be signalled with InbandEventStream
      elements if processing by the receiving DASH client is expected.

8.12.4.4 Period Constraints
If the DASH profile for CMAF content constraints apply to a Period, then the following holds for this Period:
    — A Period may contain one or multiple CMAF Presentations.

          NOTE 1 Multiple independent CMAF Presentations could be added into a single DASH Period in order
          to allow the client to select a CMAF Presentation for playback, e.g. in case a main content and an alternative
          content is provided.

    — CMAF Presentations in one Period are differentiated by different DASH Subsets. Each CMAF
      Presentation is mapped to exactly one DASH Subset as defined in subclause 5.3.8. If the Subset
      element is not present, the Period contains exactly one CMAF Presentation.

          NOTE 2 DASH Subset signaling could be ignored according to certain DASH profiles. However, ignoring
          this signaling in the client does not impact the processing. Subset signaling is only necessary for
          consistently documenting CMAF Presentations from an MPD.

    — Each Switching Set of each CMAF Presentation shall be mapped to exactly one Adaptation Set in
      the Period according to the DASH profile for CMAF content constraints for an Adaptation Set as
      defined in subclause 8.12.4.3.


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   — All CMAF Switching Sets/Adaptation Sets within one Subset shall conform to CMAF Presentation
     requirements as defined in ISO/IEC 23000-19 and shall have the same normalized value of the
     @presentationTimeOffset, PTO. The normalized value PTO refers to the division of the
     value of the @presentationTimeOffset with value of @timescale attribute.

   — All Adaptation Sets set to the same integer value for @segmentAlignment or
     @subsegmentAlignment shall conform to aligned CMAF Switching Set constraints as defined
     in ISO/IEC 23000-19.

   — For each of the CMAF Presentations (i.e. for each DASH Subset) mapped to a regular Period with
     Period duration signalled in the MPD as defined in subclause 5.3.2.1, the following applies:

           — The normalized value PTO (i.e., PTO divided by the timescale) defines the CMAF
             presentation time zero, i.e. the time of the CMAF Track’s presentation time that is assigned
             to the start of the CMAF Presentation.

   — For each video CMAF Switching Sets/Adaptation Sets, the following applies:

           — If the Period is not a Partially Unavailable Period as defined in subclause 5.3.2.5, then the
             normalized value of the earliest presentation time of each CMAF Track/Representation
             shall be identical to the value of PTO and shall conincide with the start of a CMAF Fragment.
             Specifically,

           — The value of @eptDelta shall be 0 and the attribute may be absent.

           — If the SegmentTimeline element is present for this Representation, then the nominal
             value of the first S@t element shall be identical to the value of PTO.

           — If the media is contained in a Self-Initializing Media Segment, the value of PTO and shall
             conincide with the start of a Subsegment.

   — For each non-video CMAF Switching Sets/Adaptation Sets, the following applies:

           — The mapping of CMAF Switching Sets/Adaptation Sets to DASH Periods is such that the
             media samples in the contained CMAF Tracks which presentation time is earlier than the
             earliest presentation time of the video or later than the latest presentation time of the
             video are expected to not be presented, or only be partially presented, starting at the value
             of PTO and ending at the Period duration.

           — However, there are cases for which gaps at the start or end of the Period are permissible.
             Sufficient information in the MPD should be provided to identify such a potential overlap
             at the start or the end of the Period. Details are provided in subclause 8.12.4.5.

   — Early terminated Periods as defined in subclause 5.3.2.1 are permitted but should be avoided in
     general and only be used for error cases. If used, the Period@duration shall signal the
     duration of the shortest CMAF Track in the Period.

8.12.4.5 Multi-Period and Media Presentation Constraints
If the DASH profile for CMAF content constraints apply to a Media Presentation, then the following holds:
   — Each Period in the MPD shall conform to the Period constraints in subclause 8.12.4.4.




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    — If an Adaptation Set in Period i includes a period-connectivity or period-continuity signal as
      defined in subclause 5.2.3.4 for any preceding Period j < i and an Adaptation Set with the same
      value of the AdaptationSet@id exists in this preceding Period j, then each Initialization
      Segment of the Adaptation Set with the same value of the AdaptationSet@id in the preceding
      Period shall be a compatible CMAF Header for a CMAF Track for CMAF Switching Set that is
      represented by the Adaptation Set that includes period-connectivity signalling.

    — If an Adaptation Set in Period i includes a period-continuity signal as defined in subclause 5.2.3.4
      for any preceding Period j < i and an Adaptation Set with the same value of the
      AdaptationSet@id exists in this preceding Period j, and the Adaptation Set in Period j also
      includes a Representation with the same @id value as a Representation in the Adaptation Set in
      Period i, then the concatenation of the two Representations without the Initialization Segment of
      the Representation in Period P2 shall be a conforming CMAF Track.

    — If a non-video Adaptation Set in Period i includes a period-continuity signal as defined in subclause
      5.2.3.4 for the preceding Period i-1 and an Adaptation Set with the same value of the
      AdaptationSet@id exists in this preceding Period i-1 then

             — The value of @pdDelta in the Adaptation Set of the preceding Period i-1 shall be the
               identical to the value of @eptDelta in the Adaptation Set in the following Period i.

             — The absolute values for both attributes should be kept as small as possible.

             — Positive values of @eptDelta as well as negative values of @pdDelta shall be signalled
               in the MPD as they indicate a gap at the Period boundary. Negative values should be
               signalled as they provide an indication for an overlap at the Period boundary.

          NOTE        The setting of the values being positive or negative could be decided, for example, whether the
          Period is used as a splice-in or splice-out point.

         else

             — If the Period is not a Partially Unavailable Period as defined in subclause 5.3.2.5, then

                       — if @duration signalling is used or a Self-Initializing Media Segment is provided,
                         and the value of @eptDelta is not 0, then @eptDelta shall be present and shall
                         be negative (indicating an overlap at the start of the Period).

                       — if the SegmentTimeline element is present for this Representation, then the
                         nominal value of the first S@t element shall not be larger than the value of PTO.

             — If the Period is not a Live-Edge Period as defined in subclause 5.3.2.5, then

                       — if @duration signalling is used or a Self-Initializing Media Segment is provided,
                         the value of @pdDelta is not 0, then @pdDelta shall be present and shall be
                         positive (indicating an overlap at the end of the Period).

                       — If the SegmentTimeline element is present for this Representation and the @r
                         attribute of the last S element is non-negative, and if the value of @pdDelta is
                         different than be the difference between @t + (@r-1)*@d of the last S element
                         minus the value of the @presentationTimeOffset and the Period duration




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                       normalized with the value of @timescale, then then @pdDelta shall be present
                       and shall be positive (indicating an overlap at the end of the Period).

8.12.5 DASH CMAF Core Profile
The DASH core profile for CMAF Content addresses a restrictive mapping of CMAF Presentation timelines
to DASH Media Presentations.

The      DASH      core profile for CMAF Content   is   identified by    the     URN
"urn:mpeg:dash:profile:cmaf:2019". The profiles parameter may be present on different
levels in the MPD.

For the DASH CMAF Core Profile, all requirements in clause 8.12.4 shall apply.
In addition, as the Period boundaries coincide with CMAF video tracks, the following restrictions apply:
   — For each of the CMAF Presentations (i.e. for each Subset) mapped to a regular Period with Period
     duration signalled in the MPD as defined in subclause 5.3.2.1, the following applies:

   — For each video CMAF Switching Sets/Adaptation Sets, the following applies:

           — If the Period is not a Live-Edge Period as defined in subclause 5.3.2.5, then the media time
             duration (normalized by the value of the @timescale attribute) of each CMAF
             Track/Representation shall be identical to the Period duration. Specifically,

                   — The value of @pdDelta shall be 0 and the attribute may be absent.

                   — If the SegmentTimeline element is present for this Representation and the @r
                     attribute of the last S element is non-negative, then the value of @pdDelta shall
                     be the difference between @t + (@r-1)*@d of the last S element minus the value
                     of the @presentationTimeOffset and the Period duration normalized with
                     the value of @timescale.

                   — If the media is contained in a Self-Initializing Media Segment, the last included
                     Subsegment shall extend exactly until Period duration normalized by the value of
                     the @timescale.

8.12.6 DASH CMAF Extended Profile
The DASH extended profile for CMAF Content is more permissive on timeline mapping than the DASH
CMAF Core Profile and addresses cases for which splicing of content from different sources need to
happen. In this case it is not always practical and feasible to map a CMAF Presentation exactly on a DASH
Period.
The     DASH       extended  profile for CMAF Content is identified by   the    URN
"urn:mpeg:dash:profile:cmaf-extended:2019". The profiles parameter may be present on
different levels in the MPD.

For the DASH CMAF Extended Profile, all requirements in clause 8.12.4 shall apply. No other restrictions
apply.
8.12.7 Conformance Checking Considerations
If DASH content conforming to any of these CMAF media profiles is to be checked for compliance:
   — The DASH content is checked against the format requirements for the defined DASH profile.


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    — In addition, the DASH content is also checked against CMAF conformance for the DASH CMAF Core
      Profile or DASH CMAF Extended Profile using the requirements as defined in subclause 8.12.5
      and 8.12.6, respectively.

     NOTE        Content conforming to this profile is expected to conform to both, the DASH content constraints as
     well as the to the CMAF constraints.




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                                                Annex A
                                             (informative)

                               Example DASH Client behaviour



A.1 General
The information on client behaviour is purely informative and does not imply any normative procedures
on DASH Client implementations. However, this information may serve as a guideline to better
understand certain features of the formats in the normative parts of this document.

A.2 Overview
A DASH Client is guided by the information provided in the MPD. This example assumes that the
MPD@type is 'dynamic'. The behaviour in case MPD@type being 'static' is basically a subset of
the description here.
The description in this annex assumes that the client has access to the MPD at time FetchTime, at its initial
location if no MPD.Location element is present, or at a location specified in any present
MPD.Location element (see Annex A.11 for details). FetchTime is defined as the time at which the
server processes the request for the MPD from the client. The client typically should not use the time at
which it actually successfully received the MPD but should take into account delay due to MPD delivery
and processing. The fetch is considered successful either if the client obtains an updated MPD or if the
client verifies that the MPD has not been updated since the previous fetching.
The following example client behaviour may provide a continuous streaming experience to the user:
1) The client parses the MPD, selects a collection of Adaptation Sets suitable for its environment based
   on information provided in each of the AdaptationSet elements. The selection of Adaptation Sets
   may also take into account information provided by the AdaptationSet@group attribute and any
   constraints of a possibly present Subset element.

2) Within each Adaptation Set, it selects one Representation, typically based on the value of the
   @bandwidth attribute, but also taking into account client decoding and rendering capabilities. Then
   the client creates a list of accessible Segments for each Representation for the actual client-local time
   NOW measured in wall-clock time taking into account the procedures introduced in A.3.

3) The client accesses the content by requesting entire Segments or byte ranges of Segments. The client
   requests Media Segments of the selected Representation by using the generated Segment list.

4) The client buffers sufficient media in order to anticipate continuous playout and may use he value of
   @minBufferTime attribute, the associated @bandwidth value and the measured access bitrate to
   determine a sufficiently large buffer before starting the presentation. Then, once it has identified a
   Stream Access Point (SAP) for each of the media streams in the different Representations, it starts
   rendering         (in        wall-clock-time)         of       this      SAP        not        before
   MPD@availabilityStartTime + PeriodStart + T SAP                     and           not            after
   MPD@availabilityStartTime + PeriodStart +T SAP + @timeShiftBufferDepth provided the
   observed throughput remains at or above the sum of the @bandwidth attributes of the selected
   Representations (if not, longer buffering may be needed). For services with


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     MPD@type='dynamic',             rendering        the SAP     at     the    sum       of
     MPD@availabilityStartTime + PeriodStart + T SAP          and    the     value        of
     MPD@suggestedPresentationDelay is recommended, especially if synchronized play-out with
     other devices adhering to the same rule is desired.

5) Once the presentation has started, the client continues consuming the media content by continuously
   requesting Media Segments or parts of Media Segments. The client may switch Representations
   taking into account updated MPD information and/or updated information from its environment, e.g.
   change of observed throughput. With any request for a Media Segment containing a stream access
   point, the client may switch to a different Representation. Seamless switching can be achieved, as the
   different Representations are time-aligned. Advantageous switching points are announced in the
   MPD and/or in the Segment Index, if provided.

6) With the wall-clock time NOW advancing, the client consumes the available Segments. As NOW
   advances, the client possibly expands the list of available Segments for each Representation
   according to the procedures specified in A.3 If the following conditions are both true, an updated
   MPD should be fetched:

     i)   if the attribute MPD@minimumUpdatePeriod is present, and

     ii) the current playback time gets within a threshold (typically described by at least the sum of the
         value of the @minBufferTime attribute) and the value of the @duration attribute (or the
         equivalent value in case the SegmentTimeline is used) of the media described in the MPD for
         any consuming or to be consumed Representation.

7) If the conditions in 6) are true, the client should fetch a new MPD, and update FetchTime. Once
   received, the client takes into account the possibly updated MPD and the new FetchTime in the
   regeneration of the accessible Segment list for each Representation.

In the following clauses a brief overview is provided of Segment list generation, seeking, support for trick
modes, switching Representations, reaction to error codes, encoder clock drift control, playback across
period boundaries, usage of bandwidth and buffer time in the DASH Client, as well as location and
reference resolution are provided.

A.3 Segment list generation
A.3.1 General

Assume that the DASH Client has access to an MPD. This clause describes how a client may generate a
Segment list for one Representation as shown in Table A.1 from an MPD obtained at FetchTime at a
specific client-local time NOW. In this description, the term NOW is used to refer to “the current value of
the clock at the reference client when performing the construction of an MPD Instance from an MPD”. A
client that is not synchronized with a DASH server, which is in turn is expected to be synchronized to
UTC, may experience issues in accessing Segments as the Segment availability times provided by the
server and the local time NOW may not be synchronized. Therefore, DASH Clients are expected to
synchronize their clocks to a globally accurate time standard.




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                              Table A.1    Segment list in example client

 Parameter Name                 Cardinality Description
 Segments                            1         Provides the Segment URL list.
      InitializationSegment         0, 1       Describes the Initialization Segment. If not present, each Media
                                               Segment is self-initializing.
           URL                       1         The URL where to access the Initialization Segment (the client
                                               may add a byte range to the URL request if one is provided in
                                               the MPD).
      MediaSegment                 1…N         Describes the accessible Media Segments.
           startTime                 1         The MPD start time of the Media Segment in the Period relative
                                               to the start time of Period.
           duration                  1         The MPD duration for the Segment
           URL                       1         The URL where to access the Media Segment, possibly
                                               combined with a byte range.
      IndexSegment                 1…N         Describes the accessible Index Segments, if present.
           URL                       1         The URL where to access the Index Segment, possibly combined
                                               with a byte range.
According to subclause 5.3.9, there are three different ways to describe and generate a Segment List. This
description focuses on the first two where either a SegmentList element or a SegmentTemplate
element is present. The case with a single Media Segment using BaseURL element and SegmentBase
element is considered straightforward.
Segments are available at their assigned URL if at wall-clock time NOW the Segment availability start time
is smaller than or equal to NOW and the Segment availability end time is larger than or equal to NOW.
Furthermore, assume that for a Representation in a Period, the Segment list is indexed with i=1, ..., N.
A.3.2 Period Start and End Times

Assume that for an MPD with fetch time FetchTime:
— the     MediaPresentationDuration   is      provided      either                as       the        value       of
  MPD@mediaPresentationDuration             if     present,     or                 as       the        sum        of
  PeriodStart + Period@duration of the last Period.

— the Period start time is provided as PeriodStart according to subclause 5.3.2.1 for any Period in the
  MPD.

— the Period end time referred as PeriodEnd is determined as follows: for any Period in the MPD except
  for the last one, the PeriodEnd is obtained as the value of the PeriodStart of the next Period. For the
  last Period in the MPD:

      — if the MPD@minimumUpdatePeriod attribute is not present, then PeriodEnd is defined as the
             end       time      of        the          Media           Presentation,          i.e.
             MPD@availabilityStartTime + MediaPresentationDuration.

      — if the MPD@minimumUpdatePeriod attribute is present, then PeriodEnd is defined as the
             smaller    value   of     FetchTime + MPD@minimumUpdatePeriod               and
             MPD@availabilityStartTime + MediaPresentationDuration.



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A.3.3 Start Time and Duration

In case the Segment base information contains the @duration attribute, then
— the regular duration d is obtained as d=@duration/@timescale,

— the MPD start time MediaSegment[i].startTime is obtained as (i−1)*d,

— the MPD duration MediaSegment[i].duration is obtained as d unless this Segment is the last Segment
  in    this    Period,    then     the      MediaSegment[i].duration        is      obtained     as
  PeriodEnd−MediaSegment.StartTime[i].

In case the Segment base information contains a SegmentTimeline element with N S S elements
referred as s=1, ..., N S , then
— the t[s] is the value of @t of the s-th S element divided by the value of the @timescale attribute,

— the o is the value of @presentationTimeOffset for this Representation divided by the value of
  the @timescale attribute,

— the d[s] is the value of @d of the s-th S element divided by the value of the @timescale attribute,

— if the value of @r is greater than or equal to 0,

     — the r[s] is one more than the value of @r of the s-th S element, and

     — N=0

— for s=1, ... N S

     — N=N + 1

     — MediaSegment[N].startTime=t[s]−o

     — MediaSegment[N].duration=d[s]

     — for j=1, ..., r[s]

          — N=N + 1

          — MediaSegment[N].startTime=MediaSegment[N− 1].startTime + d[s]

          — MediaSegment[N].duration=d[s]

— else

     — the MPD duration MediaSegment[i].duration is obtained as d[0] unless this Segment is the last
           Segment in this Period, then the MediaSegment[i].duration is obtained as
           PeriodEnd−MediaSegment.StartTime[i].

If neither the @duration nor the SegmentTimeline element is given, then
— N=1,

— MediaSegment.startTime[1]=0,


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— MediaSegment.duration[1]=PeriodEnd – PeriodStart.

If the Representation contains or inherits one or more SegmentList elements, providing a set of explicit
URL(s) for Media Segments, then all N Segment URLs are provided.
If the Representation contains or inherits a SegmentTemplate element with $Number$ then the URL
of the Media Segment i, MediaSegment.URL[i], is obtained by replacing the $Number$ identifier by
i−1 + @startNumber in the SegmentTemplate@media string.
If the Representation contains or inherits a SegmentTemplate element with $Time$ then the URL of
the Media Segment i, MediaSegment.URL[i], is obtained by replacing the $Time$ identifier by
MediaSegment[i].startTime in the SegmentTemplate@media string, as described in subclause
5.3.9.5.3.
A.3.4 Media Segment list restrictions

The Media Segment List is restricted to a list of accessible Media Segments, which may be a subset of the
Media Segments of the complete Media Presentation. The construction is governed by the current value
of the clock at the client NOW which is greater than or equal to the FetchTime of the MPD.
Segments may only be accessed during their Segment availability times. Generally, Any Segment may only
be   available   for    any    time    NOW     between      MPD@availabilityStartTime              and
MPD@availabilityEndTime. For times NOW outside this window, no Segments are available.
Assume the parameter availabilityTimeOffset is determined as the sum of all values of
@availabilityTimeOffset on all levels that are processed in determining the URL for the
corresponding segment. If the attribute @availabilityTimeOffset is not present, the value is of
availabilityTimeOffset is 0. Then for services with MPD@type='dynamic', the Segment
availability start time T avail [i] for a Segment i in a specific Period is determined as
MPD@availabilityStartTime               +    PeriodStart +   MediaSegment[i].startTime        +
MediaSegment[i].duration - availabilityTimeOffset and the Segment availability end time is
determined as MPD@availabilityStartTime + PeriodStart + MediaSegment[i].startTime +
@timeshiftBufferDepth + 2*MediaSegment[i].duration..
In case of MPD updates, assume the variable CheckTime associated to an MPD with FetchTime is defined
as the sum of the fetch time of this operating MPD and the value of the attribute
MPD@minimumUpdatePeriod, i.e. CheckTime = FetchTime + MPD@minimumUpdatePeriod. The
CheckTime is defined on the MPD-documented media time axis; when the client's playback time reaches
CheckTime - MPD@minBufferTime, it should fetch a new MPD.
Therefore, based on an MPD that was fetched at fetch time FetchTime and has associated a check time
CheckTime, the largest index i max that is accessible at time NOW for the last Period in the MPD is i max =
max i { T avail [i] <= min(CheckTime, NOW) }.

A.4 Seeking
Assume that a client attempts to seek to a specific Media Presentation time T M in a Representation relative
to the PeriodStart time. According to subclause 7.2.1, the presentation times within each Period are
relative to the PeriodStart time of the Period minus the value of the @presentationTimeOffset, T O ,
of the containing Representation.
Based on the MPD, the client has access to the MPD start time and Media Segment URL of each Segment
in the Representation, along with Index Segment URL, if present. The Segment number of the Segment
most likely to contain media samples for Media Presentation time T M is obtained as the maximum



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Segment index i*, for which the start time MediaSegment[i].startTime is smaller than or equal to the T M .
The Segment URL is obtained as MediaSegment[i*].URL.
Timing information in the MPD may be approximate due to issues related to placement of Stream Access
Points, alignment of media tracks and media timing drift. As a result, the Segment identified by the
procedure above may begin at a time slightly after T M and the media data for presentation time may be
in the previous Media Segment. In case of seeking, either the seek time may be updated to equal the first
sample time of the retrieved Media Segment, or the preceding Media Segment may be retrieved instead.
However, during continuous playout, including cases where there is a switch between alternative
versions, the media data for the time between T M and the start of the retrieved Segment is always
available.
For accurate seeking to a presentation time T M , the DASH Client needs to access Stream Access Points
(SAP). To determine the SAP in a Media Segment in case of DASH, the client may, for example, use the
information in the Segment Index, if present, to locate the stream access points and the corresponding
presentation time in the Media Presentation.
In the case that the Media Presentation is based on the ISO base media file format and a Segment is a
movie fragment, it is also possible for the client to use information within the 'moof' and 'mdat' boxes,
for example, to locate Stream Access Points in the media and obtain the necessary presentation time from
the information in the movie fragment and the Segment start time derived from the MPD. If no SAP with
presentation time before the requested presentation time T M is available, the client may either access the
previous Segment or may just use the first SAP as the seek result. When Media Segments start with a SAP,
these procedures are simplified.
In the case that the Media Presentation is based on MPEG-2 TS, the presentation units corresponding to
the desired presentation time T M can be identified by using the indexing information, if present, in
conjunction with the differential value of the presentation time stamps (PTS) within the Media Segment.
For example, if T M,S denotes the presentation time corresponding to the last SAP leading the desired seek
time tp, with a corresponding PTS denoted as PTSs, then the desired seek position within the media has
a PTS expressed as: [(T M −T M,S )*timescale + PTS S %233].
Also, not necessarily all information of the Media Segment needs to be downloaded to access the
presentation time T M . The client may for example initially request the Segment Index from the beginning
of the Media Segment using partial HTTP GET. By use of the Segment Index, Segment timing can be
mapped to byte ranges of the Segment. By continuously using partial HTTP GET requests, only the
relevant parts of the Media Segment may be accessed for improved user experience and low start-up
delays.

A.5 Support for trick modes
The client may pause or stop a Media Presentation. In this case, the client simply stops requesting Media
Segments or parts thereof. To resume, the client sends requests to Media Segments, starting with the next
Subsegment after the last requested Subsegment.
If a specific Representation or SubRepresentation element includes the @maxPlayoutRate
attribute, then the corresponding Representation or Sub-Representation may be used for the fast-
forward trick mode. The client may play the Representation or Sub-Representation with any speed up to
the regular speed times the specified @maxPlayoutRate attribute with the same decoder profile and
level requirements as the normal playout rate. If a specific Representation or SubRepresentation
element includes the @codingDependency attribute with value set to 'false', then the
corresponding Representation or Sub-Representation may be used for both fast-forward and fast-rewind
trick modes.
Sub-Representations in combination with Index Segments and Subsegment Index boxes may be used for
efficient trick mode implementation. Given a Sub-Representation with the desired @maxPlayoutRate,

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ranges    corresponding     to   SubRepresentation@level             all    level  values   from
SubRepresentation@dependencyLevel may be extracted via byte ranges constructed from the
information in Subsegment Index Box. These ranges can be used to construct more compact HTTP GET
request.

A.6 Switching Representations
Based on updated information during an ongoing Media Presentation, a client may decide to switch
Representations. Switching to a “new” Representation is equivalent to tuning in or seeking to the new
Representation from the time point where the "old" Representation has been presented. Once switching
is desired, the client should seek to a SAP for each media stream in the “new” Representation at a desired
presentation time tp later than and close to the current presentation time. Presenting the “old”
Representation up to (but not included) the presentation time of the SAP in the “new” Representation
and presenting the “new” Representation from the presentation time of the SAP enables seamless
switching.
If @segmentAlignment is set to true and the @startWithSAP is set to 1 or 2 then the client may
switch at any Segment boundary
— by just concatenating Segments with consecutive Segment numbers from different Representations,
  if @bitstreamSwitching flag is set to true on the parent Adaptation Set, or

— by loading the Initialization Segment or Bitstream Switching Segment for the new Representation
  before processing the new Segment.

No overlap downloading and decoding is required.
If @segmentAlignment is set to true and the @startWithSAP is set to 3 and the
Representation@mediaStreamStructureId is identical for the two Representations, then the
client may switch at any Segment boundary by just concatenating Segments with consecutive Segment
numbers from different Representations, without re-initialization of the media decoder.
@bitstreamSwitching should be set to true in this case.
The same can be achieved on Subsegment level with @subsegmentAlignment set to true and
@subsegmentStartsWithSAP the same values and conditions as above.


A.7 Reaction to error codes
The DASH access client provides a streaming service to the user by issuing HTTP requests for Segments
at appropriate times. The DASH access client may also update the MPD by using HTTP requests. In regular
operation mode, the server typically responds to such requests with status code 200 OK (for regular GET)
or status code 206 Partial Content (for partial GET) and the entity corresponding to the requested
resource. Other Successful 2xx or Redirection 3xx status codes may be returned.
HTTP requests may result in a Client Error 4xx or Server Error 5xx status code. Some guidelines are
provided in this subclause as to how an HTTP client may react to such error codes.
If the DASH access client receives an HTTP client or server error (i.e. messages with 4xx or 5xx error
code), the client should respond appropriately (e.g. as indicated in IETF RFC 7231) to the error code. In
particular, clients should handle redirections (such as 301 and 307) as these may be used as part of
normal operation.
If the DASH access client receives a repeated HTTP error for the request of an MPD, the appropriate
response may involve terminating the streaming service.



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If the DASH access client receives an HTTP client error (i.e. messages with 4xx error code) for the request
of an Initialization Segment, the Period containing the Initialization Segment may not be available
anymore or may not be available yet.
Similarly, if the DASH access client receives an HTTP client error (i.e. messages with 4xx error code) for
the request of a Media Segment, the requested Media Segment may not be available anymore or may not
be available yet. In both cases, the client should check if the precision of the time synchronization to a
globally accurate time standard is sufficiently accurate. If the clock is believed accurate, or the error re-
occurs after any correction, the client should check for an update of the MPD.
Upon receiving server errors (i.e. messages with 5xx error code), the client should check for an update of
the MPD. If multiple BaseURL elements are available, the client may also check for alternative instances
of the same content that are hosted on a different server.

A.8 Encoder clock drift control
Non-alignment between the end of a Representation in one Period and the start time of the next Period
may be caused by encoder clock inaccuracy. The client should align the Media Presentation time at each
Period start. In addition, significant deviations of the start time of Segments to the media time should be
detected and drift-compensating measures may be applied even before the start of the next Period is
reached.
Over a longer operation time, a difference in clock accuracy of the encoder and decoder may cause the
playback to lag behind real-time or to interrupt temporarily due to the client trying to access data faster
than real-time.
For ISO base media file format based, clients may avoid these anomalies by using the Producer Reference
Time boxes as follows. The pace r 1 of the encoder clock in relation to the UTC is recovered from Producer
Reference Time boxes. If the relative pace r 1 is less than 1, equal to 1, or greater than 1, the encoder clock
runs more slowly than the UTC, at an identical pace compared to the UTC, or faster than the UTC,
respectively. The pace r 2 of the receiver playout clock in relation to UTC is created by accessing a UTC
source. A timescale multiplication factor c is equal to r 1 /r 2 . A presentation time on a timeline of the
receiver playout clock is derived for each sample or access unit by multiplying the composition time of
the sample (as indicated by the file format structures) or the presentation time of the access unit
(as indicated by the respective Program Elementary Stream header) by the timescale multiplication
factor c.
In case of MPEG-2 TS segments, PCR-based drift control may be used.

A.9 Playback across Period boundaries
From a client perspective, Period boundaries may require processing that makes fully continuous playout
impossible or at last practically complex. For example, the content may be offered with different codecs,
different language attributes, different protection and so on. The client is expected to play the content
continuously across Periods, but there may be implications in terms of implementation to provide fully
continuous and seamless playout. It may be the case that at Period boundaries, the presentation engine
needs to be reinitialised, for example due to changes in formats, codecs or other properties. This may
result in a re-initialisation delay. Such a re-initialisation delay should be minimized.
If the client presents media components of a certain Adaptation Set with a specific value foo for the
AdaptationSet@id in one Period, and if the following Period has assigned an identical Asset Identifier,
then the client is suggested to identify an associated Period and, in the absence of other information,
continue playing the content in the associated Adaptation Set, i.e the Adaptation Set with value foo for
the AdaptationSet@id.



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If the client presents media components of a certain Sub-Representation in one Period, and if the
following Period has assigned an identical Sub-Asset Identifier, then the client is suggested to identify an
associated Period and, in the absence of other information, continue playing the content in the associated
Sub-Representation.
If furthermore the Adaptation Sets are period-continuous or period-connected as defined in subclause
5.3.2.4, i.e. the presentation times are continuous and this is signalled in the MPD, then the client is
expected to seamlessly play (as defined in subclause 4.5.1) the content across the Period boundary. Most
suitably the client may continue playing the Representation in the Adaptation Set with the same @id, but
there is no guarantee that this Representation is available. In this case, the client is expected to seamlessly
switch (as defined in subclause 4.5.1) to any other Representation in the Adaptation Set. If period
continuity is signalled and if continuously playing, then the client should ignore the value of the
@presentationTimeOffset attribute and just continue processing the incoming Segments. If period
connectivity is signalled and if continuously playing, then the client is expected to inform the media
decoder on a timeline discontinuity obeying the value of @presentationTimeOffset attribute, but
it may continue processing the incoming Segments without for example re-initializing the media decoder.

A.10 Usage of Bandwidth and Min Buffer Time in DASH Client
In a simple and straightforward implementation, a DASH Client decides downloading the next segment
based on the following status information:
— the currently available buffer in the media pipeline, buffer,

— the currently estimated download rate, rate,

— the value of the attribute @minBufferTime, MBT,

— the set of values of the @bandwidth attribute for each Representation i, BW[i].

The task of the client is to select a suitable Representation i.
The relevant issue is that starting from a SAP on, the DASH Client can continue to playout the data. This
means that, at the current time, it does have buffer data in the buffer. Based on this model, the client can
download a Representation i for which BW[i] ≤ rate*buffer/MBT without emptying the buffer.
In this model, some idealizations typically do not hold in practice, such as constant bitrate channel,
progressive download and playout of Segments, no blocking and congestion of other HTTP requests, etc.
Therefore, a DASH Client should use these values with care to compensate such practical circumstances;
especially variations in download speed, latency, jitter, scheduling of requests of media components, as
well as to address other practical circumstances.
One example is if the DASH Client operates on Segment granularity. As in this case, not only parts of the
Segment (i.e. MBT) need to be downloaded, but the entire Segment, and if the MBT is smaller than the
Segment duration, then rather the segment duration needs to be used instead of the MBT for the required
buffer size and the download scheduling, i.e. download a Representation i for which
BW[i] ≤ rate*buffer/max_segment_duration.

A.11 Location and reference resolution
This document defines several functionalities in order to provide a consistent set of URLs for MPD
updates, DASH segments and other resources in the MPD.
Specifically, in subclause 5.3.1.2, the MPD.Location element is defined and rules for MPD updates using
this element are defined in subclause 5.4.1. In subclause 5.6.4, reference resolution is defined, i.e. the

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usage of MPD URLs as well BaseURL elements on different levels. Subclause 5.6.5 defines the usage of
multiple BaseURL elements.
Based on these descriptions, a DASH Client operating on MPD updates and segment requests is expected
to operate as follows:
    — For MPD update requests (when due) according to clause 5.4, the DASH Client requests the MPD
      according to the following priority
             — If at least one MPD.Location element is present,
                       — the value of any MPD.Location element is used as the MPD request URL
             — else
                       — If the HTTP request results in an HTTP redirect using a 3xx response code, the
                         redirected URL replaces the original manifest URL,
                       — Else
                                   — If present and known, the original manifest URL is used for updates
                                   — else updates cannot be done, and client may terminate the service
             — In addition, the manifest URL as derived above provides an implicit base URI
             — Any present BaseURL element does not apply to MPD updates
    — Based on the knowledge of the MPD request URL according to the previous algorithm, the DASH
      Client requests Segments according to the following priority
             — If present, any absolute base URL or an absolute URL is used,
             — Else
                       — If the base URL is known
                                   — the base URL from the above MPD request URL provides the base URL and
                                     the relative base URL is used for the segment requests
                       — else
                                   — the service may be terminated.

A.12 Resynchronization and Early Access to Segments
A.12.1 General

Several cases are identified when Resynchronization within a Segment is important and beneficial.
Examples include:
    — Low latency streaming and fast access to the service
    — Fast channel acquisition in broadcast services
    — Low latency streaming and resynchronization after losses or buffer underruns or in advance of a
      potential stall.
    — Fast down-switching in the face of imminent stall
    — Fast and efficient seeking to time (e.g. better seek-to accuracy).




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Resynchronization and restart of playback in the case of the ISO BMFF Segments requires multiple
processes:
   1. Finding the box structure within the Segment
   2. Finding a proper Resynchronization Point including with all relevant information that is needed
      to start parsing and decoding
   3. Finding the earliest presentation time that is presented
   4. Processing of Event messages, if applicable
   5. Obtaining all decryption relevant information, if applicable
   6. Start decoding on elementary stream level
In addition, a DASH client is preferably aware of the availability of Resynchronization Points.
This subclause also addresses the issues on the early availability and accessibility of initial parts of
Segments.
The Resynchronization Point feature as defined in subclause 5.3.13 supports fast resynchronization. This
subclause provides a few client implementation guidelines for fast Resynchronization in the client.
A.12.2 Box Structure Resynchronization

Box structure resynchronization is an important feature for many playback pipelines. Without aligning
to the box structure, such pipelines fail. Secondly, resynchronization to ISO BMFF segments and proper
elementary stream decoding is also required for proper playback of the content.
There are different ways to resynchronize on box structure at a specific time.
   1. If the Segment Index is provided, then resynchronization can be done at presentation times and
      byte offsets. However, a Segment Index is typically not available for dynamic services.
   2. If a timed metadata track is provided, then resynchronization can be done at presentation times
      and byte offsets. This may apply for regular live services, but not be suitable in case of low-latency.
   3. If the start of the Segment is accessible, the Segment can be downloaded from the beginning and
      be parsed until the proper Index and Time is found. However, such downloading consumes
      additional unnecessary bandwidth or may not be fast enough to be useful.
   4. A resynchronization information is provided by the underlying protocol, that for example
      provides the Index to each Resynchronization Point and this information is passed to the DASH
      client.
   5. If the start of the Segment is not available, then finding a Resynchronization Point based on a
      proper pattern is possible. Once found, regular parsing can start and find the proper box structure
      that allows one to process, in particular 'emsg', 'prft', 'moof' and 'mdat'.
A.12.3 Usage of Resynchronization Feature

If a timed metadata track is provided indicating Resynchronization Points, then resynchronization can be
done at the specified Index and Time values, taking into account the type of the Resynchronization
Point.
If the client wants to resynchronize to a Time within a Segment and does not have any information of the
Index or a supplementary protocol on the Index within the Segment that corresponds to the time, the
client may resync by parsing the Segment.
Before parsing the Segment, it is recommended to download only a part of the Segment that will include
the Resynchronization Point. For this purpose, the information in the Resync@dT, Resync@dMax and



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Resync@dMin can be used. If the Resync@marker is set, then the client can parse the byte stream as
follows to find the Index of the next Resynchronization Point:
    1. Find an occurrence of the 'styp' byte string in a segment, say at byte offset B*.
    2. Verify against a random emulation as follows: the next box type is compared against the list of
       any of the expected box types: 'styp', 'prft', 'emsg', 'moof', 'mdat', 'free', 'skip'.
    3. If one of the known box types is found, byte offset B*-4 octets is the Index of the
       Resynchronization Point.
    4. If this is not one of the known box types noted before, this occurrence of 'styp' box is
       considered an invalid Resynchronization Point and ignored. Restart from step 1 above.
Once found, the remaining issue is the determination of:
    — the earliest presentation time Time of the Resynchronization Point. This is easily accomplished
      by the use of the 'tfdt' and other information in the movie fragment header.
    — the type of the Resynchronization Point. Several options exist:
             — A detection based on the information in the 'moof'.
             — The use of compatibility brands for SAP types. If CMAF is in use as defined in ISO/IEC
               23000-19, the following can be deduced
                       — 'cmff': indicates that the SAP is 1 or 2
                       — 'cmfl': indicates that the SAP is 0
                       — 'cmfr': indicates that the SAP is 1, 2 or 3
Once proper Time and Index is found, an early Resynchronization the media pipeline can be initiated.
A.12.4 Early availability and access of Segments

For a Representation that includes an @availabilityTimeOffset, the following client behaviour is
expected:
    — If no Resync with @dT and @dImin is present and the @availabilityTimeComplete set
      to FALSE, then
             — clients are expected to not access the Segment with byte range requests,
             — clients cannot expect to receive any Segment data prior to Segment availability start time,
               even if a request for Segment is issued.
    — If a Resync element is present Resync with @dT and @dImin,
             — clients can expect that available Segment data will be received over time, if a request for
               the Segment is issued.
             — clients are expected to not access the Segments with byte range requests that are not yet
               available.
             — If furthermore @rangeAccess on BaseURL attribute associated to the Representation
               is set to true
                       — The clients are permitted to access byte range requests that are available at the
                         current time NOW.




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A.13 Timing, processing, and client reference model for DASH Event streams and
timed metadata tracks
A.13.1 General

This annex describes DASH events and timed metadata track timing and processing. It describes the
timing models for MPD and inband event streams, as well as the timing of timed metadata tracks. This
subclause also outlines the DASH player’s reference architecture for processing DASH event streams as
well as timed metadata tracks. Specifically, two possible dispatch modes of events are introduced. Finally,
it defines a reference API for an application to subscribe to Event streams and/or timed metadata tracks
as well as an API for dispatching event instances and metadata samples.
A server/application provider should consider the information provided in this annex for building
interactive applications as the timing and processing model of Event streams and timed metadata tracks.
A.13.2 DASH Player architecture for processing DASH events and timed metadata tracks

Figure A.1demonstrates a generic architecture of DASH Player including the DASH Event stream and
timed metadata track processing.

  Application


                                                                                           Subscribe       Event/
                                                                 DASHEvents &                             Metadata
    DASH Client’s Control, Selection & Heuristic Logic
                                                                   Metadata                                  API



  Manifest       MPD
   Parser       Events
                             Inband
                             Events

                                                                                             Event/Metadata
                                    Timed     Timed Metadata       Event and Timed
                                                                                             Synchronizer &
                                   Metadata     Track Parser       Metadata Buffer
                         Inband                                                                Dispatcher
   DASH
                         Event &
   Access
                          ‘moof’
    API
                         Parser       Media
                                                                     Media Buffer            Media Decoder
                                   Segments



   HTTP                                                                   Event/T. Metadata dataflow
   Stack                                                                  Media dataflow
                                                                          Control/Synchronization

      Figure A.1     DASH Player architecture including the Event Stream timed metadata track
                                                handling




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In Figure A.1the following applies:
    — The DASH Player processes the received MPD. For every Period, the MPD may include one or
      multiple (Inband-)Event Streams (each scoped by a scheme/value pair), and Adaptation Sets that
      carry Representations/tracks for timed metadata. Some or all of these event streams/timed
      metadata tracks may be suitable for consumption by the application. In this subclause, we refer
      to any of these streams/tracks as application event or metadata streams (AEMS).

    — The Application subscribes to all AEMSs of interest and also specifies the desired dispatch mode
      for each AEMS.

    — If the MPD includes any MPD Event streams, the DASH Player parses each Event in the Event
      Stream accordingly and appends the relevant to the Event & Timed Metadata Buffer, based on
      their presentation time.

    — Based on the information in the MPD, the DASH Player selects and schedules the fetching of Media
      Segments and appends them to the Media Buffer. This is typically done to maintain a stable
      playback buffer, but media segments are typically only parsed close to the time before their
      playback is scheduled. Parsing a Segment includes:

             — Parsing high-level boxes such as Segment Index ('sidx'), Event Message ('emsg'),
               Producer Reference Time ('prft'), movie fragment header ('moof') boxes, and
               interpreting the information in the DASH client.

             — For inband event streams, the 'emsg' and typically the 'moof' need to be parsed. The
               DASH client then uses this information and appends the relevant data to the Event &
               Timed Metadata Buffer.

    — For an Application-related timed metadata track, the entire Representation/track is parsed
      including the Initialization Segment (i.e. track header) as well as the Media Segments (i.e. the
      movie fragments and media data containers). The DASH client then uses this information and
      appends the relevant data to the Event & Timed Metadata Buffer.

    — Event & Metadata Buffer passes the events and timed metadata samples to Event & Metadata
      Synchronizer and Dispatcher function. An example of the Buffer’s data object is defined in
      subclause A.13.11.

    — The DASH Player-specific Events are dispatched to DASH Player’s Control, Selection & Heuristic
      Logic, while the Application-related Events and timed metadata track samples are dispatched to
      the application as the following. If an Application is subscribed to a specific AEMS, dispatch the
      corresponding event instances or timed metadata samples, according to the dispatch mode:

             — For on-receive dispatch mode, dispatch the entire event or timed metadata information
               as soon as they are appended to the Event and Timed Metadata Buffer.

             — For on-start dispatch mode, dispatch the message data of the event their associated
               presentation time or latest before the event duration has ceased, or timed metadata
               samples at their presentation time using the synchronization signal from the media
               decoder.

     NOTE      The metadata buffer maintains a sequence of events and timed metadata samples. The maintain
     and purging management of this buffer is synchronized with the Media buffer management.




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A.13.3 Inband Event timing parameters

Figure A.2 presents the timing of an inband Events along the media timeline:



                                          Event Start Time (ST)




         Segment Earliest Presentation Time =
           Event Latest Arrival Time (LAT)

                                                                  Event Duration (DU)




                                                                                                         Media timeline


             S(n-1)               S(n)             S(n+1)              S(n+2)             S(n+3)                Segments

                 Figure A.2      Inband event timing parameter on the media timeline
As shown in Figure A.2, every inband Event can be described by three timing parameters on the media
timeline:
   — Assuming an inband Event is inserted at the beginning of a Segment. Then the Event Latest Arrival
     Time (LAT) is defined as the earliest presentation time of the Segment containing the Event
     Message box. Since each Media Segment has the earliest presentation time equal to (LAT), LAT of
     the Segment carrying the Event Message box can be considered as the time instance of that box
     on the media timeline. The DASH Player is expected to fetch and parse the Segment before or at
     its earliest presentation time. Therefore, an Event inserted in a Segment with EPT will be available
     in the client no later than EPT of the carrying Segment on the media timeline. Therefore, the Event
     inserted in a Segment will be ready to be processed and fetched no later than LAT on the media
     timeline. In the case in which the event is inserted at the beginning of a movie fragment that is
     not coinciding with the start of a Media Segment, and the movie fragments are delivered in low
     latency mode, i.e. HTTP chunked encoding mode is used, then the LAT is the earliest presentation
     time of the corresponding movie fragment.

   — Event Presentation/Start Time (ST) which is the moment in the media timeline that the Event
     becomes active. ST is the moment in the media timeline that the Event becomes active. This value
     can be calculated using the parameters included in the DashEventMessageBox.

   — Event duration (DU): the duration for which the Event is active. DU is signalled in the Event
     Message box using a specific value.




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A.13.4 Event message box format and event timing parameters

The event presentation time ST of an event can be calculated using the values in the corresponding
'emsg' box of subclause 5.10.3.3.1:

                                                    𝑃𝑃𝑃𝑃𝑃𝑃     𝐿𝐿𝐿𝐿𝐿𝐿 +      for version 0
                                    𝑆𝑆𝑆𝑆 = 𝑃𝑃𝑃𝑃 −          + �          𝑇𝑇𝑇𝑇
                                                     𝑇𝑇𝑇𝑇      𝑃𝑃𝑃𝑃
                                                                              for version 1
                                                               𝑇𝑇𝑇𝑇
where:
    — PST is the Period start time of the Period containing the event stream.

    — PTO is the presentation time offset of the Event Stream carrying Representation in the Period
      provided by SegmentBase@presentationTimeoffset.

    — PTD is the value of the event message box’s field emsg.presentation_time_delta in
      version 0 of the event message box.

    — TS is the value of the event message box’s field emsg.timescale.

    — PT is the value of the event message box’s field emsg.presentationtime in version 1.

    — LAT is the earliest presentation time of the Segment containing the Event Message box.

     NOTE 1      ST is always equal to or larger than LAT in both versions of 'emsg'.

     NOTE 2     Since the media sample timescales might be different from the 'emsg'’s timescale, ST might not
     line up exactly with a media sample presentation time if different timescales are used.

In addition, the following common variable names are introduced instead of some of above variables to
harmonize parameters between Inband events, MPD events, and timed metadata samples:
    — scheme_id = scheme_id_uri

    — value = value

    — presentation_time = ST

    — duration = event_duration/timescale

    — message_data = message_data[]

A.13.5 MPD Events timing model

MPD Events follow an equivalent data model to inband Events but are carried in the MPD within a
Period element. Each Period event can have one or multiple EventStream elements, defining the
EventStream@schemeIdUri, EventStream@value, EventStream@timescale, and contained
sequences of Event elements. Each event may have Event@presentationTime, Event@duration,
Event@id, and Event@messageData attributes as specified in subclause 5.10.2. As is shown in
Figure A.3, each MPD Event has three timing parameters along the media timeline:
    — The PeriodStart Time (LAT) of the Period element containing the EventStream element.




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   — Event Start Time (ST): the moment in the media timeline that a given MPD Event becomes active
     and can be calculated from the attributeEvent@presentationTime.

   — Event duration (DU): the duration for which the event is active that can be calculated from the
     attribute Event@duration.

Note that the first parameter is inherited from the Period containing the Events and only the 2nd and 3rd
parameters are explicitly included in the Event element. Each EventStream also has
EventStream@timescale to scale the above parameters.
Figure A.3 demonstrates these parameters in the media timeline.


                                           Event Start Time (ST)



                  Period Start Time =
           Event Earliest Arrival Time (LAT)


                                                              Event Duration (DU)




                                                                                                             Media timeline


              P(n-1)                                   P(n)                                   P(n+1)                 Periods

                                   Figure A.3         MPD events timing model
The ST of an MPD event, relative to period start time of Period containing the Event, can be calculated
using values in its EventStream and Event elements:
                                                                 𝑃𝑃𝑃𝑃 − 𝑃𝑃𝑃𝑃𝑃𝑃
                                               𝑆𝑆𝑆𝑆 = 𝑃𝑃𝑃𝑃𝑃𝑃 +
                                                                      𝑇𝑇𝑇𝑇
where:
   — PST is the Period start time of the Period containing the event stream.

   — PTO is the presentation time offset                               of    the    Event    Stream       provided       by
     EventStream@presentationTimeoffset.

   — TS is the value of EventStream@timescale.

   — PT is the value of EventStream@presentationTime.

In this Annex, we use the following common variable names instead of some of above variables to
harmonize parameters between Inband events, MPD events, and timed metadata samples:
   — scheme_id = EventStream@schemeIdUri

   — value = EventStream@value

   — presentation_time = ST



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    — duration = Event@duration/EventStream@timescale

    — id = Event@id

    — message_data[] = decode64(Event@messageData)

in which decode() function is:

                            𝑥𝑥                                                  𝐸𝐸𝐸𝐸𝐸𝐸𝐸𝐸𝐸𝐸@𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐 𝑛𝑛𝑛𝑛𝑛𝑛 𝑝𝑝𝑝𝑝𝑝𝑝𝑝𝑝𝑝𝑝𝑝𝑝𝑝𝑝
     𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑(𝑥𝑥) = �
                            𝑏𝑏𝑏𝑏𝑏𝑏𝑏𝑏64 𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑𝑑 𝑜𝑜𝑜𝑜 (𝑥𝑥)                 𝐸𝐸𝐸𝐸𝐸𝐸𝐸𝐸𝐸𝐸@𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐 = 𝑏𝑏𝑏𝑏𝑏𝑏𝑏𝑏64
Note that the DASH client is expected to Base64 decode the Event@messageData value if the received
Event@contentEncoding value is base64.
Note that the Event duration may be unknown.
A.13.6 Timed metadata sample timing model

An alternative way to convey information synchronized to a media is using timed metadata tracks. Timed
metadata tracks are ISOBMFF formatted tracks that obey the following characteristics according to
ISO/IEC 14496-12:
    — The sample description box 'stsd' in the MovieBox contains a sampleEntry that is a
      URIMetaSampleEntry, to signal that the media samples contain metadata based on a URI in a
      URIBox to signal that scheme.

    — The Handler Box 'hdlr' has handler_type set to meta to signal the fact that the track
      contains metadata

    — The null media header 'nmhd' is used in the 'minf' box

    — Contain metadata (non-media data relating to presentation) is embedded in ISOBMFF samples

Figure A.4 shows the timing model for a simple ISOBMFF timed metadata sample.


                                                Sample Presentation Time (ST)



         Segment Earliest Presentation Time =
           Sample Latest Arrival Time (LAT)


                                                                           Sample Duration (DU)




                                                                                                                                       Media timeline


                S(n-1)                                              S(n)                                            S(n+1)                        Segments




         Figure A.4           Timing parameters of a timed metadata sample on the media timeline




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As shown in Figure A.4, the metadata sample timing includes metadata sample presentation time (ST)
and metadata sample duration (DU). Also, one or more metadata samples are included in a segment with
the Segment’s earliest presentation time (LAT).
Note that the metadata sample duration cannot go beyond DASH Segments/ISOBMFF fragment duration
that carries the sample for fragmented metadata tracks, i.e. to the next fragment.
In this document, we use the following variable names instead of some of the above variables to
harmonize parameters between Inband events, MPD events, and timed metadata samples used in the
dispatch process:
      — scheme_id = track URI , signalled in URIBox in URIMetaSampleEntry

      — timescale = track timescale in 'mdhd' box.

      — presentation_time = sample presentation time/timescale
      — duration = sample duration/timescale
      — message_data = sample data (extracted from 'mdat')
A.13.7 Events and timed metadata sample dispatch timing modes

Figure A.5 shows two possible dispatch timing models for DASH events and timed metadata samples.

       On-receive                              On-start
      dispatch mode                         dispatch mode


                                            Dispatch Time
        Dispatch Time


                                             Start Time (ST)


                Latest Arrival Time (LAT)
                                                               Duration (DU)




                                                                                              Media timeline


             Figure A.5        The Application events and timed metadata dispatch modes


In Figure A.5, the following two modes are shown:
   — on-receive Dispatch Mode: Dispatching at LAT or at the earliest time possible. Since the segment
     carrying an 'emsg'/metadata sample has to be parsed at or before LAT on the media timeline, the
     event/metadata sample shall be dispatched at or before this time to the Application in this mode.
     The Application has a duration of ST-LAT for preparing for the event. In this mode, the DASH
     Player doesn’t need to maintain the state of Application events or metadata samples. Applications
     must maintain the state for any event/metadata sample, its ST and DU, and monitor its activation
     duration if they need these parameters. Applications may also need to schedule each
     event/sample at its ST.




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    — on-start Dispatch Mode: Dispatching exactly at ST, which is the start/presentation time of the
      event/metadata sample. The DASH player shall dispatch the event to the application at the
      presentation time of the corresponding media sample, or in the case of the start of playback after
      that moment and during the event duration, at the earliest time within the event duration. In this
      mode, since Applications receives the event/sample at its start/presentation time, it may need to
      act on the received data immediately.

     NOTE       According to ISO/IEC 23009-1, the parameter duration has a different meaning in each dispatch
     mode. In the case of on-start, duration defines the duration starting from ST in which DASH Player is expected
     to dispatch the Event exactly once. In the normal playback, the player dispatches the Event at ST. However, if
     the DASH Player, for instance, seeks to a moment after ST and during the above duration, then it is expected to
     dispatch the Event immediately. In the case of on-receive, duration is a property of event instance and is defined
     by the scheme_id owner.

A.13.8 The Dispatch Processing Model

It is assumed that the application is subscribed to a specific event stream identified by a (scheme/value)
pair with a specific dispatch_mode, either on-start or on-receive, as described in subclause A.13.7.
The processing model varies depending on dispatch_mode.
    — Common process

             — The DASH Player implements the following process:

                       — Parse the 'emsg'/timed metadata sample and retrieve scheme_uri/(value).

                       — If Application is not subscribed to the scheme_uri/(value) pair, end the processing
                         of this 'emsg'.

    — on-receive processing

             — The DASH Player implements the following process when dispatch_mode = on_receive:

                       — Dispatch the event/timed metadata, including ST, id, DU, timescale, and
                         message_data as described in subclause A.13.6.

    — on-start processing

             — The DASH Player sets up an Active Event Table for each subscribed scheme_uri/(value) in
               the case of dispatch_mode = on_start. The Active Event Table maintains a single list of
               'emsg' ids that have been dispatched.

             — The DASH Player implements the following process when dispatch_mode = on_start:

                       — Derive the event instance/metadata sample’s ST

                       — If the current media presentation time value is smaller than ST, then go to step v.

                       — Derive the ending time ET= ST + DU.

                       — If the current presentation time value is greater than ET, then end processing.

                       — In the case of event: Compare the event’s id with the entries of the Active Event
                         Table of the same scheme_uri/(value) pair:


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                              — If an entry with the identical id value exists, end processing;

                              — If not, add 'emsg'’s id to the corresponding the Active Event Table.

                      — Dispatch the event/metadata message_data at time ST, or immediately if the
                        current presentation time is larger than ST, as described in subclause A.13.6.

A.13.9 The event/metadata buffer model

Along with the media samples, the event instances and timed metadata samples are buffered. The
event/metadata buffer should be managed with the same scheme as the media buffer, i.e. as long as a
media sample exists in the media buffer, the corresponding events and/or metadata samples should be
maintained in the event/metadata buffer.
A.13.10          Prose description of APIs

The event/timed metadata API is an interface defined between a DASH client and a device application in
the exchange of subscription data and dispatch/transfer of matching DASH Event or timed metadata
information between these entities. The Event/timed metadata API is shown in Figure A.1.
      NOTE 1     In this Annex, the term "DASH Player" is used.

The description of the API below is strictly functional, i.e. implementation-agnostic. For example, the
subscribeEvent() method as defined below may be mapped to the existing
on(type,listener,scope) method as defined for the dash.js under MediaPlayerEvents.
As part of this API and before any operations, the DASH Player provides a list of scheme_id/(value) listed
in the MPD when it receives it. This list includes all MPD and inband events as well as scheme_id of all
timed metadata tracks. At this point, the Application is aware of the possible events and metadata
deliverable by the DASH Player.
The subscription state diagram of a DASH Player associated with the API is shown below in Figure A.6.

                                                                              Call Listener_x



                                         subscribe_first(Listener_1…)

          UNSUBSCRIBED                                                      SUBSCRIBED

                                           unsubscribe_last()
                                     or when Media Presentation has
                                                                                              subscribe
                                                ended
                                                                                            (Listener_n…)
                                                                            unsubscribe


           Figure A.6       State Diagram of DASH Player for the event/timed metadata API.
The scope of the above state diagram is the entire set of applicable events/timed metadata streams being
subscribed/unsubscribed, i.e. it is not indicating the state model of DASH Player in the context of a single
Event/timed metadata stream subscription/un-subscription.
The application subscribes to the reception of the desired event/timed metadata and associated
information by the subscribeEvent() method. The parameters to be passed in this method are:
   — scheme_uri – The scheme identifier for the event stream being subscribed to. This must be one
     returned by the list of events the DASH player supplied. By setting this value to


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         urn:mpeg:dash:event:catchall:2020, the Application may subscribe to all existing events and
         metadata schemes described in the MPD. In this case, the value of value is irrelevant.

    — value – A value of the event or timed metadata stream within the scope of the above scheme_uri,
      optional to include. When not present, no default value is defined – i.e., no filtering criterion is
      associated with the Event scheme identification.

    — dispatch_mode – Indicates when the event handler function identified in the callback_function
      argument should be called:

    — dispatch_mode = on_receive – provide the event/timed metadata sample data to the Application
      as soon as it is detected by DASH Player;

             — dispatch_mode = on_start – provide the event/timed metadata sample data to the App at
               the start time of Event message or at the presentation time of timed metadata sample.

             — The default mode for dispatch_mode should be set to on_receive, i.e. if the dispatch_mode
               is not passed during the subscribe_first operation, DASH Player should assume
               dispatch_mode = on_receive for that specific subscription.

    — callback_handler – the name of the function to be (asynchronously) called for an event
      corresponding to the specified scheme_uri/(value). The callback function is invoked with the
      arguments described below.

     NOTE 2     This document does not include any explicit signalling for the desired dispatch mode in MPD or
     timed metadata track. In the current design, the Application relays its desired dispatch mode to DASH Player
     when it subscribes to an event stream or timed metadata track. In this approach, the scheme owner should
     consider the dispatch mode as part of the scheme design and define whether any specific dispatch mode should
     be selected during the design of the scheme.

Upon successful execution of the event/timed metadata subscription call, the DASH Player shall monitor
the source of potential Event stream information, i.e., the MPD or incoming DASH Segments, for matching
values of the subscribed scheme_uri/(value). The parentheses around value are because this parameter
may be absent in the event/timed metadata subscription call. When a matching event/metadata sample
is detected, DASH Player invokes the function specified in the callback Function argument with the
following parameters. It should additionally provide to the Application the current presentation time at
DASH Player when performing the dispatch action. The parameters to be passed in this method are shown
in Table A.2.




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                 Table A.2   Event/timed metadata API parameters and datatypes

      API                             Inband                      Data         ‘on-             ‘on-
                      MPD event                      Metadata
      Parameter                       'emsg'                      Type         receive’         start’
                       EventStrea                      timed                         Y              Y
                                      scheme_id
       scheme_id       m@schemeId                    metadata      string
                                        _uri
                          Uri                        track URI
                       EventStrea                                                    Y              Y
          value                          value                     string
                        m@value
                                                       timed      unsigned           Y              N
                       Event@pres                    metadata     int(64)
      presentati                      presentat
                       entationTi                     sample         in
       on_time                        ion_time
                           me                        presentati   millisec
                                                      on time       onds
                                                                  unsigned           Y              N
                                                       timed
                                                                  int(32)
                       Event@dura     event_dur      metadata
        duration                                                     in
                          tion          ation         sample
                                                                  millisec
                                                     duration
                                                                    onds
                                                                  unsigned           Y              N
            id          Event@id           id
                                                                  int(32)
                                                       timed                         Y              Y
                                                                  unsigned
                                                     metadata
      message_da       Event@mess     message_d                   int(8) x
                                                      sample
          ta            ageData         ata[]                     messageS
                                                      data in
                                                                    ize
                                                       mdat
      Y= Yes, N= NO, O= Optional


When the duration of the event is unknown, the variable duration shall be set to its maximum value
(xFFFFFFFF = 4,294,967,295).
      NOTE 3  In the case of 'emsg' version 0, DASH Player is expected to calculate presentation_time from
      presentation_time_delta.

To remove a listener the unsubscribeEvent() function is called with the following arguments:
    — scheme_uri - A unique identifier scheme for the associated DASH Event stream of interest to the
      Application.

    — value

    — callback_handler

If a specific listener is given in the callback_function argument, then only that listener is removed for the
specified scheme_uri/(value). Omitting or passing null to the callback_function argument would remove
all event listeners for the specified scheme_uri/(value).
A.13.11           Detailed processing

As shown in Figure A.1, the event/metadata buffer holds the events or metadata samples to be processed.
We assume that this buffer has the same data structure to hold events or metadata. Table A.3 is used to
define this Event/Metadata Internal Object (EMIO).


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                       Table A.3      The Event/Metadata Internal Object (EMIO)
                             event-metadata-internal-object {
                                    string               scheme_id_uri;
                                    string               value;
                                    unsigned int(32) presentation_time;
                                    unsigned int(32) duration;
                                    unsigned int(32) id;
                                   unsigned int(8)       message_data();
                             }
The process for converting the received event/metadata sample to EMIO is as following:
   1. For MPD event
          a. For each period
                    i. Parse each EventStream
                   ii. Get Eventstream common parameters
                  iii. For each Event Stream:
                           1. Parse each event
                           2. For each event
                                  a. Calculate presentation time and event duration
                                  b. Add it to EMIO
   2. For inband event
          a. For each Segment
                    i. Parse event boxes as well as 'moof'
                   ii. Calculate EPT of segment
                  iii. For each event:
                           1. Map 'emsg' box parameters to EMIO
   3. For simple metadata samples
          a. For each Segment
                    i. Parse 'moof'
                   ii. For each sample:
                           1. Parse the format
                           2. map the data to EMIO

A.13.12           Recommended dispatch modes for DASH-specific events

In subclause 5.10.4, several DASH-specific events are defined. For all DASH-specific events, it is proposed
to use the on-receive dispatch mode.




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                                      Annex B
                                    (normative)

                                   MPD schema


The schema of the MPD for this document is provided at https://standards.iso.org/iso-
iec/23009/-1/ed-5/en (DASH-MPD.xsd).




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                                             Annex C
                                           (normative)

                   MIME type registration for MPD and other resources



C.1 General
This annex provides the formal MIME type registration for the MPD and other resources. It is referenced
from the registry at http://www.iana.org/.

C.2 MIME type and subtype
The MIME Type and Subtype are defined as follows:
       — MIME media type name:            application

       — MIME subtype name:               dash+xml

       — Required parameters:             None
       — Optional parameters:             The 'profiles' parameter as documented in Annex C.3.
       — Encoding considerations:         UTF-8




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      — Security considerations:      The MPD is a Media Presentation Description and contains
                                      references to other resources. It is coded in XML, and there
                                      are risks that deliberately malformed XML can cause security
                                      issues. In addition, an MPD can be authored that causes
                                      receiving clients to access other resources; if widely
                                      distributed, this can be used to cause a denial-of-service
                                      attack.
                                      The Media Presentation Description (MPD) format does not
                                      incorporate any active or executable content. However, other
                                      forms of material from outside sources can be referenced by
                                      an MPD, and this material can contain active or executable
                                      content. Such material is expected to be identified by its own
                                      MIME type, and the security considerations of that format
                                      should be taken into account.
                                      If operating in an insecure environment and required by the
                                      content/service provider, elements and attributes of MPD
                                      may be encrypted to protect their confidentiality by using the
                                      syntax and processing rules specified in the W3C
                                      Recommendation “XML Encryption Syntax and Processing”.
                                      If operating in an insecure environment and required by the
                                      content/service provider, the digital signing and verification
                                      procedures specified in the W3C Recommendation “XML
                                      Signature Syntax and Processing” may be used to protect data
                                      origin authenticity and integrity of the MPD.
      — Interoperability              The specification defines a platform-independent expression
        considerations:               of a presentation, and it is intended that wide interoperability
                                      can be achieved.
      — Published specification:      ISO/IEC 23009-1, Information technology — Dynamic adaptive
                                      streaming over HTTP (DASH) — Part 1: Media presentation
                                      description and segment formats
      — Applications which use this   Various
        media type:

      — Additional information:

         — File extension(s):          mpd

         — Intended usage:             common

      — Other information/general     None
        comment:

      — Author/Change controller:     ISO/IEC JTC1/SC29 (MPEG)


C.3 Profiles parameters

 Parameter name:      profiles




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  Parameter value:          The 'profiles' parameter is an optional parameter that indicates one or more
                            profiles to which the file claims conformance. The contents of this attribute shall
                            conform to either the pro-simple or pro-fancy productions of
                            IETF RFC 6381:2011, subclause 4.5. The profile identifiers reported in the MIME
                            type parameter should match identically the profiles reported in the profiles
                            attribute in the MPD itself (see Clause 8).
EXAMPLE
application/dash+xml;profiles="urn:mpeg:dash:profile:full:2011,urn:3GPP:P
SS:profile:DASH10"


C.4 MPD Anchors
C.4.1 General

URIs for resources with MIME type application/dash+xml may use URI fragment syntax to start a
presentation at a given time and a given state.
An MPD anchor is a set of Representations being presented and a time offset from the start of a period on
the media timeline. These are expressed using URI fragment syntax. This annex defines one temporal
parameter, position, and two context parameters, state and selection, in order to express the state of a
DASH media presentation.
URI fragment starts with the '#' character, and is a string terminating the URI. MPD fragments shall be an
ampersand-separated list of key=value pairs, with syntax and semantics of key and value parameters
defined in Table C.1 of C.4.2.
C.4.2 Parameters




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                                  Table C.1 — Parameters for MPD Anchors

 Key            Value                                     Semantics
 T              Time or time range which shall be in      If the parameter starts from an integer, it signifies the
                the same format as defined in W3C         time since the beginning of the period indicated by the
                Media Fragments URI 1.0 (basic)           period parameter.
                including validity rules and
                                                          If the t parameter is not present, its default value is
                recommended behaviour.
                                                          t=0 (i.e. start from the beginning of the Period).
                Optionally, prefixed comma-separated
                                                              NOTE If period parameter is not present, the
                pair of numbers. See C.4.4 for validity
                rules and recommended behaviour.              default Period is the first period of the
                                                              presentation.
                                                          If the parameter starts from prefix posix: it signifies
                                                          the absolute time range defined in seconds of
                                                          Coordinated Universal Time (ITU-R TF.460-6). This is
                                                          the number of seconds since 01-01-1970 00:00:00
                                                          UTC. Fractions of seconds may be optionally specified
                                                          down to the millisecond level.
                                                          The posix notation documents the absolute time in
                                                          the MPD.
                                                          This notation shall only be used if
                                                          MPD@availabilityStartTime is present.
                                                          This t=posix:xxx notation parameter shall not be
                                                          used if a period parameter is used. In addition, at
                                                          most one of the two parameters, period and t shall
                                                          be present in an anchor.
                                                          A special value "now' indicates the latest available
                                                          segment, i.e. "live edge".
 period         String                                    Value of a Period parameter Period@id. If period
                                                          parameter is not present, the default value of the @id
                                                          attribute value of the Period with the earliest
                                                          PeriodStart.
 track          string                                    Value of a single AdaptationSet@id
 group          string                                    Value of a single AdaptationSet@group



Percent coding, defined in IETF RFC 5986, shall be used for all reserved characters in parameter values.

      NOTE       Ability to address elements in the MPD depends on the Period@id, AdaptationSet@id
      and AdaptationSet@group. Hence MPD authors are encouraged to put these attributes explicitly into
      the MPD if they intend to make MPDs addressable.

C.4.3 Examples

42nd second of Period1 my.mpd#t=42&period=Period1
      my.mpd#t=42&period=Period1

42nd second from the start of the presentation, English 5.1 audio and video
      my.mpd#t=42&track=en51&track=vid


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A range from 60s to 180s of the presentation
     my.mpd#t=60,180

Start a live stream at Wed, 21 Jan 2015 20:04:05 GMT
     my.mpd#t=posix:1421870645

Start a live stream at Wed, 21 Jan 2015 20:04:05 GMT, English 5.1 audio and video
     my.mpd#t=posix:1421870645&track=en51&track=vid

A live stream range from Wed, 21 Jan 2015 20:04:05 GMT to Wed, 21 Jan 2015 23:44:33 GMT
     my.mpd#t=posix:1421870645,1421883873

Play the stream from the latest available segment to Wed, 21 Jan 2015 23:44:33 GMT
     my.mpd#t=posix:now,1421883873

Play the stream from the earliest available segment to Wed, 21 Jan 2015 23:44:33 GMT
     my.mpd#t=posix:0,1421883873

C.4.4 Handling UTC parameter

The following notation is used in this clause:
— N is the UTC time at the moment the URL is requested;

— E is the earliest available segment time in the current presentation at time N;

— F is the latest availability segment time in the current presentation;

— S is the start time in the posix anchor;

— T is the end time in the posix anchor.

If T is not specified, or larger than F, its value shall be considered to be equal to F.
If S is not specified, its value shall be considered to be equal to E. If S is “now”, its value is N.

C.5 MPD patch MIME type
The MIME Type and Subtype of the MPD Patch document as introduced in 5.15 are defined as follows:
       — MIME media type name:                 application

       — MIME subtype name:                    dash-patch+xml

       — Required parameters:                  None
       — Optional parameters:                  None
       — Encoding considerations:              8 bit. This media type always uses UTF-8.




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      — Security considerations:      MPD patches are based on the Patch Operations Framework
                                      defined in RFC 5261 and thus inherit the security
                                      considerations of that framework.
                                      In addition, the MPD patch is a patch to Media Presentation
                                      Description document and contains references to other
                                      resources. It is coded in XML, and there are risks that
                                      deliberately malformed XML can cause security issues. In
                                      addition, an MPD can be authored that causes receiving
                                      clients to access other resources; if widely distributed, this
                                      can be used to cause a denial-of-service attack.
                                      The MPD patch format does not incorporate any active or
                                      executable content. However, other forms of material from
                                      outside sources can be referenced by an MPD, and this
                                      material can contain active or executable content. Such
                                      material is expected to be identified by its own MIME type,
                                      and the security considerations of that format should be taken
                                      into account.
                                      If operating in an insecure environment and required by the
                                      content/service provider, elements and attributes of MPD
                                      may be encrypted to protect their confidentiality by using the
                                      syntax and processing rules specified in the W3C
                                      Recommendation “XML Encryption Syntax and Processing”.
                                      If operating in an insecure environment and required by the
                                      content/service provider, the digital signing and verification
                                      procedures specified in the W3C Recommendation “XML
                                      Signature Syntax and Processing” may be used to protect data
                                      origin authenticity and integrity of the MPD.
                                      The MPD Patch schema allow the inclusion elements and
                                      attributes from other namespaces. Additionally, a patch could
                                      be used to introduce material in other namespaces into the
                                      MPD itself. Such material, if processed as part of the patch or
                                      MPD, raises additional security considerations.
      — Interoperability              The specification defines a platform-independent expression
        considerations:               of a presentation, and it is intended that wide interoperability
                                      can be achieved.
      — Published specification:      ISO/IEC 23009-1, Information technology — Dynamic adaptive
                                      streaming over HTTP (DASH) — Part 1: Media presentation
                                      description and segment formats
      — Applications which use this   Various
        media type:

      — Additional information:

            File extension(s):        mpp

            Intended usage:           common




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       — Other information/general   None
         comment:

       — Author/Change controller:   ISO/IEC JTC1/SC29 (MPEG)




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                                                Annex D
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                                             DASH Metrics



D.1 General
This annex defines the ISO/IEC 23009-1 DASH Metrics. The normative aspects of the annex are defined
in D.4, namely the semantics of the metrics and the associated keys to be used for requesting the
collection of the metrics. The client reference model in D.2 and the observation points in D.3 serve as
background information.

D.2 DASH-Metrics client reference model
The DASH-Metrics client reference model is depicted in highlighting so-called observation points (OPs)
as defined in D.3.




                           Figure D.1 — DASH-Metrics client reference model

The DASH access client as defined in 4.2 issues HTTP requests (for DASH data structures), and receives
HTTP request responses (containing DASH data structures). Data structures may typically be MPDs,
Segments or partial Segments. This input/output interface from the network towards the DASH Client is
referred to as observation point 1 (OP1).
Furthermore, the DASH Client delivers encoded media samples to the DASH-enabled application for
further processing and may receive also commands from it. This input/output interface of the DASH
Client towards the DASH-enabled application is referred to as observation point 2 (OP2).
      NOTE       Further processing can include de-multiplexing (of audio/video) and/or decoding potentially
      involving several buffers.

Finally, the DASH-enabled application delivers decoded media samples to the media output, which
displays the media to the user. This output interface towards the user is referred to as observation point 3
(OP3).




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D.3 Definition of observation points
D.3.1 General

This clause defines the observation points as depicted in Figure D.1.
D.3.2 Observation point 1

The observation point 1 (OP1) is defined as:
— a set of TCP connections each defined by its destination IP address, initiation, connect and close
  times;

— a sequence of transmitted HTTP requests, each defined by its transmission time, contents, and the
  TCP connection on which it is sent; and

— for each HTTP response, the reception time and contents of the response header and the reception
  time of each byte of the response body.

     NOTE         The contents of the response body is fully defined by the contents of the request and response
     headers.

D.3.3 Observation point 2

The observation point 2 (OP2) consists of encoded media samples. Each encoded media sample is defined
as:
— media type;

— decoding time;

— presentation time;

— the @id of the Representation from which the sample is taken; and

— the delivery time.

D.3.4 Observation point 3

The observation point 3 (OP3) consists of decoded media samples. Each decoded media sample is defined
as:
— the media type;

— the presentation timestamp of the sample (media time);

— the actual presentation time of the sample (real time); and

— the @id of the Representation from which the sample is taken (the highest dependency level if the
  sample was constructed from multiple Representations).




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D.4 Semantics of the DASH metrics
D.4.1 General

This subclause provides the general QoE metric definitions and measurement framework.
The semantics are defined using an abstract syntax. Items in this abstract syntax have one of the following
primitive types (Integer, Real, Boolean, Enum, String) or one of the following compound types:
— Objects: an unordered sequence of (key, value) pairs, where the key always has string type and
  is unique within the sequence.

— List: an ordered list of items.

— Set: an unordered set of items.

Additionally, there are two kinds of timestamp defined, i.e. real time (wall-clock time) with type Real-
Time and media time with type Media-Time.
Where lists are defined, the name 'entry' is used to define the format of each entry, but since lists
contain unnamed entries, this name would not appear in any concrete syntax.
Each metric is defined as a named list of entries that logically contains the metric information for the
entire Media Presentation. Reporting of these lists, whether done at the end of the Media Presentation or
incrementally during the Media Presentation, is outside the scope of this document.
D.4.2 TCP connections

Table D.1 contains the metric defining the list of TCP connections. The key in Table D.1 shall be used to
refer to the metric as defined in Table D.1.
                                   Table D.1 — List of TCP connections

 Key                        Type             Description
        TcpList                  List                   List of HTTP request/response transactions
             Entry             Object                  An entry for a single HTTP request/response
              tcpid           Integer           Identifier of the TCP connection on which the HTTP request
                                                                          was sent.
               dest            String         IP Address of the interface over which the client is receiving the
                                                                          TCP data.
              topen          Real-Time        The time at which the connection was opened (sending time of
                                                       the initial SYN or connect socket operation).
              tclose         Real-Time           The time at which the connection was closed (sending or
                                                 reception time of FIN or RST or close socket operation).
            tconnect          Integer         Connect time in ms (time from sending the initial synchronize
                                               message (SYN) to receiving the acknowledgement (ACK) or
                                                      completion of the connect socket operation).
D.4.3 HTTP request/response transactions

Table D.2 contains the metric defining the List of HTTP Request/Response Transactions. The key in
Table D.2 shall be used to refer to the metric as defined in Table D.2.




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                            Table D.2 — List of HTTP request/response transactions

 Key                               Type        Description
 HttpList                          List        List of HTTP request/response transactions
       Entry                       Object      An entry for a single HTTP request/response
            tcpid                  Integer     Identifier of the TCP connection on which the HTTP request
                                               was sent.
            type                   Enum        This is an optional parameter and should not be included in
                                               HTTP request/response transactions for progressive
                                               download.
                                               The type of the request:
                                               — MPD

                                               —   XLink expansion

                                               —   Initialization Segment

                                               —   Index Segment

                                               —   Media Segment

                                               —   Bitstream Switching Segment

                                               —   Remote xlink element

                                               —   MPD patch

                                               —   other

            url                    String      The original URL (before any redirects or failures)
            actualurl              String      The actual URL requested, if different from above
            range                  String      The contents of the byte-range-spec part of the HTTP
                                               Range header.
            trequest               Real-Time   The real time at which the request was sent.
            tresponse              Real-Time   The real time at which the first byte of the response was
                                               received.
            responsecod            Integer     The HTTP response code.
            e
            interval               Integer     The duration of the throughput trace intervals (ms), for
                                               successful requests only.
            trace                  List        Throughput trace, for successful requests only.
                  Entry            Object      A single throughput measurement entry.
                        s          Real-Time   Measurement period start.
                        d          Integer     Measurement period duration (ms).
                        b          List        List of integers counting the bytes received in each trace
                                               interval within the measurement period.



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      NOTE 1     Information additional to that specified in the type can be returned, for example if a client makes a
      request for a initialization information from a self-initializing Media Segment then Segment Index may also be
      received.

      NOTE 2     All entries for a given object have the same URL and range and so can easily be correlated. If there
      were redirects or failures, there would be one entry for each redirect/failure. The redirect-to URL or alternative
      url (where multiple have been provided in the MPD) appears as the actualurl of the next entry with the
      same url value.

      NOTE 3     The periods in Entry are expected to be those periods where the client was actively reading from
      the TCP connections (i.e. they are expected to not include periods where the TCP connection is idle due to zero
      receive window).

The end of the last measurement period in the trace shall be the time at which the last byte of the
response was received.
The interval and trace shall be absent for redirect and failure records.
The key HttpList(n,type) where n is a positive integer is defined for an HttpList with an interval of
n ms and type is one of MPD, XLinkExpansion, InitializationSegment, MediaSegment,
IndexSegment BitstreamSwitchingSegment or other. If type is not present, all HTTP
transactions are requested to be collected. If type is present, it specifies that the HTTP transactions
concerning a resource equal to type are requested to be collected. Multiple keys HttpList(n,type)
with different values of n and type may be present for a single @metrics attribute value.
An HTTP transaction that is not finished within a QoE metric collection period shall not be included in
the metrics.
D.4.4 Representation switch events

Table D.3 defines the metric for Representation switch events. The key in Table D.3 shall be used to refer
to the metric as defined in Table D.3.
                                Table D.3 — List of Representation switch events

 Key                                 Type                       Description
 RepSwitchList                       List                       List of Representation switch events (a switch
                                                                event is the time at which the first HTTP request
                                                                for a new Representation, that is later presented, is
                                                                sent)
           Entry                     Object                     A Representation switch event.
                   t                 Real-Time                  Time of the switch event.
                   mt                Media-Time                 The media presentation time of the earliest access
                                                                unit (out of all media content components) played
                                                                out from the “to” Representation.
                   to                String                     value of Representation@id identifying the
                                                                switch-to Representation.
                   lto               Integer                    If not present, this metrics concerns the
                                                                Representation as a whole. If present, lto
                                                                indicates the value of
                                                                SubRepresentation@level within
                                                                Representation identifying the switch-to level of
                                                                the Representation.



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D.4.5 Buffer level

Table D.4 defines the metric for buffer level status events. The key in Table D.4 shall be used to refer to
the metric as defined in Table D.4.
                                      Table D.4 — List of buffer level

 Key                               Type              Description
 BufferLevel                       List              List of buffer occupancy level measurements during
                                                     playout at normal speed.
        Entry                      Object            One buffer level measurement.
                t                  Real-Time         Time of the measurement of the buffer level.
                level              Integer           Level of the buffer in milliseconds. Indicates the
                                                     playout duration for which media data of all active
                                                     media components is available starting from the
                                                     current playout time.
The key is BufferLevel(n), where n is a positive integer defined to refer to the metric in which the
buffer level is recorded every n ms.
D.4.6 Play list

Decoded samples are generally rendered in presentation time sequence, each at or close to its specified
presentation time. A compact Representation of the information flow can thus be constructed from a list
of time periods during which samples of a single Representation were continuously rendered, such that
each was presented at its specified presentation time to some specific level of accuracy (e.g. ±10 ms).
Such a sequence of periods of continuous delivery is started by a user action that requests playout to
begin at a specified media time (this can be a "play", "seek" or "resume" action) and continues until
playout stops either due to a user action, the end of the content, or a permanent failure.
Table D.5 defines the play list event metric. The key in Table D.5 shall be used to refer to the metric as
defined in Table D.5.
                                            Table D.5 — Play list

 Key                               Type             Description
 PlayList                          List             A list of playback periods. A playback period is the time
                                                    interval between a user action and whichever occurs
                                                    soonest of the next user action, the end of playback or a
                                                    failure that stops playback.
     Entry                         Object           A record of a single playback period.
         start                     Real-Time        Timestamp of the user action that starts the playback
                                                    period.
         mstart                    Media-Time       The presentation time at which playout was requested
                                                    by the user action.
         starttype                 Enum             Type of user action which triggered playout:




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 Key                        Type         Description
                                             — NewPlayout - New playout request (initial
                                               playout)
                                             — UserSeek – User seek request
                                             — Resume - Resume from pause
                                             — OtherRequest - Other user request (e.g. user-
                                               requested quality change)
                                             — StartOfCollection - Start of a metrics
                                               collection period (hence earlier entries in the
                                               play list not collected)
                                             — SpeedChange - User-requested change in
                                               playspeed, other than resume from paused


       trace                List         List of periods of continuous rendering of decoded
                                         samples.
         Entry              Objects      Single entry in the list.
            representatio   String       The value of the Representation@id of the
            nid                          Representation from which the samples were taken.
            subreplevel     Integer      If not present, this metrics concerns the Representation
                                         as a whole. If present, subreplevel indicates the
                                         greatest value of any
                                         Subrepresentation@level being rendered.
            start           Real-Time    The time at which the first sample was rendered.
            mstart          Media-Time   The presentation time of the first sample rendered.
            duration        Integer      The duration of the continuously presented samples
                                         (which is the same in real time and media time).
                                         “Continuously presented” means that the media clock
                                         continued to advance at the playout speed throughout
                                         the interval.
            playbackspeed   Real         The playback speed relative to normal playback speed
                                         (i.e.normal forward playback speed is 1.0).
            stopreason      Enum         The reason why continuous presentation of this
                                         Representation was stopped. Either:




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 Key                                 Type              Description
                                                            — RepresentationSwitch - Representation
                                                              switch (not relevant in case of progressive
                                                              download)

                                                            — Rebuffering - Rebuffering

                                                            — UserRequest - User request

                                                            — EndOfPeriod - End of Period

                                                            — EndOfContent - End of content

                                                            — EndOfCollection - End of a metrics
                                                              collection period

                                                            — Failure – Failure

                                                            — ClientPlaybackAction - Client-initiated
                                                              change in playback (e.g. seek or change in
                                                              playspeed), other than pausing to rebuffer



     NOTE      The trace can include entries for different representations that overlap in time, because multiple
     representations are being rendered simultaneously, for example one audio and one video Representation.

D.4.7 Device information

This metric contains information about the displayed video resolution as well as the physical screen
characteristics. If the video is rendered in full-screen mode, the video resolution usually coincides with
the characteristics of the full physical display. If the video is rendered in a smaller subwindow, the
characteristics of the actual video window shown are logged.
If known by the DASH Client, the physical screen width and the horizontal field-of-view are logged.
The metric is logged at the start of each QoE reporting period, and whenever the characteristics change
during the session (for instance if the device is rotated from horizontal to vertical orientation, or if the
subwindow size is changed).
Table D.6 defines the device information metrics. If an individual metric cannot be logged, its value is set
to 0 (zero).




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                               Table D.6 – Device information
Key                     Type         Description
DeviceInformationList   List         A list of device information objects.
   Entry                Object       A single object containing new device information.
      start             Real-Time    Timestamp when the device information was logged.
      mstart            Media-Time   The presentation time at which the device information was logged.
      videoWidth        Integer      The width of the displayed video, in screen pixels (not encoded video pixels).
      videoHeight       Integer      The height of the displayed video, in screen pixels (not encoded video pixels)
      screenWidth       Integer      The total width of the screen, in screen pixels
      screenHeight      Integer      The total height of the screen, in screen pixels
      pixelWidth        Real         The width of a screen pixel, in millimetres
      pixelHeight       Real         The height of a screen pixel, in millimetres
      fieldOfView       Real         The actual or estimated horizontal angle subtended at the eye by the screen,
                                     measured in degrees.




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                                               Annex E
                                             (normative)

                   Byte range requests with regular HTTP GET methods



E.1 Background
There are deployment environments where HTTP partial GET is not supported, or results in the return
of the entire, rather than partial target. This represents a problem for DASH Clients. It is expected that
these problems gradually disappear, but until this will be the case, a method is provided to not exclude
DASH Clients operating in these environments and service providers wanting to support such clients are
excluded from using this DASH standard to deploy media streaming services using the formats defined
in this document.
To address these requirements, the BaseURL@byteRange attribute may be present. If present, it
provides indication that resources offered in the MPD that are requested by a HTTP partial GET
(e.g. Segments for which HTTP-URLs contain byte ranges or Subsegments) may also be requested using
a regular HTTP GET and mapping the information that is otherwise added in the Range header in case
of a HTTP partial GET into the request URI of a regular HTTP GET request. It is expected that DASH Clients
only use this method if HTTP partial GET requests fail. If DASH Clients only have this alternative to
request segments or Subsegments, then it is expected that they request single units of segments or
Subsegments.

E.2 Construction rule
The BaseURL@byteRange attribute represents a template that may be used to construct a URL
requesting a byte range (a “byte range URL”) from a resource, given the original URL of the resource and
the required byte range. The result of issuing a GET request to this byte range URL without including the
HTTP Range header should be identical to the result of requesting the original URL with the byte range
specified in the HTTP Range header.
The BaseURL@byteRange contains a template string that contains one or more of the identifiers as
listed in Table E.1. The string shall contain identifiers $first$ and $last$ as specified in Table E.1.
The byte range URL shall be constructed from the template string by substituting the identifiers specified
in the first column of Table E.1 with the values specified in the second column of Table E.1. If the
$query$ identifier is not present in the template and the query portion of the original URL as defined
in IETF RFC 3986 is not empty, then the string “?” query shall be appended to the constructed URL.
If the template string contains unrecognized identifiers, then the result of the URL construction is
unspecified. In this case, it is expected that the DASH Client ignores the entire containing ByteRange
element and the processing of the MPD continues as if this ByteRange element was not present.
Strings outside identifiers shall only contain characters that permit to form a valid HTTP-URL according
to IETF RFC 3986.




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                            Table E.1 — Identifiers for Byte Range Templates

 $<Identifier>$         Substitution parameter
 $$                     Is an escape sequence, i.e. "$$" is replaced with a single "$"
 $base$                 The identifier shall be substituted by the scheme ":" hier-part of the original
                        URL as defined in IETF RFC 3986.
 $query$                The identifier shall be substituted by the query part of the original URL as defined in
                        IETF RFC 3986. If the query part of the original URL is empty then inclusion of this
                        identifier in the template shall cause removal of the separator character immediately
                        preceding the $query$ identifier in the template string if that character is not the "?"
                        character, or, otherwise, the separator character immediately following the $query$
                        identifier if present.
 $first$                The identifier shall be substituted by the byte offset of the first byte in a range and shall
                        be identical to the value of 'first-byte-pos' of 'byte-range-spec'
                        ofIETF RFC 7231:2014, 2.1, if this request would be executed using a partial GET
                        request.
 $last$                 The identifier is substituted by the byte offset of the last byte in the range; that is, the
                        byte positions specified are inclusive. It shall be identical to the value of 'last-
                        byte-pos' of 'byte-range-spec' of IETF RFC 7231:2014, 2.1, if this request
                        would be executed using a partial GET request.


E.3 Examples
NOTE   The URL examples below are intentionally not valid, resolable URLs and are just examples.

 Original URL                    http://cdn.example.com/movies/134532/audio/en/aac6
                                 4.mp4?token=8787r08f2gf087g28gf926
 Byte Range                      1876-23456
 BaseURL@byteRange               $base$/range/$first$-$last$
 Byte range URL                  http://cdn.example.com/movies/134532/audio/en/aac6
                                 4.mp4/range/1876-
                                 23456?token=8787r08f2gf087g28gf926


 Original URL                    http://cdn.example.com/movies/134532/audio/en/aac6
                                 4.mp4
 Byte Range                      1876-23456
 BaseURL@byteRange               $base$?$query$&range=$first$-$last$
 Byte range URL                  http://cdn.example.com/movies/134532/audio/en/aac6
                                 4.mp4?range=1876-23456




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 Original URL                      http://cdn.example.com/movies/134532/audio/en/aac6
                                   4.mp4?token=8787r08f2gf087g28gf926
 Byte Range                        1876-23456
 BaseURL@byteRange                 $base$?$query$&range=$first$-$last$
 Byte range URL                    http://cdn.example.com/movies/134532/audio/en/aac6
                                   4.mp4?token=8787r08f2gf087g28gf926&range=1876-
                                   23456




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                                               Annex F
                                            (informative)

            Guidelines for extending DASH with other delivery formats



F.1 Adding delivery formats to DASH
In order to support use with DASH, a delivery format should have the property that decoding and
playback of any portion of the media can be achieved using a subset of the media that is only a constant
amount larger than the portion of the media to be played.
For example, a delivery format following this property is one for which the media is stored as a header
followed by a sequence of small blocks, with the property that any block can be decoded and played out
given only that block and the header. The definition of these blocks and the mapping to the Subsegments
in this document are encouraged. A Subsegment may be defined as a contiguous time interval of a
Segment and a contiguous byte range of a Segment for which no overlap in both dimensions with any
other Subsegment in the Segment exists.
Additionally, it is desirable that the delivery format supports some kind of “index” which enables the byte
range within the Segment corresponding to any given time range to be efficiently discovered. A suitable
unit is the indexing of Subsegments. It should be possible to discover the position in the Segment of the
index without downloading the whole Segment. The position of the index may also be advertised in the
MPD or the index may be provided as a separate Index Segment. The Segment Index ('sidx') or
Subsegment Index (′ssix′), both defined in ISO/IEC 14496-12, may serve as a starting point and/or
may be directly applied to any other media format.

F.2 Media Presentation authoring rules
A specification for how to use a media container format with DASH should include:
— Definition of the MIME type for the Representation as a concatenation of Segments.

— Description of either a self-initializing Media Segment or the combination of an Initialization Segment
  and a Media Segment format.

In addition, the specification may further define:
— Index Segments;

— Bitstream switching segments;

— Interpretation of a stream access point (SAP), potentially different types as defined in subclause 4.5.2
  in the context of the media container format. (The SAP types are fully defined in ISO/IEC 14496-12
  and should not be re-defined, but the interpretation of those definitions in media-container-specific
  language may be necessary);

— Container-format-specific semantics for the @bitstreamSwitching, @segmentAlignment and
  @subsegmentAlignment. These should align with the definitions in this document.




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Representation attributes present in the MPD may also be repeated in the media itself, e.g. in an
Initialization Segment or a Media Segment. The media content should be provided such that no mismatch
between these two values occurs. If it does, the value in the media itself is expected to take precedence
over values expressed in the MPD, especially when used in the media decoding process.




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                                              Annex G
                                           (informative)

                               MPD Examples and MPD Usage


All examples documented in this annex are provided at https://standards.iso.org/iso-
iec/23009/-1/ed-5/en with the following file naming convention:
      example-G<subsection>[<order in subsection>].mpd


G.1 Example MPD for ISO Base media file format On Demand profile
This subclause provides a simple example for a static presentation with self-initializing Media Segments,
multiple languages, subtitles, content protection and multiple base URLs. This MPD document describes
content available from two sources (cdn1 and cdn2) that has audio available in English or French at rates
of 64 kbits and 32 kbits and subtitles in German. Six versions of the video are provided at bitrates
between 256 kbit/s and 2 Mbit/s in different spatial resolutions. Content protection is applied.
The Media Presentation complies with the ISO Base media file format On Demand profile as defined in
subclause 8.3.
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="static"
      mediaPresentationDuration="PT3256S"
      minBufferTime="PT1.2S"
      profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">

      <BaseURL>http://cdn1.example.com/</BaseURL>
      <BaseURL>http://cdn2.example.com/</BaseURL>

     <Period>
         <!-- English Audio -->
         <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="en" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
              <ContentProtection schemeIdUri="urn:uuid:706D6953-656C-5244-4D48-656164657221"/>
              <Representation id="1" bandwidth="64000">
                  <BaseURL>7657412348.mp4</BaseURL>
              </Representation>
              <Representation id="2" bandwidth="32000">
                  <BaseURL>3463646346.mp4</BaseURL>
              </Representation>
         </AdaptationSet>
         <!-- French Audio -->
         <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40.2" lang="fr"
 subsegmentAlignment="true" subsegmentStartsWithSAP="1">
              <ContentProtection schemeIdUri="urn:uuid:706D6953-656C-5244-4D48-656164657221"/>
              <Role schemeIdUri="urn:mpeg:dash:role:2011" value="dub"/>
              <Representation id="3" bandwidth="64000">
                  <BaseURL>3463275477.mp4</BaseURL>
              </Representation>
              <Representation id="4" bandwidth="32000">
                  <BaseURL>5685763463.mp4</BaseURL>
              </Representation>
         </AdaptationSet>
         <!-- Timed text -->



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         <AdaptationSet mimeType="application/ttml+xml" lang="de">
             <Role schemeIdUri="urn:mpeg:dash:role" value="subtitle"/>
             <Representation id="5" bandwidth="256">
                 <BaseURL>796735657.xml</BaseURL>
             </Representation>
         </AdaptationSet>
         <!-- Video -->
         <AdaptationSet mimeType="video/mp4" codecs="avc1.4d0228" subsegmentAlignment="true"
 subsegmentStartsWithSAP="2">
             <ContentProtection schemeIdUri="urn:uuid:706D6953-656C-5244-4D48-656164657221"/>
             <Representation id="6" bandwidth="256000" width="320" height="240">
                 <BaseURL>8563456473.mp4</BaseURL>
             </Representation>
             <Representation id="7" bandwidth="512000" width="320" height="240">
                 <BaseURL>56363634.mp4</BaseURL>
             </Representation>
             <Representation id="8" bandwidth="1024000" width="640" height="480">
                 <BaseURL>562465736.mp4</BaseURL>
             </Representation>
             <Representation id="9" bandwidth="1384000" width="640" height="480">
                 <BaseURL>41325645.mp4</BaseURL>
             </Representation>
             <Representation id="A" bandwidth="1536000" width="1280" height="720">
                 <BaseURL>89045625.mp4</BaseURL>
             </Representation>
             <Representation id="B" bandwidth="2048000" width="1280" height="720">
                 <BaseURL>23536745734.mp4</BaseURL>
             </Representation>
         </AdaptationSet>
     </Period>
 </MPD>




G.2 Example for ISO Base media file format Live profile
This subclause provides a simple example for a dynamic presentation, with multiple languages, multiple
base URLs, multiple video bitrates, and segments about two seconds in length for low latency from live
programming. At the time this MPD was fetched, 432 Segments of the dynamic presentation were
available so the wall clock time has been approximately 2011-12-25T12:44:24 UTC. All the video
Segments are aligned and start with a Stream Access Point. All the audio Segments are aligned so language
switching can be done with the non-language sound (e.g. music) seamlessly.
In this MPD, assuming that the first BaseURL element and the video Representation with id "v1" is
selected, and template results in http://cdn1.example.com/video/50000/$Time$.mp4v, the
segment list starting at number 0 results in
     http://cdn1.example.com/video/500000/0.mp4v
     http://cdn1.example.com/video/500000/180180.mp4v
     http://cdn1.example.com/video/500000/360360.mp4v
     http://cdn1.example.com/video/500000/540540.mp4v
     http://cdn1.example.com/video/500000/720720.mp4v
     ...

The Media Presentation conforms to the ISO Base media file format Live profile in subclause 8.4.
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="dynamic"
      minimumUpdatePeriod="PT2S"



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       timeShiftBufferDepth="PT30M"
       availabilityStartTime="2014-10-17T17:17:05Z"
       minBufferTime="PT4S"
       profiles="urn:mpeg:dash:profile:isoff-live:2011"
       publishTime="2014-10-17T17:17:05Z">

      <BaseURL>http://cdn1.example.com/</BaseURL>
      <BaseURL>http://cdn2.example.com/</BaseURL>

     <Period id="1">
         <!-- Video -->
         <AdaptationSet
                mimeType="video/mp4"
                codecs="avc1.4D401F"
                frameRate="30000/1001"
                segmentAlignment="true"
                startWithSAP="1">
             <BaseURL>video/</BaseURL>
             <SegmentTemplate timescale="90000" initialization="$Bandwidth%/init.mp4v"
 media="$Bandwidth%/$Time$.mp4v">
                 <SegmentTimeline>
                     <S t="0" d="180180" r="432"/>
                 </SegmentTimeline>
             </SegmentTemplate>
             <Representation id="v0" width="320" height="240" bandwidth="250000"/>
             <Representation id="v1" width="640" height="480" bandwidth="500000"/>
             <Representation id="v2" width="960" height="720" bandwidth="1000000"/>
         </AdaptationSet>
         <!-- English Audio -->
         <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="en" segmentAlignment="0"
 startWithSAP="1">
             <SegmentTemplate timescale="48000" initialization="audio/en/init.mp4a"
 media="audio/en/$Time$.mp4a">
                 <SegmentTimeline>
                     <S t="0" d="96000" r="432"/>
                 </SegmentTimeline>
             </SegmentTemplate>
             <Representation id="a0" bandwidth="64000" />
         </AdaptationSet>
         <!-- French Audio -->
         <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="fr" segmentAlignment="0"
 startWithSAP="1">
             <SegmentTemplate timescale="48000" initialization="audio/fr/init.mp4a"
 media="audio/fr/$Time$.mp4a">
                 <SegmentTimeline>
                     <S t="0" d="96000" r="432"/>
                 </SegmentTimeline>
             </SegmentTemplate>
             <Representation id="b0" bandwidth="64000" />
         </AdaptationSet>
     </Period>
 </MPD>



G.3 Example for MPEG-2 TS Simple profile
This subclause introduces a simple example for a static presentation, with multiple languages, multiple
base URLs, multiple video bitrates, and segments about four seconds in length.
In this MPD, assuming that the first BaseURL element and the Representation with id "1400kbps" is
selected,                  and                 template                 results                in
http://cdn1.example.com/SomeMovie_1400kbps_$Number%05$.ts, the segment list
starting at number 0 results in



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     http://cdn1.example.com/SomeMovie_1400kbps_00001.ts
     http://cdn1.example.com/SomeMovie_1400kbps_00002.ts
     http://cdn1.example.com/SomeMovie_1400kbps_00003.ts
     http://cdn1.example.com/SomeMovie_1400kbps_00004.ts
     http://cdn1.example.com/SomeMovie_1400kbps_00005.ts
     ...

The Media Presentation conforms to the profile in 8.7.
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="static"
      mediaPresentationDuration="PT6158S"
      availabilityStartTime="2011-05-10T06:16:42"
      minBufferTime="PT1.4S"
      profiles="urn:mpeg:dash:profile:mp2t-simple:2011"
      maxSegmentDuration="PT4S">

      <BaseURL>http://cdn1.example.com/</BaseURL>
      <BaseURL>http://cdn2.example.com/</BaseURL>

     <Period id="42" duration="PT6158S">
         <AdaptationSet
                mimeType="video/mp2t"
                codecs="avc1.4D401F,mp4a"
                frameRate="24000/1001"
                segmentAlignment="true"
                subsegmentAlignment="true"
                bitstreamSwitching="true"
                startWithSAP="2"
                subsegmentStartsWithSAP="2">
             <ContentComponent contentType="video" id="481"/>
             <ContentComponent contentType="audio" id="482" lang="en"/>
             <ContentComponent contentType="audio" id="483" lang="es"/>
             <BaseURL>SomeMovie/</BaseURL>
             <SegmentTemplate
                     media="$RepresentationID$_$Number%05d$.ts"
                     index="$RepresentationID$.sidx"
                     initialization="$RepresentationID$-init.ts"
                     bitstreamSwitching="$RepresentationID$-bssw.ts"
                     duration="4"/>
             <Representation id="720kbps" bandwidth="792000" width="640" height="368"/>
             <Representation id="1130kbps" bandwidth="1243000" width="704" height="400"/>
             <Representation id="1400kbps" bandwidth="1540000" width="960" height="544"/>
             <Representation id="2100kbps" bandwidth="2310000" width="1120" height="640"/>
             <Representation id="2700kbps" bandwidth="2970000" width="1280" height="720"/>
             <Representation id="3400kbps" bandwidth="3740000" width="1280" height="720"/>
         </AdaptationSet>
     </Period>
 </MPD>




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G.4 Example for multiple stereo views
This subclause introduces a simple example for a stereo video presentation from three cameras in one
line where one stereo view is from the left-hand two cameras and the second is from the right-hand two
cameras.
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="static"
      mediaPresentationDuration="PT3256S"
      minBufferTime="PT10.00S"
      profiles="urn:mpeg:dash:profile:isoff-main:2011">

      <BaseURL>http://www.example.com/</BaseURL>

      <!-- In this Period there are 3 views: coming from three lined up cameras: C1-C2-C3.
         C1+C2 and C2+C3 each form a stereo pair but C1+C3 does not.
         C2 is taken as the base view for MVC while C1 and C3 are enhancement views -->
      <Period start="PT0.00S" duration="PT2000.00S">
          <SegmentList>
              <Initialization sourceURL="seg-m-init.mp4"/>
          </SegmentList>
          <AdaptationSet mimeType="video/mp4" codecs="avc1.640828">
              <Role schemeIdUri="urn:mpeg:dash:stereoid:2011" value="l1 r0"/>
              <Representation id="C2" bandwidth="128000">
                  <SegmentList duration="10">
                      <SegmentURL media="seg-m1-C2view-1.mp4"/>
                      <SegmentURL media="seg-m1-C2view-2.mp4"/>
                      <SegmentURL media="seg-m1-C2view-3.mp4"/>
                  </SegmentList>
              </Representation>
          </AdaptationSet>
          <!-- The following Adaptation set contains a Representation functionally identical
           to the Representation in the previous Adaptation set. Therefore, these both
           have the same Representation@id. This is done for compatibility to 2D receivers
           that do not understand the schemeIdURI of the Role Descriptor and may ignore the
           Adaptation set -->
          <AdaptationSet mimeType="video/mp4" codecs="avc1.640828">
              <Representation id="C2" bandwidth="128000">
                  <SegmentList duration="10">
                      <SegmentURL media="seg-m1-C2view-1.mp4"/>
                      <SegmentURL media="seg-m1-C2view-2.mp4"/>
                      <SegmentURL media="seg-m1-C2view-3.mp4"/>
                  </SegmentList>
              </Representation>
          </AdaptationSet>
          <AdaptationSet mimeType="video/mp4" codecs="mvc1.760028">
              <Role schemeIdUri="urn:mpeg:dash:stereoid:2011" value="l0"/>
              <Representation id="C1" dependencyId="C2" bandwidth="192000">
                  <SegmentList duration="10">
                      <SegmentURL media="seg-m1-C1view-1.mp4"/>
                      <SegmentURL media="seg-m1-C1view-2.mp4"/>
                      <SegmentURL media="seg-m1-C1view-3.mp4"/>
                  </SegmentList>
              </Representation>
          </AdaptationSet>
          <AdaptationSet mimeType="video/mp4" codecs="mvc1.760028">
              <Role schemeIdUri="urn:mpeg:dash:stereoid:2011" value="r1"/>
              <Representation id="C3" dependencyId="C2" bandwidth="192000">
                  <SegmentList duration="10">
                      <SegmentURL media="seg-m1-C3view-1.mp4"/>




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                      <SegmentURL media="seg-m1-C3view-2.mp4"/>
                      <SegmentURL media="seg-m1-C3view-3.mp4"/>
                  </SegmentList>
              </Representation>
          </AdaptationSet>
      </Period>

      <!-- In this Period there are only 2 views: C1+C2 form a stereo pair;
         C2 is the base view for MVC and C1 is the enhancement view -->
     <Period duration="PT1256.00S">
         <SegmentList>
             <Initialization sourceURL="seg-m-init-2.mp4"/>
         </SegmentList>
         <AdaptationSet mimeType="video/mp4" codecs="avc1.640828">
             <Role schemeIdUri="urn:mpeg:dash:stereoid:2011" value="r0"/>
             <Representation id="C2" bandwidth="128000">
                 <SegmentList duration="10">
                     <SegmentURL media="seg-m1-C2view-201.mp4"/>
                     <SegmentURL media="seg-m1-C2view-202.mp4"/>
                 </SegmentList>
             </Representation>
         </AdaptationSet>
         <AdaptationSet mimeType="video/mp4" codecs="mvc1.760028">
             <Role schemeIdUri="urn:mpeg:dash:stereoid:2011" value="l0"/>
             <Representation id="C1" dependencyId="C2" bandwidth="192000">
                 <SegmentList duration="10">
                     <SegmentURL media="seg-m1-C1view-201.mp4"/>
                     <SegmentURL media="seg-m1-C1view-202.mp4"/>
                 </SegmentList>
             </Representation>
         </AdaptationSet>
     </Period>
 </MPD>




G.5 Example for SVC alternative streams
This simple example introduces a piece of SVC content split into three Representations with each
additional bitrate depending on the previous ones.
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="static"
      mediaPresentationDuration="PT3256S"
      minBufferTime="PT1.2S"
      profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">

      <BaseURL>http://cdn1.example.com/</BaseURL>
      <BaseURL>http://cdn2.example.com/</BaseURL>

      <!-- In this Period the SVC stream is split into three representations -->
      <Period>
          <AdaptationSet
                 subsegmentAlignment="true"
                 subsegmentStartsWithSAP="2"
                 minBandwidth="512000"
                 maxBandwidth="1024000"
                 width="640"
                 height="480"
                 frameRate="30"
                 lang="en">



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             <!-- Independent Representation -->
             <Representation
                     mimeType="video/mp4"
                     codecs="avc1.4D401E,mp4a.40"
                     id="tag5"
                     bandwidth="512000">
                 <BaseURL>video-512k.mp4</BaseURL>
                 <SegmentBase indexRange="0-4332"/>
             </Representation>
             <!-- Representation dependent on above -->
             <Representation
                     mimeType="video/mp4"
                     codecs="avc2.56401E"
                     id="tag6"
                     dependencyId="tag5"
                     bandwidth="768000">
                 <BaseURL>video-768k.mp4</BaseURL>
                 <SegmentBase indexRange="0-3752"/>
             </Representation>
             <!-- Representation dependent on both above -->
             <Representation
                     mimeType="video/mp4"
                     codecs="avc2.56401E"
                     id="tag7"
                     dependencyId="tag5 tag6"
                     bandwidth="1024000">
                 <BaseURL>video-1024k.mp4</BaseURL>
                 <SegmentBase indexRange="0-3752"/>
             </Representation>
         </AdaptationSet>
     </Period>
 </MPD>




G.6 Example for trick play support
This subclause introduces a simple example for using Sub-Representations to support layered coding.
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="static"
      mediaPresentationDuration="PT3256S"
      minBufferTime="PT1.2S"
      profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">

      <BaseURL>http://cdn1.example.com/</BaseURL>
      <BaseURL>http://cdn2.example.com/</BaseURL>

     <!-- Period with a multiplexed stream with subrepresentations
        described for use with fast forward -->
     <Period>
         <AdaptationSet
                 mimeType="video/mp4"   codecs="avc2.4D401E,avc1.4D401E,mp4a.40"
                 width="640" height="480" frameRate="30" lang="en"
                 subsegmentAlignment="true" subsegmentStartsWithSAP="2">
              <ContentComponent id="0"   contentType="video"/>
              <ContentComponent id="1"   contentType="audio"/>
              <Representation id="tag0" bandwidth="512000">
                  <BaseURL>video-512k.mp4</BaseURL>
                  <SubRepresentation level="0" contentComponent="0" bandwidth="128000"
 codecs="avc1.4D401E" maxPlayoutRate="4"/>



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                 <SubRepresentation level="1" dependencyLevel="0" contentComponent="0"
 bandwidth="320000" codecs="avc2.4D401E"/>
                 <SubRepresentation level="2" contentComponent="1" bandwidth="64000"
 codecs="mp4a.40"/>
                 <SegmentBase indexRange="7632-7632" />
             </Representation>
         </AdaptationSet>
     </Period>
 </MPD>




G.7 Example for content protected by multiple schemes
In the example below, example.com is a provider of CDN services and also a hosting service for movie
service providers MoviesSP. The English audio and the video tracks are encrypted and licensed by
MoviesSP. However, the French audio track is encrypted and licensed by a different service provider.
A hypothetical DRM standardization organization has registered a Scheme Type 'ZZZZ' with MP4REG
and documented how scheme specific licensing information is stored entirely within the content so there
is no additional information provided in the ContentProtection element. Since the scheme type is
registered and the rules for its use are documented, the "urn:mpeg:dash:mp4protection:2011"
is used for the @schemeIdUri and "ZZZZ" is the assigned @value.
In addition, a second DRM scheme is used that comes from a DRM vendor who has published
documentation of their system that declares that they use the DASH ContentProtection element
with a @schemeIdUri attribute value "http://example.net/052011/drm". (This DRM vendor
owns the domain example.net as of May, 2011.) Documentation for this scheme states that there must
always be two URLs in the ContentProtection element that are placed in elements defined in the
http://example.net/052011/drm namespace. The License element contains a license token and
the Content element contains a content token. Regardless of which service provider uses the protection
product from this DRM vendor, these rules must always be followed.
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xmlns:drm="http://example.net/052011/drm"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="static"
      mediaPresentationDuration="PT3256S"
      minBufferTime="PT10.00S"
      profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">

      <BaseURL>http://cdn.example.com/movie23453235/</BaseURL>

      <Period>
          <!-- Audio protected with a specified license -->
          <AdaptationSet    mimeType="audio/mp4" codecs="mp4a.40" lang="en"
                  subsegmentStartsWithSAP="1"
                  subsegmentAlignment="true">
               <ContentProtection schemeIdUri="http://example.net/052011/drm">

 <drm:License>http://MoviesSP.example.com/protect?license=kljklsdfiowek</drm:License>

 <drm:Content>http://MoviesSP.example.com/protect?content=oyfYvpo8yFyvyo8f</drm:Content>
             </ContentProtection>
             <Representation id="1" bandwidth="64000">
                 <BaseURL>audio/en/64.mp4</BaseURL>



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             </Representation>
         </AdaptationSet>
         <!-- Audio protected with embedded information defined by 'ZZZZ' -->
         <AdaptationSet   mimeType="audio/mp4" codecs="mp4a.40" lang="fr"
                subsegmentStartsWithSAP="1"
                subsegmentAlignment="true">
             <ContentProtection schemeIdUri=" urn:mpeg:dash:mp4protection:2011" value="ZZZZ"/>
             <Representation id="3" bandwidth="64000">
                 <BaseURL>audio/fr/64.mp4</BaseURL>
             </Representation>
         </AdaptationSet>
         <!-- Timed text in the clear -->
         <AdaptationSet   mimeType="application/ttml+xml" lang="de">
             <Representation id="5" bandwidth="256">
                 <BaseURL>subtitles/de.xml</BaseURL>
             </Representation>
         </AdaptationSet>
         <!-- Video protected with a specified license -->
         <AdaptationSet   mimeType="video/mp4" codecs="avc1" subsegmentAlignment="true"
 subsegmentStartsWithSAP="2">
             <ContentProtection schemeIdUri="http://example.net/052011/drm">

 <drm:License>http://MoviesSP.example.com/protect?license=jfjhwlsdkfiowkl</drm:License>

 <drm:Content>http://MoviesSP.example.com/protect?content=mslkfjsfiowelkfl</drm:Content>
             </ContentProtection>
             <BaseURL>video/</BaseURL>
             <Representation id="6" bandwidth="256000" width="320" height="240">
                 <BaseURL>video256.mp4</BaseURL>
             </Representation>
             <Representation id="7" bandwidth="512000" width="320" height="240">
                 <BaseURL>video512.mp4</BaseURL>
             </Representation>
             <Representation id="8" bandwidth="1024000" width="640" height="480">
                 <BaseURL>video1024.mp4</BaseURL>
             </Representation>
         </AdaptationSet>
     </Period>
 </MPD>




G.8 Example for usage of Role descriptor
In the following MPD example, "supplementary" audio Representations with ids "31" or "32" can be
presented together with "main" video Representation with id "11" or "12" since Viewpoint descriptors
are equivalent, i.e. the @schemeIdUri and the @value are equivalent. Similarly, the
"supplementary" audio Representation with ids "41" or "42" can be presented together with
"alternate" video Representations with ids "21" and "22".
      NOTE     The MPD is not complete and only provides a description of the concept.

 <?xml version="1.0" encoding="UTF-8"?>
 <!-- Attention: this is not a complete MPD and thus will not validate against the MPD Schema -->
 <MPD
       xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
       xmlns="urn:mpeg:dash:schema:mpd:2011"
       xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
       type="static"
       mediaPresentationDuration="PT3256S"
       minBufferTime="PT10.00S"
       profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">
      <Period>
          <AdaptationSet mimeType="video/mp4" group="1">



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               <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
               <Viewpoint schemeIdUri="urn:mpeg:dash:viewpoint:2011" value="vp1"/>
               <Representation id="11" bandwidth="1024000"><!-- ... --></Representation>
               <Representation id="12" bandwidth="512000"><!-- ... --></Representation>
               <!-- ... -->
           </AdaptationSet>

           <AdaptationSet mimeType="video/mp4" group="1">
               <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
               <Viewpoint schemeIdUri="urn:mpeg:dash:viewpoint:2011" value="vp2"/>
               <Representation id="11" bandwidth="1024000"><!-- ... --></Representation>
               <Representation id="12" bandwidth="512000"><!-- ... --></Representation>
               <!-- ... -->
           </AdaptationSet>

           <AdaptationSet mimeType="audio/mp4" group="1">
               <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
               <Role schemeIdUri="urn:mpeg:dash:role:2011" value="supplementary"/>
               <Viewpoint schemeIdUri="urn:mpeg:dash:viewpoint:2011" value="vp1"/>
               <Representation id="11" bandwidth="1024000"><!-- ... --></Representation>
               <Representation id="12" bandwidth="512000"><!-- ... --></Representation>
               <!-- ... -->
           </AdaptationSet>

           <AdaptationSet mimeType="audio/mp4" group="1">
               <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
               <Role schemeIdUri="urn:mpeg:dash:role:2011" value="supplementary"/>
               <Viewpoint schemeIdUri="urn:mpeg:dash:viewpoint:2011" value="vp2"/>
               <Representation id="11" bandwidth="1024000"><!-- ... --></Representation>
               <Representation id="12" bandwidth="512000"><!-- ... --></Representation>
               <!-- ... -->
           </AdaptationSet>

     </Period>
     <!-- ... -->
 </MPD>




G.9 Example for usage of Event Messaging
In the following MPD example, two types of Events are added. In the Event stream with
@schemeIdUri="urn:org:example:xscte3", time-synchronous events are added to the
program. The events have a presentation time and a presentation duration. In addition, one
Representation carries the MPD validity expiry information in an Inband event stream and an ad break
information for ad insertion (assuming ANSI/SCTE 35 fields are used to represent the ad break
parameters).
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="dynamic"
      minimumUpdatePeriod="PT2S"
      timeShiftBufferDepth="PT30M"
      availabilityStartTime="2011-12-25T12:30:00"
      minBufferTime="PT4S"
      profiles="urn:mpeg:dash:profile:isoff-live:2011"
      publishTime="2011-12-25T12:30:00">

      <BaseURL>http://cdn1.example.com/</BaseURL>
      <BaseURL>http://cdn2.example.com/</BaseURL>



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     <Period id="1">
         <EventStream schemeIdUri="urn:uuid:XYZY" timescale="1000" value="call">
             <Event presentationTime="0" duration="10000" id="0" messageData="+ 1 800 10101010"/>
             <Event presentationTime="20000" duration="10000" id="1" messageData="+ 1 800
 10101011"/>
             <Event presentationTime="40000" duration="10000" id="2" messageData="+ 1 800
 10101012"/>
             <Event presentationTime="60000" duration="10000" id="3" messageData="+ 1 800
 10101013"/>
         </EventStream>
         <!-- Video -->
         <AdaptationSet
                mimeType="video/mp4"
                codecs="avc1.4D401F"
                frameRate="30000/1001"
                segmentAlignment="true"
                startWithSAP="1">
             <BaseURL>video/</BaseURL>
             <SegmentTemplate timescale="90000" initialization="$Bandwidth%/init.mp4v"
 media="$Bandwidth%/$Time$.mp4v">
                 <SegmentTimeline>
                     <S t="0" d="180180" r="432"/>
                 </SegmentTimeline>
             </SegmentTemplate>
             <Representation id="v0" width="320" height="240" bandwidth="250000"/>
             <Representation id="v1" width="640" height="480" bandwidth="500000"/>
             <Representation id="v2" width="960" height="720" bandwidth="1000000"/>
         </AdaptationSet>
         <!-- English Audio -->
         <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="en" segmentAlignment="0"
 startWithSAP="1">
             <SegmentTemplate timescale="48000" initialization="audio/en/init.mp4a"
 media="audio/en/$Time$.mp4a">
                 <SegmentTimeline>
                     <S t="0" d="96000" r="432"/>
                 </SegmentTimeline>
             </SegmentTemplate>
             <Representation id="a0" bandwidth="64000">
                 <InbandEventStream schemeIdUri="urn:mpeg:dash:event:2012"
 value="1"></InbandEventStream>
                 <InbandEventStream schemeIdUri="urn:org:example:event"
 value="avail"></InbandEventStream>
             </Representation>
         </AdaptationSet>
         <!-- French Audio -->
         <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="fr" segmentAlignment="0"
 startWithSAP="1">
             <SegmentTemplate timescale="48000" initialization="audio/fr/init.mp4a"
 media="audio/fr/$Time$.mp4a">
                 <SegmentTimeline>
                     <S t="0" d="96000" r="432"/>
                 </SegmentTimeline>
             </SegmentTemplate>
             <Representation id="b0" bandwidth="64000" />
         </AdaptationSet>
     </Period>
 </MPD>



The 'emsg' box may contain information as follows:
       scheme_id_uri               = "urn:org:example:xscte35"
       value                       = 0x0602
       timescale                   = 1000
       presentation_time_delta     = 8000


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         event_duration                 = 0xFFFFFFFF
         id                             = 12356789
         message_data[] =
                                   <metadata label="Ad Insertion Trigger"
                                       type="http://www.example.com/schemas/xscte35"
                                       namespace="xscte35"
                                       xmlns:xscte35="http://www.example.com/schemas/xscte35">
                                       <xscte35:signal>
                                           <id name="segmentEventId" value="1" />
                                           <time name="start" value="10" />
                                           <time name="end" value="20" />
                                       </xscte35:signal>
                                   </metadata>



G.10 Example for MPD Adaptation Set Linking
This example shows how to describe MPD Adaptation Set Linking scheme as defined in subclause 5.8.5.9.
In this example, main video is the server-based mosaic channel as described in ISO/IEC TR 23009-3.
The screen position in main video and MPD linking for each mosaic video are described by SRD scheme
and MPD Adaptation Set Linking scheme in the separate Adaptation Set(s).
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD xmlns="urn:mpeg:dash:schema:mpd:2011" xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd" type="dynamic"
 availabilityStartTime="2015-05-30T09:30:10Z" minimumUpdatePeriod="PT10S" minBufferTime="PT1S"
 profiles="urn:mpeg:dash:profile:isoff-live:2011" publishTime="2015-05-30T09:30:10Z">
         <ProgramInformation>
                 <Title>Example of a DASH Media Presentation Description using Spatial Relationships
 Description to indicate tiles of a video</Title>
         </ProgramInformation>
         <Period id="1">
                 <!-- Mosaic Video -->
                 <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
                         <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
 value="0,0,0,2,2,2,2"/>
                         <SupplementalProperty schemeIdUri="urn:mpeg:dash:sai:2014" value="1"/>
                         <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                         <Representation id="1" mimeType="video/mp4" codecs="avc1.42c01e"
 width="640" height="360" bandwidth="226597" startWithSAP="1">
                                 <BaseURL> full_video_small.mp4</BaseURL>
                                 <SegmentBase indexRangeExact="true" indexRange="837-988"/>
                         </Representation>
                         <Representation id="2" mimeType="video/mp4" codecs="avc1.42c01f"
 width="1280" height="720" bandwidth="553833" startWithSAP="1">
                                 <BaseURL> full_video_hd.mp4</BaseURL>
                                 <SegmentBase indexRangeExact="true" indexRange="838-989"/>
                         </Representation>
                         <Representation id="3" mimeType="video/mp4" codecs="avc1.42c033"
 width="3840" height="2160" bandwidth="1055223" startWithSAP="1">
                                 <BaseURL> full_video_4k.mp4</BaseURL>
                                 <SegmentBase indexRangeExact="true" indexRange="839-990"/>
                         </Representation>
                 </AdaptationSet>
                 <!-- Tile 1/Service1 -->
                 <EmptyAdaptationSet>
                         <EssentialProperty schemeIdUri="urn:mpeg:dash:mpd-as-linking:2015"
 value="http://example.com/service1/my.mpd#period=1&amp;as=video"/>
                         <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
 value="0,0,0,1,1,2,2"/>
     </EmptyAdaptationSet>



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                <!--Tile /Service 2 -->
    <EmptyAdaptationSet>
                        <EssentialProperty schemeIdUri="urn:mpeg:dash:mpd-as-linking:2015"
value="http://example.com/service2/my.mpd#period=1&amp;as=video timeOffset=70000"/>
                        <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
value="0,1,0,1,1"/>
    </EmptyAdaptationSet>
                <!--Tile 3/Service 3 -->
    <EmptyAdaptationSet>
                        <EssentialProperty schemeIdUri="urn:mpeg:dash:mpd-as-linking:2015"
value="http://example.com/service3/my.mpd#period=1&amp;as=video timeOffset=100000"/>
                        <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
value="0,0,1,1,1"/>
    </EmptyAdaptationSet>
                <!--Tile 4/Service 4 -->
    <EmptyAdaptationSet>
                        <EssentialProperty schemeIdUri="urn:mpeg:dash:mpd-as-linking:2015"
value="http://example.com/service4/my.mpd#period=1&amp;as=video timeOffset=120000"/>
                        <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
value="0,1,1,1,1"/>
    </EmptyAdaptationSet>
        </Period>
</MPD>




G.11 Remote Element Entity
<?xml version="1.0" encoding="utf-8"?>
<!--Single content continuing at the period boundary.-->
<MPD xmlns="urn:mpeg:dash:schema:mpd:2011" xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd" minBufferTime="PT1.500000S"
type="static" mediaPresentationDuration="PT704S" profiles="urn:mpeg:dash:profile:isoff-
live:2011">
        <Period id="0" duration="PT250S">
               <AssetIdentifier schemeIdUri="urn:org:dashif:asset-id:2013"
value="md:cid:EIDR:10.5240%2f0EFB-02CD-126E-8092-1E49-W"/>
               <AdaptationSet segmentAlignment="true" maxWidth="1280" maxHeight="720"
maxFrameRate="24" par="16:9">
                       <Representation id="1" mimeType="video/mp4" codecs="avc1.4d401f"
width="1280" height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="980104">
                               <SegmentTemplate timescale="12288" presentationTimeOffset="1024"
duration="24576" media="BBB_720_1M_video_$Number$.mp4" startNumber="1"
initialization="BBB_720_1M_video_init.mp4"/>
                       </Representation>
                       <Representation id="2" mimeType="video/mp4" codecs="avc1.4d401f"
width="1280" height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="1950145">
                               <SegmentTemplate timescale="12288" presentationTimeOffset="1024"
duration="24576" media="BBB_720_2M_video_$Number$.mp4" startNumber="1"
initialization="BBB_720_2M_video_init.mp4"/>
                       </Representation>
                       <Representation id="3" mimeType="video/mp4" codecs="avc1.4d401f"
width="1280" height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="3893089">
                               <SegmentTemplate timescale="12288" presentationTimeOffset="1024"
duration="24576" media="BBB_720_4M_video_$Number$.mp4" startNumber="1"
initialization="BBB_720_4M_video_init.mp4"/>
                       </Representation>
               </AdaptationSet>
               <AdaptationSet segmentAlignment="true">
                       <Representation id="4" mimeType="audio/mp4" codecs="mp4a.40.29"
audioSamplingRate="48000" startWithSAP="1" bandwidth="33434">
                               <AudioChannelConfiguration
schemeIdUri="urn:mpeg:dash:23003:3:audio_channel_configuration:2011" value="2"/>




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                                 <SegmentTemplate timescale="48000" duration="94175"
 media="BBB_32k_$Number$.mp4" startNumber="1" initialization="BBB_32k_init.mp4"/>
                         </Representation>
                 </AdaptationSet>
         </Period>
         <Period xlink:href="example_G11_remote.period.xml" xlink:actuate="onRequest"
 xmlns:xlink="http://www.w3.org/1999/xlink"/>
         <Period id="2" duration="PT344S">
                 <AssetIdentifier schemeIdUri="urn:org:dashif:asset-id:2013"
 value="md:cid:EIDR:10.5240%2f0EFB-02CD-126E-8092-1E49-W"/>
                 <AdaptationSet segmentAlignment="true" maxWidth="1280" maxHeight="720"
 maxFrameRate="24" par="16:9">
                         <Representation id="1" mimeType="video/mp4" codecs="avc1.4d401f"
 width="1280" height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="980104">
                                 <SegmentTemplate timescale="12288" presentationTimeOffset="3073024"
 duration="24576" media="BBB_720_1M_video_$Number$.mp4" startNumber="126"
 initialization="BBB_720_1M_video_init.mp4"/>
                         </Representation>
                         <Representation id="2" mimeType="video/mp4" codecs="avc1.4d401f"
 width="1280" height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="1950145">
                                 <SegmentTemplate timescale="12288" presentationTimeOffset="3073024"
 duration="24576" media="BBB_720_2M_video_$Number$.mp4" startNumber="126"
 initialization="BBB_720_2M_video_init.mp4"/>
                         </Representation>
                         <Representation id="3" mimeType="video/mp4" codecs="avc1.4d401f"
 width="1280" height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="3893089">
                                 <SegmentTemplate timescale="12288" presentationTimeOffset="3073024"
 duration="24576" media="BBB_720_4M_video_$Number$.mp4" startNumber="126"
 initialization="BBB_720_4M_video_init.mp4"/>
                         </Representation>
                 </AdaptationSet>
                 <AdaptationSet segmentAlignment="true">
                         <Representation id="4" mimeType="audio/mp4" codecs="mp4a.40.29"
 audioSamplingRate="48000" startWithSAP="1" bandwidth="33434">
                                 <AudioChannelConfiguration
 schemeIdUri="urn:mpeg:dash:23003:3:audio_channel_configuration:2011" value="2"/>
                                 <SegmentTemplate timescale="48000" presentationTimeOffset="11964416"
 duration="94175" media="BBB_32k_$Number$.mp4" startNumber="126"
 initialization="BBB_32k_init.mp4"/>
                         </Representation>
                 </AdaptationSet>
         </Period>
 </MPD>



Content of remote period element:
 <?xml version="1.0" encoding="UTF-8"?>
 <Period xmlns="urn:mpeg:dash:schema:mpd:2011" xmlns:xsi="http://www.w3.org/2001/XMLSchema-
 instance" xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
         id="1" duration="PT110S" start="PT250S">
   <AdaptationSet segmentAlignment="true" maxWidth="1280" maxHeight="720" maxFrameRate="24"
 par="16:9">
     <Representation id="1" mimeType="video/mp4" codecs="avc1.4d401f" width="1280" height="720"
 frameRate="24" sar="1:1" startWithSAP="1" bandwidth="927434">
       <SegmentTemplate timescale="12288" presentationTimeOffset="1024" duration="61440"
 media="ED_720_1M_MPEG2_video_$Number$.mp4" startNumber="1"
 initialization="ED_720_1M_MPEG2_video_init.mp4" />
     </Representation>
     <Representation id="2" mimeType="video/mp4" codecs="avc1.4d401f" width="1280" height="720"
 frameRate="24" sar="1:1" startWithSAP="1" bandwidth="1865663">




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       <SegmentTemplate timescale="12288" presentationTimeOffset="1024" duration="61440"
 media="ED_720_2M_MPEG2_video_$Number$.mp4" startNumber="1"
 initialization="ED_720_2M_MPEG2_video_init.mp4" />
     </Representation>
     <Representation id="3" mimeType="video/mp4" codecs="avc1.4d401f" width="1280" height="720"
 frameRate="24" sar="1:1" startWithSAP="1" bandwidth="3750115">
       <SegmentTemplate timescale="12288" presentationTimeOffset="1024" duration="61440"
 media="ED_720_4M_MPEG2_video_$Number$.mp4" startNumber="1"
 initialization="ED_720_4M_MPEG2_video_init.mp4" />
     </Representation>
   </AdaptationSet>
   <AdaptationSet segmentAlignment="true">
     <Representation id="4" mimeType="audio/mp4" codecs="mp4a.40.29" audioSamplingRate="48000"
 startWithSAP="1" bandwidth="33026">
       <AudioChannelConfiguration
 schemeIdUri="urn:mpeg:dash:23003:3:audio_channel_configuration:2011" value="2" />
       <SegmentTemplate timescale="48000" duration="239615" media="ED_MPEG2_32k_$Number$.mp4"
 startNumber="1" initialization="ED_MPEG2_32k_init.mp4" />
     </Representation>
   </AdaptationSet>
 </Period>


      NOTE      The example code is accessible here: https://standards.iso.org/iso-iec/23009/-1/ed-5/en
      (example_G11_remote.period.xml)

G.12 Directory Limit Support in Segment Template Based Delivery
In certain cases, if Segments are stored in directories and Segments, then the directory limit may be
reached. For example, consider a 9 hour asset with 2 second Segment duration with server directory limit
of 1 000 files. This VOD asset will result in 16 200 segments. With a server directory limit of 1 000 files
per directory on the server, this would require 17 directories to store the segments.
Segment Templates can only be changed at Period boundaries. However, by using Period continuity, this
issue can be solved in order to ensure continuous playout across Periods. Assuming a directory limit of
1 000 files, the following may be done:
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD
 xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xmlns="urn:mpeg:dash:schema:mpd:2011"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
 type="dynamic" minimumUpdatePeriod="PT10S"
 timeShiftBufferDepth="PT600S"
 minBufferTime="PT2S"
 profiles="urn:mpeg:dash:profile:isoff-main:2011"
 publishTime="2014-10-17T17:17:05Z"
 availabilityStartTime="2014-10-17T17:17:05Z">
   <Period id="1" start="PT0S">
    <BaseURL> http://example.com/1/</BaseURL>
 <SegmentTemplate media="./$RepresentationID$/$Number$.m4s" initialization="$RepresentationID$-
 init.mp4"/>
      <!-- Video -->
      <AdaptationSet id="1" mimeType="video/mp4" codecs="hev1.A1.80.L93.B0" segmentAlignment="true"
 startWithSAP="1">
        <SegmentTemplate timescale="25" duration="25"/>
        <Representation id="v2048" bandwidth="2048000"/>
        <Representation id="v1024" bandwidth="1024000"/>
        <Representation id="v512" bandwidth="512000"/>
        <Representation id="v128" bandwidth="128000"/>
      </AdaptationSet>
      <!-- Audio -->




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     <AdaptationSet id="2" mimeType="audio/mp4" codecs="mp4a.40.2" segmentAlignment="true"
 startWithSAP="1" bitstreamSwitching="true">
        <SegmentTemplate timescale="20" duration="20"/>
        <Representation id="a128" bandwidth="128000"/>
            <Representation id="a64" bandwidth="64000"/>
     </AdaptationSet>
   </Period>
   <Period id="2" start="PT1000S">
    <BaseURL> http://example.com/2/</BaseURL>
 <SegmentTemplate media="./$RepresentationID$/$Number$.m4s" initialization="$RepresentationID$-
 init.mp4"/>
     <!-- Video -->
     <AdaptationSet id="1" mimeType="video/mp4" codecs="hev1.A1.80.L93.B0" segmentAlignment="true"
 startWithSAP="1">
        <SupplementalProperty schemeIdUri="urn:mpeg:dash:period-continuity:2015" value="1"/>
        <SegmentTemplate timescale="25" duration="25" presentationTimeOffset="25000"/>
        <Representation id="v2048" bandwidth="2048000"/>
        <Representation id="v1024" bandwidth="1024000"/>
        <Representation id="v512" bandwidth="512000"/>
        <Representation id="v128" bandwidth="128000"/>
     </AdaptationSet>
     <!-- Audio -->
     <AdaptationSet id="2" mimeType="audio/mp4" codecs="mp4a.40.2" segmentAlignment="true"
 startWithSAP="1" bitstreamSwitching="true">
        <SupplementalProperty schemeIdUri="urn:mpeg:dash:period-continuity:2015" value="1"/>
        <SegmentTemplate timescale="20" duration="20" presentationTimeOffset="20000"/>
        <Representation id="a128" bandwidth="128000"/>
            <Representation id="a64" bandwidth="64000"/>
    </AdaptationSet>
   </Period>
 </MPD>




G.13 Data URLs
In order to minimize the http requests at startup or at Period boundaries, data URLs allow inclusion of
small data items as "immediate" data, as if it had been included externally. A server-side example
processing for adding for example Initialization Segments is as follows:
— traverse the MPD tree, propagate templated initialization segment URLs (if any) down the MPD levels
  (Period, Adaptation Set) to the Representation level (only for the first Period).

— resolve the template (if any) potentially using BaseURL elements (if any), download the resolved IS
  and add a SegmentTemplate element with a "data:" URL scheme whose content is the base64
  encoded IS.

— For example, assume the following MPD part:

      <?xml version="1.0" encoding="UTF-8"?>
      <MPD xmlns="urn:mpeg:dash:schema:mpd:2011" xmlns:xsi="http://www.w3.org/2001/XMLSchema-
      instance" xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      mediaPresentationDuration="PT3256S"
      minBufferTime="PT1.500000S" profiles="urn:mpeg:dash:profile:isoff-ext-live:2014">
              <Period>
                      <AdaptationSet startWithSAP="2" segmentAlignment="true" id="1" sar="1:1"
      mimeType="video/mp4">
                              <InbandEventStream
      schemeIdUri="tag:rdmedia.bbc.co.uk,2014:events/ballposition" value="1"/>
                              <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                              <BaseURL>avc3-events/</BaseURL>



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                             <SegmentTemplate startNumber="1" timescale="1000" duration="3840"
      media="$RepresentationID$/$Number%06d$.m4s" initialization="$RepresentationID$/IS.mp4"/>
                             <Representation id="960x540p50" codecs="avc3.64001f" height="540"
      width="960" frameRate="50" scanType="progressive" bandwidth="2814440"/>
                             <Representation id="192x108p6_25" codecs="avc3.42c015" height="108"
      width="192" frameRate="25/4" scanType="progressive" bandwidth="31368"/>
                     </AdaptationSet>
             </Period>
      </MPD>



This may be modified to move the templated @initialization attribute from the
AdaptationSet.SegmentTemplate element to each Representation.SegmentTemplate
element and the information from equivalent ISs is included. The resulting MPD looks as follows:
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD xmlns="urn:mpeg:dash:schema:mpd:2011" xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
 mediaPresentationDuration="PT3256S"
 minBufferTime="PT1.500000S" profiles="urn:mpeg:dash:profile:isoff-ext-live:2014">
         <Period>
                 <AdaptationSet id="1" segmentAlignment="true" sar="1:1" mimeType="video/mp4"
 startWithSAP="2" maxPlayoutRate="1">
                         <InbandEventStream
 schemeIdUri="tag:rdmedia.bbc.co.uk,2014:events/ballposition" value="1"/>
                         <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                         <BaseURL>avc3-events/</BaseURL>
                         <SegmentTemplate media="$RepresentationID$/$Number%06d$.m4s"
 timescale="1000" duration="3840" startNumber="1"/>
                         <Representation id="960x540p50" bandwidth="2814440" width="960"
 height="540" frameRate="50" codecs="avc3.64001f" maxPlayoutRate="1" scanType="progressive">
                                 <SegmentTemplate
 initialization="data:video/mp4;base64,AAAAHGZ0eXBpc282AAAAAWF2YzFpc29tZGFzaAAAAldtb292...AAAAAAAAA
 AAAAAAQc3RjbwAAAAAAAAAA"/>
                         </Representation>
                         <Representation id="192x108p6_25" bandwidth="31368" width="192"
 height="108" frameRate="25" codecs="avc3.42c015" maxPlayoutRate="1" scanType="progressive">
                                 <SegmentTemplate
 initialization="data:video/mp4;base64,AAAAHGZ0eXBpc282AAAAAWF2YzFpc29tZGFzaAAAAlNtb292...AAAAAAAAA
 BBzdHNjAAAAAAAAAAAAAAAUc3RzegAAAAAAAAAAAAAAAAAAABBzdGNvAAAAAAAAAAA="/>
                         </Representation>
                 </AdaptationSet>
         </Period>
 </MPD>




G.14 Example Live MPD with Timing Information
The following MPD shows the use of the UTCTiming element and the LeapSecondInformation
element in a Live service including MPD update events.
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD type="dynamic" xmlns="urn:mpeg:dash:schema:mpd:2011"
 xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
 profiles="urn:mpeg:dash:profile:isoff-ext-live:2014" minBufferTime="PT1.143S"
 maxSegmentDuration="PT3.84S" minimumUpdatePeriod="PT1H" timeShiftBufferDepth="PT2M"
 availabilityStartTime="2019-03-24T21:20:00Z"   publishTime="2019-03-24T20:44:33.540Z">
         <Period id="first" start="PT0S">
                <AdaptationSet startWithSAP="2" segmentAlignment="true" par="16:9" id="1"
 contentType="video" mimeType="video/mp4" >
                        <InbandEventStream schemeIdUri="urn:mpeg:dash:event:2012" value="1"/>



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                         <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                         <SegmentTemplate startNumber="404547501"
 presentationTimeOffset="310692480000" timescale="200" duration="768"
 media="$RepresentationID$/$Number%06d$.m4s" initialization="$RepresentationID$/IS.mp4" />
                         <Representation id="1280x720p50" codecs="avc3.640020" height="720"
 width="1280" frameRate="50" bandwidth="5447392" scanType="progressive" />
                 </AdaptationSet>
                 <AdaptationSet startWithSAP="2" segmentAlignment="true" id="6" codecs="mp4a.40.2"
 audioSamplingRate="48000" contentType="audio" lang="eng" mimeType="audio/mp4" >
                         <AudioChannelConfiguration
 schemeIdUri="urn:mpeg:dash:23003:3:audio_channel_configuration:2011" value="6"/>
                         <InbandEventStream schemeIdUri="urn:mpeg:dash:event:2012" value="1"/>
                         <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                         <SegmentTemplate startNumber="404547501"
 presentationTimeOffset="74566195200000" timescale="48000" duration="184320"
 media="$RepresentationID$/$Number%06d$.m4s" initialization="$RepresentationID$/IS.mp4" />
                         <Representation id="320kbps-5_1" bandwidth="319520" />
                 </AdaptationSet>
         </Period>
         <UTCTiming schemeIdUri="urn:mpeg:dash:utc:http-xsdate:2014"
 value="https://example.com/iso"/>
         <LeapSecondInformation availabilityStartLeapOffset="0" nextAvailabilityStartLeapOffset="1"
 nextLeapChangeTime="2020-01-01T00:00:00Z"/>
 </MPD>




G.15 Example MPD for Preselection Descriptor
This subclause introduces a simple example of using the Preselection Descriptor to define two audio
experiences. The first audio experience is the combination of English dialogue with the Music and Effects.
The second audio experience is the combination of Spanish dialogue with the Music and Effects.
 <?xml version="1.0" encoding="utf-8"?>
 <MPD
  xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
  xmlns="urn:mpeg:dash:schema:mpd:2011"
  xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
  type="dynamic"
  availabilityStartTime="2018-12-20T06:04:22Z"
  publishTime="2018-12-20T06:04:22Z"
  minimumUpdatePeriod="PT2S"
  mediaPresentationDuration="PT0H4M9.708S"
  minBufferTime="PT4S"
  profiles="urn:mpeg:dash:profile:isoff-live:2011">

  <Period id="1" start="PT0S">
     <!-- Video -->
     <AdaptationSet id="1" mimeType="video/mp4" segmentAlignment="true" startWithSAP="1">
       <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
       <SegmentTemplate timescale="5994" media="video_$Number$.mp4" initialization="video.mp4">
         <SegmentTimeline>
           <S t="0" d="12000" r="154"/>
         </SegmentTimeline>
       </SegmentTemplate>
       <Representation id="1" bandwidth="3732256" codecs="hev1.1.6.L120.90" width="1920"
 height="1080"/>
     </AdaptationSet>
     <!-- Audio (M&E) -->
     <AdaptationSet id="2" mimeType="audio/mp4" codecs="mhm2.0x0C" segmentAlignment="true"
 startWithSAP="1">



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        <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016" value="1,2 3"/>
        <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016" value="2,2 4"/>
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
        <SegmentTemplate timescale="48000" media="audio0_$Number$.mp4" initialization="audio0.mp4">
          <SegmentTimeline>
            <S t="0" d="90112" r="133"/>
          </SegmentTimeline>
        </SegmentTemplate>
        <Representation id="2" bandwidth="132669" audioSamplingRate="48000"/>
     </AdaptationSet>
     <!-- Audio (English) -->
     <AdaptationSet id="3" mimeType="audio/mp4" lang="en" codecs="mhm2.0x0C"
 segmentAlignment="true" startWithSAP="1">
        <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016"/>
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
        <SegmentTemplate timescale="48000" media="audio1_$Number$.mp4" initialization="audio1.mp4">
          <SegmentTimeline>
            <S t="0" d="90112" r="133"/>
          </SegmentTimeline>
        </SegmentTemplate>
        <Representation id="3" bandwidth="32494" audioSamplingRate="48000"/>
     </AdaptationSet>
     <!-- Audio (Spanish) -->
     <AdaptationSet id="4" mimeType="audio/mp4" lang="es" codecs="mhm2.0x0C"
 segmentAlignment="true" startWithSAP="1">
        <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016"/>
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="dub"/>
        <SegmentTemplate timescale="48000" media="audio2_$Number$.mp4" initialization="audio2.mp4">
          <SegmentTimeline>
            <S t="0" d="90112" r="133"/>
          </SegmentTimeline>
        </SegmentTemplate>
        <Representation id="4" bandwidth="32494" audioSamplingRate="48000"/>
     </AdaptationSet>
  </Period>
 </MPD>




G.16 Example MPD for Preselection Element
This subclause introduces a simple example of using the Preselection Element to define two audio
experiences. The first audio experience is the combination of English dialogue with the Music and Effects.
The second audio experience is the combination of Spanish dialogue with the Music and Effects.
 <?xml version="1.0" encoding="utf-8"?>
 <MPD
  xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
  xmlns="urn:mpeg:dash:schema:mpd:2011"
  xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
  type="dynamic"
  availabilityStartTime="2018-12-20T06:04:22Z"
  publishTime="2018-12-20T06:04:22Z"
  minimumUpdatePeriod="PT2S"
  mediaPresentationDuration="PT0H4M9.708S"
  minBufferTime="PT4S"
  profiles="urn:mpeg:dash:profile:isoff-live:2011">
  <Period id="1" start="PT0S">
      <!-- Video -->
      <AdaptationSet id="1" mimeType="video/mp4" segmentAlignment="true" startWithSAP="1">
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
        <SegmentTemplate timescale="5994" media="video_$Number$.mp4" initialization="video.mp4">
          <SegmentTimeline>
            <S t="0" d="12000" r="154"/>



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          </SegmentTimeline>
        </SegmentTemplate>
        <Representation id="1" bandwidth="3732256" codecs="hev1.1.6.L120.90" width="1920"
 height="1080"/>
     </AdaptationSet>
     <!-- Audio (M&E) -->
     <AdaptationSet id="2" mimeType="audio/mp4" segmentAlignment="true" startWithSAP="1">
        <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016"/>
        <SegmentTemplate timescale="48000" media="audio0_$Number$.mp4" initialization="audio0.mp4">
          <SegmentTimeline>
            <S t="0" d="90112" r="133"/>
          </SegmentTimeline>
        </SegmentTemplate>
        <Representation id="2" bandwidth="132669" codecs="mhm2.0xC0" audioSamplingRate="48000"/>
     </AdaptationSet>
     <!-- Audio (English) -->
     <AdaptationSet id="3" mimeType="audio/mp4" lang="en" segmentAlignment="true"
 startWithSAP="1">
        <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016"/>
        <SegmentTemplate timescale="48000" media="audio1_$Number$.mp4" initialization="audio1.mp4">
          <SegmentTimeline>
            <S t="0" d="90112" r="133"/>
          </SegmentTimeline>
        </SegmentTemplate>
        <Representation id="3" bandwidth="32494" codecs="mhm2.0xC0" audioSamplingRate="48000"/>
     </AdaptationSet>
     <!-- Audio (Spanish) -->
     <AdaptationSet id="4" mimeType="audio/mp4" lang="es" segmentAlignment="true"
 startWithSAP="1">
        <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016"/>
        <SegmentTemplate timescale="48000" media="audio2_$Number$.mp4" initialization="audio2.mp4">
          <SegmentTimeline>
            <S t="0" d="90112" r="133"/>
          </SegmentTimeline>
        </SegmentTemplate>
        <Representation id="4" bandwidth="32825" codecs="mhm2.0xC0" audioSamplingRate="48000"/>
     </AdaptationSet>
     <!-- Preselections -->
     <Preselection id="1" tag="1" lang="en" preselectionComponents="2 3">
        <AudioChannelConfiguration schemeIdUri="urn:mpeg:mpegB:cicp:ChannelConfiguration"
 value="2"/>
        <Label id="1">Main English</Label>
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
     </Preselection>
     <Preselection id="2" tag="2" lang="es" preselectionComponents="2 4">
        <AudioChannelConfiguration schemeIdUri="urn:mpeg:mpegB:cicp:ChannelConfiguration"
 value="2"/>
        <Label id="1">Main Spanish</Label>
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="dub"/>
     </Preselection>
  </Period>
 </MPD>


G.17 Example MPD for Preselection Element using ContentComponent
This subclause introduces a simple example of using the Preselection Element to define two audio
experiences that are multiplexed at the file-container level. Three audio components are delivered in a
single Representation and described by ContentComponent elements. The first audio experience is
the combination of English dialogue with the Music and Effects. The second audio experience is the
combination of Spanish dialogue with the Music and Effects.
 <?xml version="1.0" encoding="utf-8"?>
 <MPD
  xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"



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  xmlns="urn:mpeg:dash:schema:mpd:2011"
  xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
  type="dynamic"
  availabilityStartTime="2018-12-20T06:04:22Z"
  publishTime="2018-12-20T06:04:22Z"
  minimumUpdatePeriod="PT2S"
  mediaPresentationDuration="PT0H4M9.708S"
  minBufferTime="PT4S"
  profiles="urn:mpeg:dash:profile:isoff-live:2011">
  <Period id="1" start="PT0S">
     <!-- Video -->
     <AdaptationSet id="1" mimeType="video/mp4" codecs="hev1.1.6.L120.90" segmentAlignment="true"
 startWithSAP="1">
        <SegmentTemplate timescale="5994" media="video_$Number$.mp4" initialization="video.mp4">
          <SegmentTimeline>
            <S t="0" d="12000" r="154"/>
          </SegmentTimeline>
        </SegmentTemplate>
        <Representation id="1" bandwidth="3732256" width="1920" height="1080"/>
     </AdaptationSet>
     <!-- Audio -->
     <AdaptationSet id="2" mimeType="audio/mp4" codecs="mp4a.40.2,mp4a.40.2,mp4a.40.2"
 segmentAlignment="true" startWithSAP="1">
        <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016"/>
        <ContentComponent id="3">
          <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
        </ContentComponent>
        <ContentComponent id="4" lang="en">
          <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
        </ContentComponent>
        <ContentComponent id="5" lang="es">
          <Role schemeIdUri="urn:mpeg:dash:role:2011" value="dub"/>
        </ContentComponent>
        <SegmentTemplate timescale="48000" media="audio0_$Number$.mp4" initialization="audio0.mp4">
          <SegmentTimeline>
            <S t="0" d="90112" r="133"/>
          </SegmentTimeline>
        </SegmentTemplate>
        <Representation id="2" bandwidth="132669" audioSamplingRate="48000"/>
     </AdaptationSet>
     <!-- Preselections -->
     <Preselection id="1" tag="1" lang="en" preselectionComponents="3 4">
        <AudioChannelConfiguration schemeIdUri="urn:mpeg:mpegB:cicp:ChannelConfiguration"
 value="2"/>
        <Label id="1">Main English</Label>
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
     </Preselection>
     <Preselection id="2" tag="2" lang="es" preselectionComponents="3 5">
        <AudioChannelConfiguration schemeIdUri="urn:mpeg:mpegB:cicp:ChannelConfiguration"
 value="2"/>
        <Label id="1">Main Spanish</Label>
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="dub"/>
     </Preselection>
  </Period>
 </MPD>




G.18 Example MPD for Low Latency Streaming
This subclause introduces a simple example of using the ServiceDescription element to control
latency for a subset of clients as well as the usage of the Leap Second Information and Producer Reference
Time.


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 <?xml version="1.0" encoding="UTF-8"?>
 <MPD type="dynamic" xmlns="urn:mpeg:dash:schema:mpd:2011"
 xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
 profiles="urn:mpeg:dash:profile:isoff-ext-live:2014" minBufferTime="PT1.143S"
 maxSegmentDuration="PT3.84S" minimumUpdatePeriod="PT1H" timeShiftBufferDepth="PT2M"
 availabilityStartTime="2019-08-06T13:31:00Z"     publishTime="2019-08-06T13:31:00Z">
         <ServiceDescription id="0">
                 <Scope schemeIdUri="tag:example.com,082019:lowlatencyclients" value="2"/>
                 <Latency min="4800" max="34800" target="6800" referenceId="7"/>
                 <PlaybackRate min="0.96" max="1.04"/>
         </ServiceDescription>
         <Period id="first" start="PT0S">
                 <AdaptationSet startWithSAP="2" segmentAlignment="true" par="16:9" id="1"
 contentType="video" mimeType="video/mp4" >
                         <InbandEventStream schemeIdUri="urn:mpeg:dash:event:2012" value="1" />
                         <ProducerReferenceTime id="7" wallClockTime="2019-08-06T13:44:12Z"
 presentationTime="158400">
                                 <UTCTiming schemeIdUri="urn:mpeg:dash:utc:http-xsdate:2014"
 value="https://example.com/iso"/>
                         </ProducerReferenceTime>
                         <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                     <SegmentTemplate startNumber="404547501" presentationTimeOffset="310692480000"
 timescale="200" duration="768" media="$RepresentationID$/$Number%06d$.m4s"
 initialization="$RepresentationID$/IS.mp4" availabilityTimeOffset="2.88"
 availabilityTimeComplete="false"/>
                         <Representation id="1280x720p50" codecs="avc3.640020" height="720"
 width="1280" frameRate="50" bandwidth="5447392" scanType="progressive" />
                 </AdaptationSet>
                 <AdaptationSet startWithSAP="2" segmentAlignment="true" id="6" codecs="mp4a.40.2"
 audioSamplingRate="48000" contentType="audio" lang="eng" mimeType="audio/mp4" >
                         <AudioChannelConfiguration
 schemeIdUri="urn:mpeg:dash:23003:3:audio_channel_configuration:2011" value="6"/>
                         <InbandEventStream schemeIdUri="urn:mpeg:dash:event:2012" value="1"/>
                         <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                         <SegmentTemplate startNumber="404547501"
 presentationTimeOffset="74566195200000" timescale="48000" duration="184320"
 media="$RepresentationID$/$Number%06d$.m4s" initialization="$RepresentationID$/IS.mp4"
 availabilityTimeOffset="2.88" availabilityTimeComplete="false" />
                         <Representation id="320kbps-5_1" bandwidth="319520" />
                 </AdaptationSet>
         </Period>
         <UTCTiming schemeIdUri="urn:mpeg:dash:utc:http-xsdate:2014"
 value="https://example.com/iso"/>
         <LeapSecondInformation availabilityStartLeapOffset="37"/>
 </MPD>




G.19 DASH Profile for CMAF Content
This subclause introduces a simple example for an MPD for DASH profile for CMAF content.
 <?xml version="1.0"?>
 <MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="static"
      mediaPresentationDuration="PT24S"
      availabilityStartTime="2014-10-17T17:17:05Z"
      minBufferTime="PT4S"



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      profiles="urn:mpeg:dash:profile:cmaf:2019,urn:mpeg:dash:profile:isoff-live:2011">

     <Period id="1">
         <!-- Video -->
         <AdaptationSet
                 contentType="video"
                 id="1"
                 mimeType="video/mp4 profiles='cmfc'"
                 codecs="avc1.4D401F"
                 maxWidth="1080"
                 maxHeight="720"
                 maxFrameRate="30"
                 segmentProfiles="cmfs cmff"
                 segmentAlignment="true"
                 startWithSAP="1">
             <SegmentTemplate timescale="30" initialization="$RepresentationID$/0"
 media="$RepresentationID$/$Number$">
                  <SegmentTimeline>
                      <S t="0" d="120" r="5"/>
                  </SegmentTimeline>
             </SegmentTemplate>
             <Representation id="video1/1" bandwidth="250000"/>
             <Representation id="video1/2" bandwidth="500000"/>
             <Representation id="video1/3" bandwidth="1000000"/>
         </AdaptationSet>
         <!-- Audio -->
         <AdaptationSet
                 contentType="audio"
                 id="1"
                 mimeType="audio/mp4 profiles='cmfc'"
                 codecs="mp4a.40.5"
                 segmentProfiles="cmfs cmff"
                 segmentAlignment="true"
                 startWithSAP="1">
             <SegmentTemplate timescale="48" initialization="$RepresentationID$/0"
 media="$RepresentationID$/$Number$">
                  <SegmentTimeline>
                      <S t="0" d="120" r="5"/>
                  </SegmentTimeline>
             </SegmentTemplate>
             <Representation id="audio1/1" bandwidth="2500"/>
             <Representation id="audio1/2" bandwidth="500000"/>
             </AdaptationSet>
     </Period>
 </MPD>




G.20 Resynchronization
An example is provided for the usage of the Resynchronization feature in the context of low-latency
service offerings. The Resync element is added in two places for two purposes. First of all, it describes
for all video Adaptation Set, that a chunked mode is applied.
                       <Resync type="0" dT="500000" dImin="0.03125" dImax="0.09375"/>


The resynchronization point is not further specified, i.e. @type=0. The maximum duration of the chunk
is identified by the @dT value of "500000" and by the usage of the @timescale value of "1000000",
this results in 500ms. The minimum distance in bytes between two Resynchronization Points is provided
by      @dImin="0.03125" times the bandwidth value of the first Representation


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(@bandwidth="500000"), which is 15,625 bytes. The same applies for the maximum difference by
multiplying the value of @bandwidth with the value of @dImax, resulting in 46,875 bytes. For the
second Representation with @bandwidth="200000", this results in the minimum difference of 6,250
bytes and the maximum difference of 18,750 bytes. For the third Representation, with
@bandwidth="300000", this is respectively set to 9,375 bytes and 28,125 bytes.
In addition, for the third Representation, an additional Resync element is present as:
                        <Resync type="2" dT="1000000" dImin="0.1" dImax="0.15" marker="true"/>


This information signals that at least every second (based on the value of @dT), one Resync Point of type
2 can be found in this Representation, which may for example be used for fast access to the content, or
may also be used for fast down-switching or Resynchronization. The minimum and maximum distance
are documented according to @dImin and @dImax as 30,000 and 45,000 bytes, respectively. As the
@marker flag is set to true, a DASH client may apply the algorithm documented in A.12.3 to find the
Resynchronization Point.
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance" xmlns="urn:mpeg:dash:schema:mpd:2011"
 xmlns:xlink="http://www.w3.org/1999/xlink" xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-
 MPD.xsd" profiles="urn:dvb:dash:profile:dvb-dash:2014" type="dynamic"
 minimumUpdatePeriod="PT500S" availabilityStartTime="2020-02-19T10:42:02.684Z" publishTime="2020-
 02-19T11:01:42.688Z" minBufferTime="PT2.0S">
         <ProgramInformation>
  </ProgramInformation>
         <ServiceDescription id="0">
                 <Latency target="3500" referenceId="0"/>
         </ServiceDescription>
         <Period id="0" start="PT0.0S">
                 <AdaptationSet id="0" contentType="video" segmentAlignment="true" frameRate="10/1"
 maxWidth="960" maxHeight="400" par="12:5">
                         <ProducerReferenceTime id="0" inband="true" type="encoder"
 wallClockTime="2020-02-19T10:42:02.667Z" presentationTime="0">
                                 <UTCTiming schemeIdUri="urn:mpeg:dash:utc:http-xsdate:2014"
 value="http://time.akamai.com"/>
                         </ProducerReferenceTime>
                         <Resync type="0" dT="500000" dImin="0.03125" dImax="0.09375"/>
                         <SegmentTemplate timescale="1000000" duration="8000000"
 availabilityTimeOffset="7.500" availabilityTimeComplete="false" initialization="init-
 stream$RepresentationID$.m4s" media="chunk-stream$RepresentationID$-$Number%05d$.m4s"
 startNumber="1"/>
                         <Representation id="0" mimeType="video/mp4" codecs="avc1.640016"
 bandwidth="500000" width="960" height="400" sar="1:1" qualityRanking="5"/>
                         <Representation id="1" mimeType="video/mp4" codecs="avc1.640016"
 bandwidth="200000" width="720" height="300" sar="1:1" qualityRanking="2"/>
                         <Representation id="2" mimeType="video/mp4" codecs="avc1.640016"
 bandwidth="300000" width="720" height="300" sar="1:1" qualityRanking="1">
                                 <Resync type="2" dT="1000000" dImin="0.1" dImax="0.15"
 marker="true"/>
                         </Representation>
                 </AdaptationSet>
                 <AdaptationSet id="1" contentType="audio" segmentAlignment="true">
                         <AudioChannelConfiguration
 schemeIdUri="urn:mpeg:dash:23003:3:audio_channel_configuration:2011" value="2"/>
                         <SegmentTemplate timescale="1000000" duration="1000000"
 initialization="init-stream$RepresentationID$.m4s" media="chunk-stream$RepresentationID$-
 $Number%05d$.m4s" startNumber="1"/>
                         <Representation id="3" mimeType="audio/mp4" codecs="mp4a.40.2"
 bandwidth="96000" audioSamplingRate="44100"/>
                 </AdaptationSet>
         </Period>



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        <UTCTiming schemeIdUri="urn:mpeg:dash:utc:http-xsdate:2014"
 value="http://time.akamai.com"/>
 </MPD>


G.21 MPD Patch Document
This following example shows an MPD that includes an MPD Patch location.
 <?xml version="1.0" encoding="UTF-8" standalone="yes"?>
 <MPD
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      id="live-stream"
      type="dynamic"
      minimumUpdatePeriod="PT3.0S"
      publishTime="2020-05-13T05:34:06+00:00"
      availabilityStartTime="2017-05-01T07:00:00+00:00"
      minBufferTime="PT1.0S"
      profiles="urn:mpeg:dash:profile:isoff-live:2011">

     <PatchLocation ttl="60"> example_G21_patch.mpp?publishTime=2020-05-
 13T05%3A34%3A06%2B00%3A00</PatchLocation>

      <Period id="1588435200" start="PT95725984.571S">
          <AdaptationSet
                 id="1"
                 contentType="video"
                 mimeType="video/mp4"
                 maxFrameRate="60"
                 maxHeight="1080"
                 maxWidth="1920"
                 bitstreamSwitching="true"
                 segmentAlignment="true">
              <Accessibility schemeIdUri="urn:scte:dash:cc:cea-608:2015" value="CC1=eng"/>
              <SegmentTemplate
                      timescale="90000"
                      presentationTimeOffset="5491773166"
                      initialization="live-stream/$RepresentationID$/init.mp4"
                      media="live-stream/$RepresentationID$/$Time$.m4s">
                  <SegmentTimeline>
                      <S d="360360" r="8" t="5491776169"/>
                  </SegmentTimeline>
              </SegmentTemplate>
              <Representation
                      id="video-0"
                      codecs="avc1.4d4015"
                      bandwidth="1070676"
                      frameRate="30"
                      height="270"
                      width="480"
                      startWithSAP="1"/>
              <Representation
                      id="video-1"
                      codecs="avc1.4d401e"
                      bandwidth="2035716"
                      frameRate="30"
                      height="432"
                      width="768"
                      startWithSAP="1"/>
              <Representation
                      id="video-2"




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                     codecs="avc1.64001f"
                     bandwidth="3169038"
                     frameRate="30"
                     height="576"
                     width="1024"
                     startWithSAP="1"/>
             <Representation
                     id="video-3"
                     codecs="avc1.64001f"
                     bandwidth="4532135"
                     frameRate="30"
                     height="720"
                     width="1280"
                     startWithSAP="1"/>
             <Representation
                     id="video-4"
                     codecs="avc1.640020"
                     bandwidth="6728694"
                     frameRate="60"
                     height="720"
                     width="1280"
                     startWithSAP="1"/>
             <Representation
                     id="video-5"
                     codecs="avc1.64002a"
                     bandwidth="10923530"
                     frameRate="60"
                     height="1080"
                     width="1920"
                     startWithSAP="1"/>
         </AdaptationSet>
         <AdaptationSet
                id="2"
                contentType="audio"
                mimeType="audio/mp4"
                bitstreamSwitching="true"
                segmentAlignment="true">
             <SegmentTemplate
                     timescale="90000"
                     presentationTimeOffset="5491773166"
                     initialization="live-stream/$RepresentationID$/init.mp4"
                     media="live-stream/$RepresentationID$/$Time$.m4s">
                 <SegmentTimeline>
                     <S d="360960" r="1" t="5491776448"/>
                     <S d="359040"/>
                     <S d="360960" r="1"/>
                     <S d="359040"/>
                     <S d="360960" r="2"/>
                 </SegmentTimeline>
             </SegmentTemplate>
             <Representation
                     id="audio-0"
                     codecs="mp4a.40.2"
                     bandwidth="96000"
                     audioSamplingRate="48000"
                     startWithSAP="1">
                 <AudioChannelConfiguration
                          schemeIdUri="urn:mpeg:dash:23003:3:audio_channel_configuration:2011"
                          value="2"/>
             </Representation>
         </AdaptationSet>
     </Period>
 </MPD>



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An example for an MPD Patch document is provided below.
 <?xml version="1.0" encoding="UTF-8" standalone="yes"?>
 <Patch
      xmlns="urn:mpeg:dash:schema:mpd-patch:2020"
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd-patch:2020 DASH-MPD-PATCH.xsd"
      mpdId="live-stream"
      originalPublishTime="2020-05-13T05:34:06+00:00"
      publishTime="2020-05-13T05:34:28.601Z">
     <replace sel="/MPD/@publishTime">2020-05-13T05:34:28.601Z</replace>
     <replace sel="/MPD/PatchLocation[0]">
          <PatchLocation ttl="60">live-stream/patch.mpd?publishTime=2020-05-
 13T05%3A34%3A28.601Z</PatchLocation>
     </replace>
     <add
 sel="/MPD/Period[@id='1588435200']/AdaptationSet[@id='1']/SegmentTemplate/SegmentTimeline">
          <S d="360360" r="6" t="5494659049"/>
     </add>
     <add
 sel="/MPD/Period[@id='1588435200']/AdaptationSet[@id='2']/SegmentTemplate/SegmentTimeline">
          <S d="360960" t="5494660288"/>
          <S d="359040"/>
          <S d="360960" r="1"/>
          <S d="359040"/>
          <S d="360960" r="1"/>
     </add>
 </Patch>


      NOTE The example code        is   accessible   here:   https://standards.iso.org/iso-iec/23009/-1/ed-5/en
      (example_G21_patch.mpp)



G.22 Failover Content
Upstream failures (e.g. packet loss) may create a situation where the ith Segment is missing in one or more
Representation but is present in at least one Representation within the same Adaptation Set.
For example, Segment i is missing in representation A, but exists in representation B, C, and D. Let’s
assume that segments i-1 and i+1 do exist for all 4 Representations (i.e., we have a 1-segment gap). When
the client is made aware that Segments A(i), B(i), and C(i) are missing, it requests D(i) directly. Assuming
that the player was playing Representation A, the segment sequence would be A(i-2), A(i-1), D(i), A(i+1),
A(i+2)
Missing Segments are signalled in the MPD using the FailoverContent element. The example below
shows a single Adaptation Set with a single missing Segment.
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="dynamic"
      minimumUpdatePeriod="PT2S"
      timeShiftBufferDepth="PT30M"
      availabilityStartTime="2020-10-17T17:17:05Z"
      minBufferTime="PT4S"
      profiles="urn:mpeg:dash:profile:isoff-live:2011"




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       publishTime="2020-10-17T17:17:05Z">

      <BaseURL>http://cdn1.example.com/</BaseURL>
      <BaseURL>http://cdn2.example.com/</BaseURL>
      <Period id="42">
          <!-- Video -->
          <AdaptationSet
                 mimeType="video/mp4" codecs="avc1.4D401F" frameRate="30000/1001"
                 segmentAlignment="true" startWithSAP="1">

                <SegmentTemplate startNumber="260319075"
                        initialization="Travel_HD/$RepresentationID$/header.mp4"
                        media="Travel_HD/$RepresentationID$/$Number$.mp4"
                        timescale="90000"
                        presentationTimeOffset="6532028810">
                    <SegmentTimeline>
                        <S t="6532028810" d="222222" r="0" />
                        <S t="6532251032" d="180180" r="420" />
                        <S t="6534593372" d="135135" r="0" />
                    </SegmentTimeline>
                </SegmentTemplate>

             <Representation id="C" bandwidth="828800" codecs="avc1.4d401e" width="640"
 height="360" />
             <Representation id="B" bandwidth="2107200" codecs="avc1.4d401f" width="1280"
 height="720" />

             <!-- Representation A is missing a segment -->
             <Representation id="A" bandwidth="3718000" codecs="avc1.640020" width="1280"
 height="720">
                 <SegmentTemplate>
                     <FailoverContent>
                          <FCS t="6532251032" d="180180" />
                     </FailoverContent>
                 </SegmentTemplate>
             </Representation>
         </AdaptationSet>

         <!-- Audio left as an exercise for the reader -->
     </Period>
 </MPD>




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                                                    Annex H
                                                  (normative)

                                  Spatial Relationship Description



H.1 Spatial Relationship Description (SRD) scheme
The SRD scheme allows Media Presentation Description authors to express spatial relationships between
Spatial Objects. A Spatial Object is represented by either an Adaptation Set or a Sub-Representation. As
an example, a spatial relationship may express that a video represents a spatial part of another full-frame
video (e.g. a region of interest, or a tile).
The SupplementalProperty and/or EssentialProperty descriptors with @schemeIdUri
equal to "urn:mpeg:dash:srd:2014” and “urn:mpeg:dash:srd:dynamic:2016" may be used
to provide spatial relationship information associated to the containing Spatial Object. SRD information
shall be contained exclusively in these two MPD elements (AdaptationSet and
SubRepresentation).
To preserve the compatibility with legacy clients, MPD shall use SupplementalProperty and
EssentialProperty in such a way that at least one Representation can be interpreted by legacy
clients after discarding the element containing EssentialProperty.
      NOTE       Sub-Representation level SRDs can be used to represent Spatial Objects in one Representation such
      as HEVC tiling streams. In that case, SRD descriptors can be present at Adaptation Set as well as Sub-
      Representation levels.

H.2 SRD @value syntax
H.2.1 General

The @value of the SupplementalProperty or EssentialProperty elements using the SRD
scheme is a comma-separated list of values for SRD parameters.
When @value is not present, the SRD does not express any spatial relationship information at all and
can be ignored.
H.2.2 Common parameters

The source_id parameter provides a unique identifier, within the Period, for the source of the content.
It implicitly defines a coordinate system associated to this source. This coordinate system uses an
arbitrary origin (0; 0); the x-axis is oriented from left to right and the y-axis from top to bottom. All SRD
sharing the same source_id value have the same origin and axes orientations. Spatial relationships for
Spatial Objects using SRD with different source_id values are undefined.
For a given source_id value, a reference space is defined, corresponding to the rectangular region
encompassing the entire source content, whose top-left corner is at the origin of the coordinate system.
The total_width and total_height values in a SRD provide the size of this reference space
expressed in arbitrary units.
      NOTE 1     There can be no Spatial Object in the MPD that covers the entire source of the content, e.g. when the
      entire source content is represented by two separate videos.




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MPD authors can express, using the spatial_set_id parameter, that some Spatial Objects, within a
given source_id, have a particular spatial relationship. For instance, an MPD author may group all
Adaptation Sets corresponding to tiles at a same resolution level. This way, the spatial_set_id
parameter may be used by the DASH Client to quickly select spatially related Spatial Objects. When there
are two or more groups of full-frame videos which consist of one or more Spatial Objects with the same
total_width and total_height value, different values of spatial_set_id may be used to
distinguish the groups of full-frame video.
     NOTE 2      ISO/IEC TR 23009-3 gives concrete examples showing how to use the spatial_set_id.

H.2.3 Specific parameters for static spatial description

For expressing static description within the scope of the Period, the following Scheme Identifier is used
"urn:mpeg:dash:srd:2014".
The object_x and object_y parameters (respectively object_width and object_height)
express 2D positions (respectively 2D sizes) of the associated Spatial Object in the coordinate system
associated to the source. The values of the object_x, object_y, object_width, and
total_height parameters are relative to the values of the total_width and total_height
parameters, as defined above. Positions (object_x, object_y) and sizes (object_width,
object_height) of SRD sharing the same source_id value may be compared after taking into
account the size of the reference space, i.e. after the object_x and object_width values are divided
by the total_width value and the object_y and object_height values divided by the
total_height value of their respective descriptors.
     NOTE      Different total_width and total_height values can be used in different descriptors to
     provide positions and sizes information in different units.

         Table H.1 — EssentialProperty@value and/or SupplementalProperty@value
                              attributes for the static SRD scheme

  EssentialProperty@value
             or
 SupplementalProperty@val              Use                             Description
        ue parameter
 source_id                              M    non-negative integer in decimal representation providing the
                                             identifier for the source of the content
 object_x                               M    non-negative integer in decimal representation expressing the
                                             horizontal position of the top-left corner of the Spatial Object in
                                             arbitrary units
 object_y                               M    non-negative integer in decimal representation expressing the
                                             vertical position of the top-left corner of the Spatial Object in
                                             arbitrary units
 object_width                           M    non-negative integer in decimal representation expressing the
                                             width of the Spatial Object in arbitrary units
 object_height                          M    non-negative integer in decimal representation expressing the
                                             height of the Spatial Object in arbitrary units
 total_width                            O    optional non-negative integer in decimal representation
                                             expressing the width of the reference space in arbitrary units.
                                             At each Period and for a given source_id value, the following
                                             rules apply:



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  EssentialProperty@value
             or
 SupplementalProperty@val   Use                            Description
        ue parameter
                                  —   There shall be at least one descriptor providing a value for
                                      the total_width parameter.

                                  —   If two or more descriptors provide different
                                      total_width values, all other descriptors shall
                                      explicitly provide the value of total_width.

                                  —   If the total_width value is provided in only one
                                      descriptor, all other descriptors are assumed to use that
                                      total_width value.

                                  —   The value of total_width shall be such that, for each
                                      descriptor using this value of total_width, the sum of
                                      object_x and object_width is smaller or equal to
                                      total_width.

                                  When the value total_width is present, the value
                                  total_height shall be present.
 total_height                O    optional non-negative integer in decimal representation
                                  expressing the height of the reference space in arbitrary units.
                                  At each Period and for a given source_id value, the following
                                  rules apply:
                                  — There shall be at least one descriptor providing a value for
                                       the total_height parameter.

                                  —   If two or more descriptors provide different
                                      total_height values, all other descriptors shall
                                      explicitly provide the value of total_height.

                                  —   If the total_height value is provided in only one
                                      descriptor, all other descriptors are assumed to use that
                                      total_height value.

                                  —   The value of total_height shall be such that, for each
                                      descriptor using this value of total_height, the sum
                                      of object_y and object_height is smaller or equal
                                      to total_height.

                                  When the value total_height is present, the value
                                  total_width shall be present.




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  EssentialProperty@value
             or
 SupplementalProperty@val               Use                             Description
        ue parameter
 spatial_set_id                          O     optional non-negative integer in decimal representation
                                               providing an identifier for a group of Spatial Object.
                                               When not present, the Spatial Object associated to this
                                               descriptor does not belong to any spatial set and no spatial set
                                               information is given.
                                               When the value of spatial_set_id is present, the value of
                                               total_width and total_height shall be present.
 Key
 M=Mandatory, O=Optional


The syntax for the value field of the static spatial relationship description shall follow the STATIC-SRD-
VALUE as defined in the following ABNF notation according to IETF RFC 5234:
         STATIC-SRD-VALUE = source_id "," object_x "," object_y ","
         object_width "," object_height [ "," total_width [ ","
         total_height [ "," spatial_set_id ]]]

         source_id = DECIMAL_DIGITS
         object_x = DECIMAL_DIGITS
         object_y = DECIMAL_DIGITS
         object_width = DECIMAL_DIGITS
         object_height = DECIMAL_DIGITS
         total_width = DECIMAL_DIGITS
         total_height = DECIMAL_DIGITS
         spatial_set_id = DECIMAL_DIGITS

         DECIMAL_DIGITS = 1*DIGIT


H.2.4 Specific parameters for dynamic spatial description

For expressing dynamic description within the scope of the Period, the following Scheme Identifier is
used "urn:mpeg:dash:srd:dynamic:2016".
In the case the Spatial Object moves within the reference space, the coordinates of the Spatial Object are
time dependent and thus cannot be expressed as static values in a SRD. As a result, the SRD does not
provide directly the coordinates and size as in the static case but instead specifies the @id attribute of
the metadata Representation that provides the coordinates and size of the Spatial Object. This @id
attribute value is signalled in the coordinate_id parameter.
Examples of such scenarios include director′s view, object tracking view, person tracking view in video
conference applications, etc. For instance, the MPD author may offer two Spatial Objects, providing a wide
angle view and a close-up view of the same scene of a sport event. The close-up view follows the action
of the most popular athlete. But to ensure a satisfying Quality of Experience for the end-user, it is essential
to describe the position of the close-up view with respect to the wide angle view at any point in time of
the media content. This way, the end-user application can seamlessly switch from one video to another
providing a smooth zooming in and out transition for the end-user.




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          Table H.2 — EssentialProperty@value and/or SupplementalProperty@value
                              attributes for the dynamic SRD scheme

EssentialProperty@value or
SupplementalProperty@valu                Use    Description
        e parameter
source_id                                 M     non-negative integer in decimal representation providing the
                                                identifier for the source of the content
coordinate_id                             M     specifies the @id attribute of the Representation that
                                                provides the 2D coordinates of the Spatial Object as timed
                                                metadata track according to ISO/IEC 23001-10.
spatial_set_id                             O    optional non-negative integer in decimal representation
                                                providing an identifier for a group of Spatial Object.
                                                When not present, the Spatial Object associated to this
                                                descriptor does not belong to any spatial set and no spatial
                                                set information is given.
Key
M=Mandatory, O=Optional


The coordinates and size of a moving Spatial Object shall be provided by a Representation offering a 2D
Cartesian coordinate track '2dcc' as defined in ISO/IEC 23001-10. The @associationId attribute of
this metadata Representation shall contain the value of the attribute @id of the Representation
containing the moving Spatial Object. In addition, the @associationType attribute of this metadata
Representation shall be set to 'cdsc'. See H.3.3 for examples.
The mapping between the '2dcc' sample parameters and the SRD parameters as defined in Table H.3
shall apply in order to determine the coordinates and size of a Spatial Object whose coordinates and size
is provided as '2dcc' metadata Representation.
         Table H.3 — Mapping between the '2dcc' sample parameters and the SRD parameters

          2D Cartesian Coordinates Sample
                                                                           SRD parameters
                (ISO/IEC 23001-10)
                     top_left_x                                               object_x
                     top_left_y                                               object_y
                          width                                            object_width
                          height                                          object_height
                 reference_width                                            total_width
                 reference_height                                          total_height
      NOTE        The 2D Cartesian Coordinates Sample is a generic sample providing the position and size of a
      rectangle, hence the more generic naming of these parameters compared to the SRD parameter′s names in
      ISO/IEC 23009-1.

The syntax for the value field of the dynamic spatial relationship description shall follow the DYNAMIC-
SRD-VALUE as defined in the following ABNF notation according to IETF RFC 5234:
         DYNAMIC-SRD-VALUE = source_id "," coordinate_id [ ","
         spatial_set_id ]


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         source_id = DECIMAL_DIGITS
         coordinate_id = STRING
         spatial_set_id = DECIMAL_DIGITS

         DECIMAL_DIGITS = 1*DIGIT
         STRING = *VCHAR

H.3 Examples
H.3.1 General

All examples documented in this Annex are provided at https://standards.iso.org/iso-iec/23009/-1/ed-
5/ en with the following file naming convention referring to H.3.
<subsection>: example-H<subsection>.mpd
H.3.2 Zoomed video

This subclause provides a simple example of a static presentation with 2 videos, one video representing
a zoomed part of the other video. The Media Presentation complies with the ISO Base media file format
On Demand profile as defined in subclause 8.3.
 <?xml version="1.0"?>
 <MPD
    xmlns="urn:mpeg:dash:schema:mpd:2011"
    xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
    xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
    type="static"
    mediaPresentationDuration="PT10S"
    minBufferTime="PT1S"
    profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">

   <ProgramInformation>
     <Title>Example of a DASH Media Presentation Description using Spatial Relationship Description
 to indicate that a video is a zoomed part of another</Title>
   </ProgramInformation>

   <Period>
     <!-- Panorama Video -->
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
        <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,0,0,3,3,3,3"/>
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
        <Representation id="1" mimeType="video/mp4" codecs="avc1.42c033" width="1920"
 height="1080" bandwidth="1055223" startWithSAP="1">
          <BaseURL> panorama_video.mp4</BaseURL>
          <SegmentBase indexRangeExact="true" indexRange="839-990"/>
        </Representation>
     </AdaptationSet>
     <!-- Zoomed Video -->
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
        <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,1,1,1,1,3,3"/>
         <Role schemeIdUri="urn:mpeg:dash:role:2011" value="supplementary"/>
      <Representation id="2" mimeType="video/mp4" codecs="avc1.42c028" width="1920" height="1080"
 bandwidth="769458" startWithSAP="1">
          <BaseURL> zoomed_video.mp4</BaseURL>
          <SegmentBase indexRangeExact="true" indexRange="838-989"/>
        </Representation>
     </AdaptationSet>
   </Period>
 </MPD>



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H.3.3 Tiled video

This subclause provides a simple example of a static presentation of a video available in different
resolutions and of tiles of that video also available in different resolutions. The Media Presentation
complies with the ISO Base media file format On Demand profile as defined in subclause 8.3.
 <?xml version="1.0"?>
 <MPD
    xmlns="urn:mpeg:dash:schema:mpd:2011"
    xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
    xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
    type="static"
    mediaPresentationDuration="PT10S"
    minBufferTime="PT1S"
    profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">

   <ProgramInformation>
     <Title>Example of a DASH Media Presentation Description using Spatial Relationship Description
 to indicate tiles of a video</Title>
   </ProgramInformation>

   <Period>
     <!-- Main Video -->
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
       <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,0,0,2,2,2,2"/>
       <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
       <Representation id="1" mimeType="video/mp4" codecs="avc1.42c01e" width="640" height="360"
 bandwidth="226597" startWithSAP="1">
         <BaseURL> full_video_small.mp4</BaseURL>
         <SegmentBase indexRangeExact="true" indexRange="837-988"/>
       </Representation>
       <Representation id="2" mimeType="video/mp4" codecs="avc1.42c01f" width="1280" height="720"
 bandwidth="553833" startWithSAP="1">
         <BaseURL> full_video_hd.mp4</BaseURL>
         <SegmentBase indexRangeExact="true" indexRange="838-989"/>
       </Representation>
       <Representation id="3" mimeType="video/mp4" codecs="avc1.42c033" width="3840"
 height="2160" bandwidth="1055223" startWithSAP="1">
         <BaseURL> full_video_4k.mp4</BaseURL>
         <SegmentBase indexRangeExact="true" indexRange="839-990"/>
       </Representation>
     </AdaptationSet>
     <!-- Tile 1 -->
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
       <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,0,0,1,1,2,2"/>
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="supplementary"/>
      <Representation id="4" mimeType="video/mp4" codecs="avc1.42c00d" width="640" height="360"
 bandwidth="218284" startWithSAP="1">
         <BaseURL> tile1_video_small.mp4</BaseURL>
         <SegmentBase indexRangeExact="true" indexRange="837-988"/>
       </Representation>
       <Representation id="5" mimeType="video/mp4" codecs="avc1.42c01f" width="1280" height="720"
 bandwidth="525609" startWithSAP="1">
         <BaseURL> tile1_video_hd.mp4</BaseURL>
         <SegmentBase indexRangeExact="true" indexRange="838-989"/>
       </Representation>
       <Representation id="6" mimeType="video/mp4" codecs="avc1.42c028" width="1920"
 height="1080" bandwidth="769514" startWithSAP="1">
         <BaseURL> tile1_video_fullhd.mp4</BaseURL>
         <SegmentBase indexRangeExact="true" indexRange="839-990"/>
       </Representation>



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     </AdaptationSet>
     <!-- Tile 2 -->
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
       <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,1,0,1,1,2,2"/>

     </AdaptationSet>
     <!-- Tile 3 -->
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
       <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,1,1,1,1,2,2"/>

     </AdaptationSet>
     <!-- Tile 4 -->
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
       <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,0,1,1,1,2,2"/>

     </AdaptationSet>
   </Period>
 </MPD>


H.3.4 Tiled panorama with moving Region-of-Interest

This subclause provides a simple example of a video moving within a panorama composed of two
adjacent videos. The Media Presentation complies with the ISO Base media file format On Demand profile
as defined in subclause 8.3.
 <?xml version="1.0"?>
 <MPD
    xmlns="urn:mpeg:dash:schema:mpd:2011"
    xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
    xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
    type="static"
    mediaPresentationDuration="PT10S"
    minBufferTime="PT1S"
    profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">

   <Period>
     <!-- Tiled Panorama (2 full HD video next to each other) -->
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
       <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
         value="1, 0, 0, 1920, 1080, 3840, 1080, 0"/>
       <Representation id="left_panorama" mimeType="video/mp4" codecs="avc1.42c01e"
 bandwidth="5000000" width="1920" height="1080">
         <BaseURL>left_panorama.mp4</BaseURL>
       </Representation>
     </AdaptationSet>

     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
       <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
         value="1, 1920, 0, 1920, 1080, 3840, 1080, 0"/>
       <Representation id="right_panorama" mimeType="video/mp4" codecs="avc1.42c01e"
 bandwidth="5000000" width="1920" height="1080">
         <BaseURL>right_panorama.mp4</BaseURL>
       </Representation>
     </AdaptationSet>

     <!-- Moving Region-of-Interest -->
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
       <EssentialProperty schemeIdUri="urn:mpeg:dash:srd:2016"



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         value="1, roi-coordinates"/>
      <Representation id="zoomed" mimeType="video/mp4" codecs="avc1.42c01e" bandwidth="5000000"
width="1920" height="1080">
        <BaseURL>zoomed_part.mp4</BaseURL>
      </Representation>
    </AdaptationSet>

    <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
subsegmentStartsWithSAP="1">
      <Representation id="roi-coordinates" associationId="zoomed" associationType="cdsc"
codecs="2dcc" bandwidth="100">
        <BaseURL>roi_coordinates.mp4</BaseURL>
      </Representation>
    </AdaptationSet>

  </Period>
</MPD>




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                                                 Annex I
                                               (normative)

                                   Flexible Insertion of URL Parameters



I.1 General
This Annex describes how it is possible to configure URL parameters of media segment URLs, in a similar
fashion to the URL template mechanism. The core specification of DASH already allows building media
segment URLs containing static URL parameters. This Annex aims at providing more flexibility and
dynamicity in the way URL parameters are inserted.
Parameters are instantiated — a name-value pair is constructed by the client. Then parameters are
output — an instantiated key-value pair is written to either query parameters or headers, depending on
the output mode.
The mechanism described in this Annex allows several methods of instantiation:
— "Inheritance" from MPD URL parameters when the MPD is delivered over HTTP, i.e. extraction of one
  or more key-value pairs from the query string of the URL used to fetch MPD.

— Just-in-time server-side instantiation using the XLink mechanism.

— Header instantiation: given a header name, the parameter value is the value of the header.

— Client-side computation — specific feedback (uniquely identified by URN) is expected from the client
  side.

There are two output modes described by this Annex:
— Query parameters: parameters are written as key-value pairs in HTTP GET requests issued by the
  DASH Client.

— HTTP header: parameters are written as a list of key-value pairs in a DASH-specific HTTP header.

Flexible insertion of URL parameters is signalled through the use of EssentialProperty or
SupplementalProperty descriptors, with @schemeIdUri values defined below:
— Baseline     segment URL   parametrization     scheme        identified     by      URN
  "urn:mpeg:dash:urlparam:2014" and described in I.2. This scheme applies only to requests
  for media segments.

— Extended parametrization scheme applying to requests for media segments, MPD, XLink and callback
  events, and is a superset of the baseline scheme. This scheme is identified by URN
  "urn:mpeg:dash:urlparam:2016" and described in I.3.




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I.2 Segment URL parametrization
I.2.1 General

Flexible insertion of URL parameters is signalled through the use of EssentialProperty or
SupplementalProperty           descriptors,       with      @schemeIdUri      equal    to
"urn:mpeg:dash:urlparam:2014".
A child element up:UrlQueryInfo shall be present in these descriptors, defined within the
"urn:mpeg:dash:schema:urlparam:2014" namespace. The namespace prefix should be “up:”.
As defined by this specification, each of these descriptors may be present at the MPD, Adaptation Set or
at the Representation level. Only SupplementalProperty descriptor may be present at the Period
level. When insertion of URL parameters is required for a Period, EssentialProperty descriptors
shall be inserted in all Adaptation Sets of that Period. At most one descriptor shall be present at each
level.
When the insertion of URL parameters requires scheme-dependent computation, one or several
additional EssentialProperty or SupplementalProperty descriptors shall be present. These
descriptors shall carry an appropriate @schemeIdUri attribute referencing the scheme to be used, and
provide sufficient information to appropriately compute the required URL parameters (see I.2.4.2).
Support of these schemes is not in the scope of this specification.
The initial part of the XML schema of the URL Query Information is provided below, including namespace
and other definitions. Specific types, elements and attributes are introduced in the remainder of this
subclause. The complete normative URL Query Information schema is provided at at
https://standards.iso.org/iso-iec/23009/-1/ed-5/en (DASH-MPD-UP.xsd). In case
of inconsistencies, this schema takes precedence both over the XML syntax snippets provided in this
clause and all prose text in this document.
Implementors are supported by additional files available at: https://standards.iso.org/iso-
iec/23009/-1/ed-5/en. These files include the schema as well as all examples provided in this
Annex.
<?xml version="1.0" encoding="UTF-8"?>
<xs:schema   xmlns:xs="http://www.w3.org/2001/XMLSchema"    xmlns:xlink="http://www.w3.org/1999/xlink"
xmlns="urn:mpeg:dash:schema:urlparam:2014"        targetNamespace="urn:mpeg:dash:schema:urlparam:2014"
elementFormDefault="qualified" attributeFormDefault="unqualified">
    <xs:import                                                namespace="http://www.w3.org/1999/xlink"
schemaLocation="http://www.w3.org/XML/2008/06/xlink.xsd"/>
    <xs:element name="UrlQueryInfo" type="UrlQueryInfoType"/>
    <xs:complexType name="UrlQueryInfoType">
    ...
    </xs:complexType>
</xs:schema>


I.2.2 URL Query Information

I.2.2.1   Overview

The UrlQueryInfo element describes how to build a URL query string, which is used in the media
segments URLs building process.
This query string can come from one of the three sources below:
— The URL of the MPD when the @useMPDUrlQuery is set;

— The @queryString attribute when present;



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— The @queryString attribute, after any XLink resolution in case @xlink:href is present.

The @queryTemplate attribute describes which URL parameters contained in the query string are used
in the media segment URL building process, as well as the order of these parameters.
The semantics of the attributes and elements for the URL Query Information provided in I.2.2.2, Table I.1.
The XML syntax of the URL Query Information is provided in I.2.2.3.
I.2.2.2    Semantics

                                   Table I.1 — Semantics of UrlQueryInfo element

   Element or Attribute Name                 Use        Description
    UrlQueryInfo                                        provides URL query string information
          @queryTemplate                   O (string)   provides URL parameters template information
                                                        This string shall contain one or more
                                                        $<ParamIdentifier>$ template identifiers, as
                                                        listed in Table I.2. These template identifiers are to be
                                                        replaced to build a query string (see I.2.3). If
                                                        $<ParamIdentifier>$ is not in Table I.2, it will be replaced
                                                        with an empty string. If the template has an opening $
                                                        without a matching closing $, the result is undefined, and
                                                        the client will act as if it did not understand the
                                                        EssentialProperty′s scheme.
                                                        When selection of URL parameters is enabled through the
                                                        use of $query:param$ template identifiers, URL
                                                        parameters shall be defined as name=value pairs
                                                        separated by &, as defined by W3C HTML 4.01
                                                        Specification (section on Forms#Form submission).
          @useMPDUrlQuery                   O (bool)    indicates that the URL parameters of the MPD URL are
                                                        used in the construction of media segment URLs.
                                            default:
                                            false       This attribute may only be present when the MPD is
                                                        delivered over HTTP, and defaults to "false" when the
                                                        MPD is not delivered over HTTP.
                                                        If @queryString is present and the value of this
                                                        attribute is "true", concatenation of MPD parameter
                                                        string and @queryString shall be used for
                                                        constructing the query string of media segment URLs.
                                                             NOTE Simple parameter signalling can be used
                                                             ("a=X&b=Y"), as well as scheme-dependent
                                                             signalling ("a=$urn:XYZ$&b=$urn:ABC$").
                                                        When scheme-dependent signalling is used, the scheme
                                                        shall be inserted between two enclosing $ characters. See
                                                        I.2.3.3 for further details.
                                                        When UrlQueryInfo element is present at more than
                                                        ole level of the hierarchical data model (e.g. MPD and
                                                        Period), there shall be at most one UrlQueryInfo
                                                        element for which @useMPDUrlQuery is true within
                                                        this hierarchy.
                                                        See I.2.3.3 for further details.



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  Element or Attribute Name                   Use          Description
        @queryString                       O (string)      provides a query string to be used in the construction of
                                                           media segment URLs.
                                                                NOTE Simple parameter signalling can be used
                                                                ("a=X&b=Y"), as well as scheme-dependent
                                                                signalling ("a=$urn:XYZ$&b=$urn:ABC$").
                                                           When scheme-dependent signalling is used, the scheme
                                                           shall be inserted between two enclosing $ characters.See
                                                           I.2.3.3 for further details.
        @xlink:href                             O          specifies a reference to a remote UrlQueryInfo
                                                           element
        @xlink:actuate                         OD          specifies the processing instructions, which can be either
                                                           "onLoad" or "onRequest".
                                            default:
                                          onReques         This attribute shall not be present if the @xlink:href
                                              t            attribute is not present.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
 <minOccurs=0>.
 Elements are bold; attributes are non-bold and preceded with an @.
                                          Table I.2 — Parameter identifiers

                     $<ParamIdentifier>$            Substitution parameter
                $$                                  Is an escape sequence, i.e. "$$" is replaced with a
                                                    single "$".
                $querypart$                         This identifier is substituted with the query part of
                                                    the computed query string (referred to as
                                                    initialQueryString in I.2.3). This identifier shall not
                                                    appear more than once in the template string, and
                                                    shall not be mixed with other identifiers
                                                    (e.g. $query:<param>$ below).
                                                    The query part starts after the "?" sign and lasts
                                                    until the "#" sign
                $query:<param>$                     This identifier is substituted with the value of the
                                                    <param> parameter if this parameter is present in
                                                    the query part of the computed query string
                                                    (referred to as initialQueryString in I.2.3). If same
                                                    <param> value appears more than once in the
                                                    query string, the last value will be used. If
                                                    <param> is not present, the empty string will be
                                                    used.
                                                    When this parameter selection is used, URL
                                                    parameters shall be inserted in the query part of
                                                    the URL as name=value pairs separated by the "&"
                                                    symbol, according to W3C HTML 4.01 specification
                                                    (section on Forms#Form submission)



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I.2.2.3    XML Syntax
     <xs:element name="UrlQueryInfo" type="UrlQueryInfoType"/>
     <xs:complexType name="UrlQueryInfoType">
        <xs:sequence>
                <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="queryTemplate" type="xs:string"/>
        <xs:attribute name="useMPDUrlQuery" type="xs:boolean" default="false"/>
        <xs:attribute name="queryString" type="xs:string"/>
        <xs:attribute ref="xlink:href"/>
        <xs:attribute ref="xlink:actuate" default="onRequest"/>
        <xs:attribute ref="xlink:type" fixed="simple"/>
        <xs:attribute ref="xlink:show" fixed="embed"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
     </xs:complexType>


I.2.3 Modified template-based segment URL construction, according to UrlQueryInfo
element

I.2.3.1    General

When signalized through an appropriate descriptor, containing a UrlQueryInfo element, the following
media segment URL building process is performed.
The process is defined in the following steps:
1) If this UrlQueryInfo element is a remote element, it is dereferenced. This process is defined in 5.5.

2) Initial query string (referred to as initialQueryString) is derived. This process is described in I.2.3.2.

3) Final query string (referred to as finalQueryString) is computed, according to @queryTemplate and
   initialQueryString. This process is described in I.2.3.3.

4) Final query string (finalQueryString) is processed to build media segment URLs. This process is
   described in I.2.3.4.

I.2.3.2    Computation of an initial query string (initialQueryString)

The initial query string initialQueryString is constructed by concatenating the query strings, if present
and available, coming from the MPD URL (if @useMPDUrlQuery is set to "true") and @queryString
(possibly after dereferencing). If @useMPDUrlQuery is set to "true" and @queryString if present,
initialQueryString shall be a concatenation of query string from the MPD and @queryString string, in
this order.
When multiple strings are appended together, an "&" symbol shall be inserted at the start of the second
and following strings to be appended.
I.2.3.3    Computation of a final query string (finalQueryString)

A final query string finalQueryString is then computed by substituting URL parameters templates present
in @queryTemplate by their values provided in initialQueryString, according to Table I.2.
When two or more occurrences of URL query descriptors exist within an MPD, the finalQueryString string
used at the Representation level is a concatenation of the corresponding URL query strings of the
occurrences in their orders of appearance in the MPD hierarchy. The query coming from the MPD URL is
appended first. Thus, for each representation the concatenation shall be computed as a concatenation of
Representation-level query string with (in this order) AdaptationSet-level string, Period-level query
string and, lastly, MPD-level query string.


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Simple parameter signalling may be used (@queryString="a=X&b=Y"), as well as scheme-dependent
signalling (@queryString="a=$urn:XYZ$&b=$urn:ABC$"). In the latter case, the client needs to
be aware of the provided schemes, and has to compute appropriate values for them. Further, in this case,
additional EssentialProperty or SupplementalProperty descriptors, at the same level as the
query descriptor, shall be present to reflect that scheme-dependent signalling is used and required to be
supported by the client. These descriptors shall have the @schemeIdUri attribute set to the same value
as used in the URL parameter insertion description (i.e. to "urn:XYZ" or "urn:ABC" in the above
example). Support of these specific schemes is out of the scope of this specification.
A straightforward implementation of the process would do the following:
1) Create a parameter table out of concatenated initialQueryString. The latter is an ′&′-
   separated list of <param>=<value> strings, and each <param>=<value> string is converted into
   a single entry in the parameter table. E.g. for a string "param0=42" in initialQueryString we
   will have parameter["param0"]=42. If a string "param0=42" is followed by a string
   "param0=43" later in initialQueryString, then parameter["param0"]=43. If <param>
   is a URN, then <value> is computed by the client (and is an empty string otherwise).

2) Search for the "$query:" substring in the @queryTemplate attribute. For each appearance of
   this substring, the characters till the first ′$′ character are the parameter name (<param> in our
   notation). Substitute the complete $query<param>$ string (including the opening and the closing
   ′$′          characters)            with          parameter[<param>].              E.g.      given
   @queryTemplate="p0=$query:param0", and given parameter["param0"]=43 the result
   would be finalQueryString="p0=43".

I.2.3.4   Modified media segment URLs building process

The computed final query string finalQueryString is then concatenated to media Segment URLs.
If the original media segment URL does not contain any query (as defined in IETF RFC 3986), an "?"
character shall be inserted accordingly between the original media segment URL and the finalQueryString
when performing this concatenation.
If the original media segment URL already contains a query (as defined in IETF RFC 3986), an "&"
character shall be inserted between the original media segment URL and the finalQueryString when
performing this concatenation.
When Annex E is used together with flexible insertion of URL query parameters, processing of URL query
parameters descriptors shall occur first, followed by Annex E byte range requests building process.
I.2.4 Examples

I.2.4.1   Example 1

Here, the intent is to re-use the URL parameters of the MPD URL in the media segments URLs.
Assuming           DASH            MPD           is           accessible                           through:
http://www.example.com/dash/urlparam1.mpd?token=1234&ip=1.2.3.4
1) Computation of an initial query string

      initialQueryString="token=1234&ip=1.2.3.4"

2) Computation of a final query

      finalQueryString="token=1234&ip=1.2.3.4"


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 <?xml version="1.0" encoding="UTF-8"?>
 <MPD
 xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xmlns="urn:mpeg:dash:schema:mpd:2011"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd urn:mpeg:dash:schema:urlparam:2014
 DASH-MPD-UP.xsd"

 type="static" mediaPresentationDuration="PT3256S" minBufferTime="PT1.2S"
 profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">
         <Period>
                 <AdaptationSet mimeType="video/mp4" segmentAlignment="true" startWithSAP="1"
 maxWidth="1280" maxHeight="720" maxFrameRate="25" par="16:9">
                         <EssentialProperty schemeIdUri="urn:mpeg:dash:urlparam:2014"
 xmlns:up="urn:mpeg:dash:schema:urlparam:2014">
                                 <up:UrlQueryInfo queryTemplate="$querypart$" useMPDUrlQuery="true"/>
                         </EssentialProperty>
                         <SegmentTemplate duration="2" startNumber="1"
 media="video_$Number$_$Bandwidth$bps.mp4"/>
                         <Representation id="v0" codecs="avc3.4d401f" width="1280" height="720"
 frameRate="25" sar="1:1" bandwidth="3000000"/>
                         <Representation id="v1" codecs="avc3.4d401f" width="640" height="360"
 frameRate="25" sar="1:1" bandwidth="1500000"/>
                 </AdaptationSet>
         </Period>
 </MPD>



3) Modified media segment URLs building process

     http://www.example.com/dash/video_1_3000000bps.mp4?token=1234&ip=1.2.3.4

     http://www.example.com/dash/video_2_3000000bps.mp4?token=1234&ip=1.2.3.4

     http://www.example.com/dash/video_3_3000000bps.mp4?token=1234&ip=1.2.3.4

I.2.4.2    Example 2

Here, the intent is to dynamically compute some URL parameters before adding them to the media
segments URLs.
Assuming DASH MPD is accessible through http://www.example.com/dash/urlparam2.mpd, and that
http://www.example.com/dash/xlinked.mpd contains the following UrlQueryInfo element:
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance" xmlns="urn:mpeg:dash:schema:mpd:2011"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd urn:mpeg:dash:schema:urlparam:2014
 DASH-MPD-UP.xsd" type="static" mediaPresentationDuration="PT3256S" minBufferTime="PT1.2S"
 profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">
         <Period>
                 <AdaptationSet mimeType="video/mp4" segmentAlignment="true" startWithSAP="1"
 maxWidth="1280" maxHeight="720" maxFrameRate="25" par="16:9">
                         <EssentialProperty schemeIdUri="urn:mpeg:dash:urlparam:2014"
 xmlns:up="urn:mpeg:dash:schema:urlparam:2014">
                                 <up:UrlQueryInfo
 xlink:href="http://www.example.com/dash/xlinked.mpd" xlink:actuate="onRequest"
 xmlns:xlink="http://www.w3.org/1999/xlink"/>
                         </EssentialProperty>
                         <SegmentTemplate duration="2" startNumber="1"
 media="video_$Number$_$Bandwidth$bps.mp4"/>
                         <Representation id="v0" codecs="avc3.4d401f" width="1280" height="720"
 frameRate="25" sar="1:1" bandwidth="3000000"/>



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                         <Representation id="v1" codecs="avc3.4d401f" width="640" height="360"
 frameRate="25" sar="1:1" bandwidth="1500000"/>
                 </AdaptationSet>
                 <SupplementalProperty schemeIdUri="urn:mpeg:dash:urlparam:2014"
 xmlns:up="urn:mpeg:dash:schema:urlparam:2014">
                         <up:UrlQueryInfo xmlns:up="urn:mpeg:dash:schema:urlparam:2014"
 queryTemplate="$querypart$" queryString="param=justintimecomputedvalue"/>
                 </SupplementalProperty>
         </Period>
 </MPD>



1) Computation of an initial query string (computed on request, according to xlink:actuate):

      initialQueryString="param=justintimecomputedvalue"

2) Computation of a final query string

      finalQueryString="param=justintimecomputedvalue"

3) Modified media segment URLs building process

      http://www.example.com/dash/video_1_3000000bps.mp4?param=justintimecom
      putedvalue

      http://www.example.com/dash/video_2_3000000bps.mp4?param=justintimecom
      putedvalue

      http://www.example.com/dash/video_3_3000000bps.mp4?param=justintimecom
      putedvalue

I.2.4.3   Example 3

Here the intent is asking the client for some feedback through URL parameters (GPS location here).
Assuming        DASH               MPD                is             accessible                  through
http://www.example.com/dash/urlparam3.mpd?pd=$urn:example:gps$,                              and     that
"urn:example:gps" informs the client that it should insert its GPS coordinates.
A SupplementalProperty descriptor with @schemeIdUri equal to "urn:example:gps" is
added to the MPD to indicate that the computation of URL parameters depends on an externally defined
scheme.
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD
 xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xmlns="urn:mpeg:dash:schema:mpd:2011"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd urn:mpeg:dash:schema:urlparam:2014
 DASH-MPD-UP.xsd"

 type="static" mediaPresentationDuration="PT3256S" minBufferTime="PT1.2S"
 profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">
         <Period>
 <AdaptationSet mimeType="video/mp4" segmentAlignment="true" startWithSAP="1" maxWidth="1280"
 maxHeight="720" maxFrameRate="25" par="16:9">
   <SupplementalProperty schemeIdUri="urn:mpeg:dash:urlparam:2014"
 xmlns:up="urn:mpeg:dash:schema:urlparam:2014">
     <up:UrlQueryInfo queryTemplate="$querypart$" useMPDUrlQuery="true"/>
   </SupplementalProperty>
   <SupplementalProperty schemeIdUri="urn:example:gps"/>



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   <SegmentTemplate duration="2" startNumber="1" media="video_$Number$_$Bandwidth$bps.mp4">
   </SegmentTemplate>
   <Representation id="v0" codecs="avc3.4d401f" width="1280" height="720" frameRate="25"
 sar="1:1" bandwidth="3000000"/>
   <Representation id="v1" codecs="avc3.4d401f" width="640" height="360" frameRate="25" sar="1:1"
 bandwidth="1500000"/>
 </AdaptationSet>
         </Period>
 </MPD>



1) Computation of an initial query string:

     initialQueryString="pd=$urn:example:gps$"

2) Computation of a final query

     finalQueryString="pd=$urn:example::gps$"

3) Modified media segment URLs building process

     http://www.example.com/dash/video_1_3000000bps.mp4?pd=computedGPSlocat
     ion

     http://www.example.com/dash/video_2_3000000bps.mp4?pd=computedGPSlocat
     ion

     http://www.example.com/dash/video_3_3000000bps.mp4?pd=computedGPSlocat
     ion

In this particular example, the client needs to be aware of the process to compute and provide GPS
location. How to achieve this is not part of DASH specification.
I.2.4.4    Example 4

Same example as example 1, except that only one single URL parameter is used.
Assuming           DASH            MPD           is           accessible                    through:
http://www.example.com/dash/urlparam4.mpd?token=1234&ip=1.2.3.4
 <?xml version="1.0" encoding="UTF-8"?>
 <MPD
 xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xmlns="urn:mpeg:dash:schema:mpd:2011"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd urn:mpeg:dash:schema:urlparam:2014
 DASH-MPD-UP.xsd"

 type="static" mediaPresentationDuration="PT3256S" minBufferTime="PT1.2S"
 profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">
         <Period>
 <AdaptationSet mimeType="video/mp4" segmentAlignment="true" startWithSAP="1" maxWidth="1280"
 maxHeight="720" maxFrameRate="25" par="16:9">
   <EssentialProperty schemeIdUri="urn:mpeg:dash:urlparam:2014"
 xmlns:up="urn:mpeg:dash:schema:urlparam:2014">
     <up:UrlQueryInfo queryTemplate="token=$query:token$" useMPDUrlQuery="true"/>
   </EssentialProperty>
   <SegmentTemplate duration="2" startNumber="1" media="video_$Number$_$Bandwidth$bps.mp4">
   </SegmentTemplate>
   <Representation id="v0" codecs="avc3.4d401f" width="1280" height="720" frameRate="25"
 sar="1:1" bandwidth="3000000"/>




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   <Representation id="v1" codecs="avc3.4d401f" width="640" height="360" frameRate="25" sar="1:1"
 bandwidth="1500000"/>
 </AdaptationSet>
         </Period>
 </MPD>



1) Computation of an initial query string

      initialQueryString="token=1234&ip=1.2.3.4"

2) Computation of a final query string

      finalQueryString="token=1234"

3) Modified media segment URLs building process

      http://www.example.com/dash/video_1_3000000bps.mp4?token=1234

      http://www.example.com/dash/video_2_3000000bps.mp4?token=1234

      http://www.example.com/dash/video_3_3000000bps.mp4?token=1234


I.3 Extended HTTP GET request parametrization
I.3.1 General

Extended parametrization scheme provides a superset of the capabilities of the baseline segment-only
scheme     described    in    I.2   above.     This     scheme       is     identified    by    URN
"urn:mpeg:dash:urlparam:2016".
The scheme extends the baseline scheme described in I.2 in the following ways:
— Parameters may be selectively embedded in MPD, XLink and callback requests, in addition to
  segment requests;

— Parameters may be instantiated from designated HTTP headers (from HTTP response);

— Parameters defined using the ExtHttpHeaderParameter element will be embedded into a
  custom HTTP header and not into the URL.

The scheme uses two elements, ExtUrlQueryInfo and ExtHttpHeaderInfo, both of which are
extensions of UrlQueryInfoType type defined in I.2.
The extended scheme is a functional modification of the one defined in I.2. For simplicity purposes the
complete extended mechanism is provided in I.3.4.




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I.3.2 Semantics

                           Table I.3 — Semantics of ExtendedUrlInfoType element

          Element or Attribute Name               Use       Description
    ExtendedUrlInfoType                                     provides information for derivation of
                                                            parameter string. This is an extension of
                                                            UrlQueryInfoType element defined in
                                                            Table I.1.
       @includeInRequests                         OD        specifies which HTTP GET requests shall
                                                            carry parameters. Value is a white spaced
                                                (default:
                                                            concatenated list of the following keys:
                                               "segment")
                                                            1) "segment" (all segment requests)",

                                                            2)   "xlink" (all XLink resolution requests),

                                                            3)   "mpd" (all MPD requests),

                                                            4)   "callback" (all requests triggered by
                                                                 DASH callback events),

                                                            5)   "chaining" (requests for chained-to
                                                                 MPDs,

                                                            6)   "fallback" (requests for the alternative
                                                                 MPDs.

                                                            Default value is "segment", i.e. parameters
                                                            will be only sent with segment requests
                                                                 NOTE Depending on the actual element
                                                                 used, parameter output goes either to
                                                                 query parameters (for
                                                                 ExtUrlQueryInfo) or HTTP
                                                                 headers (for ExtHttpHeaderInfo)




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         Element or Attribute Name                          Use         Description
       @headerParamSource                                   OD          specifies HTTP responses from which HTTP
                                                                        header values, identified by the template
                                                         (default:
                                                                        $header:header-name$, should be extracted
                                                        "segment")
                                                                        from. Value is a white spaced concatenated
                                                                        list of the following keys :
                                                                        1) "segment" (all segment requests)",

                                                                        2)   "xlink" (all XLink resolution requests),

                                                                        3)   "mpd" (all MPD requests),

                                                                        4)   "callback" (all requests triggered by
                                                                             DASH callback events).

                                                                        Default value: empty string (no header
                                                                        parameters inspected)
                                                                        If this attribute is present then: (a)
                                                                        @queryTemplate attribute shall be
                                                                        present and shall contain the
                                                                        $header:<header-name>$ identifier, and (b)
                                                                        neither @useMPDUrlQuery nor
                                                                        @queryString attribute shall be present.
       @sameOriginOnly                                      OD          specifies that parameters must only be sent
                                                                        to the same origin they were instantiated
                                                                        from. In case of HTTP headers as source, the
                                                                        origin is defined as the origin of the HTTP
                                                                        request identified by the attribute
                                                                        @headerParamSource. In case the
                                                                        parameters are instantiated from the MPD or
                                                                        from the MPD URL, the origin is defined in
                                                                        both case by the MPD URL.
                                                                        Two origins are the same as defined by
                                                                        IETF RFC 6454, i.e. same scheme/host/port
                                                                        triple (see 5. Comparing Origins)
                                                                        Default value: false (no origin restrictions)
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory.
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
 <minOccurs=0>.
 Elements are bold; attributes are non-bold and preceded with an @.
The following identifiers are defined, in addition to the ones defined in Table I.2
                                          Table I.4 — Parameter identifiers

 $<ParamIdentifier>$                      Substitution parameter
 $header:<header-name>$                   This identifier is substituted with the latest received value of the header-
                                          name HTTP header in the HTTP responses indicated by the
                                          @headerParamSource attribute.


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I.3.3 XML Syntax
     <xs:element name="ExtUrlQueryInfo" type="ExtendedUrlInfoType"/>
     <xs:element name="ExtHttpHeaderInfo" type="ExtendedUrlInfoType"/>
     <xs:complexType name="ExtendedUrlInfoType">
        <xs:complexContent>
                <xs:extension base="UrlQueryInfoType">
                        <xs:attribute name="includeInRequests" type="xs:string" default="segment"/>
                        <xs:attribute name="headerParamSource" type="xs:string" default="segment"/>
                        <xs:attribute name="sameOriginOnly" type="xs:boolean" default="false"/>
                </xs:extension>
        </xs:complexContent>
     </xs:complexType>


I.3.4 Extended parameter generation

I.3.4.1    Theory of operation

HTTP(S) requests issued by a DASH Client may belong to one of the following types:
— MPD request to the MPD URL (e.g. as specified in MPD.Location).

— XLink dereferencing request to URL specified in the @xlink:href attribute.

— Segment request.

— Callback request to URL specified in a DASH callback event (inband or MPD).

Parameter generation based on elements of type ExtendedUrlInfoType is defined in the following
steps:
1) If this ExtendedUrlInfoType element is a remote element, it is dereferenced. This process is
   defined in subclause 5.5.

2) Initial query string (referred to as initialQueryString) is derived. This process is described in I.3.4.2.

3) Final query string (referred to as finalQueryString) is computed, according to @queryTemplate and
   initialQueryString. This process is described in I.3.4.3.

4) Final query string (finalQueryString) is processed to build HTTP requests. This process is described
   in I.3.5.

I.3.4.2    Computation of an initial query string (initialQueryString)

The initial query string initialQueryString is constructed by concatenating the query strings for the same
type of request. One of the following ways of initialQueryString construction shall be used:
1) If @useMPDUrlQuery is "true", the query part of MPD URL shall be used as
   initialQueryString. If @queryString is also present, initialQueryString is a
   concatenation of the query part of MPD URL and @queryString, in this order.

2) If @headerParamSource is present and non-empty, initialQueryString shall consist of
   <header-name>=<value> pairs where <header-name> is the HTTP response header given in
   the @queryTemplate by the $header:<header-name>$ substitution parameter. The inspected
   responses are of the types appearing in @headerParamSource.

3) Otherwise the value of initialQueryString is given by @queryString.


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When multiple strings are appended together, an "&" symbol shall be inserted at the start of the second
and following strings to be appended.
I.3.4.3   Computation of a final query string (finalQueryString)

A final query string finalQueryString is then computed by substituting URL parameter identifiers present
in @queryTemplate by their values provided in initialQueryString, according to Tables I.2 and I.4. The
process itself is equivalent to the one in described in I.2.3.2, with a notable addition of the
$header:<header-name>$ identifier.
When two or more occurrences of element of type ExtendedUrlInfoType exist within an MPD, the
finalQueryString used at each level is a concatenation of the corresponding at the current and all upper
levels of the hierarchical data model. For example, let us assume that a ExtUrlQueryInfo element is
present at both Period and MPD levels, the Period has the @xlink:href attribute and both the
MPD.ExtUrlQueryInfo@includeInRequests                                                                and
Period.ExtUrlQueryInfo@includeInRequests contain the string "xlink". In this case,
initialQueryString for the dereferencing will be a concatenation of finalQueryString from
MPD.ExtUrlQueryInfo and Period.ExtUrlQueryInfo in this order.
A straightforward implementation of the process would do the following:
1) Create a parameter table out of concatenated initialQueryString as defined in step 1 in I.2.3.2.

2) Replace the "$query:<param>" substrings with parameter[<header-name>] as described in
   step 2 in I.2.3.2.

3) Replace $header:<header-name>$ substring with parameter[<header-name>].

I.3.5 Extended Parameter Output

In case ExtUrlQueryInfo element is used, the computed final query string finalQueryString is
concatenated to media Segment URLs (same process as in I.2.3.3). Percent encoding (per IETF RFC 3986)
may be needed as a last step of URL construction
In case ExtHttpHeaderInfo element is used, the output shall appear in a custom HTTP request header
in the following way:
1) Each "&" (ampersand) character in finalQueryString shall be replaced with a ", " (comma
   followed by space) string.

2) The resulting string is written as a value of a custom HTTP header MPEG-DASH-Param.




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                                                    Annex J
                                                 (informative)

                                    Open GOP resolution change


A scheme is defined to be used with a                              Supplemental       Property      Descriptor     as
"urn:mpeg:dash:resolutionSwitching:2016".
It indicates which Representations allow for a seamless resolution switching at the start of any Segment
starting with a SAP type in the range of 1 to 3, inclusive.
If present, the descriptor shall only be placed on Adaptation Set or Representation level in the MPD
hierarchy.
@value of the supplemental property descriptor is a white space separated list of two values as specified
in Table J.1.
          Table J.1 — SupplementalProperty@value attributes resolutionSwitching:2016

   SupplementalProperty
                                       Use     Description
   @value parameter
   switchableTo                          M     specifies all Representations with representation switch points
                                               specified with RandomAccess with @type equal to "open",
                                               with Media Segment starting with SAP of type 3, or with Media
                                               Subsegment starting with SAP of type 3 for which the
                                               Representation contains additional media stream to switch to, as
                                               a comma-separated list of values of @id attributes of these
                                               Representations.
   switchingMimeType                     M     specifies, as a comma-separated list of values, the MIME type of
                                               the concatenation of the Initialization Segment, if present, and
                                               some consecutive Media (Sub)Segments in the Representation
                                               and some consecutive Media (Sub)Segments that start with a
                                               representation switch point as defined above and belong to the
                                               Representation pointed by the respective list item within
                                               switchableTo.
                                                    NOTE The Representation contains a media stream
                                                    conforming to @mimeType and additionally one or more
                                                    media streams conforming to switchingMimeType
                                                    that are only intended for switching to another
                                                    representation, as indicated by switchableTo.
   Key
   M=Mandatory, O=Optional
The resolution switching descriptor shall not be present unless all access units in a segment N with
presentation time within [T EPT , T DEC ) is constrained in such a way that they only depend on access units
of segment N or segment N-1.
     NOTE         If a Representation is changed at segment N, where this descriptor is present, it might be necessary
     to decode an additional media stream during segment N-1 different to the one conforming to the @codecs
     attribute indicated at the "switch-from" representation, which presence is indicated by the presence of
     switchingMimeType, in order to be able to decode all access units preceding the first SAP (i.e. in the
     interval [T EPT ,T DEC )) of segment N of the "switch-to" Representation.


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                                               Annex K
                                             (normative)

                                   DASH Service Description



K.1 General
This annex defines the ISO/IEC 23009-1 DASH Service Description. In the DASH model as described in
this document, the DASH Client has significant control over the algorithms and user perception for a
DASH service. The DASH Client may for example decide on the applied rate adaptation algorithm, the
buffer strategy, the buffer duration and the resulting latency and channel access times. However, by
leaving all decisions to the client, this may result inconsistent behaviour as different client
implementations may for example chose different strategies and therefore, as an example, one may
observe significantly different latencies for the same service on different clients.
A DASH Client may be embedded in an application that controls the usage of the client for the proper
playback of the service. DASH Client libraries and applications may provide APIs to control the playback.
However, there are weaknesses to such an approach as the application and DASH Client then use
proprietary APIs.
Hence, this annex defines the following:
   — a service description reference model providing an overview of the normative aspects defined in
     this annex (in K.2);
   — the semantics of the service description and the associated parameters to describe the service (in
     K.3). This is defined as an abstract set of APIs that can be used by the application, regardless of
     how the application received this information;
   — the mapping of the semantics to DASH MPD (in K.4) as one option to provide the service
     parameters. This permits that application-independent DASH services can be provided in a
     consistent manner;
   — some example client implementation usage guidelines on how these parameters may be used (in
     K.5);

The usage of the service description information may be left to client implementations, but it may also be
the case that application standards formulate stronger requirements on the client in order to fulfil such
service parameters. Service Descriptions can also be scoped for specific clients, for example those
implementing specific rules, or clients in specific environments.
The normative aspects of this annex include the definition of specific service parameters in K.3 as well as
the carriage of these parameters in the MPD in K.4.

K.2 DASH Client model with Service Description
Figure K.1 shows an extended client model that includes the ability to provide explicit service description
information to the DASH access client. The information might originate from the service provider and can
be delivered by application-defined signalling, can be generated in the application or can be delivered by
the MPD as defined in K.4.




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                                       Selection Logic


                   MPD Selection metadata           Selected Adaptation Sets

           MPD
                                                                   MPEG Format
                                        DASH access                                  Media            Media
                                                                   media + timing
                                          engine                                     engine           output
      Segment data                                               Playback Control


                Service Description

                                             Event + timing           Event
                                                                    Processing
                 Media Streaming Application

               Figure K.1 Extended Client Model with service description (shown in red)

K.3 Semantics of DASH Service Description
K.3.1 General

This subclause provides the general service description definitions.
The semantics follow the principle of the metrics definition using an abstract syntax. Items in this abstract
syntax have one of the following primitive types (Integer, Real, Boolean, Enum, String) or one of
the following compound types:

      Objects: an unordered sequence of (key, value) pairs, where the key always has string type
       and is unique within the sequence.
      List: an ordered list of items.
Where lists are defined the name 'entry' is used to define the format of each entry, but since lists contain
unnamed entries this name would not appear in any concrete syntax.
Each service description is defined as a named list of entries that logically contains the service description
information. When and how this information is delivered and how it is updated is out of scope of this
clause.
K.3.2 Service Latency

Table K.1 defines the service description parameters for the service latency.




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                                   Table K.1 — Service Latency
 Parameter                               Type           Description

 ReferenceID                             Integer        Defines the ID of the Producer Reference
                                                        Time element in the MPD against which
                                                        the latency is measured, if more than one
                                                        is present.

 TargetLatency                           Integer        The service provider’s preferred
                                                        presentation latency in milliseconds
                                                        compared to the producer reference time.
                                                        Indicates a content provider’s desire for
                                                        the content to be presented as close to the
                                                        indicated latency as is possible given the
                                                        player’s capabilities and observations.
                                                            NOTE This attribute can express a
                                                               latency that is only achievable by
                                                               low-latency      players    under
                                                               favourable network conditions.

 MaximumLatency                          Integer        The service provider’s indication about
                                                        the maximum presentation latency in
                                                        milliseconds. Indicates a content
                                                        provider’s desire for the content not to be
                                                        presented if the latency exceeds the
                                                        maximum latency.

 MinimumLatency                          Integer        The service provider’s indication about
                                                        minimum presentation latency in
                                                        milliseconds for example to avoid
                                                        inconsistencies with second screen
                                                        applications, overlays, etc.

           QualityType                   URI            Defines the interpretation of the value of
                                                        Quality. If not present, the quality is
                                                        considered in linear scale.

           Entry                         Object         A list of latency and quality pairs.

                   Latency               Integer        A latency value for the service in
                                                        milliseconds.

                   Quality               Integer        The quality of the service at the above
                                                        latency with 0 being the lowest and 100
                                                        being the highest.


K.3.3 Playback Rate

Table K.2 defines the service description parameters for non-nominal playback rate. The keys in
Table K.2 shall be used to refer to the non-nominal playback rate as defined in Table K.2.




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                                       Table K.2 — Playback Rate
 Key                                Type                 Description

 MaxPlaybackRate                    Real                 The maximum playback rate that the content
                                                         provider indicates is appropriate for the
                                                         purposes of automatically adjusting playback
                                                         latency and buffer occupancy during normal
                                                         playback, where 1.0 is normal playback speed.

 MinPlaybackRate                    Real                 The minimum playback rate that the content
                                                         provider indicates is appropriate for the
                                                         purposes of automatically adjusting playback
                                                         latency and buffer occupancy during normal
                                                         playback, where 1.0 is normal playback speed.


K.3.4 Operating Quality

Table K.3 defines the service description parameters for operational quality. The keys in Table K.3 shall
be used to refer to the operating quality as defined in Table K.3.




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                                     Table K.3 — Operating Quality
   Key                                Type            Description

   MediaType                          string          Defines the media type for which these quality
                                                      parameters apply. They type can be

                                                          — video: applies to video
                                                          — audio: applies to audio
                                                          — any: applies to any media type

   MinQualityRanking                  Integer         Minimum quality ranking value desired
                                                      through this presentation for the above
                                                      MediaType. This is the smallest desired value
                                                      for the @qualityRanking attribute for the
                                                      selected Representations to be played by the
                                                      DASH Client during regular playback.

   MaxQualityRanking                  Integer         Maximum quality ranking value desired
                                                      through this presentation for the above
                                                      MediaType. This is the largest desired value
                                                      for the @qualityRanking attribute for the
                                                      Representations to be played by the DASH
                                                      Client during regular playback.

   TargetQualityRanking               Integer         Quality ranking value desired through this
                                                      presentation for the above MediaType. This is
                                                      the target value for the @qualityRanking
                                                      attribute for the Representations to be played
                                                      by the DASH Client during regular playback.

   QualityRankingType                 URL             Defines the interpretation of the value of
                                                      @qualityRanking attribute. If not present,
                                                      the quality is considered in linear scale.

   MaxQualityDifference               Integer         Maximum       quality    difference      value
                                                      recommended by the content author for the
                                                      presentation for the above MediaType. This is
                                                      the recommended maximum difference
                                                      between @qualityRanking attributes for
                                                      Representations being played concurrently.
                                                      This    is     typically    applicable     for
                                                      Representations that are picked from an
                                                      Adaptation Sets within one Preselection.


K.3.5 Operating Bandwidth

Table K.4 defines the service description parameters for operating bandwidth. The keys in Table K.4 shall
be used to refer to the operating bandwidth as defined in Table K.4.




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                                    Table K.4 — Operating Bandwidth
    Key                               Type             Description

    MediaType                         string           Defines the media type for which the
                                                       bandwidth parameters apply. They type can
                                                       be

                                                           — video: applies to video
                                                           — audio: applies to audio
                                                           — any: applies to any media type
                                                             individually
                                                           — all: applies to aggregation of all
                                                             media types

    MinBandwidth                      Integer          Minimum bandwidth value desired through
                                                       this presentation for the above MediaType.
                                                       This is the smallest desired aggregated value
                                                       for the @bandwidth attribute for all
                                                       Representations of this media type to be
                                                       played concurrently by the DASH Client during
                                                       regular playback.

    MaxBandwidth                      Integer          Maximum bandwidth value desired through
                                                       this presentation for the above MediaType.
                                                       This is the largest desired aggregated value for
                                                       the     @bandwidth        attribute   for     all
                                                       Representations of this media type to be
                                                       played concurrently by the DASH Client during
                                                       regular playback.

    TargetBandwidth                   Integer          Target bandwidth value desired through this
                                                       presentation for the above MediaType. This is
                                                       the largest desired aggregated value for the
                                                       @bandwidth          attribute     for      all
                                                       Representations of this media type to be
                                                       played concurrently by the DASH Client during
                                                       regular playback.




K.4 MPD Carriage of DASH Service Description
K.4.1 Description

This clause provides the mapping of the service description in to the MPD. The service description may
be scoped to a specific client or to an operational mode of the client. This can be expressed by using a
Scope descriptor that is defined by the application.

It is the service provider's responsibility to ensure that the service description is not contradicting in
itself and can be used by clients, for example minimum, target and maximum latency should be in non-
decreasing order. Service descriptions with inconsistent or unachievable settings are expected to be
ignored by the client.



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The semantics of the attributes and elements within a ServiceDescription element are provided in
subclause K.4.2.1, Table K.5. The XML syntax of the ServiceDescription element is provided in
subclause K.4.3.
K.4.2 Semantics

K.4.2.1 General

                        Table K.5 — Semantics of ServiceDescription element
 Element or Attribute Name                Use          Description
      ServiceDescription                               Service Description
         @id                               M           specifies a unique identifier for this Service Description.
                                                       The attribute shall be a unique unsigned integer value
                                                       amongst ServiceDescription elements in the scope
                                                       of the MPD.
         Scope                            0…N          specifies the scope of the Service Description. If present,
                                                       this Service Description only targets DASH Clients
                                                       identified by this Scope descriptor. DASH Clients not in
                                                       scope, i.e. not recognizing any of the scope descriptor
                                                       elements, are expected to ignore this service description.
                                                       If no Scope element is present the Service Description
                                                       applies to all clients.
         Latency                          0…N          specifies the latency targets for the service. The details
                                                       are provided in subclause K.4.2.2, Table K.6.
         PlaybackRate                     0…N          specifies the playback rate targets for the service. The
                                                       details are provided in subclause K.4.2.3, Table K.7.
         OperatingQuality                 0…N          specifies the operating quality targets for the service. The
                                                       details are provided in subclause K.4.2.4, Table K.8.
         OperatingBandwidth               0…N          specifies the operating quality targets for the service. The
                                                       details are provided in subclause K.4.2.5, Table K.9.

 Legend:
      For attributes: M=mandatory, O=optional, OD=ptional with default value, CM= conditionally mandatory,
      F=fixed.
      For elements: <minOccurs>...<maxOccurs> (N=unbounded)
      The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional"
      and <minOccurs=0>
 Elements are bold; attributes are non-bold and preceded with an @, List of elements and attributes is in
 italics bold referring to those taken from the Base type that has been extended by this type.


K.4.2.2 Latency

                                  Table K.6 — Semantics of Latency element
 Element or Attribute Name                       Use          Description
      Latency                                                 see subclause K.3.2.
         @referenceId                             CM          See referenceID in Table K.1
         @target                                   O          See TargetLatency in Table K.1
         @max                                      O          See MaximumLatency in Table K.1
         @min                                      O          See MinimumLatency in Table K.1




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 Element or Attribute Name                      Use         Description
         QualityLatency                         0…N         A comma-separated list of white space separated latency
                                                            and quality pair values according to Table K.1.
              @type                               O         Defines the QualityType according to Table K.1
 Legend:
      For attributes: M=mandatory, O=mptional, OD=mptional with default value, CM=conditionally mandatory,
      F=fixed.
      For elements: <minOccurs>...<maxOccurs> (N=unbounded)The conditions only hold without using
      xlink:href. If linking is used, then all attributes are "optional" and <minOccurs=0>
 Elements are bold; attributes are non-bold and preceded with an @, List of elements and attributes is in italics bold
 referring to those taken from the Base type that has been extended by this type.


K.4.2.3 Playback Rate

                             Table K.7 — Semantics of PlaybackRate element
 Element or Attribute Name                        Use         Description
      PlaybackRate                                            see subclause K.3.2.
         @max                                      O          See maxPlaybackRate in Table K.2
         @min                                      O          See minPlaybackRate in Table K.2
 Legend:
      For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory,
      F=fixed.
      For elements: <minOccurs>...<maxOccurs> (N=unbounded)
      The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
      <minOccurs=0>
 Elements are bold; attributes are non-bold and preceded with an @, List of elements and attributes is in italics bold
 referring to those taken from the Base type that has been extended by this type.


K.4.2.4 Operating Quality

                             Table K.8 — Semantics of OperatingQuality element
 Element or Attribute Name                       Use        Description
      OperatingQuality                                      see subclause K.3.2.
         @mediaType                              OD         See MediaType in Table K.3
                                               Default:
                                               'any'
          @min                                    O         See MinQualityRanking in Table K.3
          @max                                    O         See MaxQualityRanking in Table K.3
          @target                                 O         See TargetQualityRanking in Table K.3
          @type                                   O         See QualityRankingType in Table K.3
          @maxDifference                          O         See MaxQualityDifference in Table K.3
 Legend:
      For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory, F=fixed.
      For elements: <minOccurs>...<maxOccurs> (N=unbounded)
      The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
      <minOccurs=0>
 Elements are bold; attributes are non-bold and preceded with an @, List of elements and attributes is in italics bold
 referring to those taken from the Base type that has been extended by this type.




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K.4.2.5 Operating Bandwidth

                          Table K.9 — Semantics of OperatingBandwidth element
 Element or Attribute Name                        Use        Description
      OperatingBandwidth                                     see subclause K.3.2.
         @mediaType                               OD         See MediaType in Table K.4
                                                Default:
                                                'all'
          @min                                     O         See MinBandwidth in Table K.4
          @max                                     O         See MaxBandwidth in Table K.4
          @target                                  O         See TargetBandwidth in Table K.4
 Legend:
      For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory, F=fixed.
      For elements: <minOccurs>...<maxOccurs> (N=unbounded)
      The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
      <minOccurs=0>
 Elements are bold; attributes are non-bold and preceded with an @, List of elements and attributes is in italics bold
 referring to those taken from the Base type that has been extended by this type.


K.4.3 Syntax

K.4.3.1 General
    <xs:complexType name="ServiceDescriptionType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Service Description
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:element name="Scope" type="DescriptorType" minOccurs="0" maxOccurs="unbounded"/>
                <xs:element name="Latency" type="LatencyType" minOccurs="0" maxOccurs="unbounded"/>
                <xs:element name="PlaybackRate" type="PlaybackRateType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="OperatingQuality" type="OperatingQualityType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="OperatingBandwidth" type="OperatingBandwidthType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="id" type="xs:unsignedInt"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>


K.4.3.2 Latency
    <xs:complexType name="LatencyType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Service Description Latency
        </xs:documentation>
        </xs:annotation>
        <xs:sequence>
                <xs:element     name="QualityLatency"      type="UIntPairsWithIDType"     minOccurs="0"
maxOccurs="unbounded"/>
                <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="referenceId" type="xs:unsignedInt"/>
        <xs:attribute name="target" type="xs:unsignedInt"/>
        <xs:attribute name="max" type="xs:unsignedInt"/>
        <xs:attribute name="min" type="xs:unsignedInt"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
    </xs:complexType>
    <xs:complexType name="UIntPairsWithIDType">


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        <xs:annotation>
                <xs:documentation xml:lang="en">
                UInt Pairs With ID
        </xs:documentation>
        </xs:annotation>
        <xs:simpleContent>
                <xs:extension base="UIntVectorType">
                        <xs:attribute name="type" type="xs:anyURI"/>
                        <xs:anyAttribute namespace="##other" processContents="lax"/>
                </xs:extension>
        </xs:simpleContent>
     </xs:complexType>


K.4.3.3 Playback Rate
     <xs:complexType name="PlaybackRateType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Service Description Playback Rate
        </xs:documentation>
        </xs:annotation>
        <xs:attribute name="max" type="xs:double"/>
        <xs:attribute name="min" type="xs:double"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
     </xs:complexType>


K.4.3.4 Operating Quality
     <xs:complexType name="OperatingQualityType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Service Description Operating Quality
        </xs:documentation>
        </xs:annotation>
        <xs:attribute name="mediaType" default="any">
                <xs:simpleType>
                        <xs:restriction base="xs:string">
                                <xs:enumeration value="video"/>
                                <xs:enumeration value="audio"/>
                                <xs:enumeration value="any"/>
                        </xs:restriction>
                </xs:simpleType>
        </xs:attribute>
        <xs:attribute name="min" type="xs:unsignedInt"/>
        <xs:attribute name="max" type="xs:unsignedInt"/>
        <xs:attribute name="target" type="xs:unsignedInt"/>
        <xs:attribute name="type" type="xs:anyURI"/>
        <xs:attribute name="maxDifference" type="xs:unsignedInt"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
     </xs:complexType>




K.4.3.5     Operating Bandwidth
     <xs:complexType name="OperatingBandwidthType">
        <xs:annotation>
                <xs:documentation xml:lang="en">
                Service Description Operating Bandwidth
        </xs:documentation>
        </xs:annotation>
        <xs:attribute name="mediaType" default="all">
                <xs:simpleType>
                        <xs:restriction base="xs:string">
                                <xs:enumeration value="video"/>
                                <xs:enumeration value="audio"/>
                                <xs:enumeration value="any"/>
                                <xs:enumeration value="all"/>
                        </xs:restriction>
                </xs:simpleType>



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         </xs:attribute>
         <xs:attribute name="min" type="xs:unsignedInt"/>
         <xs:attribute name="max" type="xs:unsignedInt"/>
         <xs:attribute name="target" type="xs:unsignedInt"/>
         <xs:anyAttribute namespace="##other" processContents="lax"/>
      </xs:complexType>




K.5 Example Client Usage
This clause provides some information on how a DASH Client may use the information in the service
description.
If the DASH Client is informed of a target latency by the TargetLatency parameter and it identifies
that the Media Presentation carries the producer reference time with considered type, the DASH Client
attempts to present the sample with a specific media time at a wall-clock time that is the sum of provided
wall-clock time and the target latency.
The DASH Client may monitor the playback continuously and may adapt the playback rate in the
boundaries permitted by the playback rate parameters to catchup to the latency.
The DASH Client may adjust its playback to maintain quality and bandwidth used between the minimum
and maximum quality and minimum and maximum bandwidth parameters, if provided.




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